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12
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13
         Attorneys for the Chapter 11
14       Debtors and Debtors in Possession
15                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF WASHINGTON
16
     In re                                         Chapter 11
17
     EASTERDAY RANCHES, INC., et al.               Lead Case No. 21-00141-11
18                                                 Jointly Administered
                                    Debtors.1
19                                                 THIRD INTERIM APPLICATION OF
                                                   PACHULSKI STANG ZIEHL & JONES
20                                                 LLP FOR ALLOWANCE AND
                                                   PAYMENT OF INTERIM
21                                                 COMPENSATION AND
                                                   REIMBURSEMENT OF EXPENSES
22                                                 FOR THE PERIOD SEPTEMBER 1,
                                                   2021 THROUGH NOVEMBER 30, 2021;
23                                                 DECLARATION OF JEFFREY W.
                                                   DULBERG IN SUPPORT THEREOF
24

25

26   1
         The Debtors along with their case numbers are as follows: Easterday Ranches, Inc.,
27       (21-00141) and Easterday Farms, a Washington general partnership (21-00176).
28                                                     P ACHULSKI S TANG                   B USH K ORNFELD           L LP
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 1                                               I.
 2                                     INTRODUCTION
 3         Pachulski Stang Ziehl & Jones LLP (“PSZJ” or the “Firm”) submits its third
 4   interim application (the “Application”) for allowance and payment of interim
 5   compensation and reimbursement of expenses for the period September 1, 2021 through
 6   November 30, 2021 (the “Application Period”) for work performed for Easterday
 7   Ranches, Inc. (“Ranches”) and Easterday Farms (“Farms”), debtors and debtors-in-
 8   possession (the “Debtors”) in the above-captioned jointly administered chapter 11 cases
 9   (the “Cases”). In support of the Application, the Firm respectfully represents as follows:
10   A.    General Background
11         While the court and all parties-in-interest are familiar the facts of these Cases, the
12   Declarations of T. Scott Avila in Support of First Day Motions [Docket Nos. 14 and
13   93], which are incorporated into this Application by reference, provide more detailed
14   information on the Debtors.
15         On April 15, 2021, the court entered an Order Authorizing Interim Fee
16   Application and Expense Reimbursement Procedures [Docket No. 583] (the “Fee
17   Procedures Order”) authorizing certain professionals and members of any official
18   committee (collectively, the “Professionals”) to submit monthly applications for interim
19   compensation and reimbursement for expenses (each, a “Monthly Fee Application”)
20   pursuant to the procedures specified therein. Commencing with the period ending May
21   31, 2021 and at three-month intervals thereafter, each of the Professionals may file with
22   the court an interim application for allowance of the amounts sought in its Monthly Fee
23   Applications for that period. All fees and expenses paid are on an interim basis until
24   final allowance by the court.
25   B.    Financial Status of the Debtors
26         The Debtors’ combined cash on hand as of November 30, 2021 was
27   approximately $40 million. The amount of the Debtors’ accrued and unpaid
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 1   administrative expenses, not including professional fees, as of November 30, 2021 was
 2   $0.
 3   C.      Plan, Disclosure Statement, MORs, and U.S. Trustee Fees
 4           On August 2, 2021, the Debtors filed a disclosure statement and joint plan of
 5   liquidation [Docket Nos. 964 and 965] as amended on December 1, 2021 [Docket Nos.
 6   1283 and 1284]. A hearing to approve the disclosure statement and related solicitation
 7   procedures has been set for February 16, 2022. The Debtors are current on their monthly
 8   operating reports (“MORs”) and are current on quarterly payments to the U.S. Trustee.
 9   D.      Fees Sought and Reimbursement of Expenses Incurred by PSZJ
10           PSZJ seeks an interim allowance of compensation for services rendered and
11   expenses incurred during the Application Period in the total amount of $2,421,986.86
12   comprising fees of $2,184,017.50 and expenses of $237,969.36. Of those amounts, fees
13   and costs in the amount of $1,481,887.94 have been previously paid pursuant to the
14   Monthly Fee Applications.
15           In accordance with the information required by Local Form 2016B, the amount
16   of fees sought, paid and remaining amounts due PSZJ to date, are as follows:
17            Breakdown of Amounts Paid and Remaining Amounts Owed to Date
18                        Period      Requested Fees Total Amounts                             Unpaid
          Date Filed     Covered       & Expenses     Paid to Date                           Balance Due
19
          05.05.21      02.01.21 –     $898,645.66    $898,645.66                                   $0.00
                        02.28.21
20
          05.05.21      03.01.21 –     $1,169,040.21          $1,169,040.21                                $0.00
                        03.31.21
21                      04.01.21 -
          05.27.21      04.30.21        $787,369.80              $787,369.80                               $0.00
22                      05.01.21 -
          06.29.21      05.31.21       $1,001,688.03             $978,250.03                               $0.002
23

24
     2
25       Pursuant to the Order Granting First Interim Application of Pachulski Stang Ziehl &
         Jones LLP for Allowance and Payment of Interim Compensation and Reimbursement
26       of Expenses for the Period February 1, 2021 through May 31, 2021 [Docket No. 1046]
27       (the “First Interim Fee Order”), this amount is net of a write-off of $23,438.01.
28                                                     P ACHULSKI S TANG                   B USH K ORNFELD           L LP
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 1        Date Filed        Period        Requested Fees Total Amounts                                Unpaid
                           Covered         & Expenses     Paid to Date                              Balance Due
 2
          08.12.21        06.01.21 –      $1,322,707.14  $1,299,377.64                                     $0.003
                          06.30.21
 3
          09.20.21        07.01.21 –       $1,340,495.73             $1,340,495.73                                $0.00
                          07.31.21
 4
          10.08.21        08.01.21 –       $1,180,848.74             $1,180,848.74                                $0.00
                          08.31.21
 5                        09.01.21 -
          11.10.21        09.30.21         $1,187,898.93                $966,904.53                    $220,994.40
 6                        10.01.21 -
          01.04.22        10.31.21              $624,358.71             $514,983.41                    $109,375.30
 7                        11.01.21 -
          01.19.11        11.30.21              $609,729.22                          $0.00             $609,729.22
 8
          Totals                          $10,122,782.17             $9,135,915.75                     $940,098.92
 9

10       Breakdown of Amounts Paid and Remaining Amounts Owed to Date by Debtor

11                  Ranches         Farms                                                                        Farms
                                                                                              Ranches
                   Requested       Requested        Ranches          Farms Paid                                  Unpaid
       Period                                                                                  Unpaid
12                  Fees &          Fees &         Paid to Date        to Date                                 Balance Due
      Covered                                                                                Balance Due
                   Expenses        Expenses
13   02.01.21 –
                   $686,301.71    $212,343.95      $686,301.71      $212,343.95                   $0.00               $0.00
     02.28.21
14   03.01.21 –
                   $512,981.32    $656,058.89      $512,981.32      $656,058.89                   $0.00               $0.00
     03.31.21
15   04.01.21 -
                   $435,052.40    $352,317.40      $435,052.40      $352,317.40                   $0.00               $0.00
     04.30.21
16   05.01.21 -
                   $574,908.80    $426,779.24      $563,189.804     $415,060.235                  $0.00               $0.00
     05.31.21
17   06.01.21 –
                   $743,607.106   $578,102.045     $743,607.10      $578,102.04                   $0.00               $0.00
     06.30.21
18   07.01.21 –
                   $884,465.38    $456,030.36      $884,465.38      $456,030.36                   $0.00               $0.00
     07.31.21
19   08.01.21 –
                   $801,582.67    $379,266.07      $801,582.67      $379,266.07                   $0.00               $0.00
     08.31.21
20
     3
21       This amount is net of a write-off of $998.00 in accordance with the First Interim Fee
         Order, and net of a write-off of $22,331.50 in accordance with an agreement with the
22
         U.S. Trustee.
23   4
         This amount is net of a write-off of $11,719.01 in accordance with the First Interim
24       Fee Order.
     5
25       This amount is net of a write-off of $11,719.00 in accordance with the First Interim
         Fee Order.
26   6
      This amount is net of a write-off of $499.00 in accordance with the First Interim Fee
27   Order.
28                                                            P ACHULSKI S TANG                   B USH K ORNFELD           L LP
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 1                  Ranches         Farms
                                                                                                Ranches
                                                                                                                    Farms
                   Requested       Requested       Ranches             Farms Paid                                   Unpaid
       Period                                                                                    Unpaid
 2    Covered
                    Fees &          Fees &        Paid to Date           to Date
                                                                                               Balance Due
                                                                                                                  Balance Due
                   Expenses        Expenses
 3   09.01.21 -
                  $831,840.21     $356,058.73     $674,210.05         $292,694.48             $157,630.15         $63,364.20
     09.30.21
 4   10.01.21 -
                  $357,761.70     $266,597.02     $293,992.34         $220,991.07               $63,769.35        $45,605.95
     10.31.21
 5   11.01.21 -
                  $357,295.29     $252,433.93            $0.00                  $0.00         $357,295.29        $252,433.93
     11.30.21
 6
      Totals      $6,185,796.58   $3,935,987.63   $5,595,382.77       $3,562,864.49          $578,694.79         $361,404.08
 7

 8    E.       PSZJ’s Appointment as Debtors’ Counsel
 9             On February 9, 2021 PSZJ filed Debtors’ Application for Order Approving
10    Employment of Pachulski Stang Ziehl & Jones LLP as Counsel Nunc Pro Tunc to
11    Petition Dates [Docket No. 105]. On March 16, 2021, the court entered an order
12    authorizing the Debtors to retain PSZJ as its counsel, effective as of the Petition Dates
13    [Docket No. 386].
14    F.       Guidelines Pursuant to Which This Application Has Been Prepared
15             PSZJ submits this Application in accordance with the Fee Procedures Order, the
16    United States Trustee Guidelines for Reviewing Applications for Compensation and
17    Reimbursement of Expenses Filed Under 11 U.S.C. § 331 (“UST Guidelines”), and the
18    Local Bankruptcy Rules of the United States Bankruptcy Court for the Eastern District
19    of Washington (“LBR”).
20                                                      II.
21                       SUMMARY OF COMPENSATION REQUESTED
22    A.       Professionals and Hourly Rates
23             In compliance with Local Form 2016A, Exhibit C provides the names of all of
24    the attorneys who have been responsible for providing services to the Debtors, their
25    position, their hourly rate, total number of hours spent on the case and total fees charged
26    as a result of services they each provided to the Debtors.
27

28                                                              P ACHULSKI S TANG                   B USH K ORNFELD            L LP
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 1         In general, tasks were allocated among the professionals based upon their
 2   comparative expertise, taking into consideration the knowledge and experience of
 3   PSZJ’s professionals. PSZJ represented the Debtors as efficiently and effectively as
 4   possible during the Application Period
 5   B.    Previously Paid Compensation.
 6         PSZJ has received a total of $9,135,915.74 on account of its Monthly and Interim
 7   Fee Applications filed to date, net of all write-offs.
 8   C.    Project Billing
 9         PSZJ classified all services performed for which compensation is sought into
10   categories. PSZJ attempted to place the services performed in the category that best
11   relates to the service provided. However, because certain services affected multiple
12   categories, services pertaining to one category may occasionally be included in another
13   category. The fact that similar services appear in several different categories did not
14   result in any duplication of work or billing. In accordance with Local Form 2016, PSZJ
15   has categorized the services it has performed for the Debtors during the Application
16   Period into the categories set forth below.
17         Exhibit A includes the Firm’s invoices for the Application Period, which
18   includes detailed breakdown of the time entries and expenses incurred. A summary
19   chart of the fees incurred by category is attached hereto as Exhibit D-1.
20         1.     Asset Analysis / Recovery
21         During the Application Period, the Firm spent time investigating, reviewing
22   documents and analyzing the Debtors’ assets and potential for recoveries to the estates.
23   In particular, the Firm spent a significant amount of time investigating, reviewing
24   documents and analyzing CHS’ claims against Ranches and engaging in settlement
25   negotiations; analyzing water rights; addressing issues in connection with CFAP funds;
26   and conferring with counsel regarding probate status. The Firm continues to assist the
27

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 1   Debtors in piecing together the puzzle that is the Easterday family’s real estate holdings
 2   (including more than 1,000 acres of lakeside property in Idaho).
 3         2.     Asset Disposition
 4         During the Application Period, the Firm assisted the Debtors with the marketing
 5   and sale of substantially all of the Debtors’ farm equipment and related personal
 6   property, including, without limitation, rolling stock and other equipment used in
 7   connection with the Debtors’ operations (the “Equipment”) to Blue Tag Rams LLC for
 8   approximately $14 million, as well as covering the cost of transportation of the
 9   equipment off of the Debtors’ property. The sale of the Equipment closed on September
10   24, 2021.
11         The Firm also assisted the Debtors with the sale of Farms’ 1/6th membership
12   interest in Pasco Hangar, L.L.C., which in turn owns and operates a hangar at the Tri-
13   Cities Airport located in Pasco, Washington for the benefit of its members to Omaha,
14   L.L.C. for $270,000.
15         3.     Bankruptcy Litigation
16         During the Application Period, the Firm assisted the Debtors in the preparation
17   and filing of a Complaint (I) to Determine Validity, Priority, or Extent of Interests in
18   Property and (II) for Declaratory Judgment (the “Allocation Complaint”) seeking a
19   determination regarding the interests of the Debtors’ estates in certain real estate and
20   related property in Benton County, Washington (collectively, the “Disputed Property”)
21   that was allegedly owned, at least in part, by individual members of the Easterday
22   family. The Firm continues to review and analyze documents in connection with its
23   efforts to assist the Debtors in their analysis of the Debtors’ and the Easterday family’s
24   assets for potential recoveries to the estates.
25         4.     Case Administration
26         During the Application Period, the Firm, among other things: (i) reviewed
27   correspondences and pleadings and forwarded them to appropriate parties; (ii)
28                                                       P ACHULSKI S TANG                   B USH K ORNFELD           L LP
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 1   maintained a memorandum of critical dates; (iii) conferred and corresponded with
 2   parties in interest regarding case status and administration issues; (iv) maintained a case
 3   task list; and (v) participated on regular internal status calls regarding case issues, and
 4   pending matters.
 5         5.        Corporate Governance
 6         During the Application Period, the Firm spent time preparing for and
 7   participating in weekly meetings with the Debtors’ board of directors and also regularly
 8   communicated with members of the Board regarding a variety of general business
 9   matters, including cattle feeding and farming operations, negotiations surrounding the
10   proposed plan, sale related issues, litigation issues, as well as general business
11   operations; and preparing minutes of Board meetings.
12         6.        Claims Administration / Objection
13         During the Application Period, the Firm engaged in discovery and ultimately
14   negotiated settlements with each Prudential and Equitable on the Debtors’ objections to
15   their claims.
16         7.        Compensation of Professionals
17         During the Application Period, the Firm, among other things, (i) prepared its
18   monthly fee statements that are the subject of this Application; (ii) prepared its second
19   interim fee application; (iii) assisted estate Professionals with the preparation of their
20   monthly fee statements; (iv) reviewed and analyzed monthly fee statements of the
21   Committees’ professionals; and (v) maintained a Professional’s fee tracking chart.
22         In addition, the Firm spent a significant amount of time preparing a supplemental
23   fee procedures motion seeking authority to transfer $15,000,000 of Net Sale Proceeds
24   from the Escrow Account to the trust account of PSZJ for the purpose of using Net Sale
25   Proceeds to satisfy previously approved fee awards as well as future amounts approved
26   pursuant to the Fee Procedures Order or applications filed by the Debtors’ professionals,
27

28                                                    P ACHULSKI S TANG                   B USH K ORNFELD           L LP
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 1   and engaging in good faith negotiations concerning the relief requested in the motion,
 2   which ultimately led to the agreement of the requested relief.
 3         8.     Executory Contracts
 4         During the Application Period, the Firm reviewed and analyzed various lease
 5   issues.
 6         9.     Financial Filings
 7         During the Application Period, the Firm assisted the Debtors with the preparation
 8   and filing of their monthly operating reports.
 9         10.    Financing
10         During the Application Period, the Firm, among other things, reviewed and
11   analyzed weekly budget and variance reports, and addressed cash collateral issues.
12         11.    General Creditors’ Committee
13         During the Application Period, the Firm held regular litigation status and strategy
14   calls with the Committees and engaged in the sharing of discovery and addressing
15   related issues.
16         12.    Hearing
17         During the Application Period, the Firm billed time to this category preparing for
18   and attending the various hearings and auction held during the Application Period. In
19   accordance with the court’s ruling at the hearing on the Firm’s first interim fee
20   application, the Firm has limited its fee request for the number of attendees to four (4)
21   per hearing (the “Hearing Attendance Cap”). Below is a chart itemizing the Firm’s
22   professionals and paraprofessionals who attended each of the hearings, and the
23   respective write-offs that were applied to each of the Monthly Fee Statements during
24   the Application Period in accordance with the Hearing Attendance Cap. Accordingly,
25   the Firm has written off $19,378.50 of fees for attendees at hearings.
26
27

28                                                     P ACHULSKI S TANG                   B USH K ORNFELD           L LP
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 1                                                                           TOTAL
        HEARING                                       HOURLY                                   WRITE-
                               ATTENDEE                                       FEES
 2       DATE                                          RATE                                     OFF
                                                                             BILLED
 3     9/8/2021      Richard M. Pachulski           $1,595.00                $1,116.50
       9/8/2021      Paul J. Labov                  $1,095.00                  $657.00
 4     9/8/2021      Jeffrey W. Dulberg             $1,025.00                  $512.50
       9/8/2021      Jason H. Rosell                 $845.00                   $591.50
 5     9/8/2021      Ben L. Wallen                   $750.00                   $300.00            $300.00
 6     9/8/2021      Patricia J. Jeffries            $460.00                   $184.00            $184.00
       9/15/2021     Richard M. Pachulski           $1,595.00                $1,276.00
 7     9/15/2021     Alan J. Kornfeld               $1,395.00                $1,813.50
       9/15/2021     Karen B. Dine                  $1,195.00                  $597.50
 8
       9/15/2021     Maxim B. Litvak                $1,125.00                  $562.50
 9     9/15/2021     Jeffrey W. Dulberg             $1,025.00                  $615.00            $615.00
       9/15/2021     Jason H. Rosell                 $845.00                   $507.00            $507.00
10     9/22/2021     Richard M. Pachulski           $1,595.00                $4,944.50
11     9/22/2021     Alan J. Kornfeld               $1,395.00                $4,464.00
       9/22/2021     Paul J. Labov                  $1,095.00                $3,285.00
12     9/22/2021     Karen B. Dine                  $1,195.00                $2,031.50
       9/22/2021     Maxim B. Litvak                $1,125.00                $1,125.00         $1,125.00
13
       9/22/2021     Jeffrey W. Dulberg             $1,025.00                $3,075.00         $3,075.00
14     9/22/2021     Elissa A. Wagner                $925.00                 $2,775.00         $2,775.00
       9/22/2021     Tavi C. Flanagan                $875.00                 $2,625.00         $2,625.00
15     9/22/2021     Jason H. Rosell                 $845.00                 $1,943.50         $1,943.50
16     9/22/2021     Patricia J. Jeffries            $460.00                 $1,380.00         $1,380.00
       10/20/2021    Richard M. Pachulski           $1,595.00                  $957.00
17     10/20/2021    Maxim B. Litvak                $1,125.00                  $562.50
       10/20/2021    Paul J. Labov                  $1,095.00                  $438.00
18     10/20/2021    Jeffrey W. Dulberg             $1,025.00                  $512.50
19     10/20/2021    Jason H. Rosell                 $845.00                   $422.50            $422.50
       10/20/2021    Patricia J. Jeffries            $460.00                   $230.00            $230.00
20     11/17/2021    Richard M. Pachulski           $1,595.00                $2,073.50
       11/17/2021    Jeffrey W. Dulberg             $1,025.00                $1,332.50
21
       11/17/2021    Jason H. Rosell                 $845.00                 $1,183.00
22     11/17/2021    Karen B. Dine                  $1,195.00                $1,553.50
       11/17/2021    Maxim B. Litvak                $1,125.00                $1,125.00        $1,125.00
23     11/17/2021    Paul J. Labov                  $1,095.00                $1,423.50        $1,423.50
24     11/17/2021    Ben L. Wallen                   $750.00                 $1,050.00        $1,050.00
       11/17/2021    Patricia J. Jeffries            $460.00                   $598.00          $598.00
25     TOTALS                                                               $49,843.00       $19,378.50
26
27

28                                                  P ACHULSKI S TANG                   B USH K ORNFELD           L LP
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 1         13.    Litigation
 2         During the Application Period, the Firm assisted the Debtors in the filing of a
 3   motion to approve Ranches’ entry into that certain Consent Order for Permanent
 4   Injunction, Civil Monetary Penalty, and Other Equitable Relief, thereby settling and
 5   resolving the claims asserted by the Commodity Futures Trading Commission (the
 6   “CFTC”) against Ranches in an action brought by the CFTC.
 7         14.    Operations
 8         During the Application Period, the Firm addressed general operational issues of
 9   the Debtors, including addressing insurance issues and entering into a stipulation
10   regarding the return of a utility deposit.
11         15.    Plan and Disclosure Statement
12         During the Application Period the Firm, among other things: (i) prepared a First
13   Amended Joint Chapter 11 Plan of Liquidation of Easterday Ranches, Inc. and
14   Easterday Farms (the “Plan”) and Disclosure Statement for the First Amended Joint
15   Chapter 11 Plan of Liquidation of Easterday Ranches, Inc. and Easterday Farms (the
16   “Disclosure Statement”), (ii) prepared a motion to further extend the Debtors’ Plan
17   filing and solicitation exclusivity deadlines; and (iii) reviewed and analyzed various
18   waterfall analyses. The Firm has continued to engage in negotiations with the
19   Committees, Tyson, Washington Trust Bank, Segale and other parties in interest in
20   connection with the Plan and Disclosure Statement.
21         16.    Retention of Professionals
22         During the Application Period, the Firm addressed correspondence regarding the
23   Easterday family’s allegation of the Firm’s potential conflict of interest.
24         17.    Stay Litigation
25         During the Application Period, the Firm conferred with the Debtors regarding
26   Mack Financial Services relief from stay order.
27

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 1            18.   Tax Issues
 2            During the Application Period, the Firm analyzed certain tax issues related to the
 3   sale of the Debtors’ assets.
 4                                                III.
 5                               REVIEW AND CERTIFICATION
 6   A.       Client Review
 7            PSZJ has provided the Debtors this Application for review prior to its filing.
 8   B.       Certification of Counsel
 9            The undersigned counsel, on behalf of PSZJ, certifies that, in accordance with
10   the concurrently filed declaration of Jeffrey W. Dulberg:
11            a.    I have read the instant Application;
12            b.    The compensation and expense reimbursement requested are billed at
13   rates, in accordance with practices, no less favorable than those customarily employed
14   by PSZJ and generally accepted by PSZJ’s clients;
15            c.    At all relevant times, PSZJ has been a disinterested person as that term is
16   defined in § 101(14)7 of the Bankruptcy Code and has not represented or held an interest
17   adverse to the interest of the Debtors;
18            d.    In accordance with the representation required by Local Form 2016,
19   neither PSZJ nor any members of PSZJ has any agreement or understanding of any kind
20   or nature to divide, pay over or share any portion of the fees or expenses to be awarded
21   to PSZJ with any other person or attorney except as among the members and associates
22   of PSZJ;
23            e.    In accordance with the representation required by Local Form 2016, to the
24   best of the knowledge, information and belief of the undersigned, formed after
25

26   7
           All references to “section” (or “sections”), or “§” (or “§§”) are to Sections of the
           United States Bankruptcy Code. All references to “Rules” are to the Federal Rules
27         of Bankruptcy Procedure.
28                                                       P ACHULSKI S TANG                 B USH K ORNFELD           L LP
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 1   reasonable inquiry, no time has been billed to the Debtors outside the scope of work
 2   authorized by the Order authorizing the employment of PSZJ;
 3         f.     In accordance with the representation required by Local Form 2016, all
 4   compensation for services rendered and reimbursement for expenses incurred, for
 5   which an award is sought for representing the interests of the Debtors, were necessary
 6   and beneficial to the Debtors in connection with the Cases; and
 7         g.     To the best of the knowledge, information and belief of the undersigned,
 8   formed after reasonable inquiry, the compensation and expense reimbursement sought
 9   herein is in conformity with the Fee Procedures Order, the LBR and the Guidelines of
10   the Office of the United States Trustee.
11                                              IV.
12                       COSTS AND SUMMARY OF EXPENSES
13         The UST Guidelines require that an application seeking reimbursement of
14   expenses include a summary identifying all expenses by category. In accordance with
15   the information required by Local Form 2016, PSZJ provides the amounts of expenses
16   incurred by PSZJ each month in the chart set forth below:
17
                                Month                   Amount Billed
18                                                        $82,926.93
                          September
19                        October                         $77,482.21
20                        November                        $77,560.22
                          Total                             $237,969.36
21

22
           To assist the court in reviewing PSZJ’s request for reimbursement of the expenses
23
     incurred in connection with its representation of the Debtors during the Application
24
     Period, and in accordance with the information required by Local Form 2016, PSZJ’s
25
     general categories of costs and expenses for which it seeks reimbursement by this
26
     Application are described below. PSZJ customarily charges $0.20 per page for
27

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 1   photocopying expenses, as well as $0.10 per page for scanning and copying expenses.
 2   PSZJ’s photocopying machines automatically record the number of copies made when
 3   the person that is doing the copying enters the client’s account number into a device
 4   attached to the photocopier. PSZJ summarizes each client’s photocopying charges on a
 5   daily basis. Whenever feasible, PSZJ sends large copying projects to an outside copy
 6   service that charges a reduced rate for photocopying.
 7         Regarding providers of on-line legal research, PSZJ charges the standard usage
 8   rates these providers charge for computerized legal research. PSZJ bills its clients the
 9   actual amount charged by such services, with no premium. Any volume discount
10   received by PSZJ is passed on to the client. PSZJ does not charge for local or long
11   distance calls placed by attorneys from their offices. PSZJ only bills its clients for the
12   actual costs charged to PSZJ by teleconferencing services in the event that a multiple
13   party teleconference is initiated through PSZJ.
14         As required by Local Form 2016, itemized Statements on expenses incurred
15   during the Application Period are attached to each Monthly Fee Statement, and included
16   herein as part of Exhibit A. A summary of the expenses incurred by category is attached
17   hereto as Exhibit D-2.
18                                              V.
19                                   LEGAL ARGUMENT
20         In determining the amount of allowable fees under § 330, courts are to be guided
21   by the same “general principles” as are to be applied in determining awards under the
22   federal fee-shifting statutes, with “some accommodation to the peculiarities of
23   bankruptcy matters.” In re Manoa Finance Co., Inc., 853 F.2d 687, 691 (9th Cir. 1988);
24   see Meronk v. Arter & Hadden, LLP (In re Meronk), 249 B.R. 208, 213 (B.A.P. 9th Cir.
25   2000) (reiterating that Manoa Finance is the controlling authority and characterizing
26   the factor test identified in Johnson v. Georgia Highway Express, Inc., 488 F.2d 714
27   (5th Cir. 1974) and Kerr v. Screen Extras Guild, Inc., 526 F.2d 67, 70 (9th Cir. 1975),
28                                                     P ACHULSKI S TANG                   B USH K ORNFELD           L LP
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 1   cert. denied, 425 U.S. 951 (1976), as an “obsolete laundry list” now subsumed within
 2   more refined analyses).
 3         The Supreme Court has evaluated the lodestar approach and endorses its usage.
 4   In Hensley v. Eckerhart, 461 U.S. 424 (1983), a civil rights case, the Supreme Court
 5   held that while the Johnson factors might be considered in setting fees, the lodestar
 6   amount subsumed many of those factors. Hensley, at 434, n. 9. The following year,
 7   another civil rights case, Blum v. Stenson, 465 U.S. 886 (1984), provided the so-called
 8   lodestar calculation: “The initial estimate of a reasonable attorney’s fee is properly
 9   calculated by multiplying the number of hours reasonably expended on the litigation
10   times a reasonable hourly rate . . . Adjustments to that fee then may be made as
11   necessary in the particular case.” Blum, 465 U.S. at 888.
12         While the lodestar approach is the primary basis for determining fee awards under
13   the federal fee-shifting statutes and Bankruptcy Code, some of the Johnson/Kerr
14   factors, previously applied in an ad hoc fashion, can still apply in calculating the
15   appropriate hourly rate to use under the lodestar approach. In re Charles Russell
16   Buckridge, Jr., 367 B.R. 191, 201 (C.D. Cal. 2007) (“a court is permitted to adjust the
17   lodestar up or down using a multiplier based on the criteria listed in § 330 and its
18   consideration of the Kerr factors not subsumed within the initial calculations of the
19   lodestar”); see also Dang v. Cross, 422 F.3d 800, 812 (9th Cir. 2005) (court may “adjust
20   the lodestar amount after considering other factors that bear on the reasonableness of
21   the fee”); Unsecured Creditors’ Comm. v. Puget Sound Plywood, Inc., 924 F.2d 955,
22   960 (9th Cir. 1991) (“Although Manoa suggests that starting with the ‘lodestar’ is
23   customary, it does not mandate such an approach in all cases . . . Fee shifting cases are
24   persuasive, but due to the uniqueness of bankruptcy proceedings, they are not
25   controlling.”).
26         PSZJ submits that the hourly rates for its attorneys are reasonable and appropriate
27   in the relevant community and in view of the circumstances of these Cases. By this
28                                                     P ACHULSKI S TANG                   B USH K ORNFELD           L LP
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 1   Application, PSZJ requests that the court approve the allowance of compensation and
 2   the reimbursement of expenses during the Application Period. The full scope of the
 3   services provided and the related expenses incurred are fully described herein and/or in
 4   the attached billing statements attached as Exhibit A. All services for which PSZJ
 5   requests compensation were performed for or on behalf of the Debtors.
 6         The professional services and related expenses for which PSZJ requests
 7   allowance of compensation and reimbursement of expenses were rendered and incurred
 8   in connection with these Cases in the discharge of PSZJ’s professional responsibilities
 9   as attorneys for the Debtors in these Cases. PSZJ’s services were necessary and
10   beneficial to the Debtors and their estates, creditors and other parties-in-interest.
11         In accordance with the factors enumerated in § 330, the amount requested by
12   PSZJ is fair and reasonable given (a) the complexity of the case, (b) the time expended,
13   (c) the nature and extent of the services rendered, (d) the value of such services, and (e)
14   the costs of comparable services other than in a case under the Bankruptcy Code.
15         Therefore, for the reasons set forth above, PSZJ respectfully submits that the
16   foregoing establishes that PSZJ’s requested fees and expenses are reasonable and
17   appropriate and should be approved by this court.
18                                               VI.
19          OTHER COMPLIANCE WITH LARGE CASE REQUIREMENTS
20         Attached as Exhibit B through Exhibit E are the exhibits that PSZJ understands
21   need to be completed and filed together with this Application in order to comply with
22   the UST Guidelines. In addition, pursuant to paragraph C.5 of the Appendix B. of the
23   UST Guidelines, PSZJ provides the following statements:
24                    INQUIRY                                           STATEMENTS
25    Did you agree to any variations from, or     No.
      alternatives to, your standard or
26
      customary billing rates, fees or terms
27    for services pertaining to this
28                                                     P ACHULSKI S TANG                  B USH K ORNFELD           L LP
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 1                    INQUIRY                                           STATEMENTS
 2   engagement that were provided during
     the application period? If so, please
 3   explain
 4   If the fees sought in this fee application     N/A
     as compared to the fees budgeted for the
 5   time period covered by this fee
 6   application are higher by 10% or more,
     did you discuss the reasons for the
 7   variation with the client?
 8   Have any of the professionals included         No.
     in this fee application varied their
 9   hourly rate based on the geographic
10   location of the bankruptcy case?
     Does the fee application include time or       No.
11
     fees related to reviewing or revising
12   time records or preparing, reviewing, or
     revising invoices? (This is limited to
13
     work involved in preparing and editing
14   billing records that would not be
     compensable outside of bankruptcy and
15
     does not include reasonable fees for
16   preparing a fee application). If so,
     please quantify by hours and fees.
17
     Does this fee application include time or      No.
18   fees for reviewing time records to redact
     any privileged or other confidential
19
     information? If so, please quantify by
20   hours and fees.
     If the fee application includes any rate       N/A
21
     increases since retention:
22           i. Did your client review and
23
     approve those rate increases in advance?
             ii. Did your client agree when
24   retaining the law firm to accept all
25
     future rate increases? If not, did you
     inform your client that they need not
26   agree to modified rates or terms in order
27
     to have you continue the representation,

28                                                    P ACHULSKI S TANG                   B USH K ORNFELD           L LP
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 1                   INQUIRY                                             STATEMENTS
 2    consistent with ABA Formal Ethics
      Opinion 11-458?
 3
                                                  VII.
 4
                                          CONCLUSION
 5
           The interim compensation and reimbursement of expenses sought in this
 6
     Application are not final. Upon the conclusion of these cases, the Firm will seek fees
 7
     and reimbursement of the expenses incurred for the totality of the services rendered in
 8
     these cases. Any interim fees or reimbursement of expenses approved by this court and
 9
     received by the Firm (along with any retainer) will be credited against such final fees
10
     and expenses as may be allowed by this court.
11
           WHEREFORE, PSZJ respectfully requests that, pursuant to the Fee Procedures
12
     Order, the court (i) allow on an interim basis compensation in the amount of
13
     $2,184,017.50 for services rendered by PSZJ during the Application Period; (ii) allow
14
     on an interim basis reimbursement of expenses in the amount of $237,969.36 for
15
     expenses incurred during the Application Period; (iii) authorize payment of these
16
     allowed fees and expenses to PSZJ; and (iv) grant such other and further relief as the
17
     court may deem proper.
18
     Dated: February 1, 2022           PACHULSKI STANG ZIEHL & JONES LLP
19

20                                     /s/ Jeffrey W. Dulberg
                                       RICHARD M. PACHULSKI (Admitted Pro Hac Vice)
21                                     JEFFREY W. DULBERG (Admitted Pro Hac Vice)
22                                     JASON H. ROSELL (Admitted Pro Hac Vice)
                                       Attorneys for Debtors and Debtors in Possession
23
     Submitted by:
24
     BUSH KORNFELD LLP
25
     /s/ Thomas A. Buford, III
26   THOMAS A. BUFORD, III (WSBA 52969)
     BUSH KORNFELD LLP
27

28                                                       P ACHULSKI S TANG                 B USH K ORNFELD           L LP
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 1                     DECLARATION OF JEFFREY W. DULBERG
 2          JEFFREY W. DULBERG, declares as follows:
 3         1.     I am a partner with the law firm of Pachulski Stang Ziehl & Jones LLP
 4   (“PSZJ” or the “Firm”), attorneys of record for the Debtors. I have read the Application
 5   and the following is within my personal knowledge, and if called upon as a witness, I
 6   could and would testify competently with respect thereto. I am submitting this
 7   declaration in support of Third Interim Application of Pachulski Stang Ziehl & Jones,
 8   LLP, for Compensation and Reimbursement of Expenses for the Period September 1,
 9   2021 through November 30, 2021 (the “Application”).
10         2.     By way of the Application, PSZJ seeks interim allowance of fees and
11   expenses totaling $2,421,986.86, comprising fees of $2,184,017.50 and expenses of
12   $237,969.36.
13         3.     As set forth in the Application, PSZJ has received a total of $1,481,887.94
14   on account of its Monthly Fee Applications for the months of September, October and
15   November, 2021, and a total of $9,135,915.74 to date.
16         4.     As further set forth in the Application, PSZJ has written-off a total of
17   $19,378.50 in fees for professionals in excess of four (4) attending hearings in
18   compliance with the Hearing Attendance Cap pursuant to the First Interim Order.
19         5.     The compensation and expense reimbursement requested are billed at
20   rates, in accordance with practices, no less favorable than those customarily employed
21   by PSZJ and general accepted by PSZJ’s clients.
22         6.     At all relevant times, PSZJ has been a disinterested person as that term is
23   defined in § 101(14) of the Bankruptcy Code and has not represented or held an interest
24   adverse to the interest of the Debtors.
25         7.     Neither PSZJ nor any members of PSZJ has any agreement or
26   understanding of any kind or nature to divide, pay over or share any portion of the fees
27

28                                                  P ACHULSKI S TANG                   B USH K ORNFELD           L LP
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 1   or expenses to be awarded to PSZJ with any other person or attorney except as among
 2   the members and associates of PSZJ.
 3         8.     To the best of my knowledge, information and belief, formed after
 4   reasonable inquiry, no time has been billed to the Debtors outside the scope of work
 5   authorized by the Order authorizing the employment of PSZJ.
 6         9.     All compensation for services rendered and reimbursement for expenses
 7   incurred, for which an award is sought for representing the interests of the Debtors,
 8   were necessary and beneficial to the Debtors in connection with the Cases.
 9         10.    To the best of my knowledge, information and belief, formed after
10   reasonable inquiry, the compensation and expense reimbursement sought herein is in
11   conformity with the Fee Procedures Order, the LBR and the UST Guidelines.
12         11.    In the ordinary course of its business, PSZJ keeps a record of all time
13   expended by its professionals and para-professionals in the rendering of professional
14   services on a computerized billing system as follows: at or near the time the professional
15   services are rendered, attorneys and other professionals of the Firm either: (1) record in
16   writing on a time sheet the client/matter name or number, the duration of time expended,
17   and a description of the nature of the services performed, or (2) input the time record,
18   including the client/matter number, duration of time expended, a description of the
19   nature of the services performed directly into the Firm’s computer billing system. For
20   the professionals who record their time using written time sheets, the information
21   contained in the time sheets is then transcribed into the Firm’s computer billing system.
22   The Firm’s computer billing system keeps a record of all time spent on a client/matter,
23   the professional providing the services and a description of the services rendered. The
24   Firm’s computer billing system computes the time expended by each professional by
25   the respective professional’s billing rate to calculate the amount of the fee associated.
26   The Firm conducts its business in reliance on the accuracy of such business records.
27

28                                                   P ACHULSKI S TANG                   B USH K ORNFELD           L LP
      PACHULSKI STANG ZIEHL & JONES LLP
                                                     Z IEHL & J ONES L LP                        LAW OFFICES
      3RD INTERIM FEE APPLICATION – Page 20        10100 Santa Monica Blvd., 13th Flr.
                                                                                            601 Union St., Suite 5000
                                                                                         Seattle, Washington 98101-2373
                                                     Los Angeles, CA 90067-4003             Telephone (206) 292-2110
                                                       Telephone (310) 277-6910
                                                                                            Facsimile (206) 292-2104
                                                       Facsimile (310) 201-0760
21-00141-WLH11     Doc 1376    Filed 02/01/22   Entered 02/01/22 15:07:31                  Pg 20 of 238
 1           12.    I have reviewed PSZJ’s Monthly Fee Statements for services rendered in
 2   connection with its representation of the Debtors in these Cases during the Application
 3   Period, a copy of each Monthly Fee Statement is attached to this Declaration as
 4   Exhibit 18.
 5           13.    PSZJ advanced costs, including certain in-house charges in connection
 6   with the performance of the services described in this Application.
 7           14.    PSZJ customarily charges $0.20 per page for photocopying expenses, as
 8   well as $0.10 per page for scanning and copying expenses. PSZJ’s photocopying
 9   machines automatically record the number of copies made when the person that is doing
10   the copying enters the client’s account number into a device attached to the photocopier.
11   PSZJ summarizes each client’s photocopying charges on a daily basis. Whenever
12   feasible, PSZJ sends large copying projects to an outside copy service that charges a
13   reduced rate for photocopying.
14           15.    Regarding providers of on-line legal research, PSZJ charges the standard
15   usage rates these providers charge for computerized legal research. PSZJ bills its clients
16   the actual amount charged by such services, with no premium. Any volume discount
17   received by PSZJ is passed on to the client. PSZJ does not charge for local or long
18   distance calls placed by attorneys from their offices. PSZJ only bills its clients for the
19   actual costs charged to PSZJ by teleconferencing services in the event that a multiple
20   party teleconference is initiated through PSZJ.
21           16.    I have reviewed the Fee Procedures Order [Docket No. 583] and the
22   requirements of LBR 2016-1. The Application complies with the Fee Procedures Order
23   and LBR 2016-1.
24

25
     8
26       The monthly invoices associated with each of the Monthly Fee Statements has been
         attached to the Application as Exhibit A and are therefore, not included with each of
27       the Monthly Fee Statements attached hereto as Exhibit 1.
28                                                    P ACHULSKI S TANG                   B USH K ORNFELD           L LP
         PACHULSKI STANG ZIEHL & JONES LLP
                                                      Z IEHL & J ONES L LP                        LAW OFFICES
         3RD INTERIM FEE APPLICATION – Page 21      10100 Santa Monica Blvd., 13th Flr.
                                                                                             601 Union St., Suite 5000
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                                                                                             Facsimile (206) 292-2104
                                                        Facsimile (310) 201-0760
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 1         17.    I participated in preparing, am familiar with, and have read the
 2   Application. To the best of my knowledge, information and belief, the facts in the
 3   Application are true and correct.
 4         I declare under penalty of perjury under the laws of the state of California that
 5   the foregoing information is true and correct.
 6
           DATED this 1st day of February 2022, at Los Angeles, California.
 7

 8                                                 /s/ Jeffrey W. Dulberg
 9                                                 JEFFREY W. DULBERG
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28                                                    P ACHULSKI S TANG                 B USH K ORNFELD           L LP
     PACHULSKI STANG ZIEHL & JONES LLP
                                                      Z IEHL & J ONES L LP                      LAW OFFICES
     3RD INTERIM FEE APPLICATION – Page 22        10100 Santa Monica Blvd., 13th Flr.
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                                                    Los Angeles, CA 90067-4003             Telephone (206) 292-2110
                                                      Telephone (310) 277-6910
                                                                                           Facsimile (206) 292-2104
                                                      Facsimile (310) 201-0760
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                                  EXHIBIT 1
        (Monthly Fee Statements – September 2021 – November 2021)




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 1       ARMAND J. KORNFELD (WSBA #17214)                HON. WHITMAN L. HOLT
         THOMAS A. BUFORD (WSBA #52969)
 2       RICHARD B. KEETON (WSBA #51537)
         BUSH KORNFELD LLP
 3       601 Union Street, Suite 5000
         Seattle, WA 98101
 4       Tel.: (206) 292-2110
         Facsimile: (206) 292-2104
 5       Emails: jkornfeld@bskd.com,
         tbuford@bskd.com, and rkeeton@bskd.com
 6
         RICHARD M. PACHULSKI (CA Bar #90073)*
 7       JEFFREY W. DULBERG (CA Bar #181200)*
         JASON H. ROSELL (CA Bar #269126)*
 8       PACHULSKI STANG ZIEHL & JONES LLP
         10100 Santa Monica Blvd., 13th Floor
 9       Los Angeles, CA 90067-4003
         Tel: (310) 277-6910
10       Facsimile: (310) 201-0760
         Emails: rpachulski@pszjlaw.com,
11       jdulberg@pszjlaw.com, and
         jrosell@pszjlaw.com
12
         *Admitted Pro Hac Vice
13
         Attorneys for the Chapter 11
14       Debtors and Debtors in Possession
15                                UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF WASHINGTON
16
     In re                                        Chapter 11
17
     EASTERDAY RANCHES, INC., et al.              Lead Case No. 21-00141-11
18                                                Jointly Administered
                                      Debtors.1
19                                                SEVENTH MONTHLY FEE
                                                  APPLICATION OF PACHULSKI
20                                                STANG ZIEHL & JONES LLP FOR
                                                  ALLOWANCE AND PAYMENT OF
21                                                INTERIM COMPENSATION AND
                                                  REIMBURSEMENT OF EXPENSES
22                                                FOR THE PERIOD SEPTEMBER 1,
                                                  2021 THROUGH SEPTEMBER 30, 2021
23
                                                  [No Hearing Required Pursuant to L.B.R.
24                                                2002-1(c)(1)]
25

26   1
         The Debtors along with their case numbers are as follows: Easterday Ranches, Inc.,
27       (21-00141) and Easterday Farms, a Washington general partnership (21-00176).
     DOCS_LA:340685.1 20375/001                       P ACHULSKI S TANG                   B USH K ORNFELD           L LP
28       PACHULSKI STANG ZIEHL & JONES LLP            Z IEHL & J ONES L LP                        LAW OFFICES
                                                                                             601 Union St., Suite 5000
         MONTHLY FEE APPLICATION – Page 1           10100 Santa Monica Blvd., 13th Flr.   Seattle, Washington 98101-2373
                                                      Los Angeles, CA 90067-4003
                                                                                             Telephone (206) 292-2110
                                                        Telephone (310) 277-6910
                                                                                             Facsimile (206) 292-2104
                                                        Facsimile (310) 201-0760
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                                                                         1 of 85
                                                                              238
 1           Pachulski Stang Ziehl & Jones LLP (the “Firm”) submits its seventh monthly fee
 2   application (the “Application”) for allowance and payment of interim compensation and
 3   reimbursement of expenses for the period September 1, 2021 – September 30, 2021 (the
 4   “Application Period”) for work performed for the Debtors.                                   In support of the
 5   Application, the Firm respectfully represents as follows:
 6           The Firm is general bankruptcy counsel to the Debtors. The Firm hereby applies
 7   to the Court for allowance and payment of interim compensation for services rendered
 8   and reimbursement of expenses incurred during the Application Period.
 9           1.       The Firm billed a total of $1,187,898.93 in fees and expenses during the
10   Application Period. The total fees represent 998.50 hours expended during the period
11   covered by this Application. These fees and expenses break down as follows:
12                                      SUMMARY BY MONTH
13
                  Period                Fees               Expenses                      Total
14
                  09.01.21 – 09.30.21   $1,104,972.00            $82,926.93                $1,187,898.93
15
                  Total                 $1,104,972.00            $82,926.93                $1,187,898.93
16
                                        SUMMARY BY DEBTOR
17

18                                             Ranches             Farms                        Total

19                 Fees                   $788,150.75        $316,821.25                  $1,104,972.00

20                 Expenses                $43,689.46         $39,237.48                        $82,926.94

21                 Total                  $831,840.21        $356,058.73                  $1,187,898.94
22                 Hours                         712.25              286.25                         998.50
23

24           2.       Notwithstanding the monthly fee application and the request sought herein,
25   and the interim allowance of any fees or reimbursement of expenses contained herein,
26   the Debtors will not pay any amounts to the Firm in excess of the amounts set forth in
27   the court-approved budgets [Docket Nos. 470 and 471] absent further order of the court.
     DOCS_LA:340685.1 20375/001                             P ACHULSKI S TANG                    B USH K ORNFELD            L LP
28    PACHULSKI STANG ZIEHL & JONES LLP                     Z IEHL & J ONES L LP                          LAW OFFICES
                                                                                                     601 Union St., Suite 5000
      MONTHLY FEE APPLICATION – Page 2                    10100 Santa Monica Blvd., 13th Flr.     Seattle, Washington 98101-2373
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                                                              Facsimile (310) 201-0760
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                                                                         2 of 85
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 1           3.       Accordingly, the Firm seeks allowance of interim compensation in the total
 2   amount of $966,904.53 at this time. This total is comprised as follows: $883,977.60
 3   (80% of the fees for services rendered) plus $82,926.93 (100% of the expenses
 4   incurred).
 5           4.       For the postpetition period, the Firm has been paid to date as follows:
 6
      Application Period                   Amount                     Description
 7                                                                    100% of fees and 100% of
      First (02/01/21 – 03/31/21)            $2,067,685.87
 8                                                                    expenses
                                                                      100% of fees and 100% of
 9    Second (04/01/21 – 04/30/21)             $787,369.80
                                                                      expenses
10                                                                    100% of fees and 100% of
                                                                      expenses (net of a reduction
11    Third (05/01/21 – 05/31/21)            $1,001,188.02
                                                                      of fees and expenses in the
12                                                                    amount of $500.01)
                                                                      100% of fees and 100% of
13                                                                    expenses (net of a reduction
      Fourth (06/01/21 – 06/30/21)           $1,321,709.14
14                                                                    of fees in the amount of
                                                                      $998.00)
15                                                                    100% of fees and 100% of
      Fifth (07/01/21 – 07/31/21)            $1,340,495.73
16                                                                    expenses
                                                                      100% of fees and 100% of
17
                                                                      expenses (net of a reduction
18    Sixth (08/01/21 – 08/31/21)            $1,135,579.24            of fees in the amount of
                                                                      $45,269.50 taken in the 2nd
19
                                                                      interim application)
20    Total Paid to Date                     $7,654,027.80
21
             5.       To date, the Firm is owed as follows (excluding amounts owed pursuant to
22
     this Application):
23

24    Application Period                   Amount                     Description
25    N/A
26
      Total Owed to Date

27
     DOCS_LA:340685.1 20375/001                          P ACHULSKI S TANG                   B USH K ORNFELD           L LP
28    PACHULSKI STANG ZIEHL & JONES LLP                  Z IEHL & J ONES L LP                        LAW OFFICES
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      MONTHLY FEE APPLICATION – Page 3                 10100 Santa Monica Blvd., 13th Flr.   Seattle, Washington 98101-2373
                                                         Los Angeles, CA 90067-4003
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                                                           Telephone (310) 277-6910
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                                                           Facsimile (310) 201-0760
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                                                                              238
 1           6.       Attached as Exhibit A hereto is the name of each professional who
 2   performed services in connection with these cases during the period covered by this
 3   Application and the hourly rate for each such professional.                           Attached hereto as
 4   Exhibit B are the detailed time and expense statements for the Application Period.
 5           7.       The Firm has served a copy of this Application on the above-captioned
 6   debtors (the “Debtors”), counsel to the Official Committees of Unsecured Creditors
 7   appointed in these cases, and the Office of the United States Trustee. The Application
 8   was mailed by first class mail, postage prepaid, on or about November 10, 2021. Notice
 9   of the filing of this Application was served on the foregoing parties as well as any party
10   who has requested special notice in these chapter 11 cases as of the date of the Notice.
11   The Notice was mailed by first class mail, postage prepaid, on or about November 10,
12   2021.
13           8.       Pursuant to this court’s Order Authorizing Interim Fee Application and
14   Expense Reimbursement Procedures that was entered on or about April 15, 2021, the
15   Debtors are authorized to make the payment requested herein without a further hearing
16   or order of this court unless an objection to this Application is filed with the court and
17   served upon the Notice Parties within fourteen (14) calendar days after the date of
18   mailing of the Notice of this Application. If such an objection is filed, the Debtors are
19   authorized to pay 80% of the uncontested fees and 100% of the uncontested expenses
20   without further order of the court. If no objection is filed, the Debtors are authorized to
21   pay 80% of all fees requested in the Application and 100% of the uncontested expenses
22   without further order of the court.
23           9.       The interim compensation and reimbursement of expenses sought in this
24   Application are not final. Upon the conclusion of these cases, the Firm will seek fees
25   and reimbursement of the expenses incurred for the totality of the services rendered in
26   these cases. Any interim fees or reimbursement of expenses approved by this court and
27
     DOCS_LA:340685.1 20375/001                        P ACHULSKI S TANG                    B USH K ORNFELD           L LP
28    PACHULSKI STANG ZIEHL & JONES LLP                Z IEHL & J ONES L LP                         LAW OFFICES
                                                                                               601 Union St., Suite 5000
      MONTHLY FEE APPLICATION – Page 4               10100 Santa Monica Blvd., 13th Flr.    Seattle, Washington 98101-2373
                                                       Los Angeles, CA 90067-4003
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                                                         Telephone (310) 277-6910
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                                                         Facsimile (310) 201-0760
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 1   received by the Firm (along with any retainer) will be credited against such final fees
 2   and expenses as may be allowed by this court.
 3           WHEREFORE, the Firm respectfully requests that the Debtors pay compensation
 4   to the Firm as requested herein pursuant to and in accordance with the terms of the
 5   Order Authorizing Interim Fee Procedures.
 6   Dated: November 10, 2021        PACHULSKI STANG ZIEHL & JONES LLP
 7
                                     /s/ Jeffrey W. Dulberg
 8                                   RICHARD M. PACHULSKI (Admitted Pro Hac Vice)
                                     JEFFREY W. DULBERG (Admitted Pro Hac Vice)
 9
                                     JASON H. ROSELL (Admitted Pro Hac Vice)
10
                                     Attorneys for Debtors and Debtors in Possession
11

12

13
     Submitted by:
14

15   BUSH KORNFELD LLP
16   /s/ Thomas A. Buford, III
17   THOMAS A. BUFORD, III (WSBA 52969)
     BUSH KORNFELD LLP
18

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27
     DOCS_LA:340685.1 20375/001                      P ACHULSKI S TANG                  B USH K ORNFELD           L LP
28    PACHULSKI STANG ZIEHL & JONES LLP              Z IEHL & J ONES L LP                       LAW OFFICES
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      MONTHLY FEE APPLICATION – Page 5            10100 Santa Monica Blvd., 13th Flr.   Seattle, Washington 98101-2373
                                                    Los Angeles, CA 90067-4003
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                                                                         5 of 85
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                                           EXHIBIT A
                                   Summary Chart by Professional
            Timekeeper                       Rate       Total Hours   Total Fees
            Isaac M. Pachulski              $1,695.00        0.70       $ 1,186.50
            Jeffrey H. Davidson             $1,645.00        0.50       $    822.50
            Richard M. Pachulski            $1,595.00      198.70       $316,926.50
            Alan J. Kornfeld                $1,395.00      140.00       $195,300.00
            David J. Barton                 $1,345.00        0.60       $    807.00
            Linda F. Cantor                 $1,245.00        1.00       $ 1,245.00
            Karen B. Dine                   $1,195.00       45.20       $ 54,014.00
            Maxim B. Litvak                 $1,125.00       36.00       $ 40,500.00
            Paul J. Labov                   $1,095.00       73.50       $ 80,482.50
            Jeffrey W. Dulberg              $1,025.00       83.60       $ 85,690.00
            Elissa A. Wagner                $ 925.00       123.70       $114,422.50
            Tavi C. Flanagan                $ 875.00       112.10       $ 98,087.50
            Jason H. Rosell                 $ 845.00        79.50       $ 67,177.50
            Ben L. Wallace                  $ 750.00        21.30       $ 15,975.00
            Chia H. Mackle                  $ 750.00         9.00       $ 6,750.00
            Leslie A. Forrester             $ 475.00         5.40       $ 2,565.00
            Patricia J. Jeffries            $ 460.00        49.10       $ 22,586.00
            Virginia L. Downing             $ 395.00         1.10       $    434.50
            Patricia J. Jeffries            $    0.00        3.40       $      0.00
            Elissa A. Wagner                $    0.00        3.20       $      0.00
            Tavi C. Flanagan                $    0.00        3.00       $      0.00
            Maxim B. Litvak                 $    0.00        1.00       $      0.00
            Ben L. Wallace                  $    0.00        0.40       $      0.00
            Jason H. Rosell                 $    0.00        2.90       $      0.00
            Jeffrey W. Dulberg              $    0.00        3.60       $      0.00
            Grand Total                                    998.50     $1,104,972.00




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                                                                          6 of 85
                                                                               238
 1       ARMAND J. KORNFELD (WSBA #17214)                HON. WHITMAN L. HOLT
         THOMAS A. BUFORD (WSBA #52969)
 2       RICHARD B. KEETON (WSBA #51537)
         BUSH KORNFELD LLP
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 4       Tel.: (206) 292-2110
         Facsimile: (206) 292-2104
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         tbuford@bskd.com, and rkeeton@bskd.com
 6
         RICHARD M. PACHULSKI (CA Bar #90073)*
 7       JEFFREY W. DULBERG (CA Bar #181200)*
         JASON H. ROSELL (CA Bar #269126)*
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10       Facsimile: (310) 201-0760
         Emails: rpachulski@pszjlaw.com,
11       jdulberg@pszjlaw.com, and
         jrosell@pszjlaw.com
12
         *Admitted Pro Hac Vice
13
         Attorneys for the Chapter 11
14       Debtors and Debtors in Possession
15                                UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF WASHINGTON
16
     In re                                        Chapter 11
17
     EASTERDAY RANCHES, INC., et al.              Lead Case No. 21-00141-11
18                                                Jointly Administered
                                      Debtors.1
19                                                EIGHTH MONTHLY FEE
                                                  APPLICATION OF PACHULSKI
20                                                STANG ZIEHL & JONES LLP FOR
                                                  ALLOWANCE AND PAYMENT OF
21                                                INTERIM COMPENSATION AND
                                                  REIMBURSEMENT OF EXPENSES
22                                                FOR THE PERIOD OCTOBER 1, 2021
                                                  THROUGH OCTOBER 31, 2021
23
                                                  [No Hearing Required Pursuant to L.B.R.
24                                                2002-1(c)(1)]
25

26   1
         The Debtors along with their case numbers are as follows: Easterday Ranches, Inc.,
27       (21-00141) and Easterday Farms, a Washington general partnership (21-00176).
     DOCS_SF:106545.1 20375/001                       P ACHULSKI S TANG                   B USH K ORNFELD           L LP
28       PACHULSKI STANG ZIEHL & JONES LLP            Z IEHL & J ONES L LP                        LAW OFFICES
                                                                                             601 Union St., Suite 5000
         MONTHLY FEE APPLICATION – Page 1           10100 Santa Monica Blvd., 13th Flr.   Seattle, Washington 98101-2373
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                                                        Facsimile (310) 201-0760
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                                                                         1 of 68
                                                                              238
 1            Pachulski Stang Ziehl & Jones LLP (the “Firm”) submits its eighth monthly fee
 2   application (the “Application”) for allowance and payment of interim compensation and
 3   reimbursement of expenses for the period October 1, 2021 – October 31, 2021 (the
 4   “Application Period”) for work performed for the Debtors.                                    In support of the
 5   Application, the Firm respectfully represents as follows:
 6            The Firm is general bankruptcy counsel to the Debtors. The Firm hereby applies
 7   to the Court for allowance and payment of interim compensation for services rendered
 8   and reimbursement of expenses incurred during the Application Period.
 9            1.       The Firm billed a total of $624,358.72 in fees and expenses during the
10   Application Period. The total fees represent 542.40 hours expended during the period
11   covered by this Application. These fees and expenses break down as follows:
12                                       SUMMARY BY MONTH
13
                   Period                Fees               Expenses                      Total
14
                   10.01.21 – 10.31.21     $546,876.50            $77,482.22                     $624,358.72
15
                   Total                   $546,876.50            $77,482.22                     $624,358.72
16
                                         SUMMARY BY DEBTOR
17

18                                              Ranches             Farms                         Total

19                  Fees                   $318,846.75        $228,029.75                    $546,876.50

20                  Expenses                $38,914.95         $38,567.27                        $77,482.22

21                  Total                  $357,761.70        $266,597.02                    $624,358.72
22                  Hours                         423.65              118.75                         542.40
23

24            2.       Notwithstanding the monthly fee application and the request sought herein,
25   and the interim allowance of any fees or reimbursement of expenses contained herein,
26   the Debtors will not pay any amounts to the Firm in excess of the amounts set forth in
27   the court-approved budgets [Docket Nos. 470 and 471] absent further order of the court.
     DOCS_SF:106545.1 20375/001                              P ACHULSKI S TANG                     B USH K ORNFELD           L LP
28    PACHULSKI STANG ZIEHL & JONES LLP                      Z IEHL & J ONES L LP                          LAW OFFICES
                                                                                                      601 Union St., Suite 5000
      MONTHLY FEE APPLICATION – Page 2                     10100 Santa Monica Blvd., 13th Flr.     Seattle, Washington 98101-2373
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                                                               Telephone (310) 277-6910
                                                                                                      Facsimile (206) 292-2104
                                                               Facsimile (310) 201-0760
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 1            3.       Accordingly, the Firm seeks allowance of interim compensation in the total
 2   amount of $624,358.72, and payment of $514,983.42. This total is comprised as
 3   follows: $437,501.20 (80% of the fees for services rendered) plus $77,482.22 (100% of
 4   the expenses incurred).
 5            4.       For the postpetition period, the Firm has been paid to date as follows:
 6
      Application Period                    Amount                     Description
 7                                                                     100% of fees and 100% of
      First (02/01/21 – 03/31/21)             $2,067,685.87
 8                                                                     expenses
                                                                       100% of fees and 100% of
 9    Second (04/01/21 – 04/30/21)              $787,369.80
                                                                       expenses
10                                                                     100% of fees and 100% of
                                                                       expenses (net of a reduction
11    Third (05/01/21 – 05/31/21)             $1,001,188.02
                                                                       of fees and expenses in the
12                                                                     amount of $500.01)
                                                                       100% of fees and 100% of
13                                                                     expenses (net of a reduction
      Fourth (06/01/21 – 06/30/21)            $1,321,709.14
14                                                                     of fees in the amount of
                                                                       $998.00)
15                                                                     100% of fees and 100% of
      Fifth (07/01/21 – 07/31/21)             $1,340,495.73
16                                                                     expenses
                                                                       100% of fees and 100% of
17
                                                                       expenses (net of a reduction
18    Sixth (08/01/21 – 08/31/21)             $1,135,579.24            of fees in the amount of
                                                                       $45,269.50 taken in the 2nd
19
                                                                       interim application)
20                                                                     80% of fees and 100% of
      Seventh (09/01/21 – 09/30/21)             $966,913.53
                                                                       expenses
21
      Total Paid to Date                      $8,620,941.33
22

23            5.       To date, the Firm is owed as follows (excluding amounts owed pursuant to
24   this Application):
25

26
27
     DOCS_SF:106545.1 20375/001                           P ACHULSKI S TANG                   B USH K ORNFELD           L LP
28    PACHULSKI STANG ZIEHL & JONES LLP                   Z IEHL & J ONES L LP                        LAW OFFICES
                                                                                                 601 Union St., Suite 5000
      MONTHLY FEE APPLICATION – Page 3                  10100 Santa Monica Blvd., 13th Flr.   Seattle, Washington 98101-2373
                                                          Los Angeles, CA 90067-4003
                                                                                                 Telephone (206) 292-2110
                                                            Telephone (310) 277-6910
                                                                                                 Facsimile (206) 292-2104
                                                            Facsimile (310) 201-0760
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                                                                              238
 1    Application Period                   Amount                    Description
 2    Seventh (09/01/21 – 09/30/21)          $220,985.40             20% holdback
 3    Total Owed to Date                     $220,985.40
 4            6.       Attached as Exhibit A hereto is the name of each professional who
 5   performed services in connection with these cases during the period covered by this
 6   Application and the hourly rate for each such professional.                            Attached hereto as
 7   Exhibit B are the detailed time and expense statements for the Application Period.
 8            7.       The Firm has served a copy of this Application on the above-captioned
 9   debtors (the “Debtors”), counsel to the Official Committees of Unsecured Creditors
10   appointed in these cases, and the Office of the United States Trustee. The Application
11   was mailed by first class mail, postage prepaid, on or about January 4, 2022. Notice of
12   the filing of this Application was served on the foregoing parties as well as any party
13   who has requested special notice in these chapter 11 cases as of the date of the Notice.
14   The Notice was mailed by first class mail, postage prepaid, on or about January 4, 2022.
15            8.       Pursuant to this court’s Order Authorizing Interim Fee Application and
16   Expense Reimbursement Procedures that was entered on or about April 15, 2021, the
17   Debtors are authorized to make the payment requested herein without a further hearing
18   or order of this court unless an objection to this Application is filed with the court and
19   served upon the Notice Parties within fourteen (14) calendar days after the date of
20   mailing of the Notice of this Application. If such an objection is filed, the Debtors are
21   authorized to pay 80% of the uncontested fees and 100% of the uncontested expenses
22   without further order of the court. If no objection is filed, the Debtors are authorized to
23   pay 80% of all fees requested in the Application and 100% of the uncontested expenses
24   without further order of the court.
25            9.       The interim compensation and reimbursement of expenses sought in this
26   Application are not final. Upon the conclusion of these cases, the Firm will seek fees
27   and reimbursement of the expenses incurred for the totality of the services rendered in
     DOCS_SF:106545.1 20375/001                         P ACHULSKI S TANG                    B USH K ORNFELD           L LP
28    PACHULSKI STANG ZIEHL & JONES LLP                 Z IEHL & J ONES L LP                         LAW OFFICES
                                                                                                601 Union St., Suite 5000
      MONTHLY FEE APPLICATION – Page 4                10100 Santa Monica Blvd., 13th Flr.    Seattle, Washington 98101-2373
                                                        Los Angeles, CA 90067-4003
                                                                                                Telephone (206) 292-2110
                                                          Telephone (310) 277-6910
                                                                                                Facsimile (206) 292-2104
                                                          Facsimile (310) 201-0760
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 1   these cases. Any interim fees or reimbursement of expenses approved by this court and
 2   received by the Firm (along with any retainer) will be credited against such final fees
 3   and expenses as may be allowed by this court.
 4            WHEREFORE, the Firm respectfully requests that the Debtors pay compensation
 5   to the Firm as requested herein pursuant to and in accordance with the terms of the
 6   Order Authorizing Interim Fee Procedures.
 7   Dated: January 4, 2022          PACHULSKI STANG ZIEHL & JONES LLP
 8
                                     /s/ Jeffrey W. Dulberg
 9                                   RICHARD M. PACHULSKI (Admitted Pro Hac Vice)
                                     JEFFREY W. DULBERG (Admitted Pro Hac Vice)
10
                                     JASON H. ROSELL (Admitted Pro Hac Vice)
11
                                     Attorneys for Debtors and Debtors in Possession
12

13

14
     Submitted by:
15

16   BUSH KORNFELD LLP
17   /s/ Thomas A. Buford, III
18   THOMAS A. BUFORD, III (WSBA 52969)
     BUSH KORNFELD LLP
19

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21

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23

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27
     DOCS_SF:106545.1 20375/001                      P ACHULSKI S TANG                  B USH K ORNFELD           L LP
28    PACHULSKI STANG ZIEHL & JONES LLP              Z IEHL & J ONES L LP                       LAW OFFICES
                                                                                           601 Union St., Suite 5000
      MONTHLY FEE APPLICATION – Page 5            10100 Santa Monica Blvd., 13th Flr.   Seattle, Washington 98101-2373
                                                    Los Angeles, CA 90067-4003
                                                                                           Telephone (206) 292-2110
                                                      Telephone (310) 277-6910
                                                                                           Facsimile (206) 292-2104
                                                      Facsimile (310) 201-0760
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                                                                              238
                                           EXHIBIT A
                                   Summary Chart by Professional
            Timekeeper                       Rate       Total Hours   Total Fees
            Alan J. Kornfeld                $1,395.00      27.80       $38,781.00
            Ben L. Wallen                     $750.00      32.10       $24,075.00
            Elissa A. Wagner                  $925.00      64.00       $59,200.00
            Gabriel I. Glazer               $1,050.00       0.40          $420.00
            Jason H. Rosell                   $845.00      69.60       $58,812.00
            Jeffrey W. Dulberg              $1,025.00      66.80       $68,470.00
            Karen B. Dine                   $1,195.00      21.50       $25,692.50
            Maxim B. Litvak                 $1,125.00      28.40       $31,950.00
            Patricia J. Jeffries              $460.00      60.80       $27,968.00
            Paul J. Labov                   $1,095.00      51.70       $56,611.50
            Richard M. Pachulski            $1,595.00      71.70      $114,361.50
            Tavi C. Flanagan                  $875.00      46.10       $40,337.50
            Virginia L. Downing               $395.00       0.50          $197.50
            Grand Total                                    541.40     $546,876.50




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                                                                          6 of 68
                                                                               238
 1       ARMAND J. KORNFELD (WSBA #17214)                HON. WHITMAN L. HOLT
         THOMAS A. BUFORD (WSBA #52969)
 2       RICHARD B. KEETON (WSBA #51537)
         BUSH KORNFELD LLP
 3       601 Union Street, Suite 5000
         Seattle, WA 98101
 4       Tel.: (206) 292-2110
         Facsimile: (206) 292-2104
 5       Emails: jkornfeld@bskd.com,
         tbuford@bskd.com, and rkeeton@bskd.com
 6
         RICHARD M. PACHULSKI (CA Bar #90073)*
 7       JEFFREY W. DULBERG (CA Bar #181200)*
         JASON H. ROSELL (CA Bar #269126)*
 8       PACHULSKI STANG ZIEHL & JONES LLP
         10100 Santa Monica Blvd., 13th Floor
 9       Los Angeles, CA 90067-4003
         Tel: (310) 277-6910
10       Facsimile: (310) 201-0760
         Emails: rpachulski@pszjlaw.com,
11       jdulberg@pszjlaw.com, and
         jrosell@pszjlaw.com
12
         *Admitted Pro Hac Vice
13
         Attorneys for the Chapter 11
14       Debtors and Debtors in Possession
15                                UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF WASHINGTON
16
     In re                                        Chapter 11
17
     EASTERDAY RANCHES, INC., et al.              Lead Case No. 21-00141-11
18                                                Jointly Administered
                                      Debtors.1
19                                                NINTH MONTHLY FEE
                                                  APPLICATION OF PACHULSKI
20                                                STANG ZIEHL & JONES LLP FOR
                                                  ALLOWANCE AND PAYMENT OF
21                                                INTERIM COMPENSATION AND
                                                  REIMBURSEMENT OF EXPENSES
22                                                FOR THE PERIOD NOVEMBER 1,
                                                  2021 THROUGH NOVEMBER 30, 2021
23
                                                  [No Hearing Required Pursuant to L.B.R.
24                                                2002-1(c)(1)]
25

26   1
         The Debtors along with their case numbers are as follows: Easterday Ranches, Inc.,
27       (21-00141) and Easterday Farms, a Washington general partnership (21-00176).
     DOCS_LA:341744.1 20375/001                       P ACHULSKI S TANG                   B USH K ORNFELD           L LP
28       PACHULSKI STANG ZIEHL & JONES LLP            Z IEHL & J ONES L LP                        LAW OFFICES
                                                                                             601 Union St., Suite 5000
         MONTHLY FEE APPLICATION – Page 1           10100 Santa Monica Blvd., 13th Flr.   Seattle, Washington 98101-2373
                                                      Los Angeles, CA 90067-4003
                                                                                             Telephone (206) 292-2110
                                                        Telephone (310) 277-6910
                                                                                             Facsimile (206) 292-2104
                                                        Facsimile (310) 201-0760
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                                                                         1 of 66
                                                                              238
 1           Pachulski Stang Ziehl & Jones LLP (the “Firm”) submits its ninth monthly fee
 2   application (the “Application”) for allowance and payment of interim compensation and
 3   reimbursement of expenses for the period November 1, 2021 – November 30, 2021 (the
 4   “Application Period”) for work performed for the Debtors.                                   In support of the
 5   Application, the Firm respectfully represents as follows:
 6           The Firm is general bankruptcy counsel to the Debtors. The Firm hereby applies
 7   to the Court for allowance and payment of interim compensation for services rendered
 8   and reimbursement of expenses incurred during the Application Period.
 9           1.       The Firm billed a total of $609,729.22 in fees and expenses during the
10   Application Period. The total fees represent 518.10 hours expended during the period
11   covered by this Application. These fees and expenses break down as follows:
12                                      SUMMARY BY MONTH
13
                  Period                Fees               Expenses                      Total
14
                  11.01.21 – 11.30.21     $532,169.00            $77,560.22                     $609,729.22
15
                  Total                   $532,169.00            $77,560.22                     $609,729.22
16
                                        SUMMARY BY DEBTOR
17

18                                             Ranches             Farms                         Total

19                 Fees                   $318,475.00        $213,694.00                    $532,169.00

20                 Expenses                $38,820.29         $38,739.93                        $77,560.22

21                 Total                  $357,295.29        $252,433.93                    $609,729.22
22                 Hours                         397.85              120.25                         518.10
23

24           2.       Notwithstanding the monthly fee application and the request sought herein,
25   and the interim allowance of any fees or reimbursement of expenses contained herein,
26   the Debtors will not pay any amounts to the Firm in excess of the amounts set forth in
27   the court-approved budgets [Docket Nos. 470 and 471] absent further order of the court.
     DOCS_LA:341744.1 20375/001                             P ACHULSKI S TANG                     B USH K ORNFELD           L LP
28    PACHULSKI STANG ZIEHL & JONES LLP                     Z IEHL & J ONES L LP                          LAW OFFICES
                                                                                                     601 Union St., Suite 5000
      MONTHLY FEE APPLICATION – Page 2                    10100 Santa Monica Blvd., 13th Flr.     Seattle, Washington 98101-2373
                                                            Los Angeles, CA 90067-4003
                                                                                                     Telephone (206) 292-2110
                                                              Telephone (310) 277-6910
                                                                                                     Facsimile (206) 292-2104
                                                              Facsimile (310) 201-0760
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                                                                         2 of 66
                                                                              238
 1           3.       Accordingly, the Firm seeks allowance of interim compensation in the total
 2   amount of $609,729.22, and payment of $503,295.42. This total is comprised as
 3   follows: $425,735.20 (80% of the fees for services rendered) plus $77,560.22 (100% of
 4   the expenses incurred).
 5           4.       For the postpetition period, the Firm has been paid to date as follows:
 6
      Application Period                   Amount                     Description
 7                                                                    100% of fees and 100% of
      First (02/01/21 – 03/31/21)            $2,067,685.87
 8                                                                    expenses
                                                                      100% of fees and 100% of
 9    Second (04/01/21 – 04/30/21)             $787,369.80
                                                                      expenses
10                                                                    100% of fees and 100% of
                                                                      expenses (net of a reduction
11    Third (05/01/21 – 05/31/21)            $1,001,188.02
                                                                      of fees and expenses in the
12                                                                    amount of $500.01)
                                                                      100% of fees and 100% of
13                                                                    expenses (net of a reduction
      Fourth (06/01/21 – 06/30/21)           $1,321,709.14
14                                                                    of fees in the amount of
                                                                      $998.00)
15                                                                    100% of fees and 100% of
      Fifth (07/01/21 – 07/31/21)            $1,340,495.73
16                                                                    expenses
                                                                      100% of fees and 100% of
17
                                                                      expenses (net of a reduction
18    Sixth (08/01/21 – 08/31/21)            $1,135,579.24            of fees in the amount of
                                                                      $45,269.50 taken in the 2nd
19
                                                                      interim application)
20                                                                    80% of fees and 100% of
      Seventh (09/01/21 – 09/30/21)            $966,913.53
                                                                      expenses
21
                                                                      80% of fees and 100% of
      Eighth (10/01/21 – 10/31/21)             $514,983.42
22                                                                    expenses
23    Total Paid to Date                     $9,135,924.75

24
             5.       To date, the Firm is owed as follows (excluding amounts owed pursuant to
25
     this Application):
26
27
     DOCS_LA:341744.1 20375/001                          P ACHULSKI S TANG                   B USH K ORNFELD           L LP
28    PACHULSKI STANG ZIEHL & JONES LLP                  Z IEHL & J ONES L LP                        LAW OFFICES
                                                                                                601 Union St., Suite 5000
      MONTHLY FEE APPLICATION – Page 3                 10100 Santa Monica Blvd., 13th Flr.   Seattle, Washington 98101-2373
                                                         Los Angeles, CA 90067-4003
                                                                                                Telephone (206) 292-2110
                                                           Telephone (310) 277-6910
                                                                                                Facsimile (206) 292-2104
                                                           Facsimile (310) 201-0760
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                                                                         3 of 66
                                                                              238
 1    Application Period                   Amount                   Description
 2    Seventh (09/01/21 – 09/30/21)         $220,985.40             20% holdback
 3    Eighth (10/01/21 – 10/31/21)          $109,375.30             20% holdback
 4    Total Owed to Date                    $330,360.70
 5           6.       Attached as Exhibit A hereto is the name of each professional who
 6   performed services in connection with these cases during the period covered by this
 7   Application and the hourly rate for each such professional.                           Attached hereto as
 8   Exhibit B are the detailed time and expense statements for the Application Period.
 9           7.       The Firm has served a copy of this Application on the above-captioned
10   debtors (the “Debtors”), counsel to the Official Committees of Unsecured Creditors
11   appointed in these cases, and the Office of the United States Trustee. The Application
12   was mailed by first class mail, postage prepaid, on or about January 19, 2022. Notice
13   of the filing of this Application was served on the foregoing parties as well as any party
14   who has requested special notice in these chapter 11 cases as of the date of the Notice.
15   The Notice was mailed by first class mail, postage prepaid, on or about January 19,
16   2022.
17           8.       Pursuant to this court’s Order Authorizing Interim Fee Application and
18   Expense Reimbursement Procedures that was entered on or about April 15, 2021, the
19   Debtors are authorized to make the payment requested herein without a further hearing
20   or order of this court unless an objection to this Application is filed with the court and
21   served upon the Notice Parties within fourteen (14) calendar days after the date of
22   mailing of the Notice of this Application. If such an objection is filed, the Debtors are
23   authorized to pay 80% of the uncontested fees and 100% of the uncontested expenses
24   without further order of the court. If no objection is filed, the Debtors are authorized to
25   pay 80% of all fees requested in the Application and 100% of the uncontested expenses
26   without further order of the court.
27
     DOCS_LA:341744.1 20375/001                        P ACHULSKI S TANG                    B USH K ORNFELD           L LP
28    PACHULSKI STANG ZIEHL & JONES LLP                Z IEHL & J ONES L LP                         LAW OFFICES
                                                                                               601 Union St., Suite 5000
      MONTHLY FEE APPLICATION – Page 4               10100 Santa Monica Blvd., 13th Flr.    Seattle, Washington 98101-2373
                                                       Los Angeles, CA 90067-4003
                                                                                               Telephone (206) 292-2110
                                                         Telephone (310) 277-6910
                                                                                               Facsimile (206) 292-2104
                                                         Facsimile (310) 201-0760
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                                                                         4 of 66
                                                                              238
 1           9.       The interim compensation and reimbursement of expenses sought in this
 2   Application are not final. Upon the conclusion of these cases, the Firm will seek fees
 3   and reimbursement of the expenses incurred for the totality of the services rendered in
 4   these cases. Any interim fees or reimbursement of expenses approved by this court and
 5   received by the Firm (along with any retainer) will be credited against such final fees
 6   and expenses as may be allowed by this court.
 7           WHEREFORE, the Firm respectfully requests that the Debtors pay compensation
 8   to the Firm as requested herein pursuant to and in accordance with the terms of the
 9   Order Authorizing Interim Fee Procedures.
10   Dated: January 19, 2022            PACHULSKI STANG ZIEHL & JONES LLP
11
                                        /s/ Jeffrey W. Dulberg
12                                      RICHARD M. PACHULSKI (Admitted Pro Hac Vice)
                                        JEFFREY W. DULBERG (Admitted Pro Hac Vice)
13
                                        JASON H. ROSELL (Admitted Pro Hac Vice)
14
                                        Attorneys for Debtors and Debtors in Possession
15

16

17
     Submitted by:
18

19   BUSH KORNFELD LLP
20   /s/ Thomas A. Buford, III
21   THOMAS A. BUFORD, III (WSBA 52969)
     BUSH KORNFELD LLP
22

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27
     DOCS_LA:341744.1 20375/001                        P ACHULSKI S TANG                   B USH K ORNFELD           L LP
28    PACHULSKI STANG ZIEHL & JONES LLP                Z IEHL & J ONES L LP                        LAW OFFICES
                                                                                              601 Union St., Suite 5000
      MONTHLY FEE APPLICATION – Page 5               10100 Santa Monica Blvd., 13th Flr.   Seattle, Washington 98101-2373
                                                       Los Angeles, CA 90067-4003
                                                                                              Telephone (206) 292-2110
                                                         Telephone (310) 277-6910
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                                                                         5 of 66
                                                                              238
                                           EXHIBIT A
                                   Summary Chart by Professional
            Timekeeper                       Rate      Total Hours   Total Fees
            Alan J. Kornfeld               $1,395.00       10.30      $14,368.50
            Ben L Wallen                       $0.00        1.40           $0.00
            Ben L Wallen                     $750.00       86.60      $64,950.00
            Denise L. Mendoza                $395.00        2.40         $948.00
            Elissa A. Wagner                 $925.00        8.70       $8,047.50
            Jason H. Rosell                  $845.00       49.90      $42,165.50
            Jeffrey W. Dulberg             $1,025.00       64.90      $66,522.50
            Karen B. Dine                  $1,195.00       64.10      $76,599.50
            Kenneth H. Brown               $1,225.00        0.40         $490.00
            Maxim B. Litvak                    $0.00        1.00           $0.00
            Maxim B. Litvak                $1,125.00       49.20      $55,350.00
            Patricia J. Jeffries               $0.00        2.00           $0.00
            Patricia J. Jeffries             $460.00       25.40      $11,684.00
            Paul John Labov                    $0.00        1.30           $0.00
            Paul John Labov                $1,095.00       88.60      $97,017.00
            Richard M. Pachulski           $1,595.00       56.50      $90,117.50
            Tavi C. Flanagan                 $875.00        3.70       $3,237.50
            Virginia L. Downing              $395.00        1.70         $671.50
            Grand Total                                   518.10     $532,169.00




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                                                                          6 of 66
                                                                               238
                                  EXHIBIT A
           (Monthly Invoices – September 2021 – November 2021)




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                                    Pachulski Stang Ziehl & Jones LLP
                                            10100 Santa Monica Blvd.
                                                   13th Floor
                                             Los Angeles, CA 90067
                                                                          September 30, 2021
Peter Richter                                                             Invoice 128805
Paladin Management                                                        Client  20375
200 South Wacker Drive 31st floor                                         Matter  00001
Chicago, IL 60606
                                                                                  JWD

RE: Restructuring

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 09/30/2021
                FEES                                                      $572,033.50
                EXPENSES                                                   $78,257.51
                TOTAL CURRENT CHARGES                                     $650,291.01

                BALANCE FORWARD                                          $3,742,997.73
                A/R Adjustments                                            -$23,329.50
                LAST PAYMENT                                             $3,247,163.09
                TOTAL BALANCE DUE                                        $1,122,796.15

                PREPAID BALANCE                                           $224,149.44




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  Summary of Services by Professional
  ID        Name                                  Title                   Rate       Hours               Amount

 AJK        Kornfeld, Alan J.                     Partner               1395.00       2.20          $3,069.00

 BLW        Wallen , Ben L                        Associate                0.00       0.40                $0.00

 BLW        Wallen , Ben L                        Associate              750.00      13.00          $9,750.00

 CHM        Mackle, Cia H.                        Counsel                750.00       9.00          $6,750.00

 EAW        Wagner, Elissa A.                     Counsel                  0.00       3.00                $0.00

 EAW        Wagner, Elissa A.                     Counsel                925.00       1.00            $925.00

 IMP        Pachulski, Isaac M.                   Partner               1695.00       0.70          $1,186.50

 JHR        Rosell, Jason H.                      Partner                  0.00       2.90                $0.00

 JHR        Rosell, Jason H.                      Partner                845.00      69.90         $59,065.50

 JWD        Dulberg, Jeffrey W.                   Partner                  0.00       3.60                $0.00

 JWD        Dulberg, Jeffrey W.                   Partner               1025.00      64.50         $66,112.50

 KBD        Dine, Karen B.                        Counsel               1195.00      31.30         $37,403.50

 LAF        Forrester, Leslie A.                  Other                  475.00       0.80            $380.00

 MBL        Litvak, Maxim B.                      Partner                  0.00       1.00                $0.00

 MBL        Litvak, Maxim B.                      Partner               1125.00      35.60         $40,050.00

 PJJ        Jeffries, Patricia J.                 Paralegal                0.00       3.40                $0.00

 PJJ        Jeffries, Patricia J.                 Paralegal              460.00      33.50         $15,410.00

 PJL        Labov, Paul John                      Partner               1095.00      56.30         $61,648.50

 RMP        Pachulski, Richard M.                 Partner               1595.00     168.80        $269,236.00

 TCF        Flanagan, Tavi C.                     Counsel                  0.00       3.00                $0.00

 TCF        Flanagan, Tavi C.                     Counsel                875.00       0.70           $612.50

 VLD        Downing, Virginia L.                  Other                  395.00       1.10           $434.50

                                                                                   505.70          $572,033.50




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  Summary of Services by Task Code
  Task Code         Description                                                  Hours                         Amount

 AA                 Asset Analysis/Recovery[B120]                                  2.50                    $3,912.50

 AD                 Asset Disposition [B130]                                      78.90                   $82,298.00

 BL                 Bankruptcy Litigation [L430]                                  42.30                   $47,146.50

 CA                 Case Administration [B110]                                    40.70                   $36,730.00

 CG                 Corporate Governance/Board Mtr                                34.50                   $37,882.50

 CO                 Claims Admin/Objections[B310]                                 78.90                   $94,798.50

 CP                 Compensation Prof. [B160]                                     30.60                   $32,608.00

 EC                 Executory Contracts [B185]                                     1.90                    $1,821.50

 FF                 Financial Filings [B110]                                       1.10                    $1,127.50

 GC                 General Creditors Comm. [B150]                                10.40                   $12,665.50

 HE                 Hearing                                                       35.90                   $24,798.00

 OP                 Operations [B210]                                              2.50                    $2,484.50

 PD                 Plan & Disclosure Stmt. [B320]                               139.90                 $186,250.50

 TI                 Tax Issues [B240]                                              5.60                    $7,510.00

                                                                                 505.70                 $572,033.50




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  Summary of Expenses
  Description                                                                                 Amount
Attorney Service [E107]                                                                     $136.50
Bloomberg                                                                                    $80.20
Working Meals [E111]                                                                        $108.21
Conference Call [E105]                                                                       $50.08
Federal Express [E108]                                                                      $102.22
Lexis/Nexis- Legal Research [E                                                              $321.80
Pacer - Court Research                                                                       $18.70
Reproduction Expense [E101]                                                                 $370.40
Reproduction/ Scan Copy                                                                     $135.40
Research [E106]                                                                          $76,934.00

                                                                                         $78,257.51




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Easterday Ranches Inc.                                                                          Invoice 128805
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                                                                                       Hours            Rate         Amount

  Asset Analysis/Recovery[B120]
 07/27/2021   RMP     AA        Various e-mails and telephone conferences re water      0.80       1595.00       $1,276.00
                                rights issues.

 08/05/2021   RMP     AA        Review real estate analysis and telephone               0.80       1595.00       $1,276.00
                                conference with Miller re same.

 08/18/2021   RMP     AA        Review water rights analysis and telephone              0.80       1595.00       $1,276.00
                                conference with M Litvak re same.

 09/08/2021   JHR     AA        Analyze CFAP update and related correspondence          0.10         845.00           $84.50

                                                                                         2.50                    $3,912.50

  Asset Disposition [B130]
 07/19/2021   RMP     AD        Review revisions to sale order and review and           0.70       1595.00       $1,116.50
                                respond to e-mails re same.

 07/19/2021   RMP     AD        Continued e-mails and discussion re sale order.         0.60       1595.00           $957.00

 07/19/2021   RMP     AD        Review and respond to e-mails re Easterday              0.30       1595.00           $478.50
                                equipment.

 07/20/2021   RMP     AD        Telephone conference with Richter re sale issues and    0.40       1595.00           $638.00
                                follow-up with J Dulberg re same.

 07/20/2021   RMP     AD        Various telephone conferences and e-mails re sale       1.10       1595.00       $1,754.50
                                closing issues.

 07/21/2021   RMP     AD        Review and respond to FRI closing issues and            0.80       1595.00       $1,276.00
                                telephone conference with Haker re same.

 07/21/2021   RMP     AD        Deal with Easterday quitclaim issue and e-mails re      0.40       1595.00           $638.00
                                same.

 07/22/2021   RMP     AD        Prepare for and participate on status call with         0.40       1595.00           $638.00
                                Easterdays.

 07/22/2021   RMP     AD        Prepare for and participate on title company call.      0.50       1595.00           $797.50

 07/22/2021   RMP     AD        Review Payoff letter and team telephone                 0.70       1595.00       $1,116.50
                                conferences re same re Pru.

 07/23/2021   RMP     AD        Review AXA escrow analysis and conference with I        0.40       1595.00           $638.00
                                Kharasch re same.

 07/23/2021   RMP     AD        Various PSZJ and Paladin telephone conferences re       0.70       1595.00       $1,116.50
                                Pru escrow issues.

 07/23/2021   RMP     AD        Telephone conferences with Haker and Paladin and        0.60       1595.00           $957.00
                                review documents from Chicago Title re excise tax




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Easterday Ranches Inc.                                                                          Invoice 128805
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                                                                                        Hours           Rate         Amount
                                amounts.
 07/24/2021   RMP     AD        Prepare for and participate on conference call with J    0.50      1595.00           $797.50
                                Rosell and I Kharasch re mortgage issues.

 07/24/2021   RMP     AD        Review updated Pru and AXA mortgage number and           0.40      1595.00           $638.00
                                telephone conference with J Rosell re same.

 07/26/2021   RMP     AD        Various telephone conferences with team re Pru           1.80      1595.00       $2,871.00
                                issues and prepare for hearing on Escrow issues.

 07/26/2021   RMP     AD        Telephone conferences with Paladin and J Rosell re       0.70      1595.00       $1,116.50
                                sale closing issues.

 07/26/2021   RMP     AD        Telephone conferences with J Rosell and review and       0.30      1595.00           $478.50
                                respond to e-mails re fee dispute and related notice.

 07/29/2021   RMP     AD        Prepare for and participate on Easterday call.           0.90      1595.00       $1,435.50

 07/29/2021   RMP     AD        Telephone conferences with J Rosell and team re          0.40      1595.00           $638.00
                                final FRI closing.

 07/29/2021   RMP     AD        Telephone conference with Haker re final closing         0.40      1595.00           $638.00
                                issues and issues post-closing.

 08/09/2021   RMP     AD        Review e-mails re equipment and respond to same.         0.40      1595.00           $638.00

 08/10/2021   RMP     AD        Review Equipment issues and e-mails re same.             0.40      1595.00           $638.00

 08/13/2021   RMP     AD        Review aircraft sale motion and respond to e-mails       0.30      1595.00           $478.50
                                re same.

 08/16/2021   RMP     AD        Review equipment schedule and telephone                  0.60      1595.00           $957.00
                                conferences with L Miller and J Rosell re same.

 08/20/2021   RMP     AD        Review LOI re equipment and respond to e-mails re        0.30      1595.00           $478.50
                                same.

 08/20/2021   RMP     AD        Review additional equipment LOIs and analyze             0.60      1595.00           $957.00
                                same.

 08/27/2021   RMP     AD        Review Easterday equipment bid issues and review         0.40      1595.00           $638.00
                                and respond to e-mails re same.

 09/01/2021   KBD     AD        Review analysis of equipment bids                        0.20      1195.00           $239.00

 09/01/2021   RMP     AD        Review Easterday equipment bid comparison and            0.30      1595.00           $478.50
                                telephone conference with J Rosell re same.

 09/01/2021   JHR     AD        Analyze equipment leases for purposes of sale            0.90       845.00           $760.50
                                motion

 09/01/2021   JHR     AD        Call with P. Labov re: equipment sale motion             0.20       845.00           $169.00




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                                                                                       Hours           Rate         Amount

 09/01/2021   JHR     AD        Revise equipment purchase agreement and related         0.40        845.00          $338.00
                                correspondence with bidder

 09/01/2021   JHR     AD        Correspondence with B. Wallen re: equipment sale        0.20        845.00          $169.00
                                motion

 09/01/2021   JHR     AD        Call with P. Richter re: equipment sale issues          0.40        845.00          $338.00

 09/01/2021   JHR     AD        Call with bidder re: equipment sale issues              0.10        845.00           $84.50

 09/01/2021   PJL     AD        Revisions and comments to Bulk Sale Stalking            3.60      1095.00       $3,942.00
                                Horse Motion, including further refinement of
                                motion and discussion with internal team on strategy
                                and dates for hearing and possible assumption and
                                assignment.

 09/01/2021   BLW     AD        Revise Equipment Stalking Horse Motion, related         7.30        750.00      $5,475.00
                                exhibits, and proposed order.

 09/01/2021   BLW     AD        Multiple Calls with Mr. Labov re: Equipment             0.50        750.00          $375.00
                                Stalking Horse Motion.

 09/02/2021   JHR     AD        Call with P. Labov re: equipment sale motion            0.10        845.00           $84.50

 09/02/2021   JHR     AD        Call with bidder re: equipment sale issues              0.20        845.00          $169.00

 09/02/2021   JHR     AD        Correspondence with Paladin re: equipment sale          0.10        845.00           $84.50
                                issues

 09/02/2021   JHR     AD        Correspondence with Paladin and Consultation            0.50        845.00          $422.50
                                Parties re: equipment sale issues

 09/02/2021   JHR     AD        Analyze purchase price adjustment on equipment          0.20        845.00          $169.00
                                sale

 09/02/2021   JHR     AD        Call with potential bidder re: equipment sale           0.10        845.00           $84.50

 09/02/2021   JHR     AD        Revise equipment sale motion                            1.30        845.00      $1,098.50

 09/02/2021   JHR     AD        Call with P. Richter re: equipment sale                 0.20        845.00          $169.00

 09/02/2021   JHR     AD        Revise equipment APA and related correspondence         0.60        845.00          $507.00
                                with stalking horse

 09/02/2021   JHR     AD        Revise equipment APA and related correspondence         0.20        845.00          $169.00
                                with client and purchaser

 09/02/2021   JHR     AD        Revise equipment APA for truck shop lease               2.20        845.00      $1,859.00

 09/02/2021   JHR     AD        Analyze revised equipment sale motion                   0.20        845.00          $169.00

 09/02/2021   PJL     AD        Review various correspondence in connection with        2.90      1095.00       $3,175.50
                                Bulk Sale Stalking Horse Motion, including lease




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                                                                                       Hours           Rate         Amount
                                issues.
 09/02/2021   BLW     AD        Revise Equipment Stalking Horse Motion and              2.10        750.00      $1,575.00
                                Related Exhibits.

 09/02/2021   BLW     AD        Call with Mr. Rosell re: Equipment Stalking Horse       0.20        750.00          $150.00
                                Motion.

 09/03/2021   JWD     AD        Work on equipment sale issues and respond to            0.60      1025.00           $615.00
                                various inquiries

 09/03/2021   JHR     AD        Correspondence with client and Blue Tag Farms re:       0.50        845.00          $422.50
                                equipment sale issues

 09/03/2021   JHR     AD        Call with P. Richter re: equipment sale issues          0.10        845.00           $84.50

 09/03/2021   PJL     AD        Review and sign-off on final Equipment Sale             1.40      1095.00       $1,533.00
                                Motion and APA.

 09/03/2021   BLW     AD        Finalize equipment stalking horse motion for filing.    0.20        750.00          $150.00

 09/07/2021   JHR     AD        Correspondence with P. Richter re: equipment sale       0.20        845.00          $169.00
                                issues

 09/07/2021   JHR     AD        Correspondence with Paladin and parties in interest     0.80        845.00          $676.00
                                re: modifications to equipment list

 09/07/2021   JHR     AD        Prepare for equipment stalking horse hearing            2.40        845.00      $2,028.00

 09/07/2021   JHR     AD        Prepare for equipment stalking horse motion             0.30        845.00          $253.50

 09/07/2021   PJL     AD        Review and respond to voicemail from creditors          0.70      1095.00           $766.50
                                regarding Equipment Sale.

 09/08/2021   JHR     AD        Prepare for hearing on equipment stalking horse         1.10        845.00          $929.50
                                motion

 09/08/2021   JHR     AD        Revise equipment stalking horse order and related       0.30        845.00          $253.50
                                correspondence

 09/08/2021   JHR     AD        Correspondence with Farmland re: status update          0.20        845.00          $169.00

 09/08/2021   JHR     AD        Call with P. Richter re: equipment sale issues          0.30        845.00          $253.50

 09/09/2021   JHR     AD        Call with P. Richter re: equipment sale issues          0.20        845.00          $169.00

 09/09/2021   PJL     AD        Correspondence drafted to and reviewed from P.          0.40      1095.00           $438.00
                                Richter regarding airplane hanger.

 09/10/2021   TCF     AD        Research and review regarding equipment sale.           0.40        875.00          $350.00

 09/10/2021   RMP     AD        Review equipment auction issues and offer and           0.60      1595.00           $957.00
                                review and respond to e-mails re same.




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 09/11/2021   JHR     AD        Analyze bid packages                                   0.50        845.00          $422.50

 09/11/2021   JHR     AD        Analyze truck shop lease for deposit issues and        0.50        845.00          $422.50
                                related correspondence with R. Gruber

 09/11/2021   JHR     AD        Correspondence with consultation parties and bidder    0.50        845.00          $422.50
                                re: qualified bid

 09/12/2021   JHR     AD        Correspondence with PSZJ and Paladin re:               0.30        845.00          $253.50
                                equipment auction logistics

 09/12/2021   JHR     AD        Correspondence with bidder and P. Richter re:          0.40        845.00          $338.00
                                equipment sale issues

 09/13/2021   JWD     AD        Review emails re equipment sale bids and auction       0.20      1025.00           $205.00

 09/13/2021   JHR     AD        Correspondence with consultation parties and bidder    0.40        845.00          $338.00
                                re: equipment sale issues

 09/13/2021   JHR     AD        Revise notice of cancellation of equipment auction     0.50        845.00          $422.50

 09/13/2021   JHR     AD        Call with R. Gruber re: equipment sale issues          0.20        845.00          $169.00

 09/13/2021   JHR     AD        Correspondence with M. Lang re: equipment sale         0.10        845.00           $84.50
                                issues

 09/13/2021   JHR     AD        Correspondence with Port of Pasco re: equipment        0.20        845.00          $169.00
                                sale issues

 09/13/2021   PJL     AD        Review cancellation of auction notice and next         0.10      1095.00           $109.50
                                steps.

 09/13/2021   BLW     AD        Draf Notice of Auction re: Equipment Sale.             0.50        750.00          $375.00

 09/13/2021   BLW     AD        Draft Notice of Cancellation of Auction re:            0.30        750.00          $225.00
                                Equipment Sale.

 09/14/2021   JHR     AD        Draft equipment sale order                             1.10        845.00          $929.50

 09/14/2021   JHR     AD        Draft declaration in support of equipment sale         1.10        845.00          $929.50

 09/14/2021   JHR     AD        Draft notice of proposed order and first amendment     0.90        845.00          $760.50
                                to equipment purchase agreement

 09/14/2021   JHR     AD        Revise good faith declaration in support of            0.90        845.00          $760.50
                                equipment sale

 09/14/2021   JHR     AD        Conference call with Paladin re: equipment sale        0.50        845.00          $422.50
                                issues

 09/14/2021   JHR     AD        Draft first amendment to equipment purchase            0.60        845.00          $507.00
                                agreement




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                                                                                      Hours           Rate         Amount

 09/14/2021   JHR     AD        Correspondence with P. Richter re: equipment sale      0.50        845.00          $422.50
                                issues

 09/14/2021   PJL     AD        Review P. Richter declaration and form of sale         1.40      1095.00       $1,533.00
                                order.

 09/15/2021   PJJ     AD        Prepare hearing binder of equipment sale.              0.80        460.00          $368.00

 09/15/2021   JHR     AD        Revise equipment sale order                            0.20        845.00          $169.00

 09/15/2021   JHR     AD        Call with Port of Pasco re: equipment sale issues      0.20        845.00          $169.00

 09/15/2021   JHR     AD        Call with P. Richter re: equipment sale issues         0.20        845.00          $169.00

 09/15/2021   JHR     AD        Analyze revised draft of Blue Tag Farm declaration     0.10        845.00           $84.50

 09/15/2021   JHR     AD        Revise equipment sale order                            0.20        845.00          $169.00

 09/15/2021   JHR     AD        Draft equipment sale pleadings                         0.70        845.00          $591.50

 09/15/2021   JHR     AD        Analyze equipment removal guidelines and related       0.30        845.00          $253.50
                                correspondence with FRI

 09/15/2021   PJL     AD        Review open issues on equipment sale.                  1.20      1095.00       $1,314.00

 09/16/2021   JHR     AD        Correspondence with Blue Tag re: APA issues            0.30        845.00          $253.50

 09/16/2021   PJL     AD        Review various correspondence regarding removal        1.60      1095.00       $1,752.00
                                of equipment in furtherance and in compliance with
                                the temporary lease and equipment sale pleadings.

 09/17/2021   PJJ     AD        Update equipment sale binder.                          0.40        460.00          $184.00

 09/17/2021   JHR     AD        Call with P. Richter re: equipment sale issues         0.20        845.00          $169.00

 09/17/2021   JHR     AD        Analyze revisions to equipment removal guidelines      0.20        845.00          $169.00

 09/17/2021   JHR     AD        Revise equipment removal procedures and related        0.40        845.00          $338.00
                                correspondence with FRI

 09/17/2021   JHR     AD        Finalize equipment removal guidelines                  0.40        845.00          $338.00

 09/17/2021   JHR     AD        Draft second amendment to equipment APA and            1.10        845.00          $929.50
                                related notice

 09/17/2021   JHR     AD        Revise notice of equipment removal guidelines and      0.40        845.00          $338.00
                                second amendment to equipment APA

 09/20/2021   PJL     AD        Review open issues relating to equipment sale ahead    0.60      1095.00           $657.00
                                of hearing on 9.22.

 09/21/2021   JHR     AD        Call with P. Labov re: equipment sale issues           0.30        845.00          $253.50

 09/21/2021   PJL     AD        Prepare for hearing on sale of equipment, including    1.70      1095.00       $1,861.50




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                                                                                     Hours            Rate         Amount
                                review of open issues on Port of Pasco.
 09/22/2021   JWD     AD        Call with P Labov re sale hearing                      0.10      1025.00           $102.50

 09/22/2021   JHR     AD        Prepare equipment sale order with exhibits             0.40        845.00          $338.00

 09/22/2021   PJL     AD        Prepare for hearing on sale of equipment.              1.30      1095.00       $1,423.50

 09/23/2021   JHR     AD        Prepare for equipment sale closing and related         0.50        845.00          $422.50
                                research

 09/23/2021   JHR     AD        Correspondence with Chicago Title re: escrow           0.20        845.00          $169.00
                                account

 09/23/2021   JHR     AD        Correspondence with client re: equipment sale          0.10        845.00           $84.50
                                closing

 09/24/2021   JHR     AD        Call with M. Lang re: equipment sale issues            0.10        845.00           $84.50

 09/24/2021   JHR     AD        Correspondence with client and Blue Tag re:            0.50        845.00          $422.50
                                equipment sale closing

 09/24/2021   JHR     AD        Correspondence with M. Lang re: equipment sale         0.40        845.00          $338.00
                                pro ration issues

 09/29/2021   JHR     AD        Call with P. Richter re: equipment sale update         0.20        845.00          $169.00

                                                                                      78.90                   $82,298.00

  Bankruptcy Litigation [L430]
 07/20/2021   RMP     BL        Review Rabo issues and respond to e-mails re same.     0.40      1595.00           $638.00

 07/22/2021   RMP     BL        Review Paladin make-whole analysis for Pru and         0.60      1595.00           $957.00
                                AXA and telephone conference with M. Litvak re
                                same.

 07/23/2021   RMP     BL        Review allocation complaint draft and drafts of        0.90      1595.00       $1,435.50
                                Equitable and AXA complaints and telephone
                                conference with M Litvak re same.

 07/27/2021   RMP     BL        Review attorneys' fees/prevailing party issues.        0.40      1595.00           $638.00

 07/31/2021   RMP     BL        Review make-whole issues and analysis and review       1.90      1595.00       $3,030.50
                                and respond to e-mails re same.

 08/01/2021   RMP     BL        Prepare for and participate on Seagale call and        0.80      1595.00       $1,276.00
                                telephone conference with J Dulberg re same.

 08/02/2021   RMP     BL        Review make-whole issues and e-mails re same.          0.40      1595.00           $638.00

 08/03/2021   RMP     BL        Review fraudulent conveyance analysis and exhibits     1.40      1595.00       $2,233.00
                                thereon and respond to e-mails re same.




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 08/04/2021   RMP     BL        Review and respond to e-mails re fraudulent             0.60      1595.00           $957.00
                                conveyance issues and telephone conferences re
                                same.

 08/11/2021   RMP     BL        Review Rabo issues and respond to e-mails re same.      0.40      1595.00           $638.00

 08/11/2021   RMP     BL        Telephone conference with J Dulberg and M Litvak        0.30      1595.00           $478.50
                                re allocation complaint and timing.

 08/17/2021   RMP     BL        Review Canyon Farm issues and discuss alternatives      0.60      1595.00           $957.00
                                with J Rosell and M Litvak.

 08/18/2021   RMP     BL        Review Rabo stipulation and telephone conference        0.20      1595.00           $319.00
                                with K Dine re same.

 08/23/2021   RMP     BL        Review and respond to e-mails and review                1.80      1595.00       $2,871.00
                                protective order reply and telephone conferences
                                with A Kornfeld re same.

 08/25/2021   RMP     BL        Review draft allocation complaint and telephone         0.60      1595.00           $957.00
                                conferences with M Litvak and J Dulberg re same.

 08/25/2021   JWD     BL        Further work on Easterday complaint regarding title     0.40      1025.00           $410.00

 08/25/2021   JWD     BL        Review and revise mortgage challenge objections         1.30      1025.00       $1,332.50

 08/26/2021   RMP     BL        Review and respond to e-mails re allocation             0.40      1595.00           $638.00
                                complaint.

 08/27/2021   RMP     BL        Review near final drafts of allocation complaint and    0.70      1595.00       $1,116.50
                                Equitable and Pru objections and telephone
                                conferences re same.

 09/01/2021   LAF     BL        Legal research re: Debtor needs to have rights in       0.80        475.00          $380.00
                                collateral to grant a security interest.

 09/01/2021   RMP     BL        Prepare for and participate on conference call with     0.90      1595.00       $1,435.50
                                Easterday counsel re allocation complaint and
                                follow-up with J Dulberg and Richter re same.

 09/01/2021   JWD     BL        Attend to issues re allocation complaint                0.20      1025.00           $205.00

 09/01/2021   JWD     BL        Call with Easterdays re property complaint              0.40      1025.00           $410.00

 09/01/2021   JWD     BL        Attend to issues re next litigation steps               0.30      1025.00           $307.50

 09/01/2021   MBL     BL        Call with R. Pachulski and emails with team re          0.20      1125.00           $225.00
                                property allocation complaint.

 09/01/2021   MBL     BL        Review and finalize allocation complaint; coordinate    0.70      1125.00           $787.50
                                filing with team and co-counsel.

 09/01/2021   JHR     BL        Call with P. Richter re: disputed property complaint    0.20       845.00           $169.00




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 09/01/2021   JHR     BL        Analyze revised waterfall                              0.60        845.00          $507.00

 09/01/2021   JHR     BL        Conference call with Easterdays re: disputed           0.40        845.00          $338.00
                                property

 09/01/2021   JHR     BL        Review Farms Committee joinder to make whole           0.20        845.00          $169.00
                                objections

 09/01/2021   CHM     BL        Review documents re privilege and draft email re       3.20        750.00      $2,400.00
                                esame to J. Rosell.

 09/02/2021   JWD     BL        Review protective order                                0.10      1025.00           $102.50

 09/02/2021   EAW     BL        Review email from J. Rosell re: document               0.10        925.00           $92.50
                                production to committees.

 09/02/2021   JHR     BL        Document review re: privilege issues                   1.60        845.00      $1,352.00

 09/02/2021   CHM     BL        Prepare summary of privilege withholding and           3.30        750.00      $2,475.00
                                reconcile same; email to J. Rosell.

 09/02/2021   CHM     BL        Run production of documents and cross check for        2.50        750.00      $1,875.00
                                privilege issues; draft summary of production and
                                privilege protocols; email same to J. Rosell and P.
                                Jeffries

 09/03/2021   JHR     BL        Analyze revised waterfall and settlement scenarios     0.90        845.00          $760.50

 09/10/2021   JHR     BL        Conference call re: waterfall issues                   1.70        845.00      $1,436.50

 09/14/2021   JHR     BL        Analyze revised settlement waterfall                   0.80        845.00          $676.00

 09/15/2021   IMP     BL        Review prior research materials re abandonment         0.30      1695.00           $508.50
                                issue

 09/15/2021   IMP     BL        Extended call with Richard M. Pachulski re             0.40      1695.00           $678.00
                                abandonment issues

 09/15/2021   RMP     BL        Review and consider abandonment issue and              1.70      1595.00       $2,711.50
                                telephone conference with A Kornfeld re same.

 09/15/2021   JHR     BL        Analyze revised settlement waterfall and related       0.30        845.00          $253.50
                                correspondence with L. Miller

 09/16/2021   JHR     BL        Analyze revised settlement waterfall                   0.80        845.00          $676.00

 09/16/2021   JHR     BL        Research abandonment issues                            0.50        845.00          $422.50

 09/21/2021   EAW     BL        Attention to status of fraudulent transfer             0.30        925.00          $277.50
                                investigation.

 09/21/2021   JWD     BL        Work on allocation complaint                           0.70      1025.00           $717.50




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 09/21/2021   MBL     BL        Review allocation complaint for filing; emails with     0.40       1125.00           $450.00
                                team re same.

 09/22/2021   KBD     BL        Review Easterday response to allocation motion          0.20       1195.00           $239.00

 09/23/2021   JHR     BL        Call with Everlaw re: document review issues            0.30         845.00          $253.50

 09/27/2021   JHR     BL        Research restitution orders in bankruptcy               0.50         845.00          $422.50

 09/29/2021   PJJ     BL        Prepare tracking chart of attendees for tax meeting.    1.00         460.00          $460.00

 09/29/2021   EAW     BL        Review allocation complaint.                            0.20         925.00          $185.00

 09/29/2021   JHR     BL        Draft correspondence re: Cox and Storage appraisals     0.40         845.00          $338.00

 09/30/2021   JHR     BL        Analyze revised waterfall                               0.60         845.00          $507.00

 09/30/2021   JHR     BL        Call with Everlaw re: discovery issues                  0.50         845.00          $422.50

                                                                                        42.30                   $47,146.50

  Case Administration [B110]
 06/30/2021   RMP     CA        Prepare for and participate on Easterday WIP call.      0.80       1595.00       $1,276.00

 07/21/2021   RMP     CA        Prepare for and participate on weekly WIP call.         1.00       1595.00       $1,595.00

 07/28/2021   RMP     CA        Prepare for and participate on WIP call.                1.20       1595.00       $1,914.00

 08/04/2021   RMP     CA        Prepare for and participate on weekly WIP call.         0.80       1595.00       $1,276.00

 08/18/2021   RMP     CA        Prepare for and participate on WIP call.                0.40       1595.00           $638.00

 09/01/2021   PJJ     CA        Update WIP, critical dates memo, calendar entries       0.20         460.00           $92.00
                                and reminders.

 09/01/2021   PJJ     CA        Draft 6th status report.                                1.50         460.00          $690.00

 09/01/2021   JHR     CA        Call with reporter re: employee issues                  0.30         845.00          $253.50

 09/02/2021   PJJ     CA        Work on 6th status report.                              1.70         460.00          $782.00

 09/02/2021   PJJ     CA        Update WIP, critical dates memo, calendar entries       0.70         460.00          $322.00
                                and reminders.

 09/02/2021   JWD     CA        Review and revise status report and call with P         0.30       1025.00           $307.50
                                Jeffries re same

 09/03/2021   PJJ     CA        Update critical dates memo, calendar entries and        0.60         460.00          $276.00
                                reminders.

 09/03/2021   PJJ     CA        Circulate hearing transcripts.                          0.20         460.00           $92.00

 09/03/2021   PJJ     CA        Update status report.                                   0.50         460.00          $230.00




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 09/03/2021   JWD     CA        Call with J Rosell re case status                        0.10      1025.00           $102.50

 09/07/2021   PJJ     CA        Update WIP, critical dates memo, calendar entries        1.00        460.00          $460.00
                                and reminders.

 09/07/2021   VLD     CA        Review critical dates memo, docket and pleadings         0.40        395.00          $158.00
                                and prepare materials for 9/8 hearing and correspond
                                with attorneys re same.

 09/08/2021   KBD     CA        Participate in WIP call w/team                           0.80      1195.00           $956.00

 09/08/2021   JHR     CA        Revise WIP list                                          0.20        845.00          $169.00

 09/08/2021   AJK     CA        WIP meeting.                                             0.60      1395.00           $837.00

 09/08/2021   PJJ     CA        Update status report.                                    0.40        460.00          $184.00

 09/08/2021   PJJ     CA        Attend WIP call.                                         0.80        460.00          $368.00

 09/08/2021   RMP     CA        Prepare for and participate on WIl call.                 0.80      1595.00       $1,276.00

 09/08/2021   JWD     CA        Review and revise WIP list                               0.20      1025.00           $205.00

 09/08/2021   JWD     CA        Attend all hands call                                    0.80      1025.00           $820.00

 09/08/2021   MBL     CA        Weekly update call with PSZJ team.                       0.70      1125.00           $787.50

 09/08/2021   JHR     CA        Revise WIP list                                          0.10        845.00           $84.50

 09/08/2021   JHR     CA        Attend weekly WIP call                                   0.80        845.00          $676.00

 09/08/2021   PJL     CA        Attend WIP Call.                                         1.00      1095.00       $1,095.00

 09/08/2021   BLW     CA        Attend Weekly WIP Call.                                  0.70        750.00          $525.00

 09/09/2021   PJJ     CA        Telephone conference with Peter Richler regarding        0.20        460.00           $92.00
                                9/22 hearing.

 09/09/2021   JWD     CA        Work on status report                                    0.30      1025.00           $307.50

 09/10/2021   PJJ     CA        Update and circulate status report.                      0.20        460.00           $92.00

 09/10/2021   JWD     CA        Review and revise status report and emails re same       0.20      1025.00           $205.00

 09/12/2021   JHR     CA        Revise status conference statement                       0.40        845.00          $338.00

 09/13/2021   PJJ     CA        Update 9/15 status report.                               0.30        460.00          $138.00

 09/13/2021   PJJ     CA        Prepare amended status report.                           0.20        460.00           $92.00

 09/13/2021   JWD     CA        Review and revise status report and emails re same       0.20      1025.00           $205.00

 09/13/2021   MBL     CA        Review and comment on case status report; emails         0.30      1125.00           $337.50
                                with co-counsel and team re same; review amended




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                                report.
 09/14/2021   PJJ     CA        Update WIP, critical dates memo, calendar entries     0.30        460.00          $138.00
                                and reminders.

 09/15/2021   TCF     CA        Attend WIP call.                                      0.30        875.00          $262.50

 09/15/2021   KBD     CA        Draft correspondence relating to status of WIP        0.10      1195.00           $119.50
                                matters

 09/15/2021   KBD     CA        Participate in WIP call                               0.50      1195.00           $597.50

 09/15/2021   PJJ     CA        Update WIP.                                           0.70        460.00          $322.00

 09/15/2021   PJJ     CA        Attend WIP call.                                      0.80        460.00          $368.00

 09/15/2021   RMP     CA        Prepare for and participate on weekly WIP call.       0.60      1595.00           $957.00

 09/15/2021   JWD     CA        Attend case WIP call                                  0.60      1025.00           $615.00

 09/15/2021   MBL     CA        Attend weekly PSZJ WIP call.                          0.60      1125.00           $675.00

 09/15/2021   EAW     CA        Participate on WIP call with PSZJ team.               0.40        925.00          $370.00

 09/15/2021   JHR     CA        Revise WIP list                                       0.20        845.00          $169.00

 09/15/2021   JHR     CA        Attend weekly WIP call                                0.60        845.00          $507.00

 09/15/2021   BLW     CA        Attend Weekly WIP Call.                               0.60        750.00          $450.00

 09/20/2021   PJJ     CA        Update 10/20 status report.                           0.80        460.00          $368.00

 09/21/2021   PJJ     CA        Update critical dates memo, calendar entries and      0.40        460.00          $184.00
                                reminders.

 09/21/2021   PJJ     CA        Update WIP.                                           0.50        460.00          $230.00

 09/21/2021   VLD     CA        Review docket, critical dates memo, pleadings and     0.70        395.00          $276.50
                                court calendar and assemble and organize materials
                                for 9/22 hearing.

 09/22/2021   BLW     CA        Attend Weekly WIP Call.                               0.60        750.00          $450.00

 09/22/2021   AJK     CA        WIP call.                                             0.60      1395.00           $837.00

 09/22/2021   PJJ     CA        Attend WIP call.                                      0.50        460.00          $230.00

 09/22/2021   RMP     CA        Prepare for and participate on WIP call.              0.60      1595.00           $957.00

 09/22/2021   JWD     CA        Review and revise case WIP list and emails with P     0.30      1025.00           $307.50
                                Jeffries re same

 09/22/2021   JWD     CA        Attend case WIP call (.5); review and update same     0.60      1025.00           $615.00
                                (.1)




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 09/22/2021   MBL     CA        Attend weekly PSZJ case update call.                   0.50       1125.00           $562.50

 09/22/2021   JHR     CA        Attend weekly WIP call                                 0.60         845.00          $507.00

 09/22/2021   PJL     CA        Attend WIP call to discuss various open matters and    0.50       1095.00           $547.50
                                go forward strategy.

 09/28/2021   PJJ     CA        Update WIP, critical dates memo, calendar entries &    0.50         460.00          $230.00
                                reminders.

 09/28/2021   JHR     CA        Review critical dates memorandum                       0.10         845.00           $84.50

 09/29/2021   KBD     CA        Participate in WIP Call re outstanding matters         0.70       1195.00           $836.50

 09/29/2021   AJK     CA        WIP call.                                              0.70       1395.00           $976.50

 09/29/2021   PJJ     CA        Update WIP, critical dates memo, calendar entries &    0.20         460.00           $92.00
                                reminders.

 09/29/2021   PJJ     CA        Attend WIP call.                                       0.80         460.00          $368.00

 09/29/2021   JWD     CA        Attend WIP call                                        0.70       1025.00           $717.50

 09/29/2021   MBL     CA        Attend weekly PSZJ WIP call.                           0.70       1125.00           $787.50

 09/29/2021   JHR     CA        Revise WIP list                                        0.20         845.00          $169.00

 09/29/2021   JHR     CA        Attend weekly WIP call                                 0.70         845.00          $591.50

                                                                                       40.70                   $36,730.00

  Corporate Governance/Board Mtr
 07/22/2021   RMP     CG        Prepare for and participate on Board meeting and       0.50       1595.00           $797.50
                                follow-up with CB re same.

 07/26/2021   RMP     CG        Prepare for and participate on Board call.             1.20       1595.00       $1,914.00

 08/02/2021   RMP     CG        Prepare for and participate on board call.             0.70       1595.00       $1,116.50

 08/20/2021   RMP     CG        Review documents for board meeting.                    0.80       1595.00       $1,276.00

 08/23/2021   RMP     CG        Prepare for and participate on Board call.             0.90       1595.00       $1,435.50

 09/01/2021   KBD     CG        Attend meeting of Board                                1.00       1195.00       $1,195.00

 09/01/2021   PJJ     CG        Attend Board meeting.                                  1.00         460.00          $460.00

 09/01/2021   RMP     CG        Prepare for and participate on board call.             1.00       1595.00       $1,595.00

 09/01/2021   JWD     CG        Attend board call                                      1.00       1025.00       $1,025.00

 09/01/2021   JWD     CG        Meeting with P Richter following board meeting re      0.30       1025.00           $307.50
                                various issues




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 09/01/2021   JHR     CG        Attend weekly board call                               1.00        845.00          $845.00

 09/01/2021   JHR     CG        Attend weekly board call                               0.30        845.00          $253.50

 09/03/2021   KBD     CG        Prepare minutes of Board meeting                       0.70      1195.00           $836.50

 09/03/2021   KBD     CG        Draft correspondence to Board regarding meeting        0.10      1195.00           $119.50

 09/03/2021   JWD     CG        Review and revise board minutes                        0.20      1025.00           $205.00

 09/06/2021   KBD     CG        Prepare agenda for Board meeting                       0.10      1195.00           $119.50

 09/06/2021   KBD     CG        Correspondence to Board regarding meeting              0.10      1195.00           $119.50

 09/09/2021   JWD     CG        Attend board call and calls with members before and    1.00      1025.00       $1,025.00
                                after re scheduling issues

 09/09/2021   KBD     CG        Participate in meeting of Board of Directors           0.60      1195.00           $717.00

 09/09/2021   PJJ     CG        Attend Board meeting.                                  0.60        460.00          $276.00

 09/09/2021   RMP     CG        Prepare for and participate on board call.             1.00      1595.00       $1,595.00

 09/09/2021   JHR     CG        Attend weekly board meeting                            0.60        845.00          $507.00

 09/12/2021   KBD     CG        Prepare minutes of Board meeting                       0.40      1195.00           $478.00

 09/12/2021   KBD     CG        Prepare agenda for Board meeting                       0.10      1195.00           $119.50

 09/13/2021   KBD     CG        Correspondence regarding Board meeting                 0.10      1195.00           $119.50

 09/13/2021   JWD     CG        Review and revise board minutes and emails re same     0.20      1025.00           $205.00

 09/13/2021   JWD     CG        Review and revise board agenda and emails re same      0.10      1025.00           $102.50

 09/13/2021   JWD     CG        Draft various emails to board re proposal and next     0.40      1025.00           $410.00
                                meeting

 09/14/2021   PJJ     CG        Attend Board meeting.                                  1.00       460.00           $460.00

 09/14/2021   RMP     CG        Prepare for and participate on weekly board            1.00      1595.00       $1,595.00
                                meeting.

 09/14/2021   JWD     CG        Prep for and attend board call                         1.20      1025.00       $1,230.00

 09/14/2021   JWD     CG        Emails re new board meeting minutes                    0.20      1025.00           $205.00

 09/14/2021   JHR     CG        Attend weekly board call                               1.00       845.00           $845.00

 09/15/2021   KBD     CG        Revise draft board minutes                             0.10      1195.00           $119.50

 09/15/2021   PJJ     CG        Draft minutes of 9/14 Board meeting.                   1.00       460.00           $460.00

 09/17/2021   KBD     CG        Correspondence with Board regarding minutes            0.10      1195.00           $119.50




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 09/21/2021   KBD     CG        Prepare Board agenda and related correspondence        0.20      1195.00           $239.00

 09/21/2021   PJJ     CG        Attend weekly Committee call.                          1.00        460.00          $460.00

 09/21/2021   JWD     CG        Work on board meeting agenda                           0.10      1025.00           $102.50

 09/21/2021   JWD     CG        Review draft of board agenda and emails regarding      0.20      1025.00           $205.00
                                same

 09/21/2021   JWD     CG        Draft email to board regarding equitable settlement    0.20      1025.00           $205.00
                                proposal

 09/22/2021   KBD     CG        Revisions to Board agenda and related                  0.30      1195.00           $358.50
                                correspondence

 09/22/2021   KBD     CG        Review correspondence to Board regarding               0.40      1195.00           $478.00
                                outstanding matters

 09/22/2021   JWD     CG        Review corr from Board re Easterday                    0.30      1025.00           $307.50
                                communication and attend to issues re same

 09/22/2021   JWD     CG        Review correspondence from board and emails with       0.30      1025.00           $307.50
                                team regarding same

 09/22/2021   JWD     CG        Call with Todd Neilson re debtor correspondence        0.10      1025.00           $102.50

 09/23/2021   KBD     CG        Participate in meeting of Board of Directors           1.00      1195.00       $1,195.00

 09/23/2021   PJL     CG        Attend Board Meeting.                                  0.60      1095.00           $657.00

 09/23/2021   RMP     CG        Prepare for and participate on board call.             1.10      1595.00       $1,754.50

 09/23/2021   JWD     CG        Emails with board members re prep for meeting          0.20      1025.00           $205.00

 09/23/2021   JWD     CG        Attend board meeting                                   1.10      1025.00       $1,127.50

 09/23/2021   JWD     CG        Work on board memo                                     2.20      1025.00       $2,255.00

 09/23/2021   JHR     CG        Attend weekly board meeting                            1.00       845.00           $845.00

 09/27/2021   KBD     CG        Prepare minutes of Board meeting                       0.70      1195.00           $836.50

 09/27/2021   KBD     CG        Attention to correspondence with Board                 0.30      1195.00           $358.50

 09/30/2021   KBD     CG        Prepare agenda for Board meeting                       0.10      1195.00           $119.50

 09/30/2021   KBD     CG        Review and prepare correspondence to Board             0.10      1195.00           $119.50

 09/30/2021   JWD     CG        Review draft board agenda and emails re same           0.20      1025.00           $205.00

 09/30/2021   JWD     CG        Work on materials for board following Easterday        0.70      1025.00           $717.50
                                call

 09/30/2021   JWD     CG        Call with board re update and email with team re       0.50      1025.00           $512.50




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                                                                                      Hours            Rate         Amount
                                same

                                                                                       34.50                   $37,882.50

  Claims Admin/Objections[B310]
 07/21/2021   RMP     CO        Review Pru and Equitable issues and review and         0.80       1595.00       $1,276.00
                                respond to e-mails re same.

 07/29/2021   RMP     CO        Review and respond to e-mails re Equitable issues.     0.40       1595.00           $638.00

 08/04/2021   RMP     CO        Review Equitable analysis and e-mails re same.         0.40       1595.00           $638.00

 08/06/2021   RMP     CO        Review Equitable issues and telephone conference       0.60       1595.00           $957.00
                                with M Litvak re same.

 08/12/2021   RMP     CO        Review Equitable status and issues and telephone       0.40       1595.00           $638.00
                                conference with M Litvak re same.

 08/17/2021   RMP     CO        Review Equitable and Pru settlement and litigation     1.20       1595.00       $1,914.00
                                alternatives and telephone conferences re same and
                                analyze updated calculations.

 08/18/2021   RMP     CO        Continue with Pru and Equitable analysis and           0.70       1595.00       $1,116.50
                                evaluate settlement options.

 08/19/2021   RMP     CO        Review proposal to Equitable and telephone             0.70       1595.00       $1,116.50
                                conferences with M Litvak and respond to e-mails re
                                same.

 08/23/2021   RMP     CO        Review Segale POC and telephone conference with        0.60       1595.00           $957.00
                                J Dulberg and M Litvak re same.

 08/24/2021   RMP     CO        Review Prudential counteroffer and telephone           0.60       1595.00           $957.00
                                conferences with M Litvak and J Dulberg re same.

 08/24/2021   RMP     CO        Review Equitable counteroffer and telephone            0.50       1595.00           $797.50
                                conference with M Litvak and Richter re same.

 08/25/2021   RMP     CO        Review draft objections to Pru's and Equitable's       1.40       1595.00       $2,233.00
                                claims, comment on same and telephone conferences
                                with J Dulberg and M Litvak re same.

 09/01/2021   JWD     CO        Review Committee joinder to objections                 0.10       1025.00           $102.50

 09/01/2021   JWD     CO        Work on mortgage challenge claim objs.                 0.40       1025.00           $410.00

 09/01/2021   MBL     CO        Review and finalize objections to lender claims;       0.90       1125.00       $1,012.50
                                coordinate filing with team and co-counsel.

 09/02/2021   MBL     CO        Review filed lender claim objections; coordinate       0.20       1125.00           $225.00
                                same with client.




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                                                                                      Hours           Rate         Amount

 09/03/2021   JWD     CO        Work on Segale objection issues                        0.80      1025.00           $820.00

 09/03/2021   PJL     CO        Review Segale documents and conference with K.         0.90      1095.00           $985.50
                                Dine regarding same.

 09/07/2021   MBL     CO        Misc. emails with team and Pru counsel re make         0.10      1125.00           $112.50
                                whole and pending matters.

 09/08/2021   MBL     CO        Call with B. Walsh re Pru objection to claim.          0.60      1125.00           $675.00

 09/09/2021   RMP     CO        Telephone conference with M Litvak re Pru and          0.60      1595.00           $957.00
                                Equitable issues and review e-mails re same.

 09/09/2021   MBL     CO        Emails with Pru counsel and team re scheduling for     0.20      1125.00           $225.00
                                lender claim objections.

 09/09/2021   JHR     CO        Research re: Segale claims                             0.90        845.00          $760.50

 09/09/2021   PJL     CO        Review and revise Segali memo on                       2.60      1095.00       $2,847.00
                                secured/unsecured claims.

 09/10/2021   RMP     CO        Telephone conference with M Litvak re Pru and          0.40      1595.00           $638.00
                                Equitable issues and review e-mails re same.

 09/10/2021   JHR     CO        Analyze Segale claim analysis                          0.40        845.00          $338.00

 09/10/2021   MBL     CO        Call with B. Walsh re settlement issues with Pru       0.30      1125.00           $337.50
                                (0.2); emails with team re same (0.1).

 09/10/2021   PJL     CO        Legal research on bailor/bailee relationship           3.20      1095.00       $3,504.00
                                regarding certain cattle.

 09/10/2021   PJL     CO        Review and revise memo on certain cattle, including    1.60      1095.00       $1,752.00
                                conference with K. Dine regarding certain open
                                issues.

 09/11/2021   MBL     CO        Emails with J. Rosell re guaranty claims.              0.10      1125.00           $112.50

 09/12/2021   JWD     CO        Analyze issues re various claim review                 0.70      1025.00           $717.50

 09/13/2021   RMP     CO        Telephone conferences with M Litvak and J Dulberg      0.40      1595.00           $638.00
                                re Equitable and Prudential issues.

 09/13/2021   PJJ     CO        Email from/to creditor regarding case inquiry.         0.20       460.00            $92.00

 09/13/2021   MBL     CO        Emails with mortgage lender counsel re scheduling      0.20      1125.00           $225.00
                                issues.

 09/13/2021   PJL     CO        Prepare for and attend call with Committee             1.20      1095.00       $1,314.00
                                regarding Segale claim.

 09/13/2021   PJL     CO        Conference with K. Dine and review of Segale cash      1.30      1095.00       $1,423.50
                                analysis.




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 09/14/2021   RMP     CO        Various telephone conferences with M Litvak and          0.80      1595.00       $1,276.00
                                Paladin re Equitable issues and review e-mail offer
                                re same.

 09/14/2021   MBL     CO        Review and comment on draft scheduling order re          0.20      1125.00           $225.00
                                lender claim objections; emails with committee and
                                lender counsel re same.

 09/14/2021   JHR     CO        Analyze draft scheduling order for Prudential /          0.20        845.00          $169.00
                                Equitable claim objections

 09/14/2021   MBL     CO        Address Equitable settlement issues (0.2); calls with    0.50      1125.00           $562.50
                                Equitable counsel and R. Pachulski re same (0.3).

 09/14/2021   MBL     CO        Emails with Equitable counsel re settlement of           0.30      1125.00           $337.50
                                pending claims.

 09/15/2021   MBL     CO        Coordinate with Pru counsel re settlement issues;        0.30      1125.00           $337.50
                                analyze same.

 09/15/2021   PJL     CO        Review Segale issue and waterfall, including             2.10      1095.00       $2,299.50
                                internal meeting to discuss Segale claim.

 09/16/2021   RMP     CO        Review e-mails and analysis re Prudential's claim.       0.70      1595.00       $1,116.50

 09/16/2021   MBL     CO        Call with B. Walsh re Pru claim issues; update team      0.20      1125.00           $225.00
                                re same.

 09/17/2021   RMP     CO        Review counteroffer re Equitable and various             0.70      1595.00       $1,116.50
                                telephone conferences re same.

 09/17/2021   MBL     CO        Call with M. Paukert re Equitable claims issues          0.30      1125.00           $337.50
                                (0.1); review proposal re same (0.2).

 09/20/2021   RMP     CO        Various telephone conferences re Equitable offer         0.90      1595.00       $1,435.50
                                and review prepayment analysis.

 09/20/2021   RMP     CO        Review Pru scheduling issues and telephone               0.30      1595.00           $478.50
                                conference with M Litvak re same.

 09/20/2021   MBL     CO        Emails with Pru counsel and co-counsel re                0.40      1125.00           $450.00
                                scheduling order and revisions thereto; review same
                                and coordinate filing.

 09/20/2021   JHR     CO        Correspondence with Prudential re: scheduling order      0.10       845.00            $84.50

 09/20/2021   JWD     CO        Review proposal from Equitable and emails re same        0.60      1025.00           $615.00

 09/20/2021   JWD     CO        Review Equitable emails and attend to issues re          0.40      1025.00           $410.00
                                same (.3); meeting with R Pachulski re same (.1)

 09/20/2021   MBL     CO        Emails with Paladin and team re mortgage lender          0.40      1125.00           $450.00
                                claims; review Equitable proposal and consider




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                                                                                       Hours           Rate         Amount
                                response.
 09/20/2021   PJL     CO        Review open issues with internal team and               1.40      1095.00       $1,533.00
                                correspondence drafted and reviewed from
                                Committee counsel regarding same.

 09/21/2021   KBD     CO        Attention to correspondence regarding Segale claims     0.20      1195.00           $239.00

 09/21/2021   RMP     CO        Prepare for and participate on Equitable call and       0.60      1595.00           $957.00
                                follow-up with M Litvak.

 09/21/2021   RMP     CO        Prepare for and participate on Prudential call and      0.60      1595.00           $957.00
                                follow-up with M Litvak.

 09/21/2021   JWD     CO        Call with P Labov re Segale                             0.10      1025.00           $102.50

 09/21/2021   JWD     CO        Review updated settlement proposals re mortgage         0.30      1025.00           $307.50
                                challenges

 09/21/2021   MBL     CO        Call with R. Pachulski re mortgage lender claims.       0.10      1125.00           $112.50

 09/21/2021   MBL     CO        Call with Pru counsel and R. Pachulski re claim         0.40      1125.00           $450.00
                                objection.

 09/21/2021   MBL     CO        Call with Equitable counsel re claim objection.         0.30      1125.00           $337.50

 09/21/2021   MBL     CO        Draft summary of mortgage lender proposals;             0.50      1125.00           $562.50
                                coordinate same with team and client.

 09/21/2021   PJL     CO        Review open issues with Segale, including               2.20      1095.00       $2,409.00
                                correspondence drafted to Segale counsel and
                                review of information by internal team.

 09/22/2021   KBD     CO        Correspondence relating to Segale claim with            0.30      1195.00           $358.50
                                Paladin, counsel for the Ranches UCC and counsel
                                for Segale

 09/22/2021   RMP     CO        Review Equitable and Prudential related e-mails and     0.60      1595.00           $957.00
                                conference with J Dulberg re same.

 09/22/2021   JWD     CO        Attend to issues re Segale claim review                 0.10      1025.00           $102.50

 09/22/2021   JWD     CO        Emails with R Sperry re rejection request and claim,    0.30      1025.00           $307.50
                                emails with T Buford re same

 09/22/2021   MBL     CO        Emails with mortgage lender counsel, committee          0.30      1125.00           $337.50
                                counsel, team, and client re timing and settlement
                                issues.

 09/22/2021   PJL     CO        Review correspondence and discuss same internally       1.70      1095.00       $1,861.50
                                regarding Segale claim(s).

 09/22/2021   PJL     CO        Conference with J. Dulberg regarding Easterday          0.20      1095.00           $219.00
                                statement and response to same.




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 09/23/2021   KBD     CO        Analyze claims issues w/P. Labov and M. Lang           0.50      1195.00           $597.50

 09/23/2021   KBD     CO        Analyze issues relating to claims                      0.30      1195.00           $358.50

 09/23/2021   KBD     CO        Call w/C. Durbin of Cooley and P. Labov regarding      0.60      1195.00           $717.00
                                claims matters

 09/23/2021   RMP     CO        Various telephone conferences and e-mails with         0.90      1595.00       $1,435.50
                                Committees and team re Equitable and Pru
                                proposals.

 09/23/2021   JWD     CO        Work on Segale claim issues and emails re same         0.20      1025.00           $205.00

 09/23/2021   PJL     CO        Review Segale documents and call with Committee.       1.30      1095.00       $1,423.50

 09/23/2021   PJL     CO        Internal call with K. Dine and correspondence          0.60      1095.00           $657.00
                                drafted to J. Dulberg regarding Segale issues.

 09/23/2021   PJL     CO        Review legal theory of recovery on Segale.             0.80      1095.00           $876.00

 09/24/2021   KBD     CO        Analyze issues relating to claims                      0.40      1195.00           $478.00

 09/24/2021   RMP     CO        Review Equitable proposal and telephone                0.50      1595.00           $797.50
                                conference with M Litvak and J Dulberg re same.

 09/24/2021   MBL     CO        Emails with Equitable counsel re settlement            0.30      1125.00           $337.50
                                proposal.

 09/24/2021   PJL     CO        Review and discussion on Segale open issues and        1.80      1095.00       $1,971.00
                                legal theories.

 09/26/2021   KBD     CO        Review spread sheet relating to Segale claims          0.20      1195.00           $239.00

 09/26/2021   KBD     CO        Telephone conference with M. Lang and P. Labov         0.30      1195.00           $358.50
                                regarding claim information

 09/26/2021   JWD     CO        Work on mortgage lender settlement                     0.40      1025.00           $410.00

 09/27/2021   KBD     CO        Attention to correspondence among counsel for          0.30      1195.00           $358.50
                                Segale and PSZJ regarding Segale’s claims

 09/27/2021   JHR     CO        Review Prudential and Equitable scheduling order       0.10       845.00            $84.50

 09/27/2021   MBL     CO        Follow-up emails with Pru counsel re settlement        0.10      1125.00           $112.50
                                issues.

 09/27/2021   MBL     CO        Emails with lender counsel re extension of             0.20      1125.00           $225.00
                                scheduling order; review entered order.

 09/27/2021   PJL     CO        Further review and discussion regarding Segale         2.60      1095.00       $2,847.00
                                claims, including correspondence drafted to and
                                reviewed from Segale counsel and internal team
                                regarding same.




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 09/28/2021   KBD     CO        Analyze claim issues in preparation for call             1.40      1195.00       $1,673.00
                                w/Segale w/P. Labov (for part)

 09/28/2021   KBD     CO        Call w/counsel for Segale, M. Lang, and P. Labov         0.50      1195.00           $597.50

 09/28/2021   JWD     CO        Review and revise Equitable settlement                   0.60      1025.00           $615.00

 09/28/2021   JWD     CO        Review Segale spreadsheet and emails re same             0.60      1025.00           $615.00

 09/28/2021   MBL     CO        Follow-up with lender counsel and co-counsel re          0.40      1125.00           $450.00
                                settlement issues; extension stipulation; review
                                same.

 09/28/2021   MBL     CO        Calls with M. Paukert re Equitable settlement (0.2);     0.50      1125.00           $562.50
                                follow-up emails with team, client, and opposing
                                counsel re same (0.3).

 09/28/2021   MBL     CO        Draft settlement agreement with Equitable; review        1.80      1125.00       $2,025.00
                                and revise same.

 09/28/2021   MBL     CO        Draft 9019 motion re Equitable settlement.               1.70      1125.00       $1,912.50

 09/28/2021   MBL     CO        Call with P. Richter re lender settlement issues.        0.30      1125.00           $337.50

 09/28/2021   MBL     CO        Further revisions to Equitable settlement with lender    0.40      1125.00           $450.00
                                and team input.

 09/28/2021   PJL     CO        Review “accounting” on Segale claims.                    1.10      1095.00       $1,204.50

 09/28/2021   PJL     CO        Conference call with Segale representatives              0.60      1095.00           $657.00
                                regarding cattle trading agreement.

 09/28/2021   PJL     CO        Conference with K. Dine regarding Segal claim.           0.60      1095.00           $657.00

 09/29/2021   AJK     CO        Attention to Segale claim issues.                        0.30      1395.00           $418.50

 09/29/2021   KBD     CO        Telephone conference with M. Lang and P. Labov           0.80      1195.00           $956.00
                                regarding Segale claims

 09/29/2021   KBD     CO        Review documents relating to Segale claim                0.30      1195.00           $358.50

 09/29/2021   JHR     CO        Review Equitable 9019 motion and settlement              0.20       845.00           $169.00
                                agreement

 09/29/2021   MBL     CO        Review and revise Equitable settlement agreement;        1.20      1125.00       $1,350.00
                                emails with team, client, and opposing counsel re
                                same.

 09/29/2021   MBL     CO        Review and revise Equitable settlement motion,           0.90      1125.00       $1,012.50
                                declaration, and order; emails with team, client, and
                                opposing counsel re same.

 09/29/2021   MBL     CO        Call with M. Paukert re Equitable settlement             0.50      1125.00           $562.50




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                                comments (0.3); revise agreement and motion (0.2).
 09/29/2021   MBL     CO        Finalize Equitable settlement and coordinate            0.40       1125.00           $450.00
                                filing/execution.

 09/29/2021   PJL     CO        Conference with Paladin and internal team regarding     0.50       1095.00           $547.50
                                Segale claim.

 09/29/2021   PJL     CO        Review Debtors' books and records in connection         1.80       1095.00       $1,971.00
                                with alleged purchases of cattle and feed on behalf
                                of Segale.

 09/30/2021   JWD     CO        Review updates re various claim issues                  0.30       1025.00           $307.50

 09/30/2021   KBD     CO        Coordinate meeting regarding documents for Segale       0.10       1195.00           $119.50

 09/30/2021   KBD     CO        Call w/P. Labov, A. Kornfeld, P. Richter and M.         0.60       1195.00           $717.00
                                Lang regarding Segale

 09/30/2021   MBL     CO        Call with Ranches professionals, team, and Paladin      1.10       1125.00       $1,237.50
                                re plan term sheet (1.0); follow-up emails with team
                                following call (0.1).

 09/30/2021   PJL     CO        Prepare for and attend conference call on Segale        0.80       1095.00           $876.00
                                issues.

                                                                                        78.90                   $94,798.50

  Compensation Prof. [B160]
 07/19/2021   RMP     CP        Review SUET issues re fees and conference with J        0.40       1595.00           $638.00
                                Dulberg re same.

 07/22/2021   RMP     CP        Review Cooley fee application and conference with       0.70       1595.00       $1,116.50
                                J Dulberg re same and UST issues.

 07/23/2021   RMP     CP        Review UST fee objection and conference with J          0.60       1595.00           $957.00
                                Dulberg re same.

 08/10/2021   RMP     CP        Review reply to objection to fee app, comments          0.70       1595.00       $1,116.50
                                thereto and telephone conference with J Dulberg re
                                same.

 08/11/2021   RMP     CP        Review and respond to e-mails re fee reply and          0.80       1595.00       $1,276.00
                                review changes to the reply and telephone
                                conference with J Dulberg re same.

 08/11/2021   RMP     CP        Telephone conference with Haker re fee app issues       0.60       1595.00           $957.00
                                and follow-up with I Kharasch re same.

 08/12/2021   RMP     CP        Review revised fee application reply and respond to     0.60       1595.00           $957.00
                                e-mails re same.




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 08/17/2021   RMP     CP        Review reply and e-mails re fee issues and telephone     0.80      1595.00       $1,276.00
                                conferences re same.

 08/17/2021   RMP     CP        Review choice of counsel cases.                          0.40      1595.00           $638.00

 08/17/2021   RMP     CP        Telephone conference with Haker re fee issues.           0.40      1595.00           $638.00

 08/17/2021   RMP     CP        Review revised reply draft and telephone conference      0.60      1595.00           $957.00
                                with J Dulberg re same.

 08/18/2021   RMP     CP        Review final reply draft and review case law.            0.80      1595.00       $1,276.00

 08/18/2021   RMP     CP        Review FRI statement re fees and telephone               0.20      1595.00           $319.00
                                conference with Haker re same.

 08/25/2021   JWD     CP        Emails regarding fee app order                           0.20      1025.00           $205.00

 09/01/2021   JWD     CP        Attend to interim comp supplement motion                 0.40      1025.00           $410.00

 09/01/2021   JHR     CP        Analyze revise draft of motion to modify interim         0.20       845.00           $169.00
                                compensation procedures

 09/02/2021   PJJ     CP        Review revised fee order (.2); revise fee tracking       0.70        460.00          $322.00
                                (.3); and email accounting regarding write-off and
                                telephone conference with V. Arias regarding same
                                (.2).

 09/02/2021   PJJ     CP        Review/revise July invoices.                             2.00        460.00          $920.00

 09/02/2021   JWD     CP        Review entered fee app order and email with team re      0.20      1025.00           $205.00
                                judge's changes

 09/02/2021   JWD     CP        Finalize issues re interim comp motion                   0.30      1025.00           $307.50

 09/02/2021   JWD     CP        Review email and attend to changes to motion to          0.30      1025.00           $307.50
                                modify procedures

 09/02/2021   JWD     CP        Review entered fee order and email regarding same        0.20      1025.00           $205.00

 09/03/2021   PJJ     CP        Review revised invoices (.5); update hearing cap         1.30       460.00           $598.00
                                tables (.8).

 09/03/2021   RMP     CP        Review supplemental fee procedures motion and            0.70      1595.00       $1,116.50
                                telephone conference with Richter and J Dulberg re
                                same.

 09/13/2021   JWD     CP        Attend to issues re motion to revise comp                0.30      1025.00           $307.50
                                procedures

 09/13/2021   JWD     CP        Several emails re hearing notice for motion to revise    0.40      1025.00           $410.00
                                comp procedures

 09/13/2021   JHR     CP        Analyze motion to modify interim compensation            0.30       845.00           $253.50




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                                                                                      Hours           Rate         Amount
                                procedures and related motion to shorten
 09/13/2021   JHR     CP        Correspondence with J. Dulberg re: modified interim    0.20        845.00          $169.00
                                compensation procedures

 09/14/2021   JWD     CP        Email to Easterday counsel re interim comp             0.10      1025.00           $102.50
                                procedures supp motion

 09/15/2021   RMP     CP        Review Supplemental Fee Motion and telephone           0.40      1595.00           $638.00
                                conference with J Dulberg and respond to e-mails re
                                same.

 09/16/2021   PJJ     CP        Calculate fee allocations for payments received and    0.20        460.00           $92.00
                                email accounting regarding same.

 09/16/2021   PJJ     CP        Prepare July fee statement.                            1.00        460.00          $460.00

 09/16/2021   PJJ     CP        Further review/revision to July invoice.               0.30        460.00          $138.00

 09/17/2021   PJJ     CP        Revise July fee statement.                             1.00        460.00          $460.00

 09/17/2021   JWD     CP        Review and revise with silos monthly bills             0.80      1025.00           $820.00

 09/20/2021   PJJ     CP        Prepare July fee statement for filing.                 0.20        460.00           $92.00

 09/20/2021   PJJ     CP        Prepare DWT July fee statement for filing.             0.20        460.00           $92.00

 09/20/2021   PJJ     CP        Update professional fee calculations.                  1.00        460.00          $460.00

 09/20/2021   JWD     CP        Work on review of August monthly app and emails        0.30      1025.00           $307.50
                                re same

 09/21/2021   RMP     CP        Prepare for Interim Compensation extension motion      1.20      1595.00       $1,914.00
                                on assumption Easterdays will object and review and
                                respond to internal e-mails re same.

 09/21/2021   PJJ     CP        Draft notice of filing documents in support of         0.20        460.00           $92.00
                                supplemental fee procedures motion.

 09/21/2021   PJJ     CP        Telephone conference with Jeffrey W. Dulberg           0.50        460.00          $230.00
                                regarding Cox & Farm Storage Appraisals in
                                connection with supplemental fee procedures
                                motion.

 09/21/2021   JWD     CP        Review professional fee summary and work on            0.30      1025.00           $307.50
                                changes to same

 09/21/2021   JWD     CP        Work on response to Easterdays re fee motion           0.30      1025.00           $307.50

 09/21/2021   JWD     CP        Multiple emails with Easterday counsel regarding       0.80      1025.00           $820.00
                                fee issues

 09/21/2021   JWD     CP        Emails with team regarding allocation complaint and    0.40      1025.00           $410.00
                                review same




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 09/21/2021   JWD     CP        Review supplement to fee procedures motion and         0.50       1025.00           $512.50
                                multiple calls with Patricia Jeffries

 09/22/2021   PJJ     CP        Download and circulate Easterday response to           0.20         460.00           $92.00
                                supplemental fee motion.

 09/22/2021   RMP     CP        Prepare for and participate on interim compensation    2.10       1595.00       $3,349.50
                                hearing, including recently filed opposition and
                                telephone conferences with team and Paladin re
                                same.

 09/22/2021   JWD     CP        Review Easterday reply to comp motion                  0.20       1025.00           $205.00

 09/22/2021   JWD     CP        Email with J Rosell re comp motion                     0.10       1025.00           $102.50

 09/22/2021   JWD     CP        Emails with Easterday counsel re comp motion           0.30       1025.00           $307.50

 09/22/2021   JHR     CP        Review Easterday objection to release of               0.20         845.00          $169.00
                                professional fees

 09/23/2021   JWD     CP        Work with P Jeffries re billing issues                 0.20       1025.00           $205.00

 09/29/2021   JHR     CP        Analyze documents in support of motion to release      0.70         845.00          $591.50
                                funds

 09/29/2021   PJJ     CP        Telephone conference with Jason H. Rosell              0.20         460.00           $92.00
                                regarding supplemental fee procedures briefing.

 09/29/2021   JHR     CP        Analyze interim compensation issues                    0.60         845.00          $507.00

 09/30/2021   MBL     CP        Review emails with Easterday counsel re fee issues;    0.10       1125.00           $112.50
                                emails with team re same.

 09/30/2021   JHR     CP        Correspondence with PSZJ re: professional fee brief    0.30         845.00          $253.50

 09/30/2021   JHR     CP        Call with P. Richter re: professional fee issue        0.20         845.00          $169.00

 09/30/2021   JHR     CP        Correspondence with R. Pachulski re: professional      0.20         845.00          $169.00
                                fee issue

                                                                                       30.60                   $32,608.00

  Executory Contracts [B185]
 09/01/2021   JHR     EC        Review local counsel's analysis of lease assignment    0.20         845.00          $169.00
                                issues

 09/03/2021   JWD     EC        Review email from HNB counsel re trailers and          0.50       1025.00           $512.50
                                emails with team re same (.2); review motion (.1);
                                follow up emails re same (.2)

 09/03/2021   JWD     EC        Review and respond to M Sperry email                   0.10       1025.00           $102.50




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                                                                                       Hours            Rate         Amount

 09/09/2021   JWD     EC        Review Port of Pasco objection and emails with          0.30       1025.00           $307.50
                                team re same

 09/10/2021   JHR     EC        Call with Port of Pasco re: lease issues                0.30         845.00          $253.50

 09/11/2021   JHR     EC        Analyze Port of Pasco lease invoices and related        0.20         845.00          $169.00
                                correspondence with counsel

 09/14/2021   JWD     EC        Review various pleadings re 365d                        0.30       1025.00           $307.50

                                                                                         1.90                    $1,821.50

  Financial Filings [B110]
 09/13/2021   JWD     FF        Attend to issues re MOR                                 0.50       1025.00           $512.50

 09/13/2021   JWD     FF        Call with Peter Richter regarding MOR                   0.20       1025.00           $205.00

 09/17/2021   JWD     FF        Review MORs for filing                                  0.20       1025.00           $205.00

 09/20/2021   JWD     FF        Review MORs                                             0.20       1025.00           $205.00

                                                                                         1.10                    $1,127.50

  General Creditors Comm. [B150]
 07/20/2021   RMP     GC        Prepare for and participate on joint Committee call.    0.90       1595.00       $1,435.50

 07/27/2021   RMP     GC        Prepare for and participate on weekly Committee         0.70       1595.00       $1,116.50
                                call (Joint).

 08/03/2021   RMP     GC        Prepare for and participate on standing committee       0.70       1595.00       $1,116.50
                                call.

 08/31/2021   RMP     GC        Prepare for and participate on Committee call.          1.00       1595.00       $1,595.00

 09/13/2021   MBL     GC        Emails with team re committee fees.                     0.10       1125.00           $112.50

 09/14/2021   KBD     GC        Attend meeting with professionals for Committees        0.40       1195.00           $478.00
                                on outstanding issues

 09/14/2021   KBD     GC        Attend board meeting (for part)                         0.20       1195.00           $239.00

 09/14/2021   KBD     GC        Prepare correspondence for Board                        0.10       1195.00           $119.50

 09/14/2021   JHR     GC        Attend weekly call with Committees                      0.40         845.00          $338.00

 09/14/2021   PJJ     GC        Attend weekly Committee call.                           0.90         460.00          $414.00

 09/14/2021   JWD     GC        Attend dual committee call                              0.40       1025.00           $410.00

 09/14/2021   MBL     GC        Attend weekly committee update call.                    0.40       1125.00           $450.00




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 09/21/2021   RMP     GC        Prepare for and participate on weekly Committee          1.20      1595.00       $1,914.00
                                call.

 09/21/2021   JWD     GC        Emails re committee call and agenda                      0.20      1025.00           $205.00

 09/21/2021   JWD     GC        Work on committee call agenda and emails                 0.20      1025.00           $205.00
                                regarding same

 09/21/2021   JWD     GC        Dual committee call                                      1.00      1025.00       $1,025.00

 09/21/2021   MBL     GC        Weekly update call with committee professionals.         0.50      1125.00           $562.50

 09/21/2021   JHR     GC        Attend weekly Committees call                            1.10        845.00          $929.50

                                                                                        10.40                   $12,665.50

  Hearing
 07/27/2021   RMP     HE        Prepare for and participate on attend hearing re Pru     1.80      1595.00       $2,871.00
                                escrow issues.

 08/18/2021   RMP     HE        Attend status conference and prepare for same.           1.10      1595.00       $1,754.50

 08/25/2021   RMP     HE        Prepare for and participate on fee application           2.10      1595.00       $3,349.50
                                hearing.

 09/08/2021   PJJ     HE        Listen to sale hearing (no charge).                      0.40          0.00            $0.00

 09/08/2021   RMP     HE        Prepare for and attend 9/8 hearing.                      0.70      1595.00       $1,116.50

 09/08/2021   JWD     HE        Attend hearing                                           0.50      1025.00           $512.50

 09/08/2021   JHR     HE        Attend 9/8 hearing                                       0.70        845.00          $591.50

 09/08/2021   PJL     HE        Hearing on stalking horse bidder.                        0.60      1095.00           $657.00

 09/08/2021   BLW     HE        Attend Hearing re: Equipment Stalking Horse              0.40          0.00            $0.00
                                Motion. (no charge)

 09/15/2021   KBD     HE        Attend court hearing regarding status                    0.50      1195.00           $597.50

 09/15/2021   RMP     HE        Prepare for and participate on status conference         0.80      1595.00       $1,276.00
                                hearing.

 09/15/2021   JWD     HE        Attend hearing and draft notes following same (no        0.60          0.00            $0.00
                                charge)

 09/15/2021   MBL     HE        Attend status conference re plan and other pending       0.50      1125.00           $562.50
                                issues (by phone).

 09/15/2021   JHR     HE        Attend 9/15 status conference (no charge)                0.60          0.00            $0.00

 09/21/2021   JWD     HE        Meeting with R Pachulski, P Richter, T Buford re         0.70      1025.00           $717.50




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                                                                                       Hours            Rate         Amount
                                hearing prep
 09/21/2021   JWD     HE        Work on hearing prep with various team members          0.60       1025.00           $615.00

 09/22/2021   EAW     HE        Attend hearing on motion for derivative standing.       3.00           0.00            $0.00
                                (no charge)

 09/22/2021   TCF     HE        Attend hearing on Tyson's motion for derivative         3.00           0.00            $0.00
                                standing. (no charge)

 09/22/2021   PJL     HE        Attend hearing on various matters, including sale of    3.00       1095.00       $3,285.00
                                equipment.

 09/22/2021   PJJ     HE        Listen to hearing. ( no charge)                         3.00           0.00            $0.00

 09/22/2021   RMP     HE        Prepare for and participate on 9/22 hearing and         3.10       1595.00       $4,944.50
                                follow-up with J Dulberg.

 09/22/2021   JWD     HE        Attend issues for hearing prep                          1.30       1025.00       $1,332.50

 09/22/2021   JWD     HE        Attend to issues re hearing prep and multiple calls     0.60       1025.00           $615.00
                                and meetings with R Pachulski re same

 09/22/2021   JWD     HE        Attend hearing re Tyson standing, fee procedures        3.00           0.00            $0.00
                                and equipment sale (no charge)

 09/22/2021   MBL     HE        Attend portion of hearing on allocation and Tyson       1.00           0.00            $0.00
                                standing issues (by phone). (no charge)

 09/22/2021   JHR     HE        Attend 9/22 hearing (partial) (no charge)               2.30           0.00            $0.00

                                                                                        35.90                   $24,798.00

  Operations [B210]
 07/20/2021   RMP     OP        Review insurance issues and respond to e-mails re       0.40       1595.00           $638.00
                                same.

 09/01/2021   JWD     OP        Review emails and call with P Richter re Ally           0.20       1025.00           $205.00

 09/09/2021   JHR     OP        Draft Umatilla security deposit stipulation             1.40         845.00      $1,183.00

 09/10/2021   JWD     OP        Review and respond to WTB email re wheat crop           0.20       1025.00           $205.00

 09/14/2021   JHR     OP        Analyze draft ex parte motion to approve Umatilla       0.30         845.00          $253.50
                                stipulation

                                                                                         2.50                    $2,484.50

  Plan & Disclosure Stmt. [B320]
 07/19/2021   RMP     PD        Prepare for and participate on team call re plan        0.80       1595.00       $1,276.00
                                issues.




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                                                                                        Hours           Rate         Amount

 07/19/2021   RMP     PD        Review and analyze waterfall and responses to            0.70      1595.00       $1,116.50
                                Washington Trust.

 07/19/2021   RMP     PD        Review Tyson plan term sheet and telephone               0.60      1595.00           $957.00
                                conferences with team re same.

 07/21/2021   RMP     PD        Telephone conference with Richter re sale status and     0.40      1595.00           $638.00
                                plan issues.

 07/22/2021   RMP     PD        Prepare for and participate on Tyson call.               0.60      1595.00           $957.00

 07/22/2021   RMP     PD        Telephone conference with Richter re plan issues.        0.40      1595.00           $638.00

 07/22/2021   RMP     PD        Review Easterday plan outline and telephone              2.10      1595.00       $3,349.50
                                conferences with Paladin and PSZJ team re same.

 07/23/2021   RMP     PD        Review and analyze Tyson plan proposal and               2.20      1595.00       $3,509.00
                                telephone conferences with Paladin and PSZJ team
                                re same.

 07/23/2021   RMP     PD        Review Buchalter water rights issue memo and             0.80      1595.00       $1,276.00
                                conferences with J Dulberg and I Kharasch re same.

 07/24/2021   RMP     PD        Review Easterday global settlement proposal and          1.20      1595.00       $1,914.00
                                telephone conference with I Kharasch and PR re
                                same.

 07/26/2021   RMP     PD        Prepare for and participate on conference call with      1.20      1595.00       $1,914.00
                                Paladin and PSZJ team re plan issues.

 07/26/2021   RMP     PD        Various telephone conferences with team re               1.40      1595.00       $2,233.00
                                Easterday and Tyson plan proposals.

 07/26/2021   RMP     PD        Review substantive consolidation analysis and            1.10      1595.00       $1,754.50
                                telephone conference with A Kornfeld re same.

 07/27/2021   RMP     PD        Prepare for and participate on conference call with      0.90      1595.00       $1,435.50
                                Easterday counsel and Tyson counsel re plan issues.

 07/27/2021   RMP     PD        Review and respond to sub-con related e-mails.           0.60      1595.00           $957.00

 07/28/2021   RMP     PD        Telephone conference with Smith re plan issues and       0.90      1595.00       $1,435.50
                                follow-up with team re same and with plan
                                extension date issues.

 07/28/2021   RMP     PD        Prepare for and participate on sub-con related calls.    1.30      1595.00       $2,073.50

 07/28/2021   RMP     PD        Review and respond to e-mails re Easterday assets        0.70      1595.00       $1,116.50
                                and review plan term sheets re same.

 07/28/2021   RMP     PD        Review and analyze plan draft and telephone              1.80      1595.00       $2,871.00
                                conferences with M Litvak and Paladin team re
                                same.




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 07/29/2021   RMP     PD        Telephone conference with Smith and then M Litvak      0.60      1595.00           $957.00
                                and Paladin re plan extension issues.

 07/29/2021   RMP     PD        Review draft DS and various telephone conferences      1.30      1595.00       $2,073.50
                                re same.

 07/29/2021   RMP     PD        Telephone conferences with Paladin team re plan        0.40      1595.00           $638.00
                                extension issues.

 07/30/2021   RMP     PD        Review plan changes and e-mails re same and            0.60      1595.00           $957.00
                                telephone conference with M Litvak re same.

 07/30/2021   RMP     PD        Telephone conference with PSZJ team re plan            0.60      1595.00           $957.00
                                issues.

 08/01/2021   RMP     PD        Review plan, disclosure statement and review and       1.40      1595.00       $2,233.00
                                respond to e-mails re next steps.

 08/02/2021   RMP     PD        Review final plan and disclosure statement package     1.40      1595.00       $2,233.00
                                and telephone conference with M Litvak re same.

 08/02/2021   RMP     PD        Telephone conferences with Paladin and J Dulberg       0.50      1595.00           $797.50
                                re Easterday financial disclosures and review same.

 08/03/2021   RMP     PD        Review and analyze revised waterfall and telephone     1.40      1595.00       $2,233.00
                                conferences re same.

 08/05/2021   RMP     PD        Review and respond to e-mails re Tyson's proposed      0.30      1595.00           $478.50
                                plan.

 08/06/2021   RMP     PD        Prepare for and participate on conference call with    1.20      1595.00       $1,914.00
                                major parties re plan issues and follow-up calls re
                                same.

 08/08/2021   RMP     PD        Review revised Tyson plan term sheet and e-mails       1.10      1595.00       $1,754.50
                                and telephone conferences re same.

 08/09/2021   RMP     PD        Various telephone conferences with Paladin and         0.90      1595.00       $1,435.50
                                PSZJ.

 08/10/2021   RMP     PD        Analysis of waterfall and inter-company debt and       1.10      1595.00       $1,754.50
                                e-mails with Miller re same.

 08/16/2021   RMP     PD        Review tax memo and telephone conferences with J       0.70      1595.00       $1,116.50
                                Dulberg and PR re effect on plan.

 08/16/2021   RMP     PD        Review Cawdrey correspondence and telephone            0.30      1595.00           $478.50
                                conference with M Litvak re same.

 08/16/2021   RMP     PD        Outline plan options and telephone conferences with    1.90      1595.00       $3,030.50
                                Paladin and PSZJ team re same.

 08/18/2021   RMP     PD        Review and analyze Farms waterfall analysis and        1.40      1595.00       $2,233.00




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                                telephone conference with J Dulberg and LM re
                                same.
 08/19/2021   RMP     PD        Telephone conferences with LM, J Dulberg and PR          0.70      1595.00       $1,116.50
                                re tax and waterfall issues.

 08/20/2021   RMP     PD        Review revised waterfall and underlying documents        3.40      1595.00       $5,423.00
                                and prepare for and participate on conference call re
                                same.

 08/23/2021   RMP     PD        Prepare for and participate on Cooley call re plan       1.10      1595.00       $1,754.50
                                issues.

 08/23/2021   RMP     PD        Review Buchalter comments to plan and disclosure         0.20      1595.00           $319.00
                                statement.

 08/23/2021   RMP     PD        Review and analyze revised Waterfall analysis.           1.40      1595.00       $2,233.00

 08/23/2021   RMP     PD        Analyze the effects of substantial consolidation and     1.30      1595.00       $2,073.50
                                respond to e-mails re same.

 08/24/2021   RMP     PD        Review and respond to follow-up e-mails re subcon        0.80      1595.00       $1,276.00
                                and telephone conference with J Dulberg re same.

 08/24/2021   RMP     PD        Review Waterfall and related issues with                 0.70      1595.00       $1,116.50
                                Washington Trust and telephone conferences with J
                                Dulberg and LM re same.

 08/25/2021   RMP     PD        Review Easterday and Tyson plan proposals and            0.70      1595.00       $1,116.50
                                analyze same for board meeting.

 08/26/2021   RMP     PD        Review subcon issues and analyze re plan and             1.40      1595.00       $2,233.00
                                conference with J Dulberg re same.

 08/26/2021   RMP     PD        Telephone conferences with Paladin and PSZJ team         1.20      1595.00       $1,914.00
                                members re Waterfall issues.

 08/27/2021   RMP     PD        Follow-up with Subcon analysis and telephone             0.90      1595.00       $1,435.50
                                conference with Richter re same.

 08/29/2021   RMP     PD        Review updated Waterfall analysis and analyze,           2.20      1595.00       $3,509.00
                                including with respect to subcon.

 08/30/2021   RMP     PD        Telephone conference with WTB and debtor team re         0.40      1595.00           $638.00
                                plan.

 08/30/2021   RMP     PD        Prepare for and participate on conference call with      1.10      1595.00       $1,754.50
                                debtor team re plan and Waterfall.

 08/30/2021   RMP     PD        Review and analyze Ranches Committee's subcon            1.70      1595.00       $2,711.50
                                analysis and telephone conference with Paladin re
                                same.

 09/01/2021   KBD     PD        Analyze substantive consolidation issues                 0.50      1195.00           $597.50




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 09/01/2021   RMP     PD        Review revised Waterfall and analysis re subcon.        1.40      1595.00       $2,233.00

 09/01/2021   JWD     PD        Review updated waterfall                                0.60      1025.00           $615.00

 09/01/2021   MBL     PD        Review substantive consolidation memo from              0.40      1125.00           $450.00
                                Ranches committee.

 09/02/2021   KBD     PD        Analyze substantive consolidation issues w/P. Labov     0.50      1195.00           $597.50
                                (for part)

 09/02/2021   MBL     PD        Emails with team re DS hearing and status issues.       0.10      1125.00           $112.50

 09/03/2021   PJJ     PD        Prepare notice to continue Disclosure Statement         0.30        460.00          $138.00
                                hearing.

 09/03/2021   JWD     PD        Emails with team re DS notice continuance               0.20      1025.00           $205.00

 09/03/2021   JWD     PD        Review and revise DS continuance notice                 0.20      1025.00           $205.00

 09/03/2021   MBL     PD        Emails with team re continuance of DS hearing;          0.30      1125.00           $337.50
                                review and comment on draft notice.

 09/07/2021   RMP     PD        Review update waterfall; Telephone conferences          2.10      1595.00       $3,349.50
                                with J Dulberg and LM re same and modify
                                waterfall with assumptions.

 09/08/2021   PJL     PD        Review Waterfall and discuss open issues with           1.30      1095.00       $1,423.50
                                internal team.

 09/09/2021   KBD     PD        Analyze substantive consolidation issues                0.70      1195.00           $836.50

 09/09/2021   KBD     PD        Review waterfall analysis and correspondence            0.30      1195.00           $358.50
                                related to same

 09/09/2021   RMP     PD        Review and respond to e-mails re waterfall issues.      0.90      1595.00       $1,435.50

 09/09/2021   RMP     PD        Review Farmland plan comments and telephone             0.70      1595.00       $1,116.50
                                conference with M Litvak re plan issues.

 09/09/2021   JWD     PD        Review O Hakker comments to plan and emails re          0.30      1025.00           $307.50
                                same

 09/09/2021   JWD     PD        Review waterfall update                                 0.60      1025.00           $615.00

 09/09/2021   JWD     PD        Work on plan revisions                                  0.70      1025.00           $717.50

 09/09/2021   MBL     PD        Review emails with team and client re waterfall         0.10      1125.00           $112.50
                                issues.

 09/09/2021   MBL     PD        Review FRI comments to plan; coordinate with team       0.40      1125.00           $450.00
                                and client re same.

 09/10/2021   KBD     PD        Analyze issues relating to substantive consolidation    0.50      1195.00           $597.50




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Pachulski Stang Ziehl & Jones LLP                                                               Page:    37
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                                                                                       Hours            Rate         Amount

 09/10/2021   RMP     PD        Prepare for and participate on conference call re        1.80      1595.00       $2,871.00
                                waterfall issues.

 09/10/2021   JWD     PD        Call with Debtor and PSZJ team re plan issues            1.80      1025.00       $1,845.00

 09/10/2021   JWD     PD        Attend to plan term sheet and follow up emails with      0.60      1025.00           $615.00
                                team

 09/10/2021   MBL     PD        Review waterfall analysis from Paladin; prep for         0.20      1125.00           $225.00
                                call.

 09/10/2021   MBL     PD        Call with team and Paladin re plan proposal and          1.60      1125.00       $1,800.00
                                waterfall.

 09/10/2021   JHR     PD        Analyze FRI plan revisions                               0.30        845.00          $253.50

 09/10/2021   JHR     PD        Call with M. Litvak re: plan issues                      0.20        845.00          $169.00

 09/11/2021   MBL     PD        Review and revise draft plan term sheet.                 0.70      1125.00           $787.50

 09/11/2021   JHR     PD        Draft plan term sheet                                    3.70        845.00      $3,126.50

 09/11/2021   JHR     PD        Revise plan term sheet                                   1.20        845.00      $1,014.00

 09/12/2021   MBL     PD        Continue revisions to plan term sheet.                   2.00      1125.00       $2,250.00

 09/13/2021   KBD     PD        Analyze issues relating to substantive consolidation     2.00      1195.00       $2,390.00

 09/13/2021   KBD     PD        Review draft term sheet for plan                         0.30      1195.00           $358.50

 09/13/2021   RMP     PD        Review drafts of debtors' term sheet (plan) and          1.80      1595.00       $2,871.00
                                telephone conferences with Paladin, M Litvak and J
                                Dulberg re same and edit same.

 09/13/2021   JWD     PD        Attend to plan term sheet                                0.70      1025.00           $717.50

 09/13/2021   MBL     PD        Review and revise plan term sheet (0.8); coordinate      0.90      1125.00       $1,012.50
                                with team and client re same (0.1).

 09/13/2021   JHR     PD        Conference call with FRI re: plan issues                 0.80        845.00          $676.00

 09/13/2021   PJL     PD        Review waterfall analysis and deal structure,            0.70      1095.00           $766.50
                                including discussion with J. Rosell regarding same.

 09/14/2021   KBD     PD        Analyze issues relating to substantive consolidation     1.30      1195.00       $1,553.50

 09/14/2021   KBD     PD        Review term sheet and waterfall analysis                 0.40      1195.00           $478.00

 09/14/2021   PJJ     PD        Review Term sheet.                                       0.20       460.00            $92.00

 09/14/2021   RMP     PD        Review and work with revised waterfall.                  1.30      1595.00       $2,073.50

 09/14/2021   RMP     PD        Review revised waterfall analysis and respond to         0.70      1595.00       $1,116.50
                                e-mails re same.




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                                                                                        Hours           Rate         Amount

 09/14/2021   JWD     PD        Review updated waterfall and emails re same              0.50      1025.00           $512.50

 09/14/2021   PJL     PD        Review waterfall analysis and discuss same with J.       0.80      1095.00           $876.00
                                Rosell.

 09/15/2021   RMP     PD        Prepare for and participate on conference call with      1.20      1595.00       $1,914.00
                                Paladin and PSZJ team re plan issues.

 09/15/2021   RMP     PD        Review and revise plan term sheets and telephone         0.70      1595.00       $1,116.50
                                conferences with M Litvak and J Dulberg re same.

 09/15/2021   JWD     PD        Call with PSZJ team re plan term sheet                   0.90      1025.00           $922.50

 09/15/2021   MBL     PD        Emails with team and Paladin re plan term sheet          1.40      1125.00       $1,575.00
                                (0.1); attend call re same and other pending case
                                issues (1.3).

 09/15/2021   MBL     PD        Revise plan term sheet with comments from team.          0.40      1125.00           $450.00

 09/15/2021   JHR     PD        Conference call with Paladin and PSZJ re: plan           1.20        845.00      $1,014.00
                                settlement issues

 09/16/2021   RMP     PD        Review revised waterfall and plan term sheet.            0.40      1595.00           $638.00

 09/16/2021   MBL     PD        20375.001 PD Follow-up emails with client re plan        0.50      1125.00           $562.50
                                term sheet; review client comments and finalize.

 09/16/2021   MBL     PD        Review updated plan waterfall.                           0.30      1125.00           $337.50

 09/17/2021   KBD     PD        Review final term sheet and waterfall analysis           0.30      1195.00           $358.50

 09/17/2021   KBD     PD        Review deposition transcript relating to Tyson           0.30      1195.00           $358.50

 09/17/2021   RMP     PD        Review revised waterfall and plan term sheet and         0.60      1595.00           $957.00
                                telephone conferences with J Dulberg and M Litvak
                                re same.

 09/17/2021   JWD     PD        Work on term sheet                                       0.70      1025.00           $717.50

 09/17/2021   JWD     PD        Attend to plan term sheet issues and prep emails to      1.50      1025.00       $1,537.50
                                numerous parties re same

 09/17/2021   JWD     PD        Attend to issues re term sheet and approval              0.80      1025.00           $820.00

 09/17/2021   JWD     PD        Call with L Miller re plan term sheet                    0.30      1025.00           $307.50

 09/17/2021   MBL     PD        Call with J. Dulberg and L. Miller re plan term sheet    0.60      1125.00           $675.00
                                (0.3); revise same and follow-up emails with team re
                                same (0.3).

 09/19/2021   KBD     PD        Analysis of issues relating to substantive               1.00      1195.00       $1,195.00
                                consolidation




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                                                                                       Hours           Rate         Amount

 09/20/2021   RMP     PD        Review and respond to e-mails re Easterday issues       0.60      1595.00           $957.00
                                and telephone conference with J Dulberg re same.

 09/20/2021   JWD     PD        Review and respond to A Smith email and work on         0.30      1025.00           $307.50
                                meeting set up

 09/21/2021   KBD     PD        Review plan term sheet and waterfall analysis           0.30      1195.00           $358.50

 09/21/2021   KBD     PD        Analyze issues relating to substantive consolidation    2.30      1195.00       $2,748.50

 09/21/2021   PJJ     PD        Draft 2nd motion to extend exclusivity.                 1.80        460.00          $828.00

 09/21/2021   RMP     PD        Prepare for and participate on Tyson plan-related       1.20      1595.00       $1,914.00
                                call.

 09/21/2021   JWD     PD        Review and respond to Easterday counsel re call and     0.50      1025.00           $512.50
                                attend same

 09/21/2021   JWD     PD        Emails re Easterday counsel call                        0.20      1025.00           $205.00

 09/21/2021   JWD     PD        Meeting with Tyson re plan term sheet                   1.10      1025.00       $1,127.50

 09/21/2021   JWD     PD        Call with P Richter re plan issues                      0.30      1025.00           $307.50

 09/21/2021   MBL     PD        Attend plan term sheet call with Tyson and              0.90      1125.00       $1,012.50
                                team/Paladin.

 09/22/2021   JHR     PD        Correspondence with M. Litvak re: plan term sheet       0.20        845.00          $169.00

 09/22/2021   RMP     PD        Review and respond to e-mails re plan term sheet.       0.60      1595.00           $957.00

 09/22/2021   RMP     PD        Review revised term sheet and review and respond        0.60      1595.00           $957.00
                                to additional e-mails re same.

 09/22/2021   JWD     PD        Work on plan term sheet issues and emails with          0.30      1025.00           $307.50
                                CRO team re same

 09/22/2021   JWD     PD        Work on arranging tax meeting for all key               0.40      1025.00           $410.00
                                constituents

 09/22/2021   JWD     PD        Attend to issues re plan term sheet revisions           0.40      1025.00           $410.00

 09/22/2021   JWD     PD        Review and respond to T Pincock email re plan term      0.20      1025.00           $205.00
                                sheet

 09/22/2021   MBL     PD        Revise plan term sheet; emails with team and client     0.30      1125.00           $337.50
                                re same.

 09/22/2021   MBL     PD        Address FRI inquiry re DS.                              0.20      1125.00           $225.00

 09/23/2021   RMP     PD        Prepare for and participate on conference call with     0.90      1595.00       $1,435.50
                                Ranches Committee counsel re plan issues.

 09/23/2021   RMP     PD        Telephone conferences with Directors re Easterday       0.60      1595.00           $957.00




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Easterday Ranches Inc.                                                                           Invoice 128805
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                                                                                         Hours           Rate         Amount
                                meeting.
 09/23/2021   JWD     PD        Numerous emails with key plan parties re tax              0.40      1025.00           $410.00
                                meeting

 09/23/2021   MBL     PD        Attend call with Ranches committee counsel and            0.50      1125.00           $562.50
                                team re plan term sheet.

 09/23/2021   JHR     PD        Conference call with Ranches Committee re: plan           0.90        845.00          $760.50
                                issues

 09/24/2021   KBD     PD        Analyze issues relating to substantive consolidation      0.50      1195.00           $597.50

 09/27/2021   KBD     PD        Analysis of substantive consolidation issues and          2.30      1195.00       $2,748.50
                                treatment of claims

 09/27/2021   JWD     PD        Prep for calls with various parties re plan term sheet    1.30      1025.00       $1,332.50

 09/27/2021   JWD     PD        Review and revise exclusivity motion changes and          0.30      1025.00           $307.50
                                comment to same

 09/27/2021   JHR     PD        Revise motion to extend exclusivity                       0.50        845.00          $422.50

 09/28/2021   PJJ     PD        Revise exclusivity extension motion (.2) and prepare      0.30        460.00          $138.00
                                same for filing (.1).

 09/28/2021   JWD     PD        Review updated waterfall and emails re same               0.80      1025.00           $820.00

 09/28/2021   JWD     PD        Final review and comments to exclusivity extension        0.40      1025.00           $410.00
                                and notice

 09/28/2021   JWD     PD        Attend call with WA Trust re plan                         1.30      1025.00       $1,332.50

 09/28/2021   JWD     PD        Review issues re WT collateral                            0.20      1025.00           $205.00

 09/28/2021   JWD     PD        Work on disclosure statement updates                      1.30      1025.00       $1,332.50

 09/28/2021   MBL     PD        Call with WA Trust, Paladin, and team re plan term        1.30      1125.00       $1,462.50
                                sheet.

 09/28/2021   JHR     PD        Revise plan exclusivity motion per J. Dulberg             0.40        845.00          $338.00
                                comments

 09/29/2021   KBD     PD        Research regarding substantive consolidation issues       0.80      1195.00           $956.00

 09/29/2021   MBL     PD        Review revised plan waterfall from Paladin.               0.20      1125.00           $225.00

 09/30/2021   JWD     PD        Calls with PSZJ and Paladin re plan                       0.40      1025.00           $410.00

 09/30/2021   JWD     PD        Work on tax meeting and plan meetings with various        1.50      1025.00       $1,537.50
                                constituents (1.3); call with L Miller re same (.2)

 09/30/2021   JWD     PD        Review updated waterfall and issues re same               0.40      1025.00           $410.00

 09/30/2021   JHR     PD        Conference call with Ranches Committee re: plan           1.00        845.00          $845.00




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                                                                                     Hours            Rate         Amount
                                issues

                                                                                     139.90                   $186,250.50

  Tax Issues [B240]
 07/29/2021   RMP     TI        Review Easterday tax issues and various telephone      0.90      1595.00        $1,435.50
                                conferences re same.

 08/24/2021   RMP     TI        Prepare for and participate on tax analysis            1.10      1595.00        $1,754.50
                                conference call and follow-up call re same.

 08/26/2021   RMP     TI        Various telephone conferences with Paladin and         1.20      1595.00        $1,914.00
                                PSZJ team re tax issues.

 09/02/2021   JHR     TI        Analyze plan and related correspondence with B.        0.30        845.00          $253.50
                                Todd re: tax / plan issues

 09/14/2021   JWD     TI        Call with P Richter re tax returns and review same     0.40      1025.00           $410.00

 09/15/2021   JWD     TI        Calls with P Richter and B Todd re tax returns         0.30      1025.00           $307.50

 09/23/2021   JWD     TI        Work on tax review and meeting for same                0.60      1025.00           $615.00

 09/28/2021   JWD     TI        Work on tax planning meeting                           0.80      1025.00           $820.00

                                                                                       5.60                     $7,510.00

  TOTAL SERVICES FOR THIS MATTER:                                                                            $572,033.50




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 Expenses
 08/01/2021   CC         Conference Call [E105] AT&T Conference Call, RMP                      3.84
 08/02/2021   CC         Conference Call [E105] Loop Up Conference Call, IDK                   9.46
 08/06/2021   CC         Conference Call [E105] AT&T Conference Call, MBL                      8.68
 08/12/2021   CC         Conference Call [E105] AT&T Conference Call, MBL                      2.46
 08/22/2021   CC         Conference Call [E105] AT&T Conference Call, RMP                     10.92
 08/30/2021   CC         Conference Call [E105] Loop Up Conference Call, IDK                  14.72
 09/01/2021   LN         20375.00001 Lexis Charges for 09-01-21                               11.00
 09/07/2021   LN         20375.00001 Lexis Charges for 09-07-21                               97.21
 09/07/2021   RE2        SCAN/COPY ( 85 @0.10 PER PG)                                          8.50
 09/07/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)                                           0.40
 09/07/2021   RE2        SCAN/COPY ( 37 @0.10 PER PG)                                          3.70
 09/07/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                           0.20
 09/07/2021   RE2        SCAN/COPY ( 37 @0.10 PER PG)                                          3.70
 09/08/2021   AS         Attorney Service [E107] Nationwide Legal, Inv.                       45.50
                         00000034815, AJK
 09/08/2021   RE2        SCAN/COPY ( 152 @0.10 PER PG)                                        15.20
 09/10/2021   BM         Business Meal [E111] Uber Eats, Taco Bell, Working Meal,             39.49
                         JHR
 09/11/2021   LN         20375.00001 Lexis Charges for 09-11-21                               36.45
 09/13/2021   FE         20375.00001 FedEx Charges for 09-13-21                               47.77
 09/13/2021   FE         20375.00001 FedEx Charges for 09-13-21                               54.45
 09/13/2021   LN         20375.00001 Lexis Charges for 09-13-21                               18.18
 09/13/2021   RE         ( 30 @0.20 PER PG)                                                    6.00
 09/13/2021   RE         ( 1524 @0.20 PER PG)                                             304.80
 09/13/2021   RE         ( 30 @0.20 PER PG)                                                    6.00
 09/13/2021   RE         ( 268 @0.20 PER PG)                                                  53.60
 09/13/2021   RE2        SCAN/COPY ( 241 @0.10 PER PG)                                        24.10
 09/13/2021   RE2        SCAN/COPY ( 141 @0.10 PER PG)                                        14.10
 09/13/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                          1.50
 09/13/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)                                           0.40
 09/13/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                           0.20
 09/13/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                           0.20
 09/13/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                           0.10




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Easterday Ranches Inc.                                                                    Invoice 128805
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 09/13/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                             0.30
 09/13/2021   RE2        SCAN/COPY ( 61 @0.10 PER PG)                                            6.10
 09/13/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                             0.60
 09/13/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                             0.20
 09/13/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                             0.30
 09/13/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                             0.30
 09/13/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                             0.10
 09/13/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)                                             0.40
 09/13/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)                                             0.40
 09/13/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)                                             0.80
 09/13/2021   RE2        SCAN/COPY ( 193 @0.10 PER PG)                                          19.30
 09/13/2021   RE2        SCAN/COPY ( 82 @0.10 PER PG)                                            8.20
 09/13/2021   RE2        SCAN/COPY ( 24 @0.10 PER PG)                                            2.40
 09/13/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                             0.20
 09/14/2021   BM         Business Meal [E111] Thep Lela Thai Restaurant, Working                53.55
                         Meal, JHR
 09/15/2021   AS         Attorney Service [E107] Nationwide Legal, Inv.                         91.00
                         00000034815, AJK
 09/15/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                             0.20
 09/15/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)                                             0.80
 09/15/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                             0.10
 09/15/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)                                             0.80
 09/15/2021   RE2        SCAN/COPY ( 11 @0.10 PER PG)                                            1.10
 09/15/2021   RE2        SCAN/COPY ( 11 @0.10 PER PG)                                            1.10
 09/15/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                             0.10
 09/16/2021   BB         20375.00001 Bloomberg Charges through 09-16-21                         80.20
 09/16/2021   LN         20375.00001 Lexis Charges for 09-16-21                                 76.90
 09/16/2021   LN         20375.00001 Lexis Charges for 09-16-21                                 40.00
 09/20/2021   LN         20375.00001 Lexis Charges for 09-20-21                                 11.00
 09/20/2021   RE2        SCAN/COPY ( 193 @0.10 PER PG)                                          19.30
 09/21/2021   LN         20375.00001 Lexis Charges for 09-21-21                                 19.54
 09/21/2021   LN         20375.00001 Lexis Charges for 09-21-21                                 11.52
 09/22/2021   BM         Business Meal [E111] Mixt, Working Meal, JHR                           15.17
 09/30/2021   RS         Research [E106] Everlaw, Inc. Inv. 45853                         76,934.00
 09/30/2021   PAC        Pacer - Court Research                                                 18.70




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   Total Expenses for this Matter                                           $78,257.51




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                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        09/30/2021

Total Fees                                                                                           $572,033.50

Total Expenses                                                                                          78,257.51

Total Due on Current Invoice                                                                         $650,291.01

  Outstanding Balance from prior invoices as of        09/30/2021          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed             Balance Due
 128269                   06/30/2021             $1,063,237.00           $85,444.44                  $212,647.39

 128532                   07/31/2021               $828,990.25           $73,568.78                  $165,798.05

 128609                   10/08/2021               $581,956.00           $75,756.94                   $94,059.70

             Total Amount Due on Current and Prior Invoices:                                       $1,122,796.15




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                                    Pachulski Stang Ziehl & Jones LLP
                                            10100 Santa Monica Blvd.
                                                   13th Floor
                                             Los Angeles, CA 90067
                                                                          September 30, 2021
Peter Richter                                                             Invoice 128806
Paladin Management                                                        Client  20375
200 South Wacker Drive 31st floor                                         Matter  00002
Chicago, IL 60606
                                                                                  JWD

RE: Ranches Post-Petition

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 09/30/2021
                FEES                                                      $502,134.00
                EXPENSES                                                    $4,560.70
                TOTAL CURRENT CHARGES                                     $506,694.70

                BALANCE FORWARD                                          $1,597,066.18
                LAST PAYMENT                                             $1,382,935.98
                TOTAL BALANCE DUE                                         $720,824.90




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  Summary of Services by Professional
  ID        Name                                  Title                   Rate       Hours               Amount

 AJK        Kornfeld, Alan J.                     Partner               1395.00     137.80        $192,231.00

 EAW        Wagner, Elissa A.                     Counsel                  0.00       0.20                $0.00

 EAW        Wagner, Elissa A.                     Counsel                925.00     122.70        $113,497.50

 JHD        Davidson, Jeffrey H.                  Partner               1645.00       0.50            $822.50

 JHR        Rosell, Jason H.                      Partner                845.00       8.30          $7,013.50

 JWD        Dulberg, Jeffrey W.                   Partner               1025.00      18.70         $19,167.50

 KBD        Dine, Karen B.                        Counsel               1195.00      13.90         $16,610.50

 MBL        Litvak, Maxim B.                      Partner               1125.00       0.40            $450.00

 PJJ        Jeffries, Patricia J.                 Paralegal              460.00      15.60          $7,176.00

 RMP        Pachulski, Richard M.                 Partner               1595.00      29.90         $47,690.50

 TCF        Flanagan, Tavi C.                     Counsel                875.00     111.40         $97,475.00

                                                                                   459.40          $502,134.00




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  Summary of Services by Task Code
  Task Code         Description                                              Hours                         Amount

 BL                 Bankruptcy Litigation [L430]                             398.40                 $425,733.00

 CA                 Case Administration [B110]                                 0.70                        $717.50

 CG                 Corporate Governance/Board Mtr                             0.90                    $1,435.50

 CO                 Claims Admin/Objections[B310]                             17.50                   $22,477.50

 CP                 Compensation Prof. [B160]                                  0.20                        $205.00

 GC                 General Creditors Comm. [B150]                             2.90                    $2,972.50

 HE                 Hearing                                                   28.50                   $37,972.50

 LN                 Litigation (Non-Bankruptcy)                               10.30                   $10,620.50

                                                                             459.40                 $502,134.00




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  Summary of Expenses
  Description                                                 $4,560.70                      Amount
Attorney Service [E107]                                                                    $125.20
Conference Call [E105]                                                                      $51.70
Federal Express [E108]                                                                      $52.13
Lexis/Nexis- Legal Research [E                                                             $787.32
Pacer - Court Research                                                                      $52.10
Reproduction/ Scan Copy                                                                    $125.10
Transcript [E116]                                                                         $3,367.15

                                                                                          $4,560.70




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                                                                                          Hours           Rate         Amount

  Bankruptcy Litigation [L430]
 07/30/2021   RMP     BL        Review North Lot correspondence and conferences            0.70      1595.00       $1,116.50
                                with Paladin and PSZJ re same.

 08/09/2021   RMP     BL        Review motion for derivative standing and various          1.80      1595.00       $2,871.00
                                telephone conferences re same.

 08/10/2021   RMP     BL        Review and respond to e-mails and telephone                0.60      1595.00           $957.00
                                conferences re derivative standing motion.

 08/12/2021   RMP     BL        Review derivative standing motion discovery and            0.70      1595.00       $1,116.50
                                telephone conference with A Kornfeld re same.

 08/13/2021   RMP     BL        Telephone conferences with PSZJ team re Tyson              0.60      1595.00           $957.00
                                discovery issues.

 08/13/2021   RMP     BL        Review Tyson e-mail re standing and telephone              0.60      1595.00           $957.00
                                conference with A Kornfeld re same.

 08/16/2021   RMP     BL        Review status conference report and telephone              1.10      1595.00       $1,754.50
                                conferences with PSZJ team re Tyson motion issues.

 08/23/2021   JWD     BL        Work with P Jeffries re issues for Tyson response          0.20      1025.00           $205.00

 08/24/2021   RMP     BL        Review Tyson discovery issues and telephone                0.40      1595.00           $638.00
                                conference with A Kornfeld re same.

 08/25/2021   RMP     BL        Review and respond to e-mails re North Lot issues.         0.40      1595.00           $638.00

 08/26/2021   RMP     BL        Telephone conference with A Kornfeld and review            0.60      1595.00           $957.00
                                e-mails re North Lot issues.

 08/26/2021   RMP     BL        Review Tyson appraisal and telephone conference            0.60      1595.00           $957.00
                                with A Kornfeld re same.

 08/27/2021   RMP     BL        Review and respond to e-mails re North Lot and             0.70      1595.00       $1,116.50
                                telephone conference with A Kornfeld re next steps.

 09/01/2021   AJK     BL        Call with P Richter re derivative litigation.              0.30      1395.00           $418.50

 09/01/2021   AJK     BL        Attention to review of documents in connection with        0.80      1395.00       $1,116.00
                                derivative litigation.

 09/01/2021   AJK     BL        Attention to derivative litigation issues and strategy.    1.60      1395.00       $2,232.00

 09/01/2021   PJJ     BL        Email regarding deposition (.1); update criticall          0.20       460.00            $92.00
                                dates regarding same (.1).

 09/01/2021   TCF     BL        Research regarding fraudulent transfer issues.             6.20       875.00       $5,425.00

 09/02/2021   AJK     BL        Attention to document production issues.                   0.40      1395.00           $558.00




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                                                                                         Hours           Rate         Amount

 09/02/2021   EAW     BL        Research re: derivative motion litigation.                0.40        925.00          $370.00

 09/03/2021   AJK     BL        Attention to issues re standing motion hearing.           0.30      1395.00           $418.50

 09/03/2021   AJK     BL        Review and respond to e-mail re schedule.                 0.20      1395.00           $279.00

 09/03/2021   RMP     BL        Review North Lot issues and telephone conference          0.70      1595.00       $1,116.50
                                with A Kornfeld re same.

 09/03/2021   EAW     BL        Review draft notice and related emails to/from            0.10        925.00           $92.50
                                Tyson's counsel re: hearing on derivative motion.

 09/07/2021   AJK     BL        Attention to issues re deposition notice.                 0.20      1395.00           $279.00

 09/07/2021   AJK     BL        Attention to issues re deposition discovery.              0.60      1395.00           $837.00

 09/07/2021   PJJ     BL        Telephone conference with Alan J. Kornfeld                0.60        460.00          $276.00
                                regarding Miller deposition (.2); revise same (.2);
                                email to parties with Zoom information (.2).

 09/07/2021   EAW     BL        Emails to/from T. Flanagan re: derivative motion          0.10        925.00           $92.50
                                litigation.

 09/07/2021   EAW     BL        Research re: derivative motion litigation.                6.10        925.00      $5,642.50

 09/07/2021   TCF     BL        Research and analysis regarding fraudulent transfer       5.60        875.00      $4,900.00
                                issues and opposition to derivative standing motion.

 09/08/2021   JHR     BL        Conference call with Tyson re: discovery dispute          0.50        845.00          $422.50

 09/08/2021   AJK     BL        Attention to review of legal authorities in connection    2.60      1395.00       $3,627.00
                                with derivative litigation.

 09/08/2021   AJK     BL        Call with E Wagner re trial strategy re derivative        1.10      1395.00       $1,534.50
                                litigation.

 09/08/2021   AJK     BL        Exchange of discovery e-mails with J Williams.            0.40      1395.00           $558.00

 09/08/2021   RMP     BL        Telephone conferences with A Kornfeld and review          1.20      1595.00       $1,914.00
                                e-mails re derivative standing issues.

 09/08/2021   EAW     BL        Research re: derivative motion litigation.                3.60        925.00      $3,330.00

 09/08/2021   EAW     BL        Emails to/from A. Kornfeld, T. Flanagan and P.            0.60        925.00          $555.00
                                Jeffries re: derivative motion litigation and related
                                discovery.

 09/08/2021   EAW     BL        Telephone call with A. Kornfeld re: trial strategy        1.10        925.00      $1,017.50
                                and derivative motion litigation.

 09/08/2021   EAW     BL        Telephone call with T. Flanagan re: derivative            1.50        925.00      $1,387.50
                                motion litigation and related discovery.




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 09/08/2021   TCF     BL        Telephonic meeting with E. Wagner regarding             1.50        875.00      $1,312.50
                                fraudulent transfer issues.

 09/08/2021   TCF     BL        Telephonic meeting with A. Kornfeld regarding           0.50        875.00          $437.50
                                fraudulent transfer issues.

 09/08/2021   TCF     BL        Legal research and analysis regarding fraudulent        4.60        875.00      $4,025.00
                                transfer issues.

 09/08/2021   TCF     BL        Review and analysis of valuation and fraudulent         0.40        875.00          $350.00
                                transfer issues.

 09/09/2021   JWD     BL        Review issues re Tyson dispute and emails with          0.30      1025.00           $307.50
                                team re update

 09/09/2021   EAW     BL        Research re: derivative motion litigation.              6.70        925.00      $6,197.50

 09/09/2021   TCF     BL        Research and drafting of opposition to derivative       5.40        875.00      $4,725.00
                                standing motion.

 09/10/2021   JHR     BL        Review Tyson documents and related call with A.         0.50        845.00          $422.50
                                Kornfeld

 09/10/2021   AJK     BL        Review documents produced by Tyson re derivative        1.30      1395.00       $1,813.50
                                standing motion.

 09/10/2021   AJK     BL        Attention to preparation for derivative standing        3.20      1395.00       $4,464.00
                                hearing (review documents and witness outline).

 09/10/2021   RMP     BL        Review Tyson documents and telephone conference         0.60      1595.00           $957.00
                                with A Kornfeld re North Lot issues.

 09/10/2021   EAW     BL        Draft and circulate outline of deposition topics re:    0.80        925.00          $740.00
                                derivative motion litigation.

 09/10/2021   EAW     BL        Review Tyson document production.                       0.20        925.00          $185.00

 09/10/2021   EAW     BL        Telephone call with A. Kornfeld re: derivative          0.10        925.00           $92.50
                                motion litigation.

 09/10/2021   EAW     BL        Telephone call with A. Kornfeld and T. Flanagan re:     1.20        925.00      $1,110.00
                                derivative motion litigation.

 09/10/2021   EAW     BL        Research re: derivative motion litigation.              6.40        925.00      $5,920.00

 09/10/2021   TCF     BL        Review and analysis of issues regarding opposition      2.20        875.00      $1,925.00
                                to derivative standing motion.

 09/10/2021   TCF     BL        Deposition preparation regarding derivative standing    1.60        875.00      $1,400.00
                                motion.

 09/10/2021   TCF     BL        Review and analysis of discovery issues regarding       0.60        875.00          $525.00
                                derivative standing motion.




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 09/11/2021   TCF     BL        Document review and analysis in connection with        4.60        875.00      $4,025.00
                                derivative standing issues.

 09/12/2021   AJK     BL        Attention to deposition preparation re derivative      2.30      1395.00       $3,208.50
                                standing.

 09/12/2021   EAW     BL        Research re: derivative motion litigation.             0.90        925.00          $832.50

 09/12/2021   EAW     BL        Draft opposition to derivative motion.                 2.10        925.00      $1,942.50

 09/12/2021   TCF     BL        Document review and analysis in connection with        2.80        875.00      $2,450.00
                                derivative standing issues.

 09/12/2021   TCF     BL        Draft deposition outline (Shane Miller).               6.20        875.00      $5,425.00

 09/12/2021   TCF     BL        Draft and revise deposition outline (Shane Miller).    2.00        875.00      $1,750.00

 09/12/2021   TCF     BL        Preparation of exhibits regarding deposition (Shane    0.50        875.00          $437.50
                                Miller).

 09/13/2021   AJK     BL        Attention to derivative standing opposition brief.     4.30      1395.00       $5,998.50

 09/13/2021   AJK     BL        Attention to deposition preparation.                   7.70      1395.00      $10,741.50

 09/13/2021   AJK     BL        Call with PSZJ team and UCC counsel re strategy        0.80      1395.00       $1,116.00
                                and litigation issues.

 09/13/2021   AJK     BL        Review and analyze document production.                2.40      1395.00       $3,348.00

 09/13/2021   PJJ     BL        Prepare exhibits for Tyson deposition.                 1.30        460.00          $598.00

 09/13/2021   EAW     BL        Emails to/from PSZJ and Paladin teams re:              0.30        925.00          $277.50
                                derivative motion litigation.

 09/13/2021   EAW     BL        Review draft deposition outline (Tyson).               0.60        925.00          $555.00

 09/13/2021   EAW     BL        Review Tyson's supplemental document production.       0.30        925.00          $277.50

 09/13/2021   EAW     BL        Research re: derivative motion litigation.             1.70        925.00      $1,572.50

 09/13/2021   EAW     BL        Draft opposition to derivative motion.                 6.20        925.00      $5,735.00

 09/13/2021   JHR     BL        Analyze Tyson document production                      0.20        845.00          $169.00

 09/13/2021   TCF     BL        Review and analysis of derivative standing issues.     1.20        875.00      $1,050.00

 09/14/2021   AJK     BL        Attention to opposition brief.                         2.20      1395.00       $3,069.00

 09/14/2021   AJK     BL        Attention to Miller deposition preparation.            9.80      1395.00      $13,671.00

 09/14/2021   PJJ     BL        Prepare exhibits for Tyson deposition.                 0.30        460.00          $138.00

 09/14/2021   PJJ     BL        Attend to deposition exhibit share issues with         0.50        460.00          $230.00
                                Perkins Coie.




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 09/14/2021   EAW     BL        Telephone call with A. Kornfeld re: derivative          1.00        925.00          $925.00
                                motion litigation.

 09/14/2021   EAW     BL        Draft opposition to derivative motion.                 13.20        925.00     $12,210.00

 09/14/2021   EAW     BL        Emails to/from PSZJ and BK teams re: derivative         0.30        925.00          $277.50
                                motion litigation.

 09/14/2021   TCF     BL        Drafting of derivative standing opposition.             6.40        875.00      $5,600.00

 09/15/2021   JHD     BL        Prepare correspondence to Alan Kornfeld re Tyson        0.20      1645.00           $329.00
                                issues; correspondence from Alan Kornfeld re same

 09/15/2021   JHD     BL        Telephone conference with Alan Kornfeld re Tyson        0.30      1645.00           $493.50
                                issues

 09/15/2021   RMP     BL        Review memo and case law re standing issues.            0.90      1595.00       $1,435.50

 09/15/2021   AJK     BL        Call with B Cosman re hearing issues.                   0.20      1395.00           $279.00

 09/15/2021   AJK     BL        Call with J Davidson re legal issue.                    0.30      1395.00           $418.50

 09/15/2021   AJK     BL        Prepare for S Miller deposition.                       11.70      1395.00      $16,321.50

 09/15/2021   PJJ     BL        Prepare additional deposition exhibits.                 0.30        460.00          $138.00

 09/15/2021   PJJ     BL        Coordinate deposition appearances/logistics.            0.50        460.00          $230.00

 09/15/2021   EAW     BL        Telephone call with A. Kornfeld, T. Flanagan and B.     0.20        925.00          $185.00
                                Cosman re: derivative motion litigation.

 09/15/2021   EAW     BL        Telephone calls with T. Flanagan re: derivative         1.20        925.00      $1,110.00
                                motion litigation.

 09/15/2021   EAW     BL        Attend telephonic status conference re: derivative      0.50        925.00          $462.50
                                motion litigation.

 09/15/2021   EAW     BL        Telephone calls with A. Kornfeld and T. Flanagan        0.80        925.00          $740.00
                                re: derivative motion litigation.

 09/15/2021   EAW     BL        Draft opposition to derivative motion and supporting    4.30        925.00      $3,977.50
                                declaration.

 09/15/2021   EAW     BL        Research re: derivative motion litigation.              1.70        925.00      $1,572.50

 09/15/2021   TCF     BL        Drafting of derivative standing opposition.             2.80        875.00      $2,450.00

 09/15/2021   TCF     BL        Review and analysis of Tyson standing issues.           0.70        875.00          $612.50

 09/15/2021   TCF     BL        Attend status conference (derivative standing and       0.60        875.00          $525.00
                                discovery issues).

 09/15/2021   TCF     BL        Telephone conference with E. Wagner regarding           0.30        875.00          $262.50
                                standing research.




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 09/15/2021   TCF     BL        Research and analysis regarding abandonment and         6.60        875.00      $5,775.00
                                related issues.

 09/15/2021   TCF     BL        Telephone conference with A. Kornfeld regarding         0.20        875.00          $175.00
                                abandonment issues.

 09/16/2021   JHR     BL        Attend S. Miller deposition                             3.50        845.00      $2,957.50

 09/16/2021   AJK     BL        Prepare for S Miller deposition.                        6.30      1395.00       $8,788.50

 09/16/2021   AJK     BL        Attend S Miller deposition.                             3.30      1395.00       $4,603.50

 09/16/2021   AJK     BL        Review and analyze S Miller transcript (rough).         2.20      1395.00       $3,069.00

 09/16/2021   PJJ     BL        Prepare for deposition.                                 0.80        460.00          $368.00

 09/16/2021   PJJ     BL        Attend and assist with Tyson deposition (3.3);          4.10        460.00      $1,886.00
                                pre-deposition preparation (.5); and post-deposition
                                follow up (.3)

 09/16/2021   EAW     BL        Emails to/from A. Kornfeld and T. Flanagan re:          0.30        925.00          $277.50
                                derivative motion litigation.

 09/16/2021   EAW     BL        Telephone calls with T. Flanagan re: derivative         1.10        925.00      $1,017.50
                                motion litigation.

 09/16/2021   EAW     BL        Attend deposition of S. Miller.                         3.60        925.00      $3,330.00

 09/16/2021   EAW     BL        Draft opposition to derivative motion.                  4.90        925.00      $4,532.50

 09/16/2021   EAW     BL        Research re: derivative motion litigation.              1.30        925.00      $1,202.50

 09/16/2021   TCF     BL        Research and analysis regarding standing and            5.40        875.00      $4,725.00
                                abandonment issues.

 09/16/2021   TCF     BL        Prepare for Shane Miller deposition.                    0.50        875.00          $437.50

 09/16/2021   TCF     BL        Attend Shane Miller deposition.                         4.00        875.00      $3,500.00

 09/16/2021   TCF     BL        Telephonic meeting with counsel and client              1.20        875.00      $1,050.00
                                regarding Shane Miller deposition.

 09/16/2021   TCF     BL        Coordination with team regarding standing               0.50        875.00          $437.50
                                opposition and Miller deposition.

 09/17/2021   AJK     BL        Meet (virtually) with Ranches UCC counsel.              0.50      1395.00           $697.50

 09/17/2021   AJK     BL        Call with AB counsel re litigation issue.               0.60      1395.00           $837.00

 09/17/2021   AJK     BL        Review and analyze transcript of S Miller               1.90      1395.00       $2,650.50
                                deposition.

 09/17/2021   AJK     BL        Work on opposition to derivative standing motion.       9.10      1395.00      $12,694.50




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 09/17/2021   PJJ     BL        Circulate final deposition transcript.                 0.20        460.00           $92.00

 09/17/2021   RMP     BL        Review Miller deposition transcript and telephone      0.70      1595.00       $1,116.50
                                conference with A Kornfeld re same.

 09/17/2021   RMP     BL        Telephone conference with I Pachulski re               0.80      1595.00       $1,276.00
                                abandonment issues and review and respond to
                                e-mails re same.

 09/17/2021   RMP     BL        Review Latham correspondence and telephone             0.40      1595.00           $638.00
                                conference with A Kornfeld re same.

 09/17/2021   JWD     BL        Review Tyson depo transcript                           0.70      1025.00           $717.50

 09/17/2021   JWD     BL        Review letter from Tyson counsel                       0.20      1025.00           $205.00

 09/17/2021   JWD     BL        Call with A Kornfeld regarding Tyson dispute           0.30      1025.00           $307.50

 09/17/2021   EAW     BL        Telephone call with T. Flanagan re: derivative         0.20        925.00          $185.00
                                motion litigation.

 09/17/2021   EAW     BL        Telephone call with A. Kornfeld, T. Flanagan and       0.50        925.00          $462.50
                                counsel for Ranches committee re: derivative motion
                                litigation.

 09/17/2021   EAW     BL        Review AB agreement and related documents              0.40        925.00          $370.00
                                (derivative motion litigation).

 09/17/2021   EAW     BL        Telephone call with A. Kornfeld and T. Flanagan re:    0.40        925.00          $370.00
                                derivative motion litigation.

 09/17/2021   EAW     BL        Telephone call with A. Kornfeld, T. Flanagan and       0.60        925.00          $555.00
                                AB counsel re: derivative motion litigation.

 09/17/2021   EAW     BL        Review letter from AB counsel re: derivative motion    0.20        925.00          $185.00
                                litigation.

 09/17/2021   EAW     BL        Draft opposition to derivative motion.                13.00        925.00     $12,025.00

 09/17/2021   TCF     BL        Review Miller deposition transcript.                   1.60        875.00      $1,400.00

 09/17/2021   TCF     BL        Telephone conference with counsel for Ranches          0.50        875.00          $437.50
                                Committee regarding Tyson motion for derivative
                                standing and related matters.

 09/17/2021   TCF     BL        Telephone conference with A. Kornfeld and E.           0.50        875.00          $437.50
                                Wagner regarding Tyson motion for derivative
                                standing, Miller deposition and related matters.

 09/17/2021   TCF     BL        Draft and revise opposition to Tyson motion for        7.60        875.00      $6,650.00
                                derivative standing regarding Miller deposition and
                                related matters.




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 09/17/2021   TCF     BL        Telephone conference with counsel for Ranches            0.30        875.00          $262.50
                                Committee regarding Tyson motion for derivative
                                standing.

 09/17/2021   TCF     BL        Telephone conference with A. Kornfeld regarding          0.20        875.00          $175.00
                                opposition to Tyson motion for derivative standing.

 09/18/2021   AJK     BL        Work on opposition to derivative standing motion.        9.60      1395.00      $13,392.00

 09/18/2021   RMP     BL        Review and comment on standing opposition brief          1.90      1595.00       $3,030.50
                                and telephone conferences with A Kornfeld re brief
                                and Agri-Beef issues.

 09/18/2021   EAW     BL        Telephone calls with A. Kornfeld and T. Flanagan         1.60        925.00      $1,480.00
                                re: derivative motion litigation.

 09/18/2021   EAW     BL        Telephone calls with T. Flanagan re: derivative          0.40        925.00          $370.00
                                motion litigation.

 09/18/2021   EAW     BL        Review and revise opposition to derivative motion.       6.40        925.00      $5,920.00

 09/18/2021   EAW     BL        Review S. Miller deposition transcript (derivative       0.80        925.00          $740.00
                                motion litigation).

 09/18/2021   EAW     BL        Research re: derivative motion litigation.               0.60        925.00          $555.00

 09/18/2021   TCF     BL        Drafting and work on opposition to Tyson motion          6.50        875.00      $5,687.50
                                for derivative standing and abandonment.

 09/18/2021   TCF     BL        Continued drafting and work on opposition to Tyson       1.40        875.00      $1,225.00
                                motion for derivative standing and abandonment.

 09/18/2021   TCF     BL        Continued drafting and work on opposition to Tyson       3.60        875.00      $3,150.00
                                motion for derivative standing and abandonment.

 09/19/2021   AJK     BL        Work on opposition to derivative standing motion.        8.80      1395.00      $12,276.00

 09/19/2021   PJJ     BL        Prepare exhibits to opposition to derivative standing    3.00        460.00      $1,380.00
                                motion.

 09/19/2021   RMP     BL        Review revised standing opposition and comment           1.20      1595.00       $1,914.00
                                and telephone conferences re same.

 09/19/2021   JWD     BL        Review and revise opposition to Tyson standing           2.70      1025.00       $2,767.50
                                motion

 09/19/2021   EAW     BL        Review comments from PSZJ, BK and Paladin                0.60        925.00          $555.00
                                teams re: opposition to derivative motion.

 09/19/2021   EAW     BL        Research re: derivative motion litigation; and emails    1.10        925.00      $1,017.50
                                to/from T. Flanagan re: same.

 09/19/2021   EAW     BL        Assist in preparation for hearing on derivative          0.60        925.00          $555.00




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                                                                                       Hours           Rate         Amount
                                motion.
 09/19/2021   EAW     BL        Telephone call with A. Kornfeld (0.7) and with A.       1.30        925.00      $1,202.50
                                Kornfeld and T. Flanagan (0.6) re: derivative motion
                                litigation.

 09/19/2021   EAW     BL        Revise opposition to derivative motion and related      5.10        925.00      $4,717.50
                                declaration.

 09/19/2021   TCF     BL        Research regarding AB claim issues.                     1.60        875.00      $1,400.00

 09/19/2021   TCF     BL        Draft and work on opposition to Tyson motion for        1.20        875.00      $1,050.00
                                derivative standing and abandonment.

 09/20/2021   RMP     BL        Telephone conference with A Kornfeld re Agri-Beef       0.30      1595.00           $478.50
                                issues.

 09/20/2021   JWD     BL        Review various pleadings and final version of           0.50      1025.00           $512.50
                                response re Tyson

 09/20/2021   JWD     BL        Respond to J Gurule emails re Tyson response            0.20      1025.00           $205.00

 09/20/2021   JHR     BL        Correspondence with PSZJ re: Tyson settlement           0.10        845.00           $84.50
                                discussions

 09/20/2021   AJK     BL        Attention to opposition to derivative standing          5.30      1395.00       $7,393.50
                                motion.

 09/20/2021   AJK     BL        Prepare for hearing.                                    7.20      1395.00      $10,044.00

 09/20/2021   AJK     BL        Review joinder by Farms Committee.                      1.20      1395.00       $1,674.00

 09/20/2021   AJK     BL        Review limited objection by Ranches Committee.          1.10      1395.00       $1,534.50

 09/20/2021   AJK     BL        Review Agri opposition.                                 1.40      1395.00       $1,953.00

 09/20/2021   PJJ     BL        Review/revise opposition to standing motion.            0.80        460.00          $368.00

 09/20/2021   PJJ     BL        Prepare opposition to standing motion for filing.       1.00        460.00          $460.00

 09/20/2021   PJJ     BL        Prepare Appendices to opposition to standing            2.00        460.00          $920.00
                                motion.

 09/20/2021   RMP     BL        Review final draft of opposition.                       0.40      1595.00           $638.00

 09/20/2021   JWD     BL        Review Ranches Committee reply to Tyson standing        0.20      1025.00           $205.00
                                motion

 09/20/2021   JWD     BL        Attend to issues re opposition to Tyson standing        0.70      1025.00           $717.50

 09/20/2021   EAW     BL        Research and draft memo re: derivative motion           5.20        925.00      $4,810.00
                                litigation.

 09/20/2021   EAW     BL        Review and revise opposition to derivative motion,      1.70        925.00      $1,572.50




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                                                                                        Hours           Rate         Amount
                                declaration, and appendices.
 09/20/2021   EAW     BL        Review joinders to opposition to derivative motion.      0.80        925.00          $740.00

 09/20/2021   EAW     BL        Telephone call with A. Kornfeld and T. Flanagan re:      0.90        925.00          $832.50
                                derivative motion litigation.

 09/20/2021   JHR     BL        Analyze Ranches Committee's objection to Tyson           0.30        845.00          $253.50
                                standing motion

 09/20/2021   JHR     BL        Review Farms Committee objection to Tyson                0.10        845.00           $84.50
                                standing motion

 09/20/2021   JHR     BL        Review Agri Beef objection to standing motion            0.30        845.00          $253.50

 09/20/2021   TCF     BL        Revise and finalize opposition to Tyson motion for       5.20        875.00      $4,550.00
                                derivative standing and abandonment, and related
                                pleadings and exhibits, for filing.

 09/20/2021   TCF     BL        Finalize opposition to Tyson motion for derivative       1.20        875.00      $1,050.00
                                standing and abandonment and coordination for
                                filing.

 09/21/2021   RMP     BL        Team call re 9/22 hearing and issues related thereto.    0.50      1595.00           $797.50

 09/21/2021   RMP     BL        Review Tyson reply memo re North Lot, various            2.90      1595.00       $4,625.50
                                telephone conferences and e-mails re same.

 09/21/2021   JWD     BL        Review Tyson reply re standing motion                    0.30      1025.00           $307.50

 09/21/2021   MBL     BL        Review Tyson pleadings relating to standing motion.      0.40      1125.00           $450.00

 09/21/2021   AJK     BL        Review and analyze reply.                                3.20      1395.00       $4,464.00

 09/21/2021   EAW     BL        Telephone call with A. Kornfeld re: derivative           0.30        925.00          $277.50
                                motion litigation.

 09/21/2021   EAW     BL        Telephone calls with A. Kornfeld and T. Flanagan         2.20        925.00      $2,035.00
                                re: derivative motion litigation.

 09/21/2021   EAW     BL        Review and analysis of reply in support of derivative    1.80        925.00      $1,665.00
                                motion, with related research.

 09/21/2021   JHR     BL        Analyze Tyson reply in support of standing motion        0.70        845.00          $591.50

 09/21/2021   TCF     BL        Review and analysis of and attention to Tyson's          2.20        875.00      $1,925.00
                                reply to opposition to motion for derivative standing
                                and abandonment.

 09/23/2021   JWD     BL        Review court order re Tyson standing and emails re       0.20      1025.00           $205.00
                                same

 09/23/2021   AJK     BL        Call with P Gilhuly re AB issues.                        0.30      1395.00           $418.50




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 09/28/2021   AJK     BL        Call with P Gilhuly re AB issue.                        0.20      1395.00           $279.00

 09/29/2021   AJK     BL        Attention to issues re allocation complaint.            0.20      1395.00           $279.00

                                                                                      398.40                  $425,733.00

  Case Administration [B110]
 09/13/2021   JWD     CA        Call with S Maizel and S Alberts re case update         0.40      1025.00           $410.00

 09/13/2021   JWD     CA        Follow up emails with S Alberts re fee issues           0.30      1025.00           $307.50

                                                                                        0.70                        $717.50

  Corporate Governance/Board Mtr
 08/05/2021   RMP     CG        Review document memo and documents re Ranches.          0.90      1595.00       $1,435.50

                                                                                        0.90                    $1,435.50

  Claims Admin/Objections[B310]
 08/04/2021   RMP     CO        Review equitable subordination memo and                 1.60      1595.00       $2,552.00
                                telephone conference with A Kornfeld re same.

 08/06/2021   RMP     CO        Continue analyzing equitable subordination issues.      0.90      1595.00       $1,435.50

 08/06/2021   RMP     CO        Review Rabo offer and telephone conferences re          0.60      1595.00           $957.00
                                same.

 08/09/2021   RMP     CO        Telephone conferences re equitable subordination        0.80      1595.00       $1,276.00
                                issues and review revised memo.

 09/01/2021   KBD     CO        Analyze issues relating to Segale claim and prepare     1.20      1195.00       $1,434.00
                                memorandum regarding same

 09/03/2021   KBD     CO        Draft memo regarding Segale issues                      0.50      1195.00           $597.50

 09/04/2021   KBD     CO        Draft memorandum regarding Segale claims                1.00      1195.00       $1,195.00

 09/06/2021   KBD     CO        Research issues relating to Segale claim                1.80      1195.00       $2,151.00

 09/06/2021   KBD     CO        Draft memorandum regarding Segale claim                 2.20      1195.00       $2,629.00

 09/09/2021   KBD     CO        Work on memo regarding Segale claims w/P. Labov         0.50      1195.00           $597.50
                                (for part)

 09/10/2021   KBD     CO        Analyze issues relating to Segale claim w/P. Labov      0.80      1195.00           $956.00
                                and R. Keeton (for part)

 09/10/2021   KBD     CO        Revisions to memorandum relating to Segale claim        1.00      1195.00       $1,195.00




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 09/12/2021   KBD     CO        Research and analyze issues relating to Segale          1.70       1195.00       $2,031.50
                                Claims

 09/13/2021   JHR     CO        Conference call with Cooley re: claims investigation    0.90         845.00          $760.50

 09/13/2021   RMP     CO        Prepare for and participate on conference call with     0.80       1595.00       $1,276.00
                                Ranches Committee re Tyson/Segale.

 09/13/2021   KBD     CO        Call w/Ranches Committee and PSZJ regarding             0.80       1195.00           $956.00
                                certain unsecured claims

 09/21/2021   KBD     CO        Analyze issues relating to Segale claims w/P. Labov     0.40       1195.00           $478.00
                                (for part)

                                                                                        17.50                   $22,477.50

  Compensation Prof. [B160]
 09/28/2021   JWD     CP        Review email corr from S Maizel and analyze issues      0.20       1025.00           $205.00
                                re same

                                                                                         0.20                        $205.00

  General Creditors Comm. [B150]
 09/13/2021   JWD     GC        Zoom meeting with Ranches Committee re various          0.80       1025.00           $820.00
                                topics

 09/22/2021   JWD     GC        Review and respond to emails re meeting with            0.20       1025.00           $205.00
                                Ranches Committee re plan

 09/23/2021   JWD     GC        Call with Ranches Committee re plan                     0.90       1025.00           $922.50

 09/30/2021   JWD     GC        Attend call with Ranches Committee re plan              1.00       1025.00       $1,025.00

                                                                                         2.90                    $2,972.50

  Hearing
 08/25/2021   RMP     HE        Attend 8/25 Court hearings re Tyson.                    2.60       1595.00       $4,147.00

 09/15/2021   AJK     HE        Prepare for and attend (telephonically) hearing.        1.30       1395.00       $1,813.50

 09/21/2021   AJK     HE        Prepare for hearing.                                   11.80       1395.00      $16,461.00

 09/21/2021   EAW     HE        Assist with preparation for hearing on derivative       0.40         925.00          $370.00
                                motion.

 09/21/2021   TCF     HE        Preparation for hearing on Tyson's motion for           1.50         875.00      $1,312.50
                                derivative standing.

 09/22/2021   AJK     HE        Prepare for hearing.                                    4.40       1395.00       $6,138.00




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 09/22/2021   EAW     HE        Telephone call with A. Kornfeld and T. Flanagan re:     0.20         925.00          $185.00
                                hearing on derivative motion.

 09/22/2021   TCF     HE        Preparation for hearing on Tyson's motion for           1.00         875.00          $875.00
                                derivative standing.

 09/22/2021   TCF     HE        Telephone conference with team regarding ruling on      0.20         875.00          $175.00
                                Tyson's motion for derivative standing.

 09/22/2021   KBD     HE        Attend court hearing regarding allocation matter and    1.70       1195.00       $2,031.50
                                other outstanding issues (for part)

 09/22/2021   EAW     HE        Telephone call with A. Kornfeld re: hearing on          0.20           0.00            $0.00
                                derivative motion. (No charge)

 09/22/2021   AJK     HE        Attend hearing.                                         3.20       1395.00       $4,464.00

                                                                                        28.50                   $37,972.50

  Litigation (Non-Bankruptcy)
 08/09/2021   RMP     LN        Review CFTC claims and e-mails re same and              0.40       1595.00           $638.00
                                telephone conference with J Dulberg re same.

 09/01/2021   JWD     LN        Review new version of consent order and attend to       0.70       1025.00           $717.50
                                issues re same and review email to Committee

 09/03/2021   JWD     LN        Call with Cooley team re CFTC issues                    0.30       1025.00           $307.50

 09/08/2021   JWD     LN        Review Committee comments to CFTC consent               0.60       1025.00           $615.00
                                order and emails regarding same

 09/15/2021   JWD     LN        Emails re CFTC related calls                            0.20       1025.00           $205.00

 09/17/2021   JWD     LN        Prep for and attend call with committee re CFTC         0.30       1025.00           $307.50

 09/17/2021   JWD     LN        Call with CFTC and Cooley re consent order              0.50       1025.00           $512.50

 09/20/2021   JWD     LN        Review issues re C Easterday sentencing and timing      0.20       1025.00           $205.00

 09/20/2021   JWD     LN        Review and comment to Committee revisions to            0.30       1025.00           $307.50
                                consent order

 09/21/2021   JWD     LN        Attend to issues regarding CFTC in review emails        0.20       1025.00           $205.00
                                regarding same

 09/22/2021   JWD     LN        Work on memo to board re CFTC consent order             0.30       1025.00           $307.50

 09/22/2021   JWD     LN        Review issues re CFTC consent order and emails          0.20       1025.00           $205.00
                                with T Buford re same

 09/22/2021   JWD     LN        Follow up issues re CFTC order and signature            0.20       1025.00           $205.00




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 09/24/2021   JHR     LN        Review CFTC complaint and consent order                  0.90         845.00          $760.50

 09/26/2021   JWD     LN        Review board comments to CFTC order and emails           0.70       1025.00           $717.50
                                re same (.4); work on settlement (.3)

 09/27/2021   KBD     LN        Review proposed CFTC Consent Order                       0.30       1195.00           $358.50

 09/27/2021   JHR     LN        Analyze revised CFTC consent order                       0.30         845.00          $253.50

 09/27/2021   JWD     LN        Review issues re CFTC order and emails re same           1.30       1025.00        $1,332.50
                                (.3); call with CFTC re order (.4); calls with board
                                members and R Pachulski (.3); follow up emails re
                                same (.3)

 09/28/2021   JWD     LN        Emails to CFTC counsel; emails with T Buford;            0.30       1025.00           $307.50
                                review deadline and emails re same

 09/28/2021   JWD     LN        Analyze letter from CFTC and emails with board re        0.60       1025.00           $615.00
                                same

 09/30/2021   JWD     LN        Work on CFTC approval motion                             0.70       1025.00           $717.50

 09/30/2021   JWD     LN        Call with P Richter re CFTC consent order                0.20       1025.00           $205.00

 09/30/2021   JWD     LN        Attend to issues re consent order approval (.3); call    0.60       1025.00           $615.00
                                with B Wallen re same (.1); emails with T Buford re
                                same (.2)

                                                                                         10.30                    $10,620.50

  TOTAL SERVICES FOR THIS MATTER:                                                                               $502,134.00




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 Expenses
 08/02/2021   CC         Conference Call [E105] AT&T Conference Call, TCF                      5.00
 08/03/2021   CC         Conference Call [E105] AT&T Conference Call, EAW                      5.20
 08/11/2021   CC         Conference Call [E105] AT&T Conference Call, EAW                      5.83
 08/11/2021   CC         Conference Call [E105] AT&T Conference Call, EAW                      3.74
 08/11/2021   CC         Conference Call [E105] AT&T Conference Call, AJK                      4.06
 08/14/2021   CC         Conference Call [E105] AT&T Conference Call, AJK                      6.87
 08/19/2021   CC         Conference Call [E105] AT&T Conference Call, EAW                      6.33
 08/21/2021   CC         Conference Call [E105] AT&T Conference Call, TCF                  12.81
 08/27/2021   CC         Conference Call [E105] AT&T Conference Call, EAW                      1.86
 09/01/2021   LN         20375.00002 Lexis Charges for 09-01-21                           230.10
 09/07/2021   LN         20375.00002 Lexis Charges for 09-07-21                            80.54
 09/10/2021   LN         20375.00002 Lexis Charges for 09-10-21                            57.53
 09/15/2021   LN         20375.00002 Lexis Charges for 09-15-21                           172.59
 09/15/2021   LN         20375.00002 Lexis Charges for 09-15-21                            11.52
 09/16/2021   LN         20375.00002 Lexis Charges for 09-16-21                           115.19
 09/16/2021   LN         20375.00002 Lexis Charges for 09-16-21                            34.53
 09/16/2021   TR         Transcript [E116] Veritext, LLC, Inv. 5269472, AJK              3,367.15
 09/17/2021   AS         Attorney Service [E107] Nationwide Legal, Inv.                   125.20
                         0000034815, AJK
 09/17/2021   FE         20375.00002 FedEx Charges for 09-17-21                            52.13
 09/17/2021   LN         20375.00002 Lexis Charges for 09-17-21                            11.52
 09/17/2021   RE2        SCAN/COPY ( 22 @0.10 PER PG)                                          2.20
 09/17/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)                                           0.40
 09/17/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)                                           0.80
 09/17/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)                                           0.40
 09/17/2021   RE2        SCAN/COPY ( 19 @0.10 PER PG)                                          1.90
 09/17/2021   RE2        SCAN/COPY ( 62 @0.10 PER PG)                                          6.20
 09/17/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                                           0.50
 09/17/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                           0.20
 09/17/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)                                           0.40
 09/17/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                           0.60
 09/17/2021   RE2        SCAN/COPY ( 85 @0.10 PER PG)                                          8.50




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 09/17/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                          0.60
 09/17/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)                                          0.40
 09/17/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)                                         1.20
 09/17/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 09/17/2021   RE2        SCAN/COPY ( 37 @0.10 PER PG)                                         3.70
 09/17/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 09/17/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 09/17/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                         1.40
 09/17/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)                                         1.20
 09/19/2021   LN         20375.00002 Lexis Charges for 09-19-21                               6.17
 09/19/2021   LN         20375.00002 Lexis Charges for 09-19-21                           11.52
 09/20/2021   LN         20375.00002 Lexis Charges for 09-20-21                           23.02
 09/20/2021   RE2        SCAN/COPY ( 56 @0.10 PER PG)                                         5.60
 09/20/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 09/20/2021   RE2        SCAN/COPY ( 18 @0.10 PER PG)                                         1.80
 09/20/2021   RE2        SCAN/COPY ( 17 @0.10 PER PG)                                         1.70
 09/20/2021   RE2        SCAN/COPY ( 194 @0.10 PER PG)                                    19.40
 09/20/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 09/20/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                          0.10
 09/20/2021   RE2        SCAN/COPY ( 25 @0.10 PER PG)                                         2.50
 09/20/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 09/20/2021   RE2        SCAN/COPY ( 30 @0.10 PER PG)                                         3.00
 09/20/2021   RE2        SCAN/COPY ( 37 @0.10 PER PG)                                         3.70
 09/20/2021   RE2        SCAN/COPY ( 26 @0.10 PER PG)                                         2.60
 09/20/2021   RE2        SCAN/COPY ( 10 @0.10 PER PG)                                         1.00
 09/20/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 09/20/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)                                          0.80
 09/20/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 09/20/2021   RE2        SCAN/COPY ( 242 @0.10 PER PG)                                    24.20
 09/20/2021   RE2        SCAN/COPY ( 38 @0.10 PER PG)                                         3.80
 09/20/2021   RE2        SCAN/COPY ( 10 @0.10 PER PG)                                         1.00
 09/20/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                          0.60
 09/20/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                          0.10
 09/20/2021   RE2        SCAN/COPY ( 41 @0.10 PER PG)                                         4.10




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Easterday Ranches Inc.                                                                 Invoice 128806
20375 - 00002                                                                          September 30, 2021


 09/20/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 09/20/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)                                          0.40
 09/20/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)                                          0.80
 09/20/2021   RE2        SCAN/COPY ( 142 @0.10 PER PG)                                     14.20
 09/20/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 09/20/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)                                          0.40
 09/20/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                          0.10
 09/21/2021   LN         20375.00002 Lexis Charges for 09-21-21                            11.52
 09/21/2021   LN         20375.00002 Lexis Charges for 09-21-21                            21.57
 09/30/2021   PAC        Pacer - Court Research                                            52.10

   Total Expenses for this Matter                                                    $4,560.70




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Pachulski Stang Ziehl & Jones LLP                                                          Page:    22
Easterday Ranches Inc.                                                                     Invoice 128806
20375 - 00002                                                                              September 30, 2021


                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        09/30/2021

Total Fees                                                                                            $502,134.00

Total Expenses                                                                                            4,560.70

Total Due on Current Invoice                                                                          $506,694.70

  Outstanding Balance from prior invoices as of        09/30/2021          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed         Expenses Billed             Balance Due
 128270                   06/30/2021               $168,761.00            $1,004.38                    $33,752.20

 128443                   07/31/2021               $430,618.50            $2,567.36                    $86,123.70

 128604                   09/29/2021               $471,271.50            $1,454.70                    $94,254.30

             Total Amount Due on Current and Prior Invoices:                                          $720,824.90




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                                                        238
                                    Pachulski Stang Ziehl & Jones LLP
                                            10100 Santa Monica Blvd.
                                                   13th Floor
                                             Los Angeles, CA 90067
                                                                         September 30, 2021
Peter Richter                                                            Invoice 128807
Paladin Management                                                       Client  20375
200 South Wacker Drive 31st floor                                        Matter  00003
Chicago, IL 60606
                                                                                 JWD

RE: Farms (Exclusive)

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 09/30/2021
                FEES                                                      $30,804.50
                EXPENSES                                                     $108.72
                TOTAL CURRENT CHARGES                                     $30,913.22

                BALANCE FORWARD                                          $367,509.96
                LAST PAYMENT                                             $356,002.16
                TOTAL BALANCE DUE                                         $42,421.02




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Easterday Ranches Inc.                                                              Invoice 128807
20375 - 00003                                                                       September 30, 2021




  Summary of Services by Professional
  ID        Name                                   Title                 Rate        Hours               Amount

 BLW        Wallen , Ben L                         Associate            750.00        8.30          $6,225.00

 DJB        Barton, David J.                       Partner             1345.00        0.60           $807.00

 JHR        Rosell, Jason H.                       Partner              845.00        1.30          $1,098.50

 JWD        Dulberg, Jeffrey W.                    Partner             1025.00        0.40           $410.00

 LAF        Forrester, Leslie A.                   Other                475.00        4.60          $2,185.00

 LFC        Cantor, Linda F.                       Partner             1245.00        1.00          $1,245.00

 PJL        Labov, Paul John                       Partner             1095.00       17.20         $18,834.00

                                                                                    33.40           $30,804.50




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Easterday Ranches Inc.                                                                  Invoice 128807
20375 - 00003                                                                           September 30, 2021


  Summary of Services by Task Code
  Task Code         Description                                                 Hours                        Amount

 AD                 Asset Disposition [B130]                                    32.30                   $29,875.00

 TI                 Tax Issues [B240]                                            1.10                        $929.50

                                                                                33.40                   $30,804.50




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Pachulski Stang Ziehl & Jones LLP                                               Page:     4
Easterday Ranches Inc.                                                          Invoice 128807
20375 - 00003                                                                   September 30, 2021


  Summary of Expenses
  Description                                                   $108.72                       Amount
Conference Call [E105]                                                                         $4.72
Reproduction/ Scan Copy                                                                     $104.00

                                                                                            $108.72




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Pachulski Stang Ziehl & Jones LLP                                                                 Page:     5
Easterday Ranches Inc.                                                                            Invoice 128807
20375 - 00003                                                                                     September 30, 2021


                                                                                          Hours           Rate         Amount

  Asset Disposition [B130]
 08/13/2021   PJL     AD        Further work on motion to sell aviation assets and         2.60      1095.00       $2,847.00
                                determine whether any liens exist on the airframe,
                                engines or propellers.

 08/27/2021   PJL     AD        Review of order approving sale of plane, along with        1.20      1095.00       $1,314.00
                                correspondence on bill of sale and actual bill of sale.

 08/30/2021   JWD     AD        Call with P Labov regarding aircraft                       0.10      1025.00           $102.50

 08/30/2021   PJL     AD        Conference with P. Richter regarding FAA issue and         0.40      1095.00           $438.00
                                technicality on plane sale documents.

 09/01/2021   BLW     AD        Correspond with Mr. Richter re: Aircraft Sale.             0.10        750.00           $75.00

 09/02/2021   PJL     AD        Review Plane closing issues.                               0.40      1095.00           $438.00

 09/03/2021   PJL     AD        Finalize and deal with plane escrow.                       0.70      1095.00           $766.50

 09/15/2021   JWD     AD        Work with P Labov re sale of aircraft hangar and           0.30      1025.00           $307.50
                                review issues re same

 09/15/2021   JHR     AD        Call with P. Labov re: sale of hangar                      0.20        845.00          $169.00

 09/15/2021   PJL     AD        Work on sale of plane hanger.                              2.30      1095.00       $2,518.50

 09/15/2021   BLW     AD        Numerous correspondence re: Hangar Sale.                   0.30        750.00          $225.00

 09/16/2021   LAF     AD        Legal research re: Sale of LLC interest in                 3.80        475.00      $1,805.00
                                Washington.

 09/17/2021   PJL     AD        Review LLC agreement for entity that owns                  2.60      1095.00       $2,847.00
                                Easterday Plane Hanger, including discussion with
                                Paladin and internal team on strategy for sale.

 09/20/2021   LAF     AD        Legal research re: Sale of LLC interest in WA.             0.80        475.00          $380.00

 09/20/2021   PJL     AD        Review legal research and open issues on sale of           1.90      1095.00       $2,080.50
                                airplane hangar, including internal discussion
                                regarding sale of LLC interests.

 09/20/2021   BLW     AD        Review Hangar LLC documents and reference                  0.70        750.00          $525.00
                                materials re: Hangar Sale.

 09/21/2021   DJB     AD        Scheduling re conference call re sale of LLC.              0.20      1345.00           $269.00

 09/21/2021   PJL     AD        Call on plane hangar sale with DWT and review of           1.40      1095.00       $1,533.00
                                LLC Operating Agreement.

 09/21/2021   BLW     AD        Research re: Hangar Sale Issues.                           4.90        750.00      $3,675.00

 09/21/2021   BLW     AD        Multiple Calls with Mr. Labov re: Hangar Sale              0.40        750.00          $300.00




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Pachulski Stang Ziehl & Jones LLP                                                                 Page:     6
Easterday Ranches Inc.                                                                            Invoice 128807
20375 - 00003                                                                                     September 30, 2021


                                                                                         Hours            Rate         Amount
                                Issues.
 09/21/2021   BLW     AD        Call with co-counsel re: Aircraft Sale Issues.            0.60         750.00          $450.00

 09/28/2021   DJB     AD        Telephone conference with P Labov and B Wallen            0.40       1345.00           $538.00
                                re sale of LLC interests.

 09/28/2021   PJL     AD        Review open issues with sale of LLC agreement,            1.80       1095.00       $1,971.00
                                including internal meeting with D. Barton and B.
                                Walen, review of operating agreement.

 09/28/2021   BLW     AD        Call re: Sale of LLC/Hangar.                              0.50         750.00          $375.00

 09/29/2021   LFC     AD        Review files and legal authorities regarding transfers    0.70       1245.00           $871.50
                                of interests in LLC interests

 09/29/2021   LFC     AD        Telephone conference with Ben Wallen regarding            0.30       1245.00           $373.50
                                same

 09/29/2021   PJL     AD        Conference with B. Wallen regarding update on sale        0.30       1095.00           $328.50
                                of LLC interest.

 09/29/2021   BLW     AD        Research re: Sale of LLC Interest.                        0.20         750.00          $150.00

 09/29/2021   BLW     AD        Call with Ms. Cantor re: Hangar Sale.                     0.30         750.00          $225.00

 09/29/2021   BLW     AD        Call with Mr. Labov re: Hangar Sale and next steps.       0.20         750.00          $150.00

 09/29/2021   BLW     AD        Correspond with CRO re: Hangar Sale.                      0.10         750.00           $75.00

 09/30/2021   PJL     AD        Review discussion notes on LLC agreement and              1.60       1095.00       $1,752.00
                                discussion with B. Wallen and P. Richter regarding
                                same.

                                                                                          32.30                   $29,875.00

  Tax Issues [B240]
 09/15/2021   JHR     TI        Analyze draft tax return                                  1.10         845.00          $929.50

                                                                                           1.10                        $929.50

  TOTAL SERVICES FOR THIS MATTER:                                                                                $30,804.50




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Easterday Ranches Inc.                                                                Invoice 128807
20375 - 00003                                                                         September 30, 2021



 Expenses
 08/09/2021   CC         Conference Call [E105] AT&T Conference Call, PJL                    1.29
 08/16/2021   CC         Conference Call [E105] AT&T Conference Call, PJL                    3.43
 09/21/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                         0.30
 09/21/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                        1.40
 09/21/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                         0.20
 09/21/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)                                        1.20
 09/21/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)                                         0.80
 09/21/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                                         0.50
 09/21/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                         0.60
 09/21/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)                                         0.80
 09/21/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                                         0.50
 09/21/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                         0.60
 09/21/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                         0.20
 09/21/2021   RE2        SCAN/COPY ( 82 @0.10 PER PG)                                        8.20
 09/21/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                         0.30
 09/21/2021   RE2        SCAN/COPY ( 56 @0.10 PER PG)                                        5.60
 09/21/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                                         0.50
 09/21/2021   RE2        SCAN/COPY ( 16 @0.10 PER PG)                                        1.60
 09/21/2021   RE2        SCAN/COPY ( 660 @0.10 PER PG)                                   66.00
 09/21/2021   RE2        SCAN/COPY ( 38 @0.10 PER PG)                                        3.80
 09/21/2021   RE2        SCAN/COPY ( 85 @0.10 PER PG)                                        8.50
 09/21/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)                                         0.40
 09/21/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)                                         0.80
 09/21/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)                                        1.20

   Total Expenses for this Matter                                                    $108.72




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Pachulski Stang Ziehl & Jones LLP                                                          Page:     8
Easterday Ranches Inc.                                                                     Invoice 128807
20375 - 00003                                                                              September 30, 2021


                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        09/30/2021

Total Fees                                                                                             $30,804.50

Total Expenses                                                                                              108.72

Total Due on Current Invoice                                                                           $30,913.22

  Outstanding Balance from prior invoices as of        09/30/2021          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed         Expenses Billed             Balance Due
 128271                   06/30/2021                 $4,103.50              $156.82                       $820.70

 128444                   07/31/2021                 $4,718.00               $32.84                       $943.60

 128605                   09/29/2021                $48,717.50            $1,692.10                     $9,743.50

             Total Amount Due on Current and Prior Invoices:                                            $42,421.02




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                                    Pachulski Stang Ziehl & Jones LLP
                                            10100 Santa Monica Blvd.
                                                   13th Floor
                                             Los Angeles, CA 90067
                                                                         October 31, 2021
Peter Richter                                                            Invoice 129107
Paladin Management                                                       Client   20375
200 South Wacker Drive 31st floor                                        Matter   00001
Chicago, IL 60606
                                                                                  JWD

RE: Restructuring

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 10/31/2021
                FEES                                                     $360,215.50
                EXPENSES                                                  $77,093.49
                TOTAL CURRENT CHARGES                                    $437,308.99

                BALANCE FORWARD                                         $1,122,796.15
                LAST PAYMENT                                            $1,008,389.45
                TOTAL BALANCE DUE                                        $551,715.69

                PREPAID BALANCE                                          $224,149.44




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Easterday Ranches Inc.                                                               Invoice 129107
20375 - 00001                                                                        October 31, 2021




  Summary of Services by Professional
  ID        Name                                    Title                 Rate        Hours               Amount

 AJK        Kornfeld, Alan J.                       Partner             1395.00       15.10         $21,064.50

 BLW        Wallen , Ben L                          Associate            750.00        4.40             $3,300.00

 EAW        Wagner, Elissa A.                       Counsel              925.00       59.20         $54,760.00

 GIG        Glazer, Gabriel I.                      Partner             1050.00        0.40              $420.00

 JHR        Rosell, Jason H.                        Partner                0.00        0.50                $0.00

 JHR        Rosell, Jason H.                        Partner              845.00       47.60         $40,222.00

 JWD        Dulberg, Jeffrey W.                     Partner             1025.00       56.90         $58,322.50

 KBD        Dine, Karen B.                          Counsel             1195.00       12.80         $15,296.00

 MBL        Litvak, Maxim B.                        Partner             1125.00       28.40         $31,950.00

 PJJ        Jeffries, Patricia J.                   Paralegal              0.00        0.50                $0.00

 PJJ        Jeffries, Patricia J.                   Paralegal            460.00       57.80         $26,588.00

 PJL        Labov, Paul John                        Partner             1095.00       10.30         $11,278.50

 RMP        Pachulski, Richard M.                   Partner             1595.00       60.70         $96,816.50

 VLD        Downing, Virginia L.                    Other                395.00        0.50              $197.50

                                                                                    355.10          $360,215.50




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Pachulski Stang Ziehl & Jones LLP                                                       Page:     3
Easterday Ranches Inc.                                                                  Invoice 129107
20375 - 00001                                                                           October 31, 2021


  Summary of Services by Task Code
  Task Code         Description                                                 Hours                        Amount

 AA                 Asset Analysis/Recovery[B120]                                2.60                       $3,694.00

 AD                 Asset Disposition [B130]                                     1.80                       $1,575.00

 BL                 Bankruptcy Litigation [L430]                                47.10                      $49,401.50

 CA                 Case Administration [B110]                                  37.80                      $36,304.00

 CG                 Corporate Governance/Board Mtr                              17.90                      $19,656.00

 CO                 Claims Admin/Objections[B310]                               66.30                      $67,178.50

 CP                 Compensation Prof. [B160]                                   63.60                      $37,652.50

 EB                 Employee Benefit/Pension-B220                                0.10                        $102.50

 FF                 Financial Filings [B110]                                     0.20                        $205.00

 FN                 Financing [B230]                                             3.10                       $3,957.50

 HE                 Hearing                                                      4.20                       $3,710.00

 LN                 Litigation (Non-Bankruptcy)                                  2.20                       $2,018.00

 OP                 Operations [B210]                                            0.60                        $507.00

 PD                 Plan & Disclosure Stmt. [B320]                              87.50                  $112,636.50

 SL                 Stay Litigation [B140]                                       0.20                        $205.00

 TI                 Tax Issues [B240]                                           19.90                      $21,412.50

                                                                               355.10                  $360,215.50




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Pachulski Stang Ziehl & Jones LLP                                                 Page:     4
Easterday Ranches Inc.                                                            Invoice 129107
20375 - 00001                                                                     October 31, 2021


  Summary of Expenses
  Description                                                                                   Amount
Working Meals [E111]                                                                            $42.85
Conference Call [E105]                                                                          $50.32
Lexis/Nexis- Legal Research [E                                                                  $11.02
Outside Services                                                                            $76,934.00
Pacer - Court Research                                                                          $31.90
Reproduction/ Scan Copy                                                                         $23.40

                                                                                            $77,093.49




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Pachulski Stang Ziehl & Jones LLP                                                                Page:     5
Easterday Ranches Inc.                                                                           Invoice 129107
20375 - 00001                                                                                    October 31, 2021


                                                                                        Hours            Rate       Amount

  Asset Analysis/Recovery[B120]
 09/28/2021   RMP     AA        Review WT collateral status and WT diminution            0.90       1595.00         $1,435.50
                                claim and telephone conference with M Litvak re
                                same.

 10/13/2021   JWD     AA        Emails re mis-sent CFAP checks and review T              0.20       1025.00          $205.00
                                Buford response

 10/20/2021   JWD     AA        Emails with T Buford re CFAP funds                       0.10       1025.00          $102.50

 10/22/2021   RMP     AA        Review and analyze property issues.                      0.60       1595.00          $957.00

 10/27/2021   JWD     AA        Email with T Buford re CFAP                              0.10       1025.00          $102.50

 10/29/2021   RMP     AA        Telephone conferences with Farmland and JR re            0.40       1595.00          $638.00
                                equipment issues.

 10/29/2021   JHR     AA        Analyze appraisal report and related correspondence      0.30         845.00         $253.50
                                with discovery parties

                                                                                          2.60                      $3,694.00

  Asset Disposition [B130]
 10/11/2021   JHR     AD        Call with P. Richter re: Diversified Financial assets    0.20         845.00         $169.00

 10/11/2021   JHR     AD        Call with Diversified Financial re: irrigation           0.20         845.00         $169.00
                                equipment

 10/11/2021   JHR     AD        Call with Blue Tag re: vehicle transfers                 0.10         845.00          $84.50

 10/19/2021   JWD     AD        Work on issues re sale proceeds and interest bearing     0.30       1025.00          $307.50
                                account

 10/28/2021   JHR     AD        Review Blue Tag APA and related correspondence           0.20         845.00         $169.00
                                with P. Richter re: property tax

 10/28/2021   JHR     AD        Correspondence with Farmland re: asset removal           0.30         845.00         $253.50
                                issues

 10/29/2021   JHR     AD        Correspondence with FRI re: equipment removal            0.20         845.00         $169.00
                                issues

 10/31/2021   JHR     AD        Correspondence with FRI re: equipment sale issues        0.30         845.00         $253.50

                                                                                          1.80                      $1,575.00

  Bankruptcy Litigation [L430]
 10/01/2021   PJL     BL        Review and correspond with internal team on              1.60       1095.00         $1,752.00
                                Cooperation Agreement in relation to Easterday




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Pachulski Stang Ziehl & Jones LLP                                                                Page:     6
Easterday Ranches Inc.                                                                           Invoice 129107
20375 - 00001                                                                                    October 31, 2021


                                                                                         Hours           Rate       Amount
                                family action.
 10/04/2021   AJK     BL        Analysis of issues re allocation (review of complaint     3.70      1395.00         $5,161.50
                                and documents re ownership).

 10/04/2021   EAW     BL        Telephone call with A. Kornfeld re: allocation            0.50        925.00         $462.50
                                litigation.

 10/04/2021   EAW     BL        Review allocation complaint and related memoranda         1.50        925.00        $1,387.50
                                and exhibits.

 10/05/2021   AJK     BL        Attention to allocation issues.                           0.90      1395.00         $1,255.50

 10/05/2021   RMP     BL        Analyze allocation issues and telephone conferences       1.40      1595.00         $2,233.00
                                with Paladin and J Rosell re same.

 10/05/2021   EAW     BL        Document review (allocation litigation).                  2.10        925.00        $1,942.50

 10/05/2021   EAW     BL        Draft outline of discovery issues and litigation tasks    1.90        925.00        $1,757.50
                                related to allocation complaint.

 10/05/2021   PJL     BL        Review correspondence regarding Cooperation               0.90      1095.00          $985.50
                                Agreement and October 20 hearing, respond to
                                same, including internal calls and review of
                                Cooperation Agreement.

 10/06/2021   AJK     BL        Attention to party admission issues.                      0.20      1395.00          $279.00

 10/06/2021   RMP     BL        Review allocation issues, memo and conference with        1.30      1595.00         $2,073.50
                                J Dulberg re same.

 10/06/2021   JWD     BL        Call with A Kornfeld re litigation issues                 0.20      1025.00          $205.00

 10/06/2021   EAW     BL        Document review (allocation litigation).                  1.90        925.00        $1,757.50

 10/06/2021   EAW     BL        Review documents and background materials re:             0.80        925.00         $740.00
                                Easterday assets (2004 discovery).

 10/06/2021   EAW     BL        Telephone call with A. Kornfeld re: allocation            0.20        925.00         $185.00
                                litigation.

 10/06/2021   EAW     BL        Telephone call with A. Kornfeld re: discovery             0.30        925.00         $277.50
                                relating to Easterday assets.

 10/07/2021   AJK     BL        Call with J Rosell and E Wagner re litigation issues.     0.70      1395.00          $976.50

 10/07/2021   AJK     BL        Attention to allocation complaint issues.                 0.20      1395.00          $279.00

 10/07/2021   JWD     BL        2x call with Rich regarding Easterday settlement          0.30      1025.00          $307.50

 10/07/2021   JWD     BL        Call with Jason regarding Easterday settlement            0.20      1025.00          $205.00

 10/07/2021   JWD     BL        Review litigation and plan issues re Easterday and        0.50      1025.00          $512.50
                                draft emails re same




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 10/07/2021   EAW     BL        Document review re: Easterday assets (2004                1.60        925.00        $1,480.00
                                discovery).

 10/07/2021   EAW     BL        Review emails to/from J. Rosell re: allocation issues.    0.10        925.00          $92.50

 10/07/2021   EAW     BL        Draft document requests re: Easterday assets (2004        0.90        925.00         $832.50
                                discovery).

 10/07/2021   JHR     BL        Correspondence with litigation team re: Tyson             0.20        845.00         $169.00
                                document requests

 10/07/2021   JHR     BL        Conference call with A. Kornfeld and E. Wagner re:        0.60        845.00         $507.00
                                litigation research issues

 10/08/2021   RMP     BL        Review allocation analysis.                               0.90      1595.00         $1,435.50

 10/11/2021   EAW     BL        Emails to/from A. Kornfeld and J. Rosell re: ED           0.10        925.00          $92.50
                                assets (2004 discovery).

 10/11/2021   JHR     BL        Correspondence with A. Kornfeld re: Easterday             0.20        845.00         $169.00
                                information requests

 10/12/2021   AJK     BL        Call with J Rosell and E Wagner re discovery.             0.30      1395.00          $418.50

 10/12/2021   EAW     BL        Telephone call with A. Kornfeld and J. Rosell re:         0.30        925.00         $277.50
                                ED assets (2004 discovery).

 10/12/2021   JHR     BL        Conference call with litigation team re: Easterday        0.30        845.00         $253.50
                                requests

 10/12/2021   JHR     BL        Conference call with T. Conway and J. Misley re:          0.70        845.00         $591.50
                                information requests

 10/12/2021   JHR     BL        Document review re: DOJ documents                         1.30        845.00        $1,098.50

 10/13/2021   EAW     BL        Review document requests from Farms Committee             0.10        925.00          $92.50
                                relating to ED assets (2004 discovery).

 10/14/2021   AJK     BL        Attention to allocation discovery.                        0.30      1395.00          $418.50

 10/14/2021   JHR     BL        Analyze document requests                                 2.10        845.00        $1,774.50

 10/15/2021   AJK     BL        Attention to information requests.                        0.30      1395.00          $418.50

 10/15/2021   AJK     BL        Further attention to information requests.                0.40      1395.00          $558.00

 10/15/2021   JHR     BL        Revise Easterday Family information requests              0.50        845.00         $422.50

 10/15/2021   JHR     BL        Revise information requests and correspondence            0.70        845.00         $591.50
                                with Easterday Family

 10/17/2021   AJK     BL        Attention to information requests.                        0.20      1395.00          $279.00

 10/18/2021   AJK     BL        Attention to stipulation re allocation complaint.         0.20      1395.00          $279.00




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 10/19/2021   JHR     BL        Correspondence with Easterdays re: extension of           0.20        845.00         $169.00
                                time to respond to allocation complaint

 10/22/2021   AJK     BL        Attention to protective order issues.                     0.20      1395.00          $279.00

 10/22/2021   JWD     BL        Review Easterday response to doc request and NDA          0.30      1025.00          $307.50
                                and emails re same

 10/22/2021   JHR     BL        Prepare for call with potential litigation counsel        0.30        845.00         $253.50

 10/22/2021   JHR     BL        Conference call with potential litigation counsel         0.50        845.00         $422.50

 10/22/2021   JHR     BL        Correspondence with Easterdays and interested             0.50        845.00         $422.50
                                parties re: document production and related review
                                of protective order

 10/25/2021   AJK     BL        Attention to stipulated protective order.                 0.30      1395.00          $418.50

 10/25/2021   JHR     BL        Research private causes of action re: banking             1.40        845.00        $1,183.00
                                regulations

 10/25/2021   JHR     BL        Correspondence with Paladin re: invoice                   0.20        845.00         $169.00
                                investigation

 10/25/2021   JHR     BL        Analyze draft protective order and confidentiality        0.70        845.00         $591.50
                                agreement from Easterday Family and related
                                correspondence with Tavi

 10/26/2021   AJK     BL        Attention to revisions to stipulated protective order.    0.40      1395.00          $558.00

 10/26/2021   RMP     BL        Review protective order and confidentiality               0.60      1595.00          $957.00
                                agreement and telephone conference with JR re
                                same.

 10/26/2021   JHR     BL        Revise asset information protective order and             1.70        845.00        $1,436.50
                                confidentiality agreement

 10/26/2021   JHR     BL        Correspondence with third parties re: protective          0.30        845.00         $253.50
                                order

 10/26/2021   JHR     BL        Revise protective order                                   0.50        845.00         $422.50

 10/27/2021   JHR     BL        Review allocation complaint docket re: scheduling         0.10        845.00          $84.50
                                stipulation

 10/27/2021   JHR     BL        Revise protective order and related correspondence        0.20        845.00         $169.00
                                with Easterday Family

 10/27/2021   JHR     BL        Revise protective order                                   0.40        845.00         $338.00

 10/28/2021   EAW     BL        Telephone call with A. Kornfeld re: litigation            0.10        925.00          $92.50
                                matters.




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 10/28/2021   JHR     BL        Correspondence with parties re: Easterday Family        0.60         845.00          $507.00
                                document production

 10/28/2021   JHR     BL        Conference call with Easterday Family re: document      0.30         845.00          $253.50
                                production

 10/28/2021   JHR     BL        Correspondence with PSZJ re: Easterday Family           0.30         845.00          $253.50
                                discovery

 10/28/2021   JHR     BL        Research re: make whole issues                          1.40         845.00         $1,183.00

 10/28/2021   JHR     BL        Call with A. Kornfeld re: Easterday Family              0.20         845.00          $169.00
                                discovery issues

 10/29/2021   JHR     BL        Conference call with PSZJ re: Easterday Family          1.00         845.00          $845.00
                                issues

 10/29/2021   JHR     BL        Correspondence with parties re: protective order and    0.50         845.00          $422.50
                                Easterday Family discovery issues

 10/29/2021   JHR     BL        Call with P. Richter re: discovery issues               0.30         845.00          $253.50

                                                                                        47.10                      $49,401.50

  Case Administration [B110]
 09/29/2021   RMP     CA        Prepare for and participate on weekly WIP call.         0.70       1595.00          $1,116.50

 10/04/2021   JHR     CA        Revise WIP list                                         0.20         845.00          $169.00

 10/05/2021   PJJ     CA        Update WIP, critical dates memo, calendar entries       0.40         460.00          $184.00
                                and reminders.

 10/06/2021   AJK     CA        WIP call.                                               1.00       1395.00          $1,395.00

 10/06/2021   PJJ     CA        Update and circulate WIP.                               0.30         460.00          $138.00

 10/06/2021   PJJ     CA        WIP call.                                               1.00         460.00          $460.00

 10/06/2021   RMP     CA        Prepare for and participate on WIP call.                1.00       1595.00          $1,595.00

 10/06/2021   JWD     CA        Review and revise WIP list and emails re same           0.20       1025.00           $205.00

 10/06/2021   JWD     CA        Attend all attorney WIP call                            1.00       1025.00          $1,025.00

 10/06/2021   MBL     CA        Attend weekly update call with PSZJ team.               1.00       1125.00          $1,125.00

 10/06/2021   EAW     CA        Participate on WIP call.                                1.00         925.00          $925.00

 10/06/2021   JHR     CA        Attend weekly WIP call                                  1.00         845.00          $845.00

 10/06/2021   JHR     CA        Revise WIP list                                         0.20         845.00          $169.00




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 10/06/2021   PJL     CA        Attend WIP call.                                       1.10      1095.00         $1,204.50

 10/06/2021   BLW     CA        Attend Weekly WIP Call.                                1.00        750.00         $750.00

 10/07/2021   PJJ     CA        Update critical dates memo, calendar entries and       0.20        460.00          $92.00
                                reminders.

 10/08/2021   PJJ     CA        Update critical dates memo, calendar entries and       0.30        460.00         $138.00
                                reminders.

 10/12/2021   PJJ     CA        Update WIP, critical dates memo, calendar entries      1.00        460.00         $460.00
                                and reminders.

 10/12/2021   JWD     CA        Review and revise WIP list                             0.20      1025.00          $205.00

 10/13/2021   AJK     CA        WIP call.                                              0.40      1395.00          $558.00

 10/13/2021   PJJ     CA        Update WIP.                                            0.20        460.00          $92.00

 10/13/2021   PJJ     CA        Work on October status report.                         1.50        460.00         $690.00

 10/13/2021   PJJ     CA        WIP call.                                              0.50        460.00         $230.00

 10/13/2021   RMP     CA        Prepare for and participate on WIP call.               0.60      1595.00          $957.00

 10/13/2021   JWD     CA        Review updated WIP and emails re same                  0.20      1025.00          $205.00

 10/13/2021   JWD     CA        Attend all attorney WIP call                           0.60      1025.00          $615.00

 10/13/2021   MBL     CA        Attend weekly WIP call with team.                      0.60      1125.00          $675.00

 10/13/2021   JHR     CA        Revise WIP list                                        0.10        845.00          $84.50

 10/13/2021   JHR     CA        Attend weekly WIP call                                 0.60        845.00         $507.00

 10/13/2021   PJL     CA        Prepare for and attend WIP Call.                       0.40      1095.00          $438.00

 10/13/2021   KBD     CA        Participate in team WIP call                           0.50      1195.00          $597.50

 10/13/2021   BLW     CA        Attend Weekly WIP Call.                                0.60        750.00         $450.00

 10/14/2021   PJJ     CA        Update status report.                                  0.20        460.00          $92.00

 10/14/2021   JWD     CA        Work on revisions to status report                     0.40      1025.00          $410.00

 10/15/2021   PJJ     CA        Update status report.                                  0.40        460.00         $184.00

 10/17/2021   JHR     CA        Revise status conference statement                     0.80        845.00         $676.00

 10/18/2021   PJJ     CA        Review/revise 7th status report.                       0.30        460.00         $138.00

 10/18/2021   PJJ     CA        Update WIP, critical dates memo, calendar entries      0.50        460.00         $230.00
                                and reminders.




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 10/18/2021   JWD     CA        Review and revise status report and emails with P       0.30      1025.00          $307.50
                                Jeffries re same

 10/18/2021   MBL     CA        Review status conference statement.                     0.20      1125.00          $225.00

 10/19/2021   VLD     CA        Review docket, documents, status conference report      0.50        395.00         $197.50
                                and critical dates memo and prepare hearing binder
                                for October 20 hearing, and correspond with R
                                Pachulski re same.

 10/19/2021   JWD     CA        Work on case WIP list and emails with P Jeffries        0.40      1025.00          $410.00

 10/19/2021   JHR     CA        Review critical dates memo                              0.10        845.00          $84.50

 10/19/2021   PJL     CA        Attend Board Meeting.                                   0.60      1095.00          $657.00

 10/20/2021   AJK     CA        WIP call.                                               0.30      1395.00          $418.50

 10/20/2021   PJJ     CA        Update critical dates memo.                             0.20        460.00          $92.00

 10/20/2021   PJJ     CA        Update and circulate WIP.                               0.30        460.00         $138.00

 10/20/2021   PJJ     CA        Attend WIP call.                                        0.40        460.00         $184.00

 10/20/2021   RMP     CA        Prepare for and participate on weekly WIP call.         0.50      1595.00          $797.50

 10/20/2021   JWD     CA        Review and revise WIP list                              0.20      1025.00          $205.00

 10/20/2021   JWD     CA        Attend weekly WIP call                                  0.50      1025.00          $512.50

 10/20/2021   EAW     CA        Participate on WIP call.                                0.40        925.00         $370.00

 10/20/2021   JHR     CA        Revise WIP list                                         0.10        845.00          $84.50

 10/20/2021   JHR     CA        Attend weekly WIP call                                  0.40        845.00         $338.00

 10/20/2021   PJL     CA        Attend WIP call.                                        0.60      1095.00          $657.00

 10/20/2021   KBD     CA        Participate in team WIP call                            0.40      1195.00          $478.00

 10/20/2021   BLW     CA        Attend Weekly WIP Call.                                 0.40        750.00         $300.00

 10/22/2021   RMP     CA        Prepare for and participate on Paladin and PSZJ call    0.90      1595.00         $1,435.50
                                re various case issues.

 10/22/2021   JWD     CA        Call with Paladin and PSZJ teams re various issues      0.90      1025.00          $922.50

 10/22/2021   JWD     CA        Review P Richter email re Orse bill and call with       0.20      1025.00          $205.00
                                him re same

 10/23/2021   JWD     CA        Review and revise crit dates and emails with team re    0.30      1025.00          $307.50
                                same

 10/26/2021   JWD     CA        Review and revise case WIP list                         0.20      1025.00          $205.00




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 10/27/2021   AJK     CA        WIP call.                                             0.80       1395.00          $1,116.00

 10/27/2021   PJJ     CA        WIP call.                                             0.80         460.00          $368.00

 10/27/2021   RMP     CA        Prepare for and participate on attorney WIP call.     0.80       1595.00          $1,276.00

 10/27/2021   JWD     CA        Review and revise WIP                                 0.20       1025.00           $205.00

 10/27/2021   JWD     CA        Attend attorney WIP call                              0.80       1025.00           $820.00

 10/27/2021   MBL     CA        Attend weekly WIP update call with team.              0.60       1125.00           $675.00

 10/27/2021   JHR     CA        Revise WIP list                                       0.30         845.00          $253.50

 10/27/2021   PJL     CA        Attend WIP call.                                      0.50       1095.00           $547.50

 10/27/2021   KBD     CA        Participate in attorney WIP call                      0.80       1195.00           $956.00

 10/27/2021   BLW     CA        Attend Weekly WIP Call.                               0.70         750.00          $525.00

                                                                                      37.80                      $36,304.00

  Corporate Governance/Board Mtr
 10/01/2021   JHR     CG        Review board meeting agenda                           0.10         845.00           $84.50

 10/04/2021   RMP     CG        Prepare for and participate on Board call.            0.80       1595.00          $1,276.00

 10/04/2021   JWD     CG        Prep for board call                                   0.20       1025.00           $205.00

 10/04/2021   JWD     CG        Attend board call                                     0.80       1025.00           $820.00

 10/04/2021   JHR     CG        Attend weekly board call                              0.90         845.00          $760.50

 10/04/2021   PJL     CG        Attend Board Meeting.                                 0.50       1095.00           $547.50

 10/04/2021   KBD     CG        Attend meeting of Board of Directors                  0.80       1195.00           $956.00

 10/06/2021   RMP     CG        Review 2 sets of board minutes.                       0.20       1595.00           $319.00

 10/06/2021   JWD     CG        Review and revise board minutes and emails re same    0.30       1025.00           $307.50

 10/06/2021   MBL     CG        Review board minutes.                                 0.10       1125.00           $112.50

 10/06/2021   KBD     CG        Prepare minutes of Board of Directors meeting         0.30       1195.00           $358.50

 10/07/2021   JWD     CG        Review and revise agenda for board meeting            0.20       1025.00           $205.00

 10/07/2021   JHR     CG        Review board meeting agenda                           0.10         845.00           $84.50

 10/07/2021   KBD     CG        Correspondence regarding agenda for Board meeting     0.20       1195.00           $239.00

 10/11/2021   PJJ     CG        Board meeting.                                        0.50         460.00          $230.00




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 10/11/2021   JWD     CG        Attend board call                                       1.00      1025.00         $1,025.00

 10/11/2021   JHR     CG        Attend weekly board meeting                             0.60        845.00         $507.00

 10/11/2021   PJL     CG        Attend Board Call.                                      0.70      1095.00          $766.50

 10/11/2021   KBD     CG        Attend and participate in Board meeting                 0.50      1195.00          $597.50

 10/11/2021   RMP     CG        Prepare for and participate on board call.              1.00      1595.00         $1,595.00

 10/12/2021   JWD     CG        Review and revise board minutes                         0.30      1025.00          $307.50

 10/12/2021   KBD     CG        Prepare minutes of Board meeting                        0.30      1195.00          $358.50

 10/13/2021   KBD     CG        Correspondence with Board regarding minutes             0.10      1195.00          $119.50

 10/15/2021   KBD     CG        Attention to correspondence regarding Board             0.10      1195.00          $119.50
                                meeting

 10/17/2021   KBD     CG        Prepare agenda for Board meeting                        0.10      1195.00          $119.50

 10/18/2021   JWD     CG        Work on next board meeting agenda and emails with       0.30      1025.00          $307.50
                                K Dine re same

 10/18/2021   KBD     CG        Correspondence regarding Board meeting                  0.20      1195.00          $239.00

 10/19/2021   PJJ     CG        Attend Board meeting.                                   0.40        460.00         $184.00

 10/19/2021   JWD     CG        Prep for and attend board call                          0.50      1025.00          $512.50

 10/19/2021   JHR     CG        Attend weekly board meeting                             0.40        845.00         $338.00

 10/20/2021   JWD     CG        Prepare email to board re Farms proposal                0.40      1025.00          $410.00

 10/20/2021   PJJ     CG        Draft 10/20 Board minutes.                              0.40        460.00         $184.00

 10/20/2021   JWD     CG        Review and revise board meeting minutes                 0.30      1025.00          $307.50

 10/22/2021   JWD     CG        Review and revise agenda for next board meeting         0.20      1025.00          $205.00
                                (.1); email with K Dine re same (.1)

 10/22/2021   KBD     CG        Prepare agenda for Board meeting and                    0.20      1195.00          $239.00
                                correspondence relating to same

 10/25/2021   RMP     CG        Prepare for and participate on Board conference call    1.20      1595.00         $1,914.00
                                and follow-ups with J Dulberg and CB re same.

 10/25/2021   JWD     CG        Attend board meeting                                    0.70      1025.00          $717.50

 10/25/2021   JHR     CG        Attend weekly board meeting                             0.70        845.00         $591.50

 10/25/2021   KBD     CG        Attend meeting of Board                                 0.60      1195.00          $717.00

 10/27/2021   JWD     CG        Review and revise board minutes                         0.20      1025.00          $205.00




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 10/27/2021   KBD     CG        Prepare minutes of Board meeting                        0.20       1195.00           $239.00

 10/28/2021   JWD     CG        Emails with P Richter re fee trust and board            0.20       1025.00           $205.00
                                members and email with P Jeffries re same

 10/28/2021   KBD     CG        Correspondence relating to Board minutes                0.10       1195.00           $119.50

                                                                                        17.90                      $19,656.00

  Claims Admin/Objections[B310]
 09/28/2021   RMP     CO        Review Pru and Equitable issues and e-mails re          0.40       1595.00           $638.00
                                same.

 09/28/2021   RMP     CO        Review draft Equitable settlement agreement and         0.40       1595.00           $638.00
                                telephone conference with M Litvak re same.

 09/29/2021   RMP     CO        Review revised Equitable agreement and draft            0.40       1595.00           $638.00
                                motion and e-mails re same.

 10/06/2021   RMP     CO        Review Prudential issues and telephone conferences      0.40       1595.00           $638.00
                                with M Litvak and J Dulberg re potential resolution.

 10/06/2021   RMP     CO        Review Pru response and telephone conference with       0.60       1595.00           $957.00
                                M Litvak re same.

 10/06/2021   JHR     CO        Analyze Prudential's reply to claim objection           1.50         845.00         $1,267.50

 10/06/2021   JWD     CO        Review Prudential opposition and emails re same         0.60       1025.00           $615.00

 10/06/2021   MBL     CO        Emails with Pru counsel, team, and client re pending    0.30       1125.00           $337.50
                                objections.

 10/06/2021   GIG     CO        Emails with M. Litvak re Equitable settlement           0.10       1050.00           $105.00

 10/07/2021   MBL     CO        Review Prudential objection; coordinate same with       0.70       1125.00           $787.50
                                client.

 10/07/2021   MBL     CO        Review Equitable loan docs re Basin City; emails        0.30       1125.00           $337.50
                                with team re same.

 10/08/2021   MBL     CO        Emails with client re Pru status.                       0.10       1125.00           $112.50

 10/08/2021   GIG     CO        Review Prudential objection to prepayment premium       0.30       1050.00           $315.00
                                objection

 10/11/2021   RMP     CO        Review Pru issues and telephone conference with M       0.40       1595.00           $638.00
                                Litvak re same.

 10/11/2021   MBL     CO        Emails with team and Ranches committee re Pru           0.20       1125.00           $225.00
                                issues.

 10/12/2021   RMP     CO        Review Pru issues and e-mails re same.                  0.60       1595.00           $957.00




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 10/12/2021   AJK     CO        Call with M Litvak re Prudential issues.                0.30      1395.00         $418.50

 10/12/2021   MBL     CO        Call with A. Kornfeld re Pru litigation strategy.       0.30      1125.00         $337.50

 10/12/2021   MBL     CO        Call with Ranches counsel re Pru litigation issues.     0.30      1125.00         $337.50

 10/12/2021   MBL     CO        Call with E. Wagner re Pru claim issues.                0.30      1125.00         $337.50

 10/12/2021   MBL     CO        Review and respond to Pru discovery requests;           0.40      1125.00         $450.00
                                coordinate same with client.

 10/12/2021   EAW     CO        Review emails to/from counsel for Prudential re:        0.10        925.00         $92.50
                                Prudential litigation.

 10/12/2021   EAW     CO        Telephone call with M. Litvak re: Prudential            0.30        925.00        $277.50
                                litigation.

 10/13/2021   MBL     CO        Review Equitable Basin City loan docs; emails with      0.20      1125.00         $225.00
                                team re same.

 10/13/2021   MBL     CO        Call with Pru counsel re discovery meet and confer      0.60      1125.00         $675.00
                                (0.5); follow-up call with E. Wagner re same (0.1).

 10/13/2021   MBL     CO        Emails with Pru counsel re document production and      0.30      1125.00         $337.50
                                review same.

 10/13/2021   EAW     CO        Discovery conference with M. Litvak and counsel         0.50        925.00        $462.50
                                for Prudential.

 10/13/2021   EAW     CO        Telephone call with M. Litvak re: Prudential            0.10        925.00         $92.50
                                discovery.

 10/13/2021   EAW     CO        Review Prudential discovery requests.                   0.20        925.00        $185.00

 10/14/2021   MBL     CO        Coordinate with co-counsel re Equitable settlement      0.10      1125.00         $112.50
                                order.

 10/15/2021   JWD     CO        Emails with T Buford re Mack claims                     0.30      1025.00         $307.50

 10/15/2021   MBL     CO        Emails with Pru counsel re discovery issues.            0.10      1125.00         $112.50

 10/18/2021   MBL     CO        Follow-up with co-counsel re Equitable settlement       0.10      1125.00         $112.50
                                order.

 10/19/2021   RMP     CO        Review Pru issues.                                      0.40      1595.00         $638.00

 10/19/2021   JWD     CO        Review entered order re Equitable and emails re         0.20      1025.00         $205.00
                                same

 10/19/2021   MBL     CO        Emails with co-counsel re Equitable order.              0.10      1125.00         $112.50

 10/19/2021   MBL     CO        Emails with team re Pru discovery.                      0.10      1125.00         $112.50

 10/19/2021   MBL     CO        Review entered Equitable order and settlement           0.40      1125.00         $450.00




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                                agreement; coordinate with Equitable counsel and
                                team re same.
 10/19/2021   EAW     CO        Review emails from M. Litvak and counsel for           0.10        925.00          $92.50
                                Prudential.

 10/20/2021   PJJ     CO        Prepare notice of withdrawal of objection to           0.50        460.00         $230.00
                                equitable claim.

 10/20/2021   RMP     CO        Review and analyze Segale claim analysis and           0.90      1595.00         $1,435.50
                                telephone conference with PL re same.

 10/20/2021   JWD     CO        Review issues re claim analysis and review             0.30      1025.00          $307.50

 10/20/2021   JWD     CO        Review notice of withdrawal re Equitable obj and       0.20      1025.00          $205.00
                                emails with team re same

 10/20/2021   MBL     CO        Review Pru response to claim objection.                0.20      1125.00          $225.00

 10/20/2021   MBL     CO        Coordinate withdrawal of Equitable claim objection.    0.10      1125.00          $112.50

 10/20/2021   EAW     CO        Review and prepare initial document production to      4.70        925.00        $4,347.50
                                Prudential.

 10/20/2021   EAW     CO        Draft document requests to Prudential.                 0.50        925.00         $462.50

 10/20/2021   EAW     CO        Review pleadings and research memo re: Prudential      1.20        925.00        $1,110.00
                                litigation.

 10/20/2021   EAW     CO        Produce initial document production to Prudential.     0.20        925.00         $185.00

 10/20/2021   JHR     CO        Review Equitable settlement order and related          0.20        845.00         $169.00
                                correspondence with escrow agent

 10/21/2021   RMP     CO        Various telephone conferences re Pru issues.           0.70      1595.00         $1,116.50

 10/21/2021   MBL     CO        Follow-up with Pru counsel re settlement issues.       0.10      1125.00          $112.50

 10/21/2021   EAW     CO        Review pleadings, loan agreements and related          2.70        925.00        $2,497.50
                                materials, and discovery requests (Prudential
                                litigation).

 10/21/2021   EAW     CO        Draft document requests to Prudential.                 0.30        925.00         $277.50

 10/22/2021   RMP     CO        Review Pru discovery and telephone conference          0.40      1595.00          $638.00
                                with M Litvak re next steps.

 10/22/2021   MBL     CO        Review and comment on document requests to             1.30      1125.00         $1,462.50
                                Prudential; review briefing on claim objection.

 10/22/2021   MBL     CO        Calls with team and co-counsel re doc requests to      0.50      1125.00          $562.50
                                Pru; coordinate service.

 10/22/2021   EAW     CO        Draft document requests to Prudential.                 3.90        925.00        $3,607.50




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 10/22/2021   EAW     CO        Document review re: responses to Prudential's          0.70        925.00         $647.50
                                discovery requests.

 10/22/2021   EAW     CO        Draft responses and objections to Prudential's         0.50        925.00         $462.50
                                discovery requests.

 10/22/2021   EAW     CO        Telephone calls with M. Litvak re: discovery           0.20        925.00         $185.00
                                requests (Prudential litigation).

 10/22/2021   EAW     CO        Revise, circulate and serve document requests          0.60        925.00         $555.00
                                (Prudential litigation).

 10/22/2021   PJL     CO        Review aggregation of Segale information.              0.60      1095.00          $657.00

 10/25/2021   MBL     CO        Emails with Equitable counsel and team re              0.10      1125.00          $112.50
                                settlement funding logistics.

 10/25/2021   EAW     CO        Draft responses and objections to Prudential's         6.90        925.00        $6,382.50
                                discovery requests.

 10/25/2021   JHR     CO        Correspondence with Paladin re: intercompany           0.20        845.00         $169.00
                                claims

 10/25/2021   JHR     CO        Analyze Equitable settlement amounts and related       0.50        845.00         $422.50
                                correspondence with escrow agent

 10/26/2021   EAW     CO        Draft responses and objections to Prudential's         4.90        925.00        $4,532.50
                                discovery requests.

 10/26/2021   EAW     CO        Document review re: responses to Prudential's          0.90        925.00         $832.50
                                discovery requests.

 10/27/2021   RMP     CO        Review memo re Pru and exhibits thereto.               0.90      1595.00         $1,435.50

 10/27/2021   MBL     CO        Emails with E. Wagner re responses to Pru              0.20      1125.00          $225.00
                                discovery.

 10/27/2021   EAW     CO        Document review re: responses to Prudential's          3.20        925.00        $2,960.00
                                discovery requests.

 10/27/2021   EAW     CO        Draft responses and objections to Prudential's         3.80        925.00        $3,515.00
                                discovery requests.

 10/28/2021   PJJ     CO        Prepare additional Prudential production.              0.50        460.00         $230.00

 10/28/2021   MBL     CO        Review Farms allocation memo re Prudential debt.       0.30      1125.00          $337.50

 10/28/2021   MBL     CO        Review and comment on responses to Pru discovery       0.80      1125.00          $900.00
                                requests.

 10/28/2021   EAW     CO        Revise responses and objections to Prudential's        2.40        925.00        $2,220.00
                                discovery requests; and emails to/from M. Litvak
                                and P. Richter re: same.




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 10/28/2021   EAW     CO        Document review re: responses to Prudential's             2.70         925.00         $2,497.50
                                discovery requests.

 10/28/2021   EAW     CO        Coordinate with P. Jeffries re: document production       0.60         925.00          $555.00
                                to Prudential.

 10/29/2021   EAW     CO        Revise responses and objections to Prudential's           0.70         925.00          $647.50
                                discovery requests.

 10/29/2021   EAW     CO        Review document production to Prudential; and             1.90         925.00         $1,757.50
                                emails to/from P. Jeffries re: same.

 10/29/2021   EAW     CO        Telephone call with P. Richter re: Prudential             0.20         925.00          $185.00
                                litigation.

                                                                                          66.30                      $67,178.50

  Compensation Prof. [B160]
 09/29/2021   RMP     CP        Review and edit e-mails and telephone conference          0.30       1595.00           $478.50
                                with J Dulberg re compensation procedures motion.

 09/30/2021   RMP     CP        Review and respond to various e-mails re                  0.40       1595.00           $638.00
                                compensation procedures motion.

 10/01/2021   JWD     CP        Emails with J Rosell re fee procedures pleading           0.30       1025.00           $307.50

 10/05/2021   JHR     CP        Research re: release of professional fees                 1.10         845.00          $929.50

 10/06/2021   PJJ     CP        Review/revise August invoices.                            3.70         460.00         $1,702.00

 10/06/2021   RMP     CP        Review e-mails and conferences with J Rosell re           0.60       1595.00           $957.00
                                professional fee dispute issues.

 10/06/2021   JHR     CP        Call with J. Welch re: professional fee issues            0.20         845.00          $169.00

 10/06/2021   JHR     CP        Correspondence with Easterdays re: release of             0.20         845.00          $169.00
                                professional fee funds

 10/06/2021   JHR     CP        Call with P. Labov re: professional fee issue             0.40         845.00          $338.00

 10/07/2021   PJJ     CP        Further revise August invoices.                           0.50         460.00          $230.00

 10/07/2021   PJJ     CP        Draft August fee statement.                               0.60         460.00          $276.00

 10/07/2021   PJJ     CP        Draft 2nd interim fee application.                        2.00         460.00          $920.00

 10/07/2021   JWD     CP        Call with J Rosell re fee issues and settlement (.2);     0.30       1025.00           $307.50
                                meeting with R Pachulski re same (.1)

 10/07/2021   JHR     CP        Draft reply in support of release of professional fees    2.40         845.00         $2,028.00

 10/07/2021   JHR     CP        Correspondence with Easterdays re: settlement of          0.30         845.00          $253.50




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                                professional fee issues
 10/07/2021   JHR     CP        Call with T. Conway re: settlement of professional      0.80        845.00         $676.00
                                fee issues

 10/07/2021   JHR     CP        Call with P. Richter re: professional fee issues        0.30        845.00         $253.50

 10/08/2021   PJJ     CP        Work on August fee statement.                           1.00        460.00         $460.00

 10/08/2021   PJJ     CP        Prepare DWT August fee statement for filing.            0.20        460.00          $92.00

 10/08/2021   PJJ     CP        Prepare August fee statement for filing.                0.30        460.00         $138.00

 10/08/2021   PJJ     CP        Update professional fee summary.                        0.30        460.00         $138.00

 10/11/2021   PJJ     CP        Work on 2nd interim fee application.                    8.60        460.00        $3,956.00

 10/12/2021   PJJ     CP        Work on 2nd interim fee application.                    4.00        460.00        $1,840.00

 10/12/2021   PJJ     CP        Prepare 2nd interim fee order.                          0.30        460.00         $138.00

 10/13/2021   PJJ     CP        Prepare DWT fee application for filing.                 0.40        460.00         $184.00

 10/13/2021   PJJ     CP        Revise 2nd interim fee application.                     3.00        460.00        $1,380.00

 10/13/2021   JWD     CP        Emails with J Rosell re interim comp stip               0.10      1025.00          $102.50

 10/13/2021   JWD     CP        Review and revise interim fee app                       0.80      1025.00          $820.00

 10/13/2021   JWD     CP        Review and revise interim comp stip                     0.30      1025.00          $307.50

 10/13/2021   JHR     CP        Draft order approving supplemental interim              1.30        845.00        $1,098.50
                                compensation procedures and related
                                correspondence

 10/13/2021   JHR     CP        Correspondence with Easterdays re: supplemental         0.20        845.00         $169.00
                                interim compensation order

 10/13/2021   PJL     CP        Review and comment on Order approving transfer of       0.40      1095.00          $438.00
                                fees from escrow and correspondence drafted to and
                                reviewed from J. Rosell.

 10/14/2021   PJJ     CP        Reconcile professional fee tracking/allocations.        5.00        460.00        $2,300.00

 10/14/2021   PJJ     CP        Review/revise 2nd fee applications.                     0.50        460.00         $230.00

 10/14/2021   PJJ     CP        Prepare PSZJ fee application for filing.                0.30        460.00         $138.00

 10/14/2021   PJJ     CP        Prepare notice of filing of fee application.            0.50        460.00         $230.00

 10/14/2021   PJJ     CP        Emails (2) regarding LEDES files.                       0.20        460.00          $92.00

 10/14/2021   JHR     CP        Draft notice of resolution of professional fee fund     1.10        845.00         $929.50
                                issue




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 10/14/2021   JHR     CP        Revise supplemental interim compensation order            0.40        845.00         $338.00
                                and related correspondence with Easterdays

 10/14/2021   JHR     CP        Revise PSZJ second interim fee application                0.90        845.00         $760.50

 10/15/2021   JHR     CP        Call with Farms Committee re: professional fee            0.20        845.00         $169.00
                                escrow

 10/15/2021   JHR     CP        Correspondence with Committees re: professional           0.20        845.00         $169.00
                                fee escrow

 10/15/2021   JHR     CP        Revise professional fee order and notice                  0.50        845.00         $422.50

 10/19/2021   JWD     CP        Review entered order re fee procedures stip and           0.20      1025.00          $205.00
                                emails re same

 10/19/2021   JHR     CP        Review escrow agreement and related                       0.40        845.00         $338.00
                                correspondence with Chicago Title re: release of
                                professional fee fund

 10/20/2021   JWD     CP        Call with P Richter re professional fee escrow            0.10      1025.00          $102.50

 10/21/2021   PJJ     CP        Prepare breakdown of professional fees owed to            6.00        460.00        $2,760.00
                                date.

 10/21/2021   JWD     CP        Review and revise professional fee schedule and           0.30      1025.00          $307.50
                                emails re same

 10/22/2021   JWD     CP        Draft email to P Jeffries re professional fee reserve     0.10      1025.00          $102.50

 10/22/2021   JWD     CP        Email to M Lang re fee reserve                            0.10      1025.00          $102.50

 10/26/2021   PJJ     CP        Telephone conference with M. Lang of Paladin              0.60        460.00         $276.00
                                regarding professional fee reconciliations (.4); email
                                Jeffrey W. Dulberg regarding same (.2).

 10/26/2021   JWD     CP        Emails with P Jeffries re professional fee payments       0.20      1025.00          $205.00

 10/26/2021   JWD     CP        Emails with B Wallen re CPA fee app                       0.10      1025.00          $102.50

 10/26/2021   BLW     CP        Correspond re: NWCPA Interim compensation                 1.20        750.00         $900.00
                                application and gather materials in aid of same.

 10/27/2021   PJJ     CP        Continued work on professional fee reconciliations.       3.70        460.00        $1,702.00

 10/27/2021   JWD     CP        Oversee prof fee payments and numerous emails re          0.40      1025.00          $410.00
                                same

 10/27/2021   BLW     CP        Finalize informational email to NWCPA re: Interim         0.40        750.00         $300.00
                                fee application.

 10/27/2021   BLW     CP        Call with Co-Counsel re: NWCPA Fee Application.           0.10        750.00          $75.00




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 10/28/2021   PJJ     CP        Set up wire transfers for professionals.                   1.30         460.00          $598.00

 10/29/2021   PJJ     CP        Reconcile PSZJ fee payments.                               2.80         460.00         $1,288.00

 10/29/2021   JWD     CP        Review professional fees status and emails with P          0.20       1025.00           $205.00
                                Jeffries regarding same

                                                                                           63.60                      $37,652.50

  Employee Benefit/Pension-B220
 10/24/2021   JWD     EB        Call with T Buford re 401k wind down                       0.10       1025.00           $102.50

                                                                                            0.10                        $102.50

  Financial Filings [B110]
 10/15/2021   JWD     FF        Review MORs for filing                                     0.20       1025.00           $205.00

                                                                                            0.20                        $205.00

  Financing [B230]
 10/12/2021   RMP     FN        Review cash collateral issues and e-mails re same.         0.40       1595.00           $638.00

 10/12/2021   MBL     FN        Call with P. Richter re cash collateral and related        0.30       1125.00           $337.50
                                issues.

 10/12/2021   MBL     FN        Review cash collateral orders and budget issues;           0.30       1125.00           $337.50
                                coordinate with team and WT counsel re same.

 10/13/2021   MBL     FN        Emails with WT counsel and call with P. Richter re         0.20       1125.00           $225.00
                                cash collateral issues.

 10/13/2021   MBL     FN        Review draft budget amounts; coordinate with client        0.20       1125.00           $225.00
                                re same.

 10/15/2021   RMP     FN        Review cash collateral issues and telephone                0.60       1595.00           $957.00
                                conferences with Richter re same.

 10/15/2021   MBL     FN        Follow-up with client re cash collateral issues.           0.10       1125.00           $112.50

 10/18/2021   MBL     FN        Attention to cash collateral issues; emails with client    0.30       1125.00           $337.50
                                re same.

 10/19/2021   MBL     FN        Review revised budget; emails with client and WT           0.20       1125.00           $225.00
                                counsel re same.

 10/21/2021   MBL     FN        Call with T. Pincock re cash collateral issues;            0.30       1125.00           $337.50
                                follow-up with client and team re same.

 10/26/2021   MBL     FN        Call with P. Richter re WT cash collateral issues.         0.10       1125.00           $112.50




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 10/27/2021   MBL     FN        Emails with WT counsel re budget issues.                 0.10       1125.00          $112.50

                                                                                          3.10                      $3,957.50

  Hearing
 10/19/2021   JWD     HE        Work on prep for team for tomorrow's hearing             0.30       1025.00          $307.50

 10/19/2021   MBL     HE        Prep for status conference on Pru issues; emails with    0.30       1125.00          $337.50
                                Pru counsel re same.

 10/20/2021   PJJ     HE        Attend status conference (No Charge)                     0.50           0.00           $0.00

 10/20/2021   RMP     HE        Prepare for and participate on status conference and     0.60       1595.00          $957.00
                                conference with J Dulberg re same.

 10/20/2021   JWD     HE        Attend status conference                                 0.50       1025.00          $512.50

 10/20/2021   MBL     HE        Attend status conference on Pru claim objection and      0.50       1125.00          $562.50
                                other pending matters.

 10/20/2021   MBL     HE        Prep for hearing on Pru issues.                          0.20       1125.00          $225.00

 10/20/2021   EAW     HE        Telephonic attendance at hearing relating to             0.40         925.00         $370.00
                                Prudential litigation.

 10/20/2021   JHR     HE        Attend 10/20 status conference hearing (No Charge)       0.50           0.00           $0.00

 10/20/2021   PJL     HE        Attend hearing on various open matters.                  0.40       1095.00          $438.00

                                                                                          4.20                      $3,710.00

  Litigation (Non-Bankruptcy)
 10/01/2021   RMP     LN        Conference call re CFTC issues.                          0.40       1595.00          $638.00

 10/28/2021   PJJ     LN        Draft 2nd motion to extend removal deadline.             0.40         460.00         $184.00

 10/28/2021   JWD     LN        Review and revise motion to extend removal               0.30       1025.00          $307.50
                                deadline and emails re same

 10/29/2021   PJJ     LN        Revise removal extension motion.                         0.20         460.00          $92.00

 10/29/2021   JWD     LN        Attend to issues re motion to extend removal             0.20       1025.00          $205.00
                                deadline

 10/29/2021   JHR     LN        Revise motion to extend removal deadline and             0.50         845.00         $422.50
                                related corrrespondence

 10/29/2021   JHR     LN        Review motion to extend removal deadline                 0.20         845.00         $169.00

                                                                                          2.20                      $2,018.00




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  Operations [B210]
 10/01/2021   JHR     OP        Correspondence with L. Miller re: property             0.30         845.00         $253.50
                                insurance issues

 10/13/2021   JHR     OP        Research re: equipment lender issues                   0.30         845.00         $253.50

                                                                                        0.60                       $507.00

  Plan & Disclosure Stmt. [B320]
 09/27/2021   RMP     PD        Telephone conference with C Barbarosh re               0.40       1595.00          $638.00
                                Easterday call and telephone conference with J
                                Dulberg re same.

 09/27/2021   RMP     PD        Various calls with team and Paladin re plan and        1.80       1595.00         $2,871.00
                                waterfall issues.

 09/28/2021   RMP     PD        Prepare for and participate on Washington Trust        1.30       1595.00         $2,073.50
                                call re plan.

 09/28/2021   RMP     PD        Review updated waterfall analysis and modify           1.60       1595.00         $2,552.00
                                assumptions.

 09/29/2021   RMP     PD        Review e-mails and telephone conference with C         0.60       1595.00          $957.00
                                Barbarosh re planned Easterday conference.

 09/30/2021   RMP     PD        Prepare for and participate on conference call with    1.00       1595.00         $1,595.00
                                Ranches Committee re plan issues.

 09/30/2021   RMP     PD        Conference call re board's call with Easterday and     0.70       1595.00         $1,116.50
                                Lindy and follow-up with J Dulberg and C
                                Barbarosh re sale.

 09/30/2021   RMP     PD        Telephone conferences with Paladin and J Dulberg       0.70       1595.00         $1,116.50
                                re plan and waterfall issues.

 10/01/2021   RMP     PD        Conference calls re plan issues and review and         1.20       1595.00         $1,914.00
                                analyze plan options.

 10/01/2021   JWD     PD        Emails re changes for exclusivity order per Tyson      0.20       1025.00          $205.00

 10/01/2021   JWD     PD        Attend call with Tyson regarding plan                  0.80       1025.00          $820.00

 10/01/2021   MBL     PD        Call with Tyson and team re plan term sheet.           0.80       1125.00          $900.00

 10/01/2021   JHR     PD        Conference call with Tyson re: plan term sheet         0.80         845.00         $676.00

 10/04/2021   RMP     PD        Conference with J Dulberg re Washington Trust          0.30       1595.00          $478.50
                                issues and review e-mails re same.

 10/04/2021   RMP     PD        Review Waterfall and Plan issues and telephone         1.30       1595.00         $2,073.50
                                conferences with M Litvak and J Dulberg re same.




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 10/04/2021   JWD     PD        Call with WTB counsel (.2); email to team re same          0.40      1025.00          $410.00
                                (.2)

 10/04/2021   MBL     PD        Call with Farms committee counsel and team re plan         0.80      1125.00          $900.00
                                term sheet.

 10/04/2021   MBL     PD        Emails with team re plan term sheet issues.                0.10      1125.00          $112.50

 10/04/2021   JHR     PD        Conference call with Farms Committee re: plan              0.70        845.00         $591.50
                                issues

 10/05/2021   RMP     PD        Prepare for and participate on tax call.                   1.00      1595.00         $1,595.00

 10/05/2021   RMP     PD        Review tax analysis documents.                             0.40      1595.00          $638.00

 10/05/2021   RMP     PD        Telephone conference with Richter re case issues.          0.40      1595.00          $638.00

 10/05/2021   RMP     PD        Review Cooperation Agreement issues and                    0.60      1595.00          $957.00
                                telephone conferences with J Dulberg and J Rosell
                                re same.

 10/06/2021   PJJ     PD        Prepare Notice of Continued Hearing on Disclosure          0.30        460.00         $138.00
                                Statement.

 10/06/2021   JWD     PD        Review J Indyke email re plan update and emails            0.40      1025.00          $410.00
                                with team and others re next meeting

 10/06/2021   JWD     PD        Work on plan term sheet                                    0.70      1025.00          $717.50

 10/06/2021   MBL     PD        Address plan inquiry from Farms counsel.                   0.10      1125.00          $112.50

 10/06/2021   PJL     PD        Review cooperation agreement and escrow                    1.60      1095.00         $1,752.00
                                agreement, discussion with J. Rosell regarding same.

 10/07/2021   RMP     PD        Review Basin City issues and information re same           0.60      1595.00          $957.00
                                and telephone conference with J Rosell re same.

 10/07/2021   RMP     PD        Conference calls re plan issues and review Tyson           1.30      1595.00         $2,073.50
                                e-mail re plan issues.

 10/07/2021   JWD     PD        Work on issues for meeting with Committee                  0.20      1025.00          $205.00

 10/07/2021   JWD     PD        Call with P Richter re disclosure statement hearing        0.10      1025.00          $102.50

 10/07/2021   JWD     PD        Emails to client re discl stmt hearing                     0.10      1025.00          $102.50

 10/07/2021   JWD     PD        Review notice of DS continuance and emails with            0.30      1025.00          $307.50
                                team re same

 10/07/2021   JWD     PD        Review Tyson correspondence and attend to issues           0.60      1025.00          $615.00
                                re response

 10/07/2021   MBL     PD        Coordinate with team and co-counsel re DS hearing;         0.20      1125.00          $225.00




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                                                                                       Hours           Rate        Amount
                                email Farms committee counsel re same.
 10/07/2021   MBL     PD        Emails with Tyson counsel re plan issues.               0.10      1125.00          $112.50

 10/07/2021   JHR     PD        Revise notice of continuance of disclosure statement    0.10        845.00          $84.50
                                hearing

 10/07/2021   KBD     PD        Correspondence relating to adversary actions and        0.30      1195.00          $358.50
                                plan matters

 10/07/2021   KBD     PD        Outline revisions to Disclosure statement               0.30      1195.00          $358.50

 10/07/2021   KBD     PD        Review Prudential pleading regarding claims             0.30      1195.00          $358.50

 10/08/2021   RMP     PD        Review waterfall and plan issues and conference         1.20      1595.00         $1,914.00
                                with J Dulberg re same.

 10/11/2021   RMP     PD        Review Easterday financial request outline and          1.40      1595.00         $2,233.00
                                various telephone conferences and e-mails re same.

 10/11/2021   JWD     PD        Call with Ranches Committee professionals (.8);         1.00      1025.00         $1,025.00
                                follow up emails re same with team (.2)

 10/11/2021   JWD     PD        Work on discovery issues regarding plan                 0.80      1025.00          $820.00

 10/11/2021   MBL     PD        Attend call with Ranches committee re plan issues.      0.90      1125.00         $1,012.50

 10/11/2021   MBL     PD        Review follow-up emails with team and creditors re      0.10      1125.00          $112.50
                                plan info.

 10/11/2021   JHR     PD        Conference call with Easterday Ranches re: plan         1.00        845.00         $845.00
                                issues

 10/12/2021   RMP     PD        Review tax analysis and telephone conferences re        1.30      1595.00         $2,073.50
                                same for plan.

 10/12/2021   RMP     PD        Review revised waterfall re extended time to            0.80      1595.00         $1,276.00
                                confirm and review e-mails re same.

 10/12/2021   JWD     PD        Work on issues re discovery requests from various       1.30      1025.00         $1,332.50
                                parties re plan and Easterdays

 10/12/2021   JWD     PD        Review Tyson requests and work on same                  0.60      1025.00          $615.00

 10/13/2021   RMP     PD        Review sub con issues, telephone conference with I      1.40      1595.00         $2,233.00
                                Pachulski re same ad review memo and e-mails re
                                same.

 10/13/2021   RMP     PD        Review e-mails re requests for Easterday documents      0.60      1595.00          $957.00
                                and telephone conferences re same.

 10/13/2021   JWD     PD        Review updated waterfall and emails re same             0.50      1025.00          $512.50

 10/13/2021   JWD     PD        Call with J Gurule re plan terms                        0.40      1025.00          $410.00




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 10/13/2021   JWD     PD        Work on plan negotiations with various parties         0.70      1025.00          $717.50

 10/13/2021   JWD     PD        Review proposed Farms Committee discovery re           0.30      1025.00          $307.50
                                plan and emails re same with counsel and colleagues

 10/13/2021   JWD     PD        Call with P Richter re plan                            0.10      1025.00          $102.50

 10/13/2021   JWD     PD        Work on discovery re plan issues                       1.50      1025.00         $1,537.50

 10/13/2021   MBL     PD        Emails with client and team re plan issues; review     0.30      1125.00          $337.50
                                revised waterfall estimates.

 10/13/2021   MBL     PD        Review emails re doc requests to Easterdays.           0.30      1125.00          $337.50

 10/13/2021   KBD     PD        Review proposed form of order relating to escrow       0.10      1195.00          $119.50

 10/14/2021   PJJ     PD        Revise exclusivity order.                              0.30        460.00         $138.00

 10/14/2021   RMP     PD        Review revised Easterday waterfall and telephone       1.30      1595.00         $2,073.50
                                conferences with Paladin and J Dulberg re same.

 10/14/2021   JWD     PD        Review modified exclusivity order and call with P      0.30      1025.00          $307.50
                                Jeffries regarding same (.2); follow up emails
                                regarding same (.1)

 10/14/2021   JWD     PD        Work on changes to order and dec of non opp re         0.30      1025.00          $307.50
                                exclusivity

 10/14/2021   JWD     PD        Review entered exclusivity order                       0.10      1025.00          $102.50

 10/14/2021   JWD     PD        Work on plan / Easterday discovery issues              2.00      1025.00         $2,050.00

 10/14/2021   MBL     PD        Emails with team re Easterday info requests and        0.20      1125.00          $225.00
                                misc. issues.

 10/14/2021   KBD     PD        Draft memorandum regarding substantive                 1.60      1195.00         $1,912.00
                                consolidation issues

 10/15/2021   RMP     PD        Review list of requested information and review and    0.80      1595.00         $1,276.00
                                respond to e-mails re same.

 10/15/2021   MBL     PD        Review info requests to Easterdays; emails with        0.20      1125.00          $225.00
                                team re same.

 10/15/2021   PJL     PD        Review discovery requests issue.                       0.40      1095.00          $438.00

 10/15/2021   KBD     PD        Review correspondence relating to request for          0.10      1195.00          $119.50
                                information

 10/16/2021   KBD     PD        Draft memorandum regarding substantive                 1.30      1195.00         $1,553.50
                                consolidation issues

 10/18/2021   JWD     PD        Review Farms Committee plan term sheet and             1.20      1025.00         $1,230.00
                                emails regarding same




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 10/18/2021   JWD     PD        Call with P Richter re update                         0.20      1025.00          $205.00

 10/18/2021   JWD     PD        Attend to Farm Committee plan call issues and         0.20      1025.00          $205.00
                                scheduling

 10/19/2021   RMP     PD        Prepare for and participate on Board call and         0.90      1595.00         $1,435.50
                                telephone conference with CB and J Dulberg re
                                same.

 10/19/2021   RMP     PD        Review tax analysis and conference call re same.      1.10      1595.00         $1,754.50

 10/19/2021   JWD     PD        Work on plan negotiations with various parties        0.40      1025.00          $410.00

 10/19/2021   MBL     PD        Review tax memo; call with J. Dulberg re same.        0.30      1125.00          $337.50

 10/20/2021   JWD     PD        Further review of draft Committee plan term sheet     0.30      1025.00          $307.50
                                and proposal

 10/20/2021   JWD     PD        Meeting with R Pachulski re plan term sheet           0.20      1025.00          $205.00

 10/20/2021   JWD     PD        Attend call with Farms Committee re plan term         0.90      1025.00          $922.50
                                sheet

 10/20/2021   JWD     PD        Emails with K Dine re sub con issues and review       0.30      1025.00          $307.50
                                notes re same

 10/20/2021   MBL     PD        Review Farms plan term sheet and supporting info.     0.20      1125.00          $225.00

 10/20/2021   MBL     PD        Call with Farms committee re plan issues.             0.90      1125.00         $1,012.50

 10/20/2021   KBD     PD        Review proposal relating to plan                      0.20      1195.00          $239.00

 10/21/2021   RMP     PD        Telephone conference with Richter re Easterday        0.90      1595.00         $1,435.50
                                issues and follow-up with J Dulberg re same.

 10/21/2021   RMP     PD        Review and respond to e-mails re Washington Trust     0.80      1595.00         $1,276.00
                                and telephone conferences with J Dulberg and M
                                Litvak re same.

 10/21/2021   JWD     PD        Call with Ranches Committee re plan follow up         0.50      1025.00          $512.50

 10/21/2021   MBL     PD        Call with Ranches professionals and team re plan      0.60      1125.00          $675.00
                                term sheet.

 10/22/2021   RMP     PD        Review and analyze new waterfall re revised           0.70      1595.00         $1,116.50
                                assumptions and telephone conference with Paladin
                                re same.

 10/22/2021   RMP     PD        Telephone conferences with team re tax issues.        0.70      1595.00         $1,116.50

 10/22/2021   JWD     PD        Review and respond to B Cosman email re waterfall     0.40      1025.00          $410.00

 10/22/2021   JWD     PD        Review updated waterfall per Tyson request and        0.20      1025.00          $205.00




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                                emails re same
 10/22/2021   MBL     PD        Call with client and team re plan and financing          0.90      1125.00         $1,012.50
                                issues.

 10/22/2021   MBL     PD        Review emails with Easterdays re document                0.20      1125.00          $225.00
                                production issues.

 10/25/2021   JWD     PD        Review L Miller email re Farms Committee plan            0.30      1025.00          $307.50
                                issues, respond to same, review R Pachulski email re
                                same

 10/25/2021   MBL     PD        Emails with client re plan issues.                       0.10      1125.00          $112.50

 10/25/2021   MBL     PD        Emails with WTB counsel and client re plan status        0.20      1125.00          $225.00
                                and budget issues.

 10/25/2021   JHR     PD        Correspondence with Paladin re: plan issues              0.30        845.00         $253.50

 10/26/2021   RMP     PD        Follow-up calls and e-mails re tax issues.               0.80      1595.00         $1,276.00

 10/28/2021   AJK     PD        Attention to plan litigation issues.                     1.70      1395.00         $2,371.50

 10/28/2021   RMP     PD        Review and analyze sub con issues.                       1.60      1595.00         $2,552.00

 10/28/2021   RMP     PD        Review revised waterfall analysis and evaluate           0.70      1595.00         $1,116.50
                                same.

 10/28/2021   JWD     PD        Call with L Miller re Tyson and waterfall request        0.10      1025.00          $102.50

 10/28/2021   JWD     PD        Attend to issues re illustrative waterfall and emails    0.40      1025.00          $410.00
                                with Tyson counsel and L Miller re same

 10/28/2021   JWD     PD        Work on issues for Tyson call                            0.30      1025.00          $307.50

 10/28/2021   JWD     PD        Call with Easterday counsel and J Rosell re plan         0.30      1025.00          $307.50
                                issues

 10/28/2021   JWD     PD        Meeting with R Pachulski re Easterday discovery          0.20      1025.00          $205.00
                                and emails re same

 10/28/2021   MBL     PD        Emails with team and Ranches counsel re plan             0.30      1125.00          $337.50
                                issues and Easterday status.

 10/28/2021   JHR     PD        Correspondence with parties re: plan term sheet          0.40        845.00         $338.00
                                issues

 10/29/2021   AJK     PD        Analysis of issues re plan releases.                     1.30      1395.00         $1,813.50

 10/29/2021   AJK     PD        Call with PSZJ team re plan litigation issues.           1.00      1395.00         $1,395.00

 10/29/2021   RMP     PD        Prepare for and participate on PSZJ plan conference      1.90      1595.00         $3,030.50
                                call and analyze toggle plan options and telephone
                                conference with M Litvak re same.




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 10/29/2021   RMP     PD        Prepare for and participate on follow-up plan             0.90      1595.00         $1,435.50
                                conference calls.

 10/29/2021   JWD     PD        Review various emails regarding Easterday                 0.30      1025.00          $307.50
                                discovery status

 10/29/2021   JWD     PD        Call with PSZJ and Paladin regarding plan issues          0.70      1025.00          $717.50

 10/29/2021   JWD     PD        Call with PSZJ plan team                                  1.00      1025.00         $1,025.00

 10/29/2021   JWD     PD        Call with B Cosman re next plan call                      0.10      1025.00          $102.50

 10/29/2021   JWD     PD        Attend to issues re Tyson/Ranches meeting                 0.20      1025.00          $205.00

 10/29/2021   MBL     PD        Call with team re plan strategy (0.9); follow-up          1.10      1125.00         $1,237.50
                                emails with client and team re same (0.2).

 10/29/2021   MBL     PD        Revise plan term sheet.                                   1.80      1125.00         $2,025.00

 10/29/2021   MBL     PD        Confer with J. Rosell re plan issues.                     0.20      1125.00          $225.00

 10/29/2021   MBL     PD        Call with client re plan issues.                          0.70      1125.00          $787.50

 10/29/2021   JHR     PD        Conference with M. Litvak re: plan issues                 0.20        845.00         $169.00

 10/30/2021   JWD     PD        Work on plan and ds schedule updates and emails re        0.30      1025.00          $307.50
                                same

 10/30/2021   JHR     PD        Analyze memorandum re: Prudential allocation              0.50        845.00         $422.50

 10/30/2021   KBD     PD        Revisions to Disclosure Statement                         1.20      1195.00         $1,434.00

 10/31/2021   MBL     PD        Attention to Rabo valuation; emails with team re          0.20      1125.00          $225.00
                                Easterday plan issues.

 10/31/2021   KBD     PD        Research and draft memorandum regarding                   2.00      1195.00         $2,390.00
                                substantive consolidation

                                                                                         87.50                  $112,636.50

  Stay Litigation [B140]
 10/07/2021   JWD     SL        Review entered order re Mack and email re same            0.20      1025.00          $205.00
                                with client

                                                                                          0.20                       $205.00

  Tax Issues [B240]
 09/29/2021   RMP     TI        Telephone conference with J Dulberg re tax issues.        0.20      1595.00          $319.00

 10/04/2021   RMP     TI        Prepare for and participate on tax prep conference        1.10      1595.00         $1,754.50
                                call.




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 10/04/2021   JWD     TI        Emails with team and calls with P Richter re same        0.80      1025.00          $820.00
                                (.3); review tax summary (.4); emails re same for tax
                                meeting (.1)

 10/04/2021   JWD     TI        Prep for discussion re tax update for plan               0.20      1025.00          $205.00

 10/04/2021   JWD     TI        Attend call re prep for tomorrow tax call with B         1.10      1025.00         $1,127.50
                                Todd, P Richter, M Litvak

 10/04/2021   JWD     TI        Follow up call with P Richter re tax issues              0.20      1025.00          $205.00

 10/04/2021   JWD     TI        Work on notes for tax meeting                            0.80      1025.00          $820.00

 10/04/2021   MBL     TI        Review Easterday tax analysis.                           0.20      1125.00          $225.00

 10/04/2021   MBL     TI        Attend call with tax professionals and Paladin re        1.10      1125.00         $1,237.50
                                prep for tax call with creditors.

 10/05/2021   JWD     TI        Attend to issues re tax call prep (.5); call with P      0.70      1025.00          $717.50
                                Richter re same (.2)

 10/05/2021   JWD     TI        Attend tax call                                          1.00      1025.00         $1,025.00

 10/05/2021   JWD     TI        Calls with P Richter and meeting with R Pachulski        0.40      1025.00          $410.00
                                re plan and tax issues

 10/05/2021   JWD     TI        Address inquiries from Segale and committee              0.40      1025.00          $410.00
                                counsel re plan and tax follow up

 10/05/2021   JWD     TI        Review equipment schedule re tax issues (.3); emails     0.60      1025.00          $615.00
                                re same (.1); call with P Richter re same (.2)

 10/05/2021   MBL     TI        Attend tax call with opposing professionals.             1.00      1125.00         $1,125.00

 10/05/2021   MBL     TI        Review tax materials and prep for tax call.              0.20      1125.00          $225.00

 10/05/2021   JHR     TI        Attend all hands tax call                                1.10        845.00         $929.50

 10/05/2021   JHR     TI        Correspondence with CPA re: equipment sale tax           0.10        845.00          $84.50
                                issues

 10/05/2021   JHR     TI        Correspondence with CPA re: North Lot equipment          0.20        845.00         $169.00
                                sale tax issues

 10/05/2021   JHR     TI        Analyze tax materials                                    0.30        845.00         $253.50

 10/12/2021   JWD     TI        Follow up work re tax issues incl meeting                0.70      1025.00          $717.50
                                coordination (.5); call with P Richter re same (.2)

 10/13/2021   RMP     TI        Follow-up conference calls re tax issues.                0.80      1595.00         $1,276.00

 10/18/2021   JWD     TI        Call with tax professionals and P Richter                0.60      1025.00          $615.00

 10/18/2021   JWD     TI        Research re discharge and tax issues                     2.50      1025.00         $2,562.50




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 10/19/2021   JWD     TI        Review issues re tax memo and emails with team re        0.60       1025.00           $615.00
                                same (.4); call with M Litvak re same (.2)

 10/19/2021   JWD     TI        Email to Farms Committee re tax inquiry                  0.20       1025.00           $205.00

 10/21/2021   JHR     TI        Research section 108 issues                              0.30         845.00          $253.50

 10/22/2021   JWD     TI        Emails re tax analysis with B Walter                     0.20       1025.00           $205.00

 10/25/2021   JWD     TI        Emails re tax update                                     0.10       1025.00           $102.50

 10/26/2021   JWD     TI        Attend to issues re tax follow up                        0.30       1025.00           $307.50

 10/26/2021   JWD     TI        Further work with B Walter re tax issues                 0.70       1025.00           $717.50

 10/26/2021   JWD     TI        Work on correspondence with key parties re tax           0.30       1025.00           $307.50
                                issues

 10/26/2021   JHR     TI        Correspondence with CPA re: tax issues relating to       0.20         845.00          $169.00
                                real estate sale

 10/27/2021   JHR     TI        Correspondence with Committees re: tax issues            0.20         845.00          $169.00

 10/29/2021   JWD     TI        Attend to issues re tax analysis and work with P         0.50       1025.00           $512.50
                                Richter re same (.2); prep corr to various parties re
                                same (.3)

                                                                                         19.90                      $21,412.50

  TOTAL SERVICES FOR THIS MATTER:                                                                               $360,215.50




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 Expenses
 09/08/2021   CC         Conference Call [E105] AT&T Conference Call, RMP                    11.49
 09/15/2021   CC         Conference Call [E105]AT&T Conference Call, JWD                     15.02
 09/21/2021   CC         Conference Call [E105] AT&T Conference Call, JWD                       2.55
 09/21/2021   CC         Conference Call [E105]AT&T Conference Call,MBL                         2.37
 09/26/2021   CC         Conference Call [E105]AT&T Conference Call, PJL                        1.99
 09/26/2021   CC         Conference Call [E105]AT&T Conference Call, PJL                        4.06
 09/28/2021   CC         Conference Call [E105]AT&T Conference Call, PJL                        5.11
 10/11/2021   RE2        SCAN/COPY ( 18 @0.10 PER PG)                                           1.80
 10/11/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                           1.40
 10/11/2021   RE2        SCAN/COPY ( 13 @0.10 PER PG)                                           1.30
 10/11/2021   RE2        SCAN/COPY ( 13 @0.10 PER PG)                                           1.30
 10/11/2021   RE2        SCAN/COPY ( 13 @0.10 PER PG)                                           1.30
 10/11/2021   RE2        SCAN/COPY ( 13 @0.10 PER PG)                                           1.30
 10/11/2021   RE2        SCAN/COPY ( 17 @0.10 PER PG)                                           1.70
 10/11/2021   RE2        SCAN/COPY ( 13 @0.10 PER PG)                                           1.30
 10/18/2021   BM         Business Meal [E111] The Plela Thai, working meal, JHR              42.85
 10/19/2021   CC         Conference Call [E105] AT&T Conference Call, MBL                       7.73
 10/19/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)                                            0.40
 10/19/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)                                            0.40
 10/19/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                            0.70
 10/19/2021   RE2        SCAN/COPY ( 19 @0.10 PER PG)                                           1.90
 10/19/2021   RE2        SCAN/COPY ( 19 @0.10 PER PG)                                           1.90
 10/19/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)                                            0.40
 10/19/2021   RE2        SCAN/COPY ( 25 @0.10 PER PG)                                           2.50
 10/19/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                           1.40
 10/19/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                            0.70
 10/21/2021   RE2        SCAN/COPY ( 17 @0.10 PER PG)                                           1.70
 10/31/2021   LN         20375.00001 Lexis Charges for 10-31-21                              11.02
 10/31/2021   OS         Everlaw, Inv. 47229, Easterday database for the Month of        76,934.00
                         October
 10/31/2021   PAC        Pacer - Court Research                                              31.90

   Total Expenses for this Matter                                                     $77,093.49




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                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        10/31/2021

Total Fees                                                                                            $360,215.50

Total Expenses                                                                                           77,093.49

Total Due on Current Invoice                                                                          $437,308.99

  Outstanding Balance from prior invoices as of        10/31/2021          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed         Expenses Billed             Balance Due
 128805                   09/30/2021               $572,033.50           $78,257.51                   $114,406.70

             Total Amount Due on Current and Prior Invoices:                                           $551,715.69




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                                    Pachulski Stang Ziehl & Jones LLP
                                            10100 Santa Monica Blvd.
                                                   13th Floor
                                             Los Angeles, CA 90067
                                                                         October 31, 2021
Peter Richter                                                            Invoice 129108
Paladin Management                                                       Client   20375
200 South Wacker Drive 31st floor                                        Matter   00002
Chicago, IL 60606
                                                                                  JWD

RE: Ranches Post-Petition

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 10/31/2021
                FEES                                                     $138,739.00
                EXPENSES                                                     $368.20
                TOTAL CURRENT CHARGES                                    $139,107.20

                BALANCE FORWARD                                          $720,824.90
                LAST PAYMENT                                             $620,398.10
                TOTAL BALANCE DUE                                        $239,534.00




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  Summary of Services by Professional
  ID        Name                                    Title                 Rate        Hours               Amount

 AJK        Kornfeld, Alan J.                       Partner             1395.00       12.70         $17,716.50

 BLW        Wallen , Ben L                          Associate            750.00        6.90             $5,175.00

 JHR        Rosell, Jason H.                        Partner              845.00       16.80         $14,196.00

 JWD        Dulberg, Jeffrey W.                     Partner             1025.00        8.40             $8,610.00

 KBD        Dine, Karen B.                          Counsel             1195.00        8.70         $10,396.50

 PJJ        Jeffries, Patricia J.                   Paralegal            460.00        3.00             $1,380.00

 PJL        Labov, Paul John                        Partner             1095.00       28.20         $30,879.00

 RMP        Pachulski, Richard M.                   Partner             1595.00        6.30         $10,048.50

 TCF        Flanagan, Tavi C.                       Counsel              875.00       46.10         $40,337.50

                                                                                    137.10          $138,739.00




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Easterday Ranches Inc.                                                                Invoice 129108
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  Summary of Services by Task Code
  Task Code         Description                                               Hours                        Amount

 AA                 Asset Analysis/Recovery[B120]                             70.50                      $68,463.50

 BL                 Bankruptcy Litigation [L430]                               5.50                       $5,094.50

 BO                 Business Operations                                        0.20                        $169.00

 CO                 Claims Admin/Objections[B310]                             43.10                      $46,262.50

 CP                 Compensation Prof. [B160]                                  0.80                        $820.00

 GC                 General Creditors Comm. [B150]                             0.70                        $591.50

 LN                 Litigation (Non-Bankruptcy)                               13.10                      $12,234.00

 PD                 Plan & Disclosure Stmt. [B320]                             3.20                       $5,104.00

                                                                             137.10                  $138,739.00




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Easterday Ranches Inc.                                                            Invoice 129108
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  Summary of Expenses
  Description                                                     $368.20                       Amount
Attorney Service [E107]                                                                         $34.20
Conference Call [E105]                                                                          $33.25
Lexis/Nexis- Legal Research [E                                                                 $255.05
Pacer - Court Research                                                                           $6.40
Reproduction/ Scan Copy                                                                         $39.30

                                                                                               $368.20




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                                                                                       Hours           Rate       Amount

  Asset Analysis/Recovery[B120]
 10/01/2021   RMP     AA        Review issues relating to and conference calls re       0.80      1595.00         $1,276.00
                                CHS.

 10/01/2021   JHR     AA        Research re: CHS claims                                 0.40        845.00         $338.00

 10/05/2021   JHR     AA        Call with P. Richter re: CHS patronage fees             0.20        845.00         $169.00

 10/05/2021   JHR     AA        Call with P. Richter re: CHS patronage                  0.20        845.00         $169.00

 10/06/2021   JHR     AA        Correspondence with CHS re: patronage checks and        0.30        845.00         $253.50
                                related research

 10/13/2021   JWD     AA        Call with M Stewart and J Rosell re CHS issues          0.90      1025.00          $922.50

 10/13/2021   JWD     AA        Call with J Rosell re CHS                               0.10      1025.00          $102.50

 10/13/2021   JHR     AA        Call with CHS re: patronage issues                      0.90        845.00         $760.50

 10/14/2021   JHR     AA        Research re: CHS cooperative                            0.70        845.00         $591.50

 10/17/2021   JHR     AA        Analyze CHS corporate documents                         1.10        845.00         $929.50

 10/17/2021   JHR     AA        Research re: CHS issues                                 1.70        845.00        $1,436.50

 10/20/2021   JHR     AA        Call with A. Kornfeld re: CHS                           0.20        845.00         $169.00

 10/20/2021   TCF     AA        Review and analysis of issues regarding CHS             0.60        875.00         $525.00
                                patronage equity and related matters.

 10/21/2021   JHR     AA        Call with P. Richter re: CHS investigation              0.20        845.00         $169.00

 10/21/2021   JHR     AA        Prepare for call with Alan and Tavi re: CHS             0.50        845.00         $422.50
                                investigation

 10/21/2021   JHR     AA        Conference call with Alan and Tavi re: CHS              1.10        845.00         $929.50
                                investigation

 10/21/2021   JHR     AA        Research re: CHS claims                                 2.20        845.00        $1,859.00

 10/21/2021   TCF     AA        Telephone conference with A. Kornfeld and J.            1.10        875.00         $962.50
                                Rosell regarding CHS patronage equity and related
                                matters.

 10/21/2021   TCF     AA        Review and analysis of issues regarding CHS             1.60        875.00        $1,400.00
                                patronage equity and related matters.

 10/21/2021   TCF     AA        Document review regarding CHS issues.                   4.70        875.00        $4,112.50

 10/21/2021   AJK     AA        Attention to analysis of commodities related issues.    3.70      1395.00         $5,161.50

 10/21/2021   AJK     AA        Call with J Rosell and T Flanagan re CHS issue.         1.00      1395.00         $1,395.00




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 10/22/2021   AJK     AA        Analysis of CHS related litigation issues.              1.30      1395.00         $1,813.50

 10/22/2021   JHR     AA        Analyze CHS litigation memorandum                       0.80        845.00         $676.00

 10/22/2021   JHR     AA        Research re: CHS Hedging issues                         2.30        845.00        $1,943.50

 10/22/2021   JHR     AA        Correspondence with Tavi re: CHS research               0.20        845.00         $169.00

 10/22/2021   TCF     AA        Document review and analysis regarding CHS              5.20        875.00        $4,550.00
                                issues.

 10/22/2021   TCF     AA        Drafting of memorandum regarding CHS issues.            2.20        875.00        $1,925.00

 10/25/2021   JHR     AA        Research re: CHS issues                                 0.60        845.00         $507.00

 10/25/2021   TCF     AA        Document review and drafting of memorandum              3.80        875.00        $3,325.00
                                regarding CHS issues.

 10/26/2021   TCF     AA        Document review and analysis regarding CHS.             2.80        875.00        $2,450.00

 10/27/2021   TCF     AA        Research and analysis regarding CHS issues.             2.40        875.00        $2,100.00

 10/27/2021   TCF     AA        Review and analysis of issues and documents             2.60        875.00        $2,275.00
                                regarding CHS matters.

 10/27/2021   TCF     AA        Drafting of demand letter to CHS.                       1.80        875.00        $1,575.00

 10/28/2021   AJK     AA        Further attention to CHS litigation issues.             0.70      1395.00          $976.50

 10/28/2021   AJK     AA        Attention to analysis of CH issues.                     2.30      1395.00         $3,208.50

 10/28/2021   TCF     AA        Draft memorandum regarding CHS issues.                  3.20        875.00        $2,800.00

 10/28/2021   TCF     AA        Research regarding CHS matters.                         1.20        875.00        $1,050.00

 10/29/2021   AJK     AA        Analysis of issues re CHS.                              2.70      1395.00         $3,766.50

 10/29/2021   AJK     AA        Call with J Rosell and T Flanagan re CHS issues.        0.80      1395.00         $1,116.00

 10/29/2021   JHR     AA        Conference call with A. Kornfeld and T. Flanagan        0.90        845.00         $760.50
                                re: CHS investigation

 10/29/2021   TCF     AA        Research and analysis regarding CHS issues.             3.60        875.00        $3,150.00

 10/29/2021   TCF     AA        Drafting of memorandum regarding CHS issues.            2.20        875.00        $1,925.00

 10/29/2021   TCF     AA        Telephone conference with A. Kornfeld and J.            0.80        875.00         $700.00
                                Rosell regarding CHS issues.

 10/30/2021   JHR     AA        Research re: CHS issues and related correspondence      0.50        845.00         $422.50
                                with client

 10/31/2021   TCF     AA        Draft and revise demand letter to CHS.                  1.40        875.00        $1,225.00




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                                                                                      70.50                      $68,463.50

  Bankruptcy Litigation [L430]
 08/19/2021   RMP     BL        Telephone conference with A Kornfeld re standing       0.40      1595.00           $638.00
                                motion.

 10/14/2021   TCF     BL        Review and analysis of litigation and discovery        0.80        875.00          $700.00
                                matters.

 10/15/2021   TCF     BL        Review and analysis of litigation and discovery        0.20        875.00          $175.00
                                matters.

 10/15/2021   TCF     BL        Draft discovery requests to Easterdays.                2.80        875.00         $2,450.00

 10/15/2021   TCF     BL        Review and revise discovery requests to Easterdays.    0.60        875.00          $525.00

 10/25/2021   TCF     BL        Review and analysis of protective order and            0.50        875.00          $437.50
                                confidentiality agreement and related matters.

 10/29/2021   JHR     BL        Call with C. Durbin re: discovery issues               0.20        845.00          $169.00

                                                                                       5.50                       $5,094.50

  Business Operations
 10/01/2021   JHR     BO        Review Paladin monthly operating memorandum            0.20        845.00          $169.00

                                                                                       0.20                        $169.00

  Claims Admin/Objections[B310]
 10/01/2021   PJL     CO        Internal conference with K. Dine regarding Segale      1.60      1095.00          $1,752.00
                                claim and strategy regarding same including review
                                of spread sheets.

 10/01/2021   KBD     CO        Correspondence relating to Segale claim                0.10      1195.00           $119.50

 10/04/2021   PJL     CO        Review information regarding Segale claims.            1.40      1095.00          $1,533.00

 10/04/2021   KBD     CO        Correspondence relating to Segale claim                0.20      1195.00           $239.00

 10/05/2021   PJL     CO        Review of Tax memo in preparation for Committee        0.80      1095.00           $876.00
                                Call on Segale.

 10/05/2021   PJL     CO        Prepare for and attend Committee call on Segale        1.30      1095.00          $1,423.50
                                claims.

 10/05/2021   KBD     CO        Call w/P. Labov and C. Durbin regarding Segale         0.70      1195.00           $836.50
                                claim matters

 10/05/2021   KBD     CO        Follow-up correspondence regarding Segale claims       0.20      1195.00           $239.00

 10/06/2021   JWD     CO        Review Segale materials and work on issues re same     0.50      1025.00           $512.50




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 10/06/2021   PJL     CO        Review and discuss open issues with Segale Claim.       1.40      1095.00         $1,533.00

 10/06/2021   KBD     CO        Coordinate call w/Ranches Committee regarding           0.10      1195.00          $119.50
                                Segale claim

 10/07/2021   PJL     CO        Internal discussion on Segale claim review.             0.80      1095.00          $876.00

 10/07/2021   KBD     CO        Analyze materials relating to Segale claim w/P.         0.20      1195.00          $239.00
                                Labov (for part)

 10/08/2021   PJL     CO        Review Debtors' books and records regarding Segale      1.60      1095.00         $1,752.00
                                claims.

 10/11/2021   JWD     CO        Review discovery requests from Prudential               0.50      1025.00          $512.50

 10/11/2021   PJL     CO        Review open issues on Segale claim in preparation       0.80      1095.00          $876.00
                                for call with Committee counsel.

 10/11/2021   PJL     CO        Review waterfall analysis in relation to Segale         0.30      1095.00          $328.50
                                claim.

 10/12/2021   PJL     CO        Prepare for and attend conference with Committee        1.70      1095.00         $1,861.50
                                regarding Segale matter.

 10/12/2021   PJL     CO        Conference with K. Dine regarding Segale                0.50      1095.00          $547.50
                                documents.

 10/12/2021   KBD     CO        Review information relating to Segale claim             1.20      1195.00         $1,434.00

 10/12/2021   KBD     CO        Call w/Ranches Committee advisors, Paladin, and P.      0.70      1195.00          $836.50
                                Labov regarding Segale information

 10/12/2021   KBD     CO        Follow-up regarding Segale information w/P. Labov       0.20      1195.00          $239.00
                                and P. Richter

 10/12/2021   KBD     CO        Telephone conference with P. Labov regarding next       0.20      1195.00          $239.00
                                steps regarding Segale

 10/13/2021   PJL     CO        Review of Debtors' internal accounting and resulting    1.40      1095.00         $1,533.00
                                spreadsheets on various heads of cattle relating to
                                Segale fraud.

 10/14/2021   KBD     CO        Analyze documents for production to Segale w/P.         1.20      1195.00         $1,434.00
                                Labov (for part)

 10/18/2021   PJL     CO        Review Debtors' books and records provided by           1.30      1095.00         $1,423.50
                                Paladin in preparation for Segale discussion.

 10/19/2021   JWD     CO        Review Segale updates and emails re same                0.60      1025.00          $615.00

 10/19/2021   PJL     CO        Review Paladin notes on Segale docs.                    0.90      1095.00          $985.50

 10/19/2021   KBD     CO        Analysis of Segale documents w/M. Lang, P. Labov        0.40      1195.00          $478.00




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                                and P. Richter (for part)
 10/19/2021   KBD     CO        Review draft memorandum regarding documents to         0.10      1195.00          $119.50
                                be produced to Segale

 10/20/2021   JWD     CO        Review Ranches Committee claim analysis re             0.50      1025.00          $512.50
                                Segale

 10/20/2021   PJL     CO        Review Segale memo from Ranche's Committee and         1.30      1095.00         $1,423.50
                                internal documents.

 10/21/2021   PJL     CO        Segale review with Paladin and internal team,          2.40      1095.00         $2,628.00
                                including documents from Debtors' accounting
                                system and B. Riley memo.

 10/21/2021   KBD     CO        Analyze memoranda regarding Segale claims              0.70      1195.00          $836.50

 10/21/2021   KBD     CO        Call w/P. Labov, P. Richter and M. Lang regarding      0.30      1195.00          $358.50
                                Segale documents

 10/22/2021   AJK     CO        Attention to RFPs to Prudential.                       0.20      1395.00          $279.00

 10/22/2021   JWD     CO        Work on Segale claim issue                             0.20      1025.00          $205.00

 10/25/2021   PJL     CO        Review and discuss strategy for Segale claims          1.20      1095.00         $1,314.00
                                internally.

 10/25/2021   KBD     CO        Analyze information for production to Segale w/P.      0.30      1195.00          $358.50
                                Labov (for part)

 10/26/2021   PJJ     CO        Prepare Segale document production.                    3.00        460.00        $1,380.00

 10/26/2021   PJL     CO        Internal conference regarding Segale claim and         0.80      1095.00          $876.00
                                Debtors' strategy in connection with objection to
                                claim.

 10/27/2021   JWD     CO        Emails re Segale claim                                 0.30      1025.00          $307.50

 10/27/2021   JHR     CO        Conference with P. Labov and K. Dine re: Segale        0.30        845.00         $253.50
                                claim

 10/27/2021   PJL     CO        Review document production materials for Segale,       3.00      1095.00         $3,285.00
                                conference with K. Dine and Paladin regarding
                                materials, review of proposed waterfall, conference
                                regarding Segale inclusion into protective order.

 10/27/2021   KBD     CO        Prepare documents for production w/P. Labov (for       0.70      1195.00          $836.50
                                part)

 10/27/2021   KBD     CO        Review and prepare correspondence regarding            0.10      1195.00          $119.50
                                document production

 10/27/2021   KBD     CO        Correspondence regarding Segale claim                  0.30      1195.00          $358.50




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                                                                                      Hours            Rate         Amount

 10/27/2021   KBD     CO        Telephone conference with P. Labov and J. Rosell       0.30       1195.00           $358.50
                                regarding Segale matters

 10/28/2021   RMP     CO        Review e-mails re Segale and telephone conference      0.60       1595.00           $957.00
                                with PL re same.

 10/28/2021   PJL     CO        Conference with Committee and internal team            1.90       1095.00          $2,080.50
                                regarding Segale Claim, review Bates' stamped
                                materials and discussion with K. Dine regarding
                                same.

 10/28/2021   KBD     CO        Telephone conversation with C. Durbin and P.           0.30       1195.00           $358.50
                                Labov regarding Segale claim

 10/28/2021   KBD     CO        Follow-up regarding next steps with respect to         0.20       1195.00           $239.00
                                Segale claim w/P. Labov (for part)

 10/29/2021   PJL     CO        Conference with K. Dine regarding Segale failure to    1.30       1095.00          $1,423.50
                                address document requests and review of open
                                issues.

                                                                                       43.10                      $46,262.50

  Compensation Prof. [B160]
 10/01/2021   JWD     CP        Call with S Maizel re fee app                          0.20       1025.00           $205.00

 10/07/2021   JWD     CP        Review emails from Ranches Committee re Dentons        0.10       1025.00           $102.50
                                fees and respond to same

 10/13/2021   JWD     CP        Review stipulated order re Dentons fees                0.20       1025.00           $205.00

 10/21/2021   JWD     CP        Review emails and call with Dentons re fee app         0.20       1025.00           $205.00
                                payment

 10/21/2021   JWD     CP        Review entered Dentons fee order                       0.10       1025.00           $102.50

                                                                                        0.80                        $820.00

  General Creditors Comm. [B150]
 10/19/2021   JHR     GC        Correspondence with Ranches Committee re:              0.10         845.00           $84.50
                                conference call

 10/21/2021   JHR     GC        Conference call with Ranches Committee re: case        0.60         845.00          $507.00
                                update

                                                                                        0.70                        $591.50

  Litigation (Non-Bankruptcy)
 09/27/2021   RMP     LN        Review CFTC order and edits thereto and                0.40       1595.00           $638.00




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                                                                                     Hours            Rate       Amount
                                conference with J Dulberg re same.
 09/29/2021   RMP     LN        Review CFTC issues and e-mails re same.                0.30      1595.00          $478.50

 10/01/2021   JWD     LN        Emails with team re CFTC issues                        0.20      1025.00          $205.00

 10/01/2021   JWD     LN        Follow up emails with M Diggs and T Buford re          0.20      1025.00          $205.00
                                CFTC

 10/01/2021   JWD     LN        Review and revise motion to extend time to answer      0.40      1025.00          $410.00
                                CFTC and emails re same

 10/01/2021   JHR     LN        Review CFTC pleadings                                  0.30        845.00         $253.50

 10/04/2021   JWD     LN        Emails re CFTC motion to extend answer                 0.20      1025.00          $205.00

 10/04/2021   BLW     LN        Draft CFTC 9019 Motion.                                4.70        750.00        $3,525.00

 10/05/2021   JWD     LN        Work on approval motion re CFTC                        0.50      1025.00          $512.50

 10/05/2021   JWD     LN        Review CFTC order and emails re same and timing        0.20      1025.00          $205.00
                                for approval

 10/05/2021   BLW     LN        Continue drafting CFTC 9019 Motion.                    1.80        750.00        $1,350.00

 10/06/2021   JWD     LN        Review and revise CFTC 9019 motion                     0.60      1025.00          $615.00

 10/06/2021   BLW     LN        Revise CFTC 9019 Motion.                               0.20        750.00         $150.00

 10/07/2021   JWD     LN        Attend to issues re approval of CFTC consent order     0.70      1025.00          $717.50
                                and numerous emails re same

 10/14/2021   PJL     LN        Review Segale Litigation Documents and discuss         0.50      1095.00          $547.50
                                same internally.

 10/18/2021   JWD     LN        Review B Sedrish email and attend to issues re         0.40      1025.00          $410.00
                                approval motion

 10/18/2021   BLW     LN        Correspond and address filing of CFTC 9019             0.20        750.00         $150.00
                                Motion.

 10/28/2021   RMP     LN        Review CFTC issues and conference with J Dulberg       0.60      1595.00          $957.00
                                re same.

 10/28/2021   JWD     LN        Review Tyson response re CFTC action and emails        0.20      1025.00          $205.00
                                re same

 10/28/2021   JWD     LN        Call with T Buford re CFTC order and issues re         0.20      1025.00          $205.00
                                same

 10/28/2021   JHR     LN        Review Ranches Committee's statement in                0.10        845.00          $84.50
                                connection with CFTC settlement motion

 10/29/2021   JWD     LN        Analyze issues regarding Tyson concerns with           0.20      1025.00          $205.00




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                                                                                       Hours            Rate         Amount
                                CFTC and emails with T Buford regarding same

                                                                                        13.10                      $12,234.00

  Plan & Disclosure Stmt. [B320]
 10/01/2021   RMP     PD        Prepare for and participate on Tyson conference call    0.80       1595.00          $1,276.00
                                re plan.

 10/11/2021   RMP     PD        Prepare for and participate on Ranches Committee        1.00       1595.00          $1,595.00
                                conference call.

 10/18/2021   RMP     PD        Telephone conference with Jay I and follow-up with      0.90       1595.00          $1,435.50
                                Paladin and J. Dulberg re Ranches issues.

 10/21/2021   RMP     PD        Prepare for and participate on conference call with     0.50       1595.00           $797.50
                                Ranches Committee.

                                                                                         3.20                       $5,104.00

  TOTAL SERVICES FOR THIS MATTER:                                                                              $138,739.00




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 Expenses
 09/10/2021   CC         Conference Call [E105]AT&T Conference Call, EAW                       8.80
 09/18/2021   CC         Conference Call [E105]AT&T Conference Call, EAW                       5.95
 09/21/2021   CC         Conference Call [E105]AT&T Conference Call, EAW                       0.17
 09/21/2021   CC         Conference Call [E105] AT&T Conference Call, EAW                  11.70
 09/21/2021   CC         Conference Call [E105] AT&T Conference Call,EAW                       3.77
 10/04/2021   AS         Attorney Service [E107] Nationwide Legal, Inv.                    34.20
                         00000035869, Delivery to Residence, AJK
 10/04/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                           0.10
 10/04/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                           0.30
 10/04/2021   RE2        SCAN/COPY ( 18 @0.10 PER PG)                                          1.80
 10/04/2021   RE2        SCAN/COPY ( 10 @0.10 PER PG)                                          1.00
 10/04/2021   RE2        SCAN/COPY ( 10 @0.10 PER PG)                                          1.00
 10/04/2021   RE2        SCAN/COPY ( 10 @0.10 PER PG)                                          1.00
 10/04/2021   RE2        SCAN/COPY ( 19 @0.10 PER PG)                                          1.90
 10/04/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                           0.10
 10/04/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                           0.20
 10/04/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                           0.10
 10/04/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                           0.70
 10/04/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                           0.20
 10/04/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                           0.10
 10/04/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                           0.70
 10/04/2021   RE2        SCAN/COPY ( 43 @0.10 PER PG)                                          4.30
 10/04/2021   RE2        SCAN/COPY ( 40 @0.10 PER PG)                                          4.00
 10/04/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                           0.20
 10/04/2021   RE2        SCAN/COPY ( 28 @0.10 PER PG)                                          2.80
 10/04/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                           0.60
 10/04/2021   RE2        SCAN/COPY ( 72 @0.10 PER PG)                                          7.20
 10/04/2021   RE2        SCAN/COPY ( 89 @0.10 PER PG)                                          8.90
 10/04/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                          1.40
 10/04/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                           0.10
 10/04/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                           0.30
 10/04/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                           0.10




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 10/04/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 10/12/2021   LN         20375.00002 Lexis Charges for 10-12-21                           10.27
 10/21/2021   CC         Conference Call [E105] AT&T Conference Call, PJL                     2.86
 10/25/2021   LN         20375.00002 Lexis Charges for 10-25-21                           49.21
 10/25/2021   LN         20375.00002 Lexis Charges for 10-25-21                               1.19
 10/26/2021   LN         20375.00002 Lexis Charges for 10-26-21                           20.12
 10/27/2021   LN         20375.00002 Lexis Charges for 10-27-21                          112.79
 10/27/2021   LN         20375.00002 Lexis Charges for 10-27-21                               5.50
 10/27/2021   LN         20375.00002 Lexis Charges for 10-27-21                               9.85
 10/27/2021   LN         20375.00002 Lexis Charges for 10-27-21                               5.50
 10/28/2021   LN         20375.00002 Lexis Charges for 10-28-21                               9.85
 10/29/2021   LN         20375.00002 Lexis Charges for 10-29-21                           30.77
 10/31/2021   PAC        Pacer - Court Research                                               6.40

   Total Expenses for this Matter                                                     $368.20




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                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        10/31/2021

Total Fees                                                                                            $138,739.00

Total Expenses                                                                                                368.20

Total Due on Current Invoice                                                                          $139,107.20

  Outstanding Balance from prior invoices as of        10/31/2021          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed         Expenses Billed             Balance Due
 128806                   09/30/2021               $502,134.00            $4,560.70                   $100,426.80

             Total Amount Due on Current and Prior Invoices:                                           $239,534.00




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                                    Pachulski Stang Ziehl & Jones LLP
                                            10100 Santa Monica Blvd.
                                                   13th Floor
                                             Los Angeles, CA 90067
                                                                         October 31, 2021
Peter Richter                                                            Invoice 129109
Paladin Management                                                       Client   20375
200 South Wacker Drive 31st floor                                        Matter   00003
Chicago, IL 60606
                                                                                  JWD

RE: Farms (Exclusive)

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 10/31/2021
                FEES                                                      $47,922.00
                EXPENSES                                                      $20.52
                TOTAL CURRENT CHARGES                                     $47,942.52

                BALANCE FORWARD                                           $42,421.02
                LAST PAYMENT                                              $36,260.13
                TOTAL BALANCE DUE                                         $54,103.41




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  Summary of Services by Professional
  ID        Name                                  Title                 Rate        Hours               Amount

 BLW        Wallen , Ben L                        Associate            750.00       20.80         $15,600.00

 EAW        Wagner, Elissa A.                     Counsel              925.00        4.80             $4,440.00

 JHR        Rosell, Jason H.                      Partner              845.00        5.20             $4,394.00

 JWD        Dulberg, Jeffrey W.                   Partner             1025.00        1.50             $1,537.50

 PJL        Labov, Paul John                      Partner             1095.00       13.20         $14,454.00

 RMP        Pachulski, Richard M.                 Partner             1595.00        4.70             $7,496.50

                                                                                   50.20              $47,922.00




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  Summary of Services by Task Code
  Task Code         Description                                                 Hours                        Amount

 AA                 Asset Analysis/Recovery[B120]                                6.60                       $6,261.00

 AD                 Asset Disposition [B130]                                    35.40                      $31,237.00

 BO                 Business Operations                                          0.20                        $169.00

 PD                 Plan & Disclosure Stmt. [B320]                               8.00                      $10,255.00

                                                                                50.20                      $47,922.00




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  Summary of Expenses
  Description                                                      $20.52                       Amount
Lexis/Nexis- Legal Research [E                                                                  $20.52

                                                                                                $20.52




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Easterday Ranches Inc.                                                                          Invoice 129109
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                                                                                       Hours            Rate       Amount

  Asset Analysis/Recovery[B120]
 10/04/2021   JHR     AA        Research re: Basin City land                            0.70         845.00         $591.50

 10/04/2021   JHR     AA        Analyze transaction history re: Basin City property     0.30         845.00         $253.50

 10/07/2021   EAW     AA        Review emails and attachments from A. Kornfeld          0.30         925.00         $277.50
                                and J. Rosell re: property ownership (Basin City).

 10/07/2021   EAW     AA        Telephone call with A. Kornfeld and J. Rosell re:       0.60         925.00         $555.00
                                property ownership (Basin City) and related issues.

 10/07/2021   EAW     AA        Document review (Basin City).                           2.30         925.00        $2,127.50

 10/08/2021   RMP     AA        Review Basin City loan documents.                       0.40       1595.00          $638.00

 10/08/2021   EAW     AA        Document review (Basin City).                           1.60         925.00        $1,480.00

 10/08/2021   JHR     AA        Analyze Equitable loan documents re: Basin City         0.40         845.00         $338.00

                                                                                         6.60                      $6,261.00

  Asset Disposition [B130]
 10/06/2021   PJL     AD        Review open issues on sale of hangar.                   0.40       1095.00          $438.00

 10/06/2021   BLW     AD        Draft Hangar/LLC Interest Sale Motion.                  0.30         750.00         $225.00

 10/07/2021   JHR     AD        Call with potential bidder re: Basin City               0.30         845.00         $253.50

 10/07/2021   JHR     AD        Correspondence with R. Pachulski re: Basin City         0.10         845.00          $84.50

 10/07/2021   JHR     AD        Correspondence with potential bidder re: Basin City     0.20         845.00         $169.00

 10/07/2021   PJL     AD        Review open issue with sale of LLC interest             0.60       1095.00          $657.00
                                (Hangar).

 10/07/2021   BLW     AD        Draft Hangar/LLC Sale Motion.                           1.90         750.00        $1,425.00

 10/08/2021   JHR     AD        Call with potential bidder re: Basin City               0.10         845.00          $84.50

 10/08/2021   PJL     AD        Review correspondence on Rights of First Refusal,       1.40       1095.00         $1,533.00
                                notice, LLC issues and internal conference regarding
                                timing and notice required under State Law and
                                ability to work with transfer restrictions.

 10/08/2021   BLW     AD        Draft Hangar/LLC Sale Motion.                           1.90         750.00        $1,425.00

 10/08/2021   BLW     AD        Call with CRO re: Hangar/LLC Sale.                      0.20         750.00         $150.00

 10/08/2021   BLW     AD        Call with co-counsel re: Hangar/LLC Sale.               0.30         750.00         $225.00

 10/08/2021   BLW     AD        Numerous correspondences re: Hangar/LLC Sale            1.00         750.00         $750.00




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                                                                                       Hours           Rate       Amount
                                and requirements/mechanics of same.
 10/08/2021   BLW     AD        Call with Mr. Labov re: Hangar/LLC Sale.                0.20        750.00         $150.00

 10/11/2021   JHR     AD        Research re: Diversified Financial irrigation           0.50        845.00         $422.50
                                equipment and related correspondence with client

 10/11/2021   PJL     AD        Review remaining open issues on sale of LLC             1.40      1095.00         $1,533.00
                                interest (plane hangar).

 10/11/2021   BLW     AD        Draft Hangar/LLC Sale Motion.                           1.60        750.00        $1,200.00

 10/11/2021   BLW     AD        Numerous correspondence re: Hangar Sale.                0.50        750.00         $375.00

 10/12/2021   PJL     AD        Review and discuss open issues on plane hangar          0.90      1095.00          $985.50
                                LLC with B. Wallen.

 10/12/2021   BLW     AD        Continue Drafting Hangar/LLC Sale Motion.               1.70        750.00        $1,275.00

 10/12/2021   BLW     AD        Numerous Correspondence re: Hangar/LLC Sale.            0.70        750.00         $525.00

 10/13/2021   PJL     AD        Follow up on sale of interest in entity owning plane    0.40      1095.00          $438.00
                                hangar.

 10/18/2021   PJL     AD        Review of Hangar LLC agreement and                      1.20      1095.00         $1,314.00
                                correspondence drafted to and reviewed from B.
                                Wallen regarding motion to sell LLC interests.

 10/18/2021   BLW     AD        Numerous correspondence re: Sale of LLC                 0.50        750.00         $375.00
                                Interest/Hangar and steps required for same.

 10/19/2021   PJL     AD        Review correspondence regarding Midland Bank            0.90      1095.00          $985.50
                                Leasing issue and discuss internally on how best ot
                                proceed.

 10/20/2021   PJL     AD        Review open issues on sale of LLC interest.             1.20      1095.00         $1,314.00

 10/20/2021   BLW     AD        Multiple correspondence re: sale of LLC interest.       0.20        750.00         $150.00

 10/20/2021   BLW     AD        Draft LLC Interest Sale Motion.                         4.20        750.00        $3,150.00

 10/20/2021   BLW     AD        Review and comment on LLC Interest APA.                 0.90        750.00         $675.00

 10/20/2021   BLW     AD        Call with Mr. Labov re: LLC Interest Sale.              0.10        750.00          $75.00

 10/21/2021   JHR     AD        Correspondence re: Midland trailers                     0.20        845.00         $169.00

 10/21/2021   PJL     AD        Review open issues on Midland lease sale/rejection      0.60      1095.00          $657.00
                                and H. Gray Burks correspondence.

 10/21/2021   BLW     AD        Draft Hangar/LLC Sale Motion.                           0.60        750.00         $450.00

 10/21/2021   BLW     AD        Revise LLC/Hangar Sale APA.                             1.10        750.00         $825.00

 10/25/2021   PJL     AD        Review ROFR Notice and suggest changes to same,         1.20      1095.00         $1,314.00




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Easterday Ranches Inc.                                                                          Invoice 129109
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                                                                                       Hours            Rate         Amount
                                including correspondence regarding notice
                                provisions and how best to abide by LLC Operating
                                Agreement.

 10/25/2021   BLW     AD        Review LLC Sale ROFR Notice and                         1.00         750.00          $750.00
                                correspond/comment on same.

 10/27/2021   PJL     AD        Review correspondence regarding ROFR for sale of        0.60       1095.00           $657.00
                                Hangar.

 10/27/2021   BLW     AD        Finalize ROFR Notice and circulate same to              0.40         750.00          $300.00
                                Co-CRO re: LLC Interest/Hangar Sale.

 10/28/2021   PJL     AD        Review correspdonence and discuss open issues           1.20       1095.00          $1,314.00
                                with P. Richter regarding sale of interest in Hangar
                                entity.

 10/28/2021   BLW     AD        Finalize and coordinate issuance of ROFR Notice.        0.50         750.00          $375.00

 10/29/2021   PJL     AD        Review open issues with LLC sale and conference         1.20       1095.00          $1,314.00
                                with B. Wallen regarding same.

 10/29/2021   BLW     AD        Revise Hangar/LLC Interest Sale Motion.                 0.80         750.00          $600.00

 10/29/2021   BLW     AD        Call with Mr. Labov re: Status of LLC                   0.20         750.00          $150.00
                                Interest/Hangar Sale.

                                                                                        35.40                      $31,237.00

  Business Operations
 10/01/2021   JHR     BO        Review Paladin monthly operating memorandum             0.20         845.00          $169.00

                                                                                         0.20                        $169.00

  Plan & Disclosure Stmt. [B320]
 10/04/2021   RMP     PD        Prepare for and participate on call with Farms          0.80       1595.00          $1,276.00
                                Committee professionals re plan.

 10/04/2021   JWD     PD        Attend call with committee regarding plan               0.80       1025.00           $820.00

 10/19/2021   RMP     PD        Review Farms Plan Term Sheet and Dundon                 1.80       1595.00          $2,871.00
                                waterfall and follow-up with Paladin and J Dulberg
                                re same.

 10/19/2021   JHR     PD        Analyze Farms Committee plan proposal                   1.30         845.00         $1,098.50

 10/20/2021   RMP     PD        Prepare for and participate on conference call with     0.90       1595.00          $1,435.50
                                Farms Committee re term sheet.

 10/20/2021   JHR     PD        Conference call with Farms Committee re: plan           0.90         845.00          $760.50
                                settlement




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                                                                                     Hours            Rate         Amount

 10/25/2021   RMP     PD        Review and respond to e-mails and telephone           0.80       1595.00          $1,276.00
                                conferences re Farms plan issues.

 10/28/2021   JWD     PD        Further review Committee memo re debt allocation      0.70       1025.00           $717.50
                                and emails with L Miller re same (.5); call with L
                                Miller re same (.2)

                                                                                       8.00                      $10,255.00

  TOTAL SERVICES FOR THIS MATTER:                                                                            $47,922.00




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 Expenses
 10/20/2021   LN         20375.00003 Lexis Charges for 10-20-21                           20.52

   Total Expenses for this Matter                                                      $20.52




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Easterday Ranches Inc.                                                                     Invoice 129109
20375 - 00003                                                                              October 31, 2021


                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        10/31/2021

Total Fees                                                                                              $47,922.00

Total Expenses                                                                                                20.52

Total Due on Current Invoice                                                                            $47,942.52

  Outstanding Balance from prior invoices as of        10/31/2021          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed         Expenses Billed             Balance Due
 128807                   09/30/2021                $30,804.50              $108.72                      $6,160.89

             Total Amount Due on Current and Prior Invoices:                                            $54,103.41




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                                    Pachulski Stang Ziehl & Jones LLP
                                            10100 Santa Monica Blvd.
                                                   13th Floor
                                             Los Angeles, CA 90067
                                                                         November 30, 2021
Peter Richter                                                            Invoice 129196
Paladin Management                                                       Client  20375
200 South Wacker Drive 31st floor                                        Matter  00001
Chicago, IL 60606
                                                                                 JWD

RE: Restructuring

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 11/30/2021
                FEES                                                     $340,251.00
                EXPENSES                                                  $77,479.86
                TOTAL CURRENT CHARGES                                    $417,730.86

                BALANCE FORWARD                                          $551,715.69
                TOTAL BALANCE DUE                                        $969,446.55

                PREPAID BALANCE                                          $224,149.44




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Easterday Ranches Inc.                                                               Invoice 129196
20375 - 00001                                                                        November 30, 2021




  Summary of Services by Professional
  ID        Name                                    Title                 Rate        Hours              Amount

 AJK        Kornfeld, Alan J.                       Partner             1395.00        4.20         $5,859.00

 BLW        Wallen , Ben L                          Associate              0.00        1.40               $0.00

 BLW        Wallen , Ben L                          Associate            750.00        7.00         $5,250.00

 DLM        Mendoza, Denise L.                      Other                395.00        2.40          $948.00

 EAW        Wagner, Elissa A.                       Counsel              925.00        8.20         $7,585.00

 JHR        Rosell, Jason H.                        Partner              845.00       38.80        $32,786.00

 JWD        Dulberg, Jeffrey W.                     Partner             1025.00       48.40        $49,610.00

 KBD        Dine, Karen B.                          Counsel             1195.00       47.70        $57,001.50

 KHB        Brown, Kenneth H.                       Partner             1225.00        0.40          $490.00

 MBL        Litvak, Maxim B.                        Partner                0.00        1.00               $0.00

 MBL        Litvak, Maxim B.                        Partner             1125.00       44.70        $50,287.50

 PJJ        Jeffries, Patricia J.                   Paralegal              0.00        2.00               $0.00

 PJJ        Jeffries, Patricia J.                   Paralegal            460.00       25.00        $11,500.00

 PJL        Labov, Paul John                        Partner                0.00        1.30               $0.00

 PJL        Labov, Paul John                        Partner             1095.00       42.60        $46,647.00

 RMP        Pachulski, Richard M.                   Partner             1595.00       44.90        $71,615.50

 VLD        Downing, Virginia L.                    Other                395.00        1.70          $671.50

                                                                                    321.70         $340,251.00




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Easterday Ranches Inc.                                                                   Invoice 129196
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  Summary of Services by Task Code
  Task Code         Description                                                  Hours                       Amount

 AA                 Asset Analysis/Recovery[B120]                                 0.90                       $922.50

 AD                 Asset Disposition [B130]                                      2.60                   $2,287.00

 BL                 Bankruptcy Litigation [L430]                                 50.20                  $49,636.50

 CA                 Case Administration [B110]                                   31.80                  $28,172.50

 CG                 Corporate Governance/Board Mtr                               19.40                  $20,845.00

 CO                 Claims Admin/Objections[B310]                                14.80                  $17,358.50

 CP                 Compensation Prof. [B160]                                    16.60                   $9,178.50

 FF                 Financial Filings [B110]                                      0.20                       $205.00

 FN                 Financing [B230]                                              0.30                       $307.50

 HE                 Hearing                                                      10.30                   $6,142.50

 LN                 Litigation (Non-Bankruptcy)                                   0.30                       $307.50

 PD                 Plan & Disclosure Stmt. [B320]                              172.10                 $202,270.00

 RP                 Retention of Prof. [B160]                                     0.70                   $1,116.50

 TI                 Tax Issues [B240]                                             1.50                   $1,501.50

                                                                                321.70                 $340,251.00




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Easterday Ranches Inc.                                                            Invoice 129196
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  Summary of Expenses
  Description                                                                                  Amount
Working Meals [E111]                                                                           $93.79
Conference Call [E105]                                                                         $31.12
Lexis/Nexis- Legal Research [E                                                                $203.25
Outside Services                                                                           $76,978.00
Pacer - Court Research                                                                         $17.70
Reproduction/ Scan Copy                                                                       $156.00

                                                                                           $77,479.86




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                                                                                      Hours           Rate         Amount

  Asset Analysis/Recovery[B120]
 11/03/2021   JWD     AA        Emails re CFAP funds                                    0.10      1025.00          $102.50

 11/04/2021   JWD     AA        Emails with M Widmeyer re probate status                0.20      1025.00          $205.00

 11/26/2021   JWD     AA        Emails re probate update                                0.30      1025.00          $307.50

 11/29/2021   JWD     AA        Emails with M Diggs re probate update                   0.30      1025.00          $307.50

                                                                                        0.90                       $922.50

  Asset Disposition [B130]
 11/03/2021   JWD     AD        Attend call with FRI counsel regarding personal         0.50      1025.00          $512.50
                                property assets

 11/03/2021   JHR     AD        Conference call with FRI re: sale issues                0.50       845.00          $422.50

 11/03/2021   JHR     AD        Analyze FRI APA and related correspondence with         0.50       845.00          $422.50
                                P. Richter

 11/04/2021   JHR     AD        Call with Booker Auction re: Franklin County taxes      0.30       845.00          $253.50

 11/04/2021   JHR     AD        Call with Franklin County re: asset sale issues         0.40       845.00          $338.00

 11/17/2021   JHR     AD        Analyze property allocation for title company           0.40       845.00          $338.00

                                                                                        2.60                   $2,287.00

  Bankruptcy Litigation [L430]
 11/01/2021   AJK     BL        Attention to reinstatement notice.                      0.20      1395.00          $279.00

 11/01/2021   AJK     BL        Further attention to reinstatement notice.              0.10      1395.00          $139.50

 11/01/2021   RMP     BL        Review Pru status and issues and telephone              0.80      1595.00      $1,276.00
                                conferences with M Litvak re same.

 11/01/2021   RMP     BL        Telephone conferences and e-mails with J Rosell         0.90      1595.00      $1,435.50
                                and J Dulberg re allocation complaint and telephone
                                conference with CB re same.

 11/01/2021   JHR     BL        Correspondence with Washington Trust and                0.20       845.00          $169.00
                                Easterday Family re: discovery issues

 11/01/2021   JHR     BL        Draft notice of reinstatement of response deadline      0.90       845.00          $760.50
                                for allocation complaint and related document
                                review

 11/02/2021   JWD     BL        Review protective order filings and entered order       0.40      1025.00          $410.00

 11/02/2021   EAW     BL        Review Prudential settlement proposal.                  0.10       925.00           $92.50




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 11/02/2021   JHR     BL        Analyze protective order                                0.10       845.00           $84.50

 11/02/2021   JHR     BL        Call with P. Labov re: Rabo discovery issues            0.20       845.00          $169.00

 11/03/2021   AJK     BL        Attention to issues re allocation.                      0.60      1395.00          $837.00

 11/03/2021   JWD     BL        Analyze issues re Rabo settlement and obligations re    0.40      1025.00          $410.00
                                same

 11/03/2021   JHR     BL        Correspondence with various parties re: Easterday       0.80       845.00          $676.00
                                Family discovery issues

 11/04/2021   PJJ     BL        Upload additional Easterday production to Everlaw.      0.20       460.00           $92.00

 11/09/2021   PJJ     BL        Process additional family member productions.           0.40       460.00          $184.00

 11/09/2021   JHR     BL        Analyze document productions from Easterday             0.40       845.00          $338.00
                                Family and related correspondence

 11/09/2021   JHR     BL        Analyze appraisal reports                               0.40       845.00          $338.00

 11/09/2021   JHR     BL        Analyze appraisal reports                               1.40       845.00      $1,183.00

 11/09/2021   JHR     BL        Call with P. Labov re: real estate issues               0.20       845.00          $169.00

 11/10/2021   PJJ     BL        Process Karen Easterday document production.            0.40       460.00          $184.00

 11/10/2021   RMP     BL        Review Pru/Easterday family issues.                     0.40      1595.00          $638.00

 11/10/2021   JHR     BL        Analyze real estate issues                              0.60       845.00          $507.00

 11/11/2021   AJK     BL        Attention to allocation complaint.                      1.30      1395.00      $1,813.50

 11/11/2021   PJJ     BL        Research and download documents for Paul Labov          0.80       460.00          $368.00
                                in connection with family estate values.

 11/11/2021   EAW     BL        Emails to/from A. Kornfeld re: allocation complaint.    0.10       925.00           $92.50

 11/11/2021   EAW     BL        Review allocation complaint.                            0.20       925.00          $185.00

 11/11/2021   JHR     BL        Correspondence with A. Kornfeld re: allocation          0.10       845.00           $84.50
                                complaint

 11/12/2021   JHR     BL        Call with P. Labov re: allocation complaint             0.20       845.00          $169.00

 11/12/2021   EAW     BL        Telephone call with A. Kornfeld and J. Rosell re:       0.50       925.00          $462.50
                                allocation litigation.

 11/12/2021   JHR     BL        Call with A. Kornfeld and E. Wagner re: allocation      0.50       845.00          $422.50
                                complaint

 11/12/2021   PJL     BL        Initial review of produced documents in preparation     3.90      1095.00      $4,270.50
                                for investigation into partners assets.




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 11/13/2021   JHR     BL        Document review re: Easterday Family production         1.50       845.00      $1,267.50

 11/14/2021   JHR     BL        Develop allocation complaint schedule                   0.40       845.00          $338.00

 11/14/2021   EAW     BL        Review draft timeline for allocation litigation.        0.10       925.00           $92.50

 11/15/2021   RMP     BL        Work on allocation complaint issues.                    1.40      1595.00      $2,233.00

 11/15/2021   MBL     BL        Review and comment on schedule for allocation           0.20      1125.00          $225.00
                                lawsuit.

 11/15/2021   EAW     BL        Emails to/from PSZJ team re: timeline for allocation    0.20       925.00          $185.00
                                litigation.

 11/15/2021   JHR     BL        Correspondence with P. Labov re: discovery issues       0.30       845.00          $253.50

 11/15/2021   JHR     BL        Revise amended allocation complaint                     0.40       845.00          $338.00

 11/15/2021   JHR     BL        Revise amended allocation complaint                     0.50       845.00          $422.50

 11/15/2021   JHR     BL        Prepare allocation complaint schedule                   0.40       845.00          $338.00

 11/15/2021   PJL     BL        Review materials in Everlaw to determine                3.60      1095.00      $3,942.00
                                ownership/assets of certain real property, draft
                                correspondence to internal team regarding same.

 11/16/2021   JHR     BL        Call with P. Labov re: document review                  0.30       845.00          $253.50

 11/17/2021   JWD     BL        Review Easterday answers to complaint                   0.40      1025.00          $410.00

 11/17/2021   MBL     BL        Follow-up with team re amended allocation               0.10      1125.00          $112.50
                                complaint.

 11/17/2021   MBL     BL        Call with J. Rosell re allocation complaint.            0.20      1125.00          $225.00

 11/17/2021   JHR     BL        Call with M. Litvak re: allocation complaint            0.20       845.00          $169.00

 11/18/2021   MBL     BL        Review draft amended complaint and answers filed        0.30      1125.00          $337.50
                                by Easterdays.

 11/18/2021   JHR     BL        Call with L. Miller re: Fall Line issues                0.40       845.00          $338.00

 11/19/2021   RMP     BL        Review Easterday family informal requests and           0.40      1595.00          $638.00
                                telephone conference with J Dulberg re same.

 11/19/2021   MBL     BL        Emails with team re Easterday discovery requests.       0.10      1125.00          $112.50

 11/19/2021   EAW     BL        Research re: amended pleadings and counterclaims        0.80       925.00          $740.00
                                (allocation litigation).

 11/19/2021   EAW     BL        Emails to/from A. Kornfeld and J. Rosell re:            0.30       925.00          $277.50
                                allocation litigation.

 11/19/2021   EAW     BL        Review and comment on draft amended allocation          0.30       925.00          $277.50




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                                complaint.
 11/19/2021   EAW     BL        Review answers and counterclaims to allocation          0.40       925.00          $370.00
                                complaint.

 11/19/2021   EAW     BL        Document review re: allocation litigation.              2.10       925.00      $1,942.50

 11/19/2021   JHR     BL        Revise amended trial schedule and related               0.50       845.00          $422.50
                                correspondence with Easterday Family

 11/19/2021   JHR     BL        Correspondence with A. Kornfeld re: allocation          0.20       845.00          $169.00
                                complaint

 11/19/2021   JWD     BL        Work on issues for response to Easterday                0.90      1025.00          $922.50
                                counterclaims

 11/21/2021   JHR     BL        Draft proposed scheduling order for allocation          0.70       845.00          $591.50
                                complaint

 11/22/2021   RMP     BL        Conference call with Paladin re allocation              0.70      1595.00      $1,116.50
                                complaint.

 11/22/2021   JHR     BL        Analyze Easterday Family answer to allocation           0.40       845.00          $338.00
                                complaint

 11/22/2021   JHR     BL        Conference call with Paladin re: allocation             0.70       845.00          $591.50
                                complaint

 11/22/2021   JHR     BL        Call with P. Richter re: appraisals                     0.20       845.00          $169.00

 11/22/2021   JHR     BL        Conference call with P. Labov and K. Dine re: real      0.20       845.00          $169.00
                                estate issues

 11/23/2021   JWD     BL        Call with P Labov re Easterday litigation and follow    0.20      1025.00          $205.00
                                up emails re same

 11/23/2021   BLW     BL        Call with Mr. Labov re: Answer to Allocation            0.10       750.00           $75.00
                                Answers/counterclaims.

 11/26/2021   BLW     BL        Review answers and couter claims in allocation suit.    0.40       750.00          $300.00

 11/27/2021   RMP     BL        Review allocation schedule issues and telephone         0.40      1595.00          $638.00
                                conferences with J Dulberg re same.

 11/27/2021   EAW     BL        Review email from J. Rosell re: proposed schedule       0.10       925.00           $92.50
                                for allocation litigation.

 11/27/2021   JHR     BL        Correspondence with Easterday Family re: open           0.50       845.00          $422.50
                                litigation issues

 11/29/2021   MBL     BL        Confer with J. Rosell re allocation dispute and         0.20      1125.00          $225.00
                                conflict issues; emails with team and Easterday
                                counsel re same.




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 11/29/2021   EAW     BL        Review emails from PSZJ team and ED counsel re:        0.20        925.00          $185.00
                                allocation litigation.

 11/29/2021   JHR     BL        Call with B. Wallen re: allocation complaint           0.20        845.00          $169.00

 11/29/2021   JHR     BL        Correspondence with B. Wallen re: allocation           0.10        845.00           $84.50
                                complaint

 11/29/2021   JHR     BL        Call with C. Durbin re: hedging issues                 0.20        845.00          $169.00

 11/29/2021   BLW     BL        Research and begin preparing reply re:                 3.80        750.00      $2,850.00
                                counterclaims in allocation complaint.

 11/29/2021   DLM     BL        Create chart re: allocation complaint.                 2.40        395.00          $948.00

 11/30/2021   RMP     BL        Review Easterday schedule and telephone                0.60       1595.00          $957.00
                                conferences with J Rosell and J Dulberg re same.

 11/30/2021   RMP     BL        Review Easterday family real estate issues and         0.60       1595.00          $957.00
                                telephone conferences with Paladin and J Dulberg re
                                same.

 11/30/2021   RMP     BL        Review additional Easterday documents.                 0.60       1595.00          $957.00

 11/30/2021   MBL     BL        Emails with Easterday counsel re allocation            0.10       1125.00          $112.50
                                complaint scheduling.

 11/30/2021   EAW     BL        Review draft proposed scheduling order and related     0.40        925.00          $370.00
                                emails from PSZJ team and ED counsel.

 11/30/2021   JHR     BL        Correspondence with parties re: Easterday Family       0.20        845.00          $169.00
                                document production

 11/30/2021   JHR     BL        Call with P. Richter re: hedging investigation         0.50        845.00          $422.50

 11/30/2021   JHR     BL        Conference call with C. Durbin re: allocation          0.40        845.00          $338.00
                                complaint schedule

 11/30/2021   JHR     BL        Revise scheduling order                                0.50        845.00          $422.50

                                                                                       50.20                  $49,636.50

  Case Administration [B110]
 11/01/2021   PJJ     CA        Update critical dates memo, calendar entries and       0.30        460.00          $138.00
                                reminders.

 11/02/2021   PJJ     CA        Update WIP, critical dates memo, calendar entries      0.30        460.00          $138.00
                                and reminders.

 11/02/2021   JHR     CA        Review critical dates memorandum                       0.10        845.00           $84.50

 11/03/2021   KBD     CA        Participate in team WIP call                           0.80       1195.00          $956.00




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 11/03/2021   RMP     CA        Prepare for and participate on WIP call.               1.00      1595.00      $1,595.00

 11/03/2021   JWD     CA        Review and revise case WIP                             0.30      1025.00          $307.50

 11/03/2021   JWD     CA        Prep for and attend WIP call                           1.00      1025.00      $1,025.00

 11/03/2021   MBL     CA        Attend weekly WIP update call with team.               0.80      1125.00          $900.00

 11/03/2021   EAW     CA        Participate on WIP call.                               0.80       925.00          $740.00

 11/03/2021   JHR     CA        Revise WIP list and prepare for WIP call               0.30       845.00          $253.50

 11/03/2021   JHR     CA        Attend weekly PSZJ WIP call                            0.90       845.00          $760.50

 11/03/2021   PJL     CA        Attend WIP call.                                       0.80      1095.00          $876.00

 11/03/2021   BLW     CA        Attend Weekly WIP Call.                                0.80       750.00          $600.00

 11/03/2021   PJJ     CA        Attend WIP call.                                       0.90       460.00          $414.00

 11/04/2021   PJJ     CA        Update critical dates memo, calendar entries and       0.20       460.00           $92.00
                                reminders.

 11/08/2021   PJJ     CA        Update critical dates memo, calendar entries and       0.30       460.00          $138.00
                                reminders.

 11/09/2021   PJJ     CA        Update critical dates memo, calendar entries and       0.70       460.00          $322.00
                                reminders.

 11/09/2021   JWD     CA        Review calendar and crit dates and emails re same      0.20      1025.00          $205.00

 11/10/2021   KBD     CA        Participate in team WIP call                           1.00      1195.00      $1,195.00

 11/10/2021   JHR     CA        Call with P. Richter re: open case issues              0.50       845.00          $422.50

 11/10/2021   AJK     CA        WIP call.                                              1.00      1395.00      $1,395.00

 11/10/2021   PJJ     CA        WIP call.                                              1.30       460.00          $598.00

 11/10/2021   RMP     CA        Prepare for and participate on WIP call.               1.00      1595.00      $1,595.00

 11/10/2021   JWD     CA        Review and revise WIP                                  0.20      1025.00          $205.00

 11/10/2021   JWD     CA        Prep for and attend WIP call                           1.50      1025.00      $1,537.50

 11/10/2021   MBL     CA        Attend weekly update call with team.                   0.90      1125.00      $1,012.50

 11/10/2021   JHR     CA        Revise WIP list                                        0.20       845.00          $169.00

 11/10/2021   JHR     CA        Attend weekly WIP call                                 1.00       845.00          $845.00

 11/10/2021   PJL     CA        Prepare for and attend WIP Call.                       0.50      1095.00          $547.50

 11/10/2021   BLW     CA        Attend Weekly WIP Call.                                1.00       750.00          $750.00




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 11/11/2021   PJJ     CA        Draft 8th status report.                               2.30        460.00      $1,058.00

 11/12/2021   VLD     CA        Begin assembling documents for 11/17 hearing,          0.60        395.00          $237.00
                                including review of docket, critical dates memo and
                                pleadings.

 11/14/2021   JHR     CA        Revise 8th status report                               0.30        845.00          $253.50

 11/15/2021   JWD     CA        Review and revise status report                        0.60       1025.00          $615.00

 11/15/2021   MBL     CA        Review status conf statement.                          0.10       1125.00          $112.50

 11/16/2021   PJJ     CA        Update WIP, critical dates memo, calendar entries &    0.50        460.00          $230.00
                                reminders.

 11/16/2021   VLD     CA        Review docket, court calendar, critical dates memo,    1.10        395.00          $434.50
                                and pleadings and revise and update hearing binder
                                for Nov. 17 hearing.

 11/17/2021   KBD     CA        Participate in team WIP call                           0.50       1195.00          $597.50

 11/17/2021   PJJ     CA        WIP call.                                              0.50        460.00          $230.00

 11/17/2021   RMP     CA        Prepare for and participate on WIP call.               0.50       1595.00          $797.50

 11/17/2021   JWD     CA        Review and revise WIP and attend to issues re same     0.40       1025.00          $410.00

 11/17/2021   MBL     CA        Attend weekly update call with team.                   0.50       1125.00          $562.50

 11/17/2021   EAW     CA        Participate on WIP call.                               0.50        925.00          $462.50

 11/17/2021   JHR     CA        Revise WIP list                                        0.30        845.00          $253.50

 11/17/2021   JHR     CA        Attend weekly WIP call                                 0.50        845.00          $422.50

 11/17/2021   BLW     CA        Attend Weekly WIP Call (partial).                      0.40        750.00          $300.00

 11/17/2021   MBL     CA        Call with J. Rosell re hearing outcome.                0.20       1125.00          $225.00

 11/18/2021   JWD     CA        Work on updated crit dates and case admin matters      0.30       1025.00          $307.50

 11/18/2021   BLW     CA        Correspond with Mr. Dulberg re: sale and litigation    0.20        750.00          $150.00
                                issues.

 11/23/2021   JWD     CA        Review WIP list and emails with team re next call      0.20       1025.00          $205.00

 11/26/2021   JWD     CA        Review and revise WIP                                  0.20       1025.00          $205.00

 11/29/2021   PJJ     CA        Update WIP, critical dates memo, calendar entries &    0.40        460.00          $184.00
                                reminders.

 11/29/2021   JWD     CA        Review critical dates                                  0.10       1025.00          $102.50

                                                                                       31.80                  $28,172.50




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  Corporate Governance/Board Mtr
 11/03/2021   KBD     CG        Prepare agenda for Board meeting                       0.20      1195.00          $239.00

 11/03/2021   JWD     CG        Review and revise board agenda                         0.20      1025.00          $205.00

 11/05/2021   KBD     CG        Attend and participate in Board meeting                0.60      1195.00          $717.00

 11/05/2021   PJJ     CG        Attend board meeting.                                  0.90       460.00          $414.00

 11/05/2021   RMP     CG        Prepare for and participate on board call.             0.90      1595.00      $1,435.50

 11/05/2021   JWD     CG        Attend board call and follow up re next meeting        0.90      1025.00          $922.50

 11/05/2021   JHR     CG        Attend weekly board call                               0.90       845.00          $760.50

 11/08/2021   KBD     CG        Prepare minutes of Board meeting                       0.70      1195.00          $836.50

 11/08/2021   JWD     CG        Review and revise board meeting minutes                0.20      1025.00          $205.00

 11/10/2021   KBD     CG        Prepare agenda for Board meeting and related           0.20      1195.00          $239.00
                                correspondence

 11/10/2021   JWD     CG        Attend to issues re rescheduling next board call       1.20      1025.00      $1,230.00

 11/10/2021   JWD     CG        Review and revise board agenda                         0.30      1025.00          $307.50

 11/12/2021   JHR     CG        Attend weekly board call                               0.60       845.00          $507.00

 11/12/2021   PJL     CG        Attend Board Call and draft minutes.                   0.60      1095.00          $657.00

 11/12/2021   PJL     CG        Work on minutes and discuss with J. Dulberg.           0.50      1095.00          $547.50

 11/12/2021   RMP     CG        Prepare for and participate on board meeting and       1.10      1595.00      $1,754.50
                                telephone conference with TN re same as a
                                follow-up.

 11/12/2021   JWD     CG        Attend board meeting                                   0.60      1025.00          $615.00

 11/15/2021   KBD     CG        Prepare minutes from Board meeting and related         0.50      1195.00          $597.50
                                correspondence

 11/15/2021   JWD     CG        Review and revise board meeting minutes                0.20      1025.00          $205.00

 11/17/2021   KBD     CG        Draft agenda for Board meeting and related             0.10      1195.00          $119.50
                                correspondence

 11/17/2021   JWD     CG        Work on board meeting agenda and emails regarding      0.40      1025.00          $410.00
                                same

 11/18/2021   KBD     CG        Attend meeting of Board of Directors                   0.70      1195.00          $836.50

 11/18/2021   PJJ     CG        Attend board meeting.                                  0.80       460.00          $368.00




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 11/18/2021   JHR     CG        Attend weekly board meeting                             0.60       845.00          $507.00

 11/18/2021   RMP     CG        Prepare for and participate on board call.              0.80      1595.00      $1,276.00

 11/18/2021   JWD     CG        Attend board meeting                                    0.80      1025.00          $820.00

 11/19/2021   KBD     CG        Prepare minutes of meeting and related                  0.50      1195.00          $597.50
                                correspondence

 11/19/2021   JWD     CG        Review and revise board meeting minutes and             0.30      1025.00          $307.50
                                emails re same

 11/26/2021   KBD     CG        Prepare agenda for Board meeting and related            0.20      1195.00          $239.00
                                correspondence

 11/26/2021   JWD     CG        Review and revise board meeting agenda and emails       0.20      1025.00          $205.00
                                re same

 11/29/2021   KBD     CG        Correspondence relating to Board meeting                0.20      1195.00          $239.00

 11/29/2021   KBD     CG        Correspondence relating to Board meeting                0.20      1195.00          $239.00

 11/30/2021   KBD     CG        Revise board agenda and related correspondence          0.20      1195.00          $239.00

 11/30/2021   PJJ     CG        Attend board meeting.                                   0.50       460.00          $230.00

 11/30/2021   RMP     CG        Prepare for and participate on board call.              0.50      1595.00          $797.50

 11/30/2021   JWD     CG        Attend board meeting                                    0.50      1025.00          $512.50

 11/30/2021   JHR     CG        Attend weekly board meeting                             0.60       845.00          $507.00

                                                                                       19.40                  $20,845.00

  Claims Admin/Objections[B310]
 11/01/2021   MBL     CO        Attention to responses to Pru discovery.                0.10      1125.00          $112.50

 11/01/2021   EAW     CO        Finalize and coordinate service of responses to         0.70       925.00          $647.50
                                Prudential's discovery requests with related
                                document production.

 11/02/2021   RMP     CO        Review e-mails and telephone conference with M          0.40      1595.00          $638.00
                                Litvak re Pru settlement offer.

 11/02/2021   MBL     CO        Review proposal from Pru; coordinate with client        0.30      1125.00          $337.50
                                and team re same.

 11/02/2021   JHR     CO        Analyze Prudential settlement offer                     0.30       845.00          $253.50

 11/02/2021   JWD     CO        Review Prudential proposal and emails regarding         0.30      1025.00          $307.50
                                same




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 11/03/2021   RMP     CO        Review Pru offer and telephone conference with M         0.70      1595.00      $1,116.50
                                Litvak and Paladin re same.

 11/03/2021   MBL     CO        Emails with team and Pru counsel re settlement           0.60      1125.00          $675.00
                                proposal.

 11/03/2021   EAW     CO        Emails to/from PSZJ team re: Prudential settlement       0.20       925.00          $185.00
                                proposal and discovery deadlines.

 11/03/2021   JHR     CO        Analyze Prudential counter offer                         0.20       845.00          $169.00

 11/04/2021   RMP     CO        Follow-up with M Litvak re Pru.                          0.30      1595.00          $478.50

 11/04/2021   MBL     CO        Call with Pru counsel and team re settlement issues.     0.40      1125.00          $450.00

 11/04/2021   MBL     CO        Revise Pru settlement terms; email Pru counsel and       0.20      1125.00          $225.00
                                team re same.

 11/04/2021   EAW     CO        Review revised settlement proposal (Prudential).         0.10       925.00           $92.50

 11/04/2021   JHR     CO        Conference call with Prudential                          0.50       845.00          $422.50

 11/04/2021   RMP     CO        Attend conference call with Pru re settlement issues.    0.40      1595.00          $638.00

 11/04/2021   JWD     CO        Attend call with Pru re settlement                       0.40      1025.00          $410.00

 11/08/2021   RMP     CO        Conference call with Pru counsel and M Litvak re         0.40      1595.00          $638.00
                                settlement and telephone conference with M Litvak
                                re same.

 11/08/2021   RMP     CO        Review Pru settlement agreement and telephone            0.40      1595.00          $638.00
                                conference with M Litvak re same.

 11/08/2021   MBL     CO        Call with Pru counsel and team re settlement (0.3);      0.60      1125.00          $675.00
                                follow-up emails with committee counsel and client
                                re same (0.3).

 11/08/2021   MBL     CO        Draft settlement agreement with Pru; coordinate          0.50      1125.00          $562.50
                                same with Pru counsel.

 11/08/2021   EAW     CO        Review emails re: settlement and stay of discovery       0.10       925.00           $92.50
                                (Prudential).

 11/08/2021   JWD     CO        Review notes and attend call with Pru counsel re         0.40      1025.00          $410.00
                                settlement

 11/08/2021   JWD     CO        Emails with board and others re Pru settlement           0.20      1025.00          $205.00

 11/08/2021   JWD     CO        Review new filed claims                                  0.70      1025.00          $717.50

 11/09/2021   JHR     CO        Analyze Prudential settlement agreement and revise       0.40       845.00          $338.00
                                escrow account analysis




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 11/09/2021   RMP     CO        Review and respond to e-mails re Pru.                   0.40       1595.00          $638.00

 11/09/2021   MBL     CO        Emails with Pru counsel re settlement agreement;        0.30       1125.00          $337.50
                                revised same.

 11/09/2021   MBL     CO        Draft Pru settlement motion; coordinate same with       0.70       1125.00          $787.50
                                Pru counsel and client.

 11/09/2021   MBL     CO        Review Pru settlement escrow calculations; emails       0.10       1125.00          $112.50
                                with team re same.

 11/10/2021   JHR     CO        Correspondence with M. Litvak re: Prudential            0.10        845.00           $84.50
                                settlement

 11/10/2021   RMP     CO        Review Pru motion and telephone conference with         0.30       1595.00          $478.50
                                M Litvak re same.

 11/10/2021   MBL     CO        Emails with client and Pru counsel re Pru settlement    0.30       1125.00          $337.50
                                agreement.

 11/11/2021   RMP     CO        Review Pru settlement agreement and telephone           0.40       1595.00          $638.00
                                conferences with M Litvak re same.

 11/11/2021   MBL     CO        Review Pru revisions to settlement agreement;           0.30       1125.00          $337.50
                                coordinate with Pru counsel and client re same.

 11/11/2021   MBL     CO        Review and incorporate Pru comments to settlement       0.80       1125.00          $900.00
                                motion; incorporate same and coordinate filing.

 11/11/2021   JHR     CO        Analyze revised Prudential settlement agreement         0.10        845.00           $84.50

 11/11/2021   JWD     CO        Review Pru settlement docs and emails re same           0.30       1025.00          $307.50

 11/11/2021   MBL     CO        Review filed Pru settlement motion; coordinate with     0.10       1125.00          $112.50
                                client re same.

 11/29/2021   MBL     CO        Coordinate with client and opposing counsel re Pru      0.30       1125.00          $337.50
                                settlement order; review same.

 11/29/2021   BLW     CO        Correspondence with Paladin re: Segale Claim            0.30        750.00          $225.00
                                Complaint.

 11/29/2021   JWD     CO        Review Pru order and emails with team re same           0.20       1025.00          $205.00

                                                                                        14.80                  $17,358.50

  Compensation Prof. [B160]
 11/01/2021   PJJ     CP        Telephone conference with V. Arias regarding            0.20        460.00           $92.00
                                professional fee reconciliations.

 11/02/2021   PJJ     CP        Prepare August reconciliation.                          0.20        460.00           $92.00




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 11/02/2021   PJJ     CP        Update professional fee chart.                         0.50       460.00          $230.00

 11/02/2021   PJJ     CP        Review/revise September invoices.                      2.00       460.00          $920.00

 11/02/2021   JWD     CP        Review draft DWT application                           0.20      1025.00          $205.00

 11/03/2021   PJJ     CP        Draft September fee statement.                         0.40       460.00          $184.00

 11/03/2021   PJJ     CP        Prepare notice of exhibits to DWT 2nd interim fee      0.50       460.00          $230.00
                                application.

 11/03/2021   PJJ     CP        Review Asarco related entries. (No Charge)             0.70         0.00            $0.00

 11/03/2021   JWD     CP        Review entered Cooley order                            0.10      1025.00          $102.50

 11/03/2021   JWD     CP        Attend to issues regarding UST request regarding       0.10      1025.00          $102.50
                                LEDES for fee app

 11/03/2021   JWD     CP        Attend to issues regarding managing prof fee trust     0.30      1025.00          $307.50

 11/03/2021   JWD     CP        Attend to issues regarding UST request on fee app      0.40      1025.00          $410.00
                                reduction

 11/04/2021   PJJ     CP        Update professional fee tracking.                      1.70       460.00          $782.00

 11/04/2021   PJJ     CP        Revise order on 2nd interim fee application.           0.80       460.00          $368.00

 11/04/2021   PJJ     CP        Further revise and edits to September invoices.        1.30       460.00          $598.00

 11/04/2021   JWD     CP        Work on settlement with UST re fees                    0.20      1025.00          $205.00

 11/04/2021   JWD     CP        Review and revise fee app order                        0.20      1025.00          $205.00

 11/04/2021   JWD     CP        Work on bill review and next monthly app               0.60      1025.00          $615.00

 11/08/2021   PJJ     CP        Review DWT revised fee order (.2); email               0.30       460.00          $138.00
                                bankruptcy for filing (.1).

 11/09/2021   PJJ     CP        Update professional fee reconciliations and prepare    2.50       460.00      $1,150.00
                                wires for payment.

 11/09/2021   PJJ     CP        Draft September fee statement.                         1.50       460.00          $690.00

 11/09/2021   PJJ     CP        Prepare monthly fee statements for filing.             0.30       460.00          $138.00

 11/09/2021   JWD     CP        Review entered fee orders and oversee next set of      0.30      1025.00          $307.50
                                prof payments

 11/09/2021   JWD     CP        Review draft of Sept app and emails re same, review    0.30      1025.00          $307.50
                                notice

 11/16/2021   PJJ     CP        Update professional fee chart.                         0.20       460.00           $92.00

 11/17/2021   PJJ     CP        Process Paladin October invoice for payment.           0.20       460.00           $92.00




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 11/19/2021   JWD     CP        Work on monthly bill review                              0.50      1025.00          $512.50

 11/29/2021   JWD     CP        Emails with P Jeffries re board fees                     0.10      1025.00          $102.50

                                                                                        16.60                   $9,178.50

  Financial Filings [B110]
 11/18/2021   JWD     FF        Review MOR's                                             0.20      1025.00          $205.00

                                                                                         0.20                       $205.00

  Financing [B230]
 11/18/2021   JWD     FN        Review variance reports and emails re same               0.30      1025.00          $307.50

                                                                                         0.30                       $307.50

  Hearing
 11/17/2021   KBD     HE        Attend telephonic hearing                                1.30      1195.00      $1,553.50

 11/17/2021   JWD     HE        Attend hearing re all matters                            1.30      1025.00      $1,332.50

 11/17/2021   PJJ     HE        Attend 11/17 status conference (No Charge).              1.30         0.00            $0.00

 11/17/2021   RMP     HE        Prepare for and participate on status conference.        1.30      1595.00      $2,073.50

 11/17/2021   MBL     HE        Attend status hearing by phone (in part). (No            1.00         0.00            $0.00
                                Charge)

 11/17/2021   JHR     HE        Attend 11/17 hearing                                     1.40       845.00      $1,183.00

 11/17/2021   PJL     HE        Attend hearing in Easterday matter. (No Charge)          1.30         0.00            $0.00

 11/17/2021   BLW     HE        Attend Hearing re: Status conference; 9019 CFTC          1.40         0.00            $0.00
                                Motion; Easterday Family Litigation. (No Charge)

                                                                                        10.30                   $6,142.50

  Litigation (Non-Bankruptcy)
 11/15/2021   JWD     LN        Emails with R Keeton re removal deadline order           0.10      1025.00          $102.50

 11/15/2021   JWD     LN        Review filings re removal deadline order and             0.20      1025.00          $205.00
                                entered order

                                                                                         0.30                       $307.50

  Plan & Disclosure Stmt. [B320]
 11/01/2021   PJL     PD        Correspondence internally and externally with Rabo       1.80      1095.00      $1,971.00




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                                Bank regarding Subpoena for various appraisals.
 11/01/2021   PJJ     PD        Prepare notice of continuance of Disclosure               0.20       460.00           $92.00
                                Statement hearing.

 11/01/2021   RMP     PD        Review toggle plan issues and waterfall analysis and      1.30      1595.00      $2,073.50
                                review and respond to e-mails re same.

 11/01/2021   JWD     PD        Emails re notice of new DS hearing                        0.20      1025.00          $205.00

 11/01/2021   JWD     PD        Attend to issues re new plan update                       0.20      1025.00          $205.00

 11/01/2021   JWD     PD        Analyze and revise plan term sheet                        0.40      1025.00          $410.00

 11/01/2021   MBL     PD        Emails with client and team re plan waterfall             0.40      1125.00          $450.00
                                revisions.

 11/01/2021   MBL     PD        Revise plan term sheet.                                   0.20      1125.00          $225.00

 11/02/2021   PJL     PD        Correspondence drafted to and reviewed from Rabo          0.40      1095.00          $438.00
                                counsel regarding subpoena and receiving
                                information.

 11/02/2021   KBD     PD        Review revised proposed plan term sheet                   0.50      1195.00          $597.50

 11/02/2021   RMP     PD        Review revised toggle plan term sheet and telephone       1.40      1595.00      $2,233.00
                                conferences with M Litvak and conference with J
                                Dulberg re same.

 11/02/2021   RMP     PD        Review various tax analyses and documents and             1.60      1595.00      $2,552.00
                                telephone conference with Paladin re same.

 11/02/2021   JWD     PD        Work on comments to plan term sheet                       0.60      1025.00          $615.00

 11/02/2021   MBL     PD        Continue revisions to plan term sheet.                    1.30      1125.00      $1,462.50

 11/02/2021   MBL     PD        Emails with team and co-counsel re DS hearing             0.10      1125.00          $112.50
                                continuance.

 11/02/2021   JHR     PD        Analyze revised plan term sheet and related               0.90       845.00          $760.50
                                correspondence with M. Litvak

 11/03/2021   JWD     PD        Review Easterday production and correspodence             0.40      1025.00          $410.00

 11/03/2021   MBL     PD        Call with L. Miller re plan issues.                       0.20      1125.00          $225.00

 11/03/2021   MBL     PD        Further revisions to plan term sheet.                     0.60      1125.00          $675.00

 11/03/2021   MBL     PD        Call with J. Rosell re plan term sheet.                   0.30      1125.00          $337.50

 11/03/2021   MBL     PD        Address J. Rosell comments to plan term sheet;            0.40      1125.00          $450.00
                                revise same.

 11/03/2021   JHR     PD        Correspondence with M. Litvak re: plan issues             0.30       845.00          $253.50




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 11/03/2021   JHR     PD        Call with M. Litvak re: plan issues                     0.40       845.00          $338.00

 11/04/2021   KBD     PD        Review revised waterfall analysis and related           0.30      1195.00          $358.50
                                correspondence

 11/04/2021   JHR     PD        Analyze revised waterfall                               0.60       845.00          $507.00

 11/04/2021   JHR     PD        Conference call with PSZJ and Paladin re: Tyson         0.50       845.00          $422.50
                                strategy

 11/04/2021   RMP     PD        Attend client call re plan negotiations.                0.50      1595.00          $797.50

 11/04/2021   RMP     PD        Review and analyze revised version of plan term         0.80      1595.00      $1,276.00
                                sheet and conferences with M Litvak and J Dulberg
                                re same.

 11/04/2021   JWD     PD        Attend client call re plan negotiations                 0.50      1025.00          $512.50

 11/04/2021   MBL     PD        Review revised waterfall analysis from Paladin;         0.30      1125.00          $337.50
                                emails with team and client re same.

 11/04/2021   MBL     PD        Pre-call with team and client re plan and Tyson         0.50      1125.00          $562.50
                                claim issues.

 11/05/2021   KBD     PD        Review revised plan term sheet and related              0.30      1195.00          $358.50
                                correspondence

 11/05/2021   RMP     PD        Review revised term sheet and conference call with      0.90      1595.00      $1,435.50
                                Paladin and PSZJ re same.

 11/05/2021   MBL     PD        Review revised plan term sheet and waterfalls;          0.50      1125.00          $562.50
                                emails with team and client re same.

 11/05/2021   JHR     PD        Analyze revised plan term sheet and waterfall           0.80       845.00          $676.00

 11/08/2021   PJL     PD        Review Rabo correspondence and prepare for              1.60      1095.00      $1,752.00
                                document review.

 11/08/2021   KBD     PD        Review revised waterfall analysis                       0.20      1195.00          $239.00

 11/08/2021   RMP     PD        Attend call with Paladin re waterfall and plan.         0.90      1595.00      $1,435.50

 11/08/2021   RMP     PD        Attend to plan negotiations and follow-up with J        0.70      1595.00      $1,116.50
                                Dulberg re same.

 11/08/2021   RMP     PD        Review revised waterfall and conference with J          0.60      1595.00          $957.00
                                Dulberg re same.

 11/08/2021   RMP     PD        Review revised term sheet and telephone conference      0.60      1595.00          $957.00
                                with CB re same.

 11/08/2021   JWD     PD        Review updated waterfalls                               0.60      1025.00          $615.00




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 11/08/2021   JWD     PD        Attend call with Paladin re waterfall and plan          0.90      1025.00          $922.50

 11/08/2021   JWD     PD        Review further updated waterfall                        0.20      1025.00          $205.00

 11/08/2021   JWD     PD        Review updated plan term sheet and waterfall            0.30      1025.00          $307.50

 11/08/2021   JWD     PD        Attend to plan negotiations                             0.70      1025.00          $717.50

 11/08/2021   JWD     PD        Work on plan issues                                     0.60      1025.00          $615.00

 11/08/2021   MBL     PD        Call with client and team re plan term sheet and        0.90      1125.00      $1,012.50
                                waterfalls.

 11/08/2021   MBL     PD        Revise and update term sheet; review revised            0.50      1125.00          $562.50
                                waterfalls.

 11/08/2021   MBL     PD        Emails with team and Paladin re waterfall issues.       0.20      1125.00          $225.00

 11/08/2021   JHR     PD        Conference call with Paladin re: plan term sheet        0.90       845.00          $760.50

 11/08/2021   JHR     PD        Analyze revised plan term sheet                         0.40       845.00          $338.00

 11/09/2021   RMP     PD        Prepare for and participate on call with Paladin re     0.90      1595.00      $1,435.50
                                waterfall and plan.

 11/09/2021   RMP     PD        Review revised plan term sheet and various              0.90      1595.00      $1,435.50
                                telephone conferences re same.

 11/09/2021   RMP     PD        Review and analyze revised waterfall and telephone      0.60      1595.00          $957.00
                                conference with Paladin re same.

 11/09/2021   JWD     PD        Call with client team re waterfall                      0.50      1025.00          $512.50

 11/09/2021   JWD     PD        Review updated waterfall                                0.20      1025.00          $205.00

 11/09/2021   JWD     PD        Call with WTB counsel re plan                           0.30      1025.00          $307.50

 11/09/2021   JWD     PD        Review new Easterday production                         0.60      1025.00          $615.00

 11/09/2021   MBL     PD        Call with team and Paladin re plan term sheet and       0.50      1125.00          $562.50
                                waterfall issues.

 11/09/2021   MBL     PD        Revise and update plan term sheet; coordinate with      0.60      1125.00          $675.00
                                team re same.

 11/09/2021   MBL     PD        Update call with WTB re revised plan term sheet         0.30      1125.00          $337.50
                                and waterfalls.

 11/09/2021   MBL     PD        Update call with Farms committee re plan term sheet     0.50      1125.00          $562.50
                                and waterfalls.

 11/09/2021   MBL     PD        Coordinate with creditors re revised plan term sheet    0.40      1125.00          $450.00
                                and waterfalls (0.2); emails with team and call with
                                L. Miller re same (0.2).




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 11/09/2021   JHR     PD        Conference call with Washington Trust re: plan term      0.30       845.00          $253.50
                                sheet

 11/09/2021   JHR     PD        Analyze revised waterfall                                0.30       845.00          $253.50

 11/09/2021   JHR     PD        Conference call with Farms Committee re: plan term       0.50       845.00          $422.50
                                sheet

 11/09/2021   JHR     PD        Conference call with P. Richter re: revised waterfall    0.50       845.00          $422.50
                                analysis

 11/09/2021   JHR     PD        Analyze revised plan term sheet                          0.10       845.00           $84.50

 11/09/2021   PJL     PD        Review discovery material on real estate and             2.90      1095.00      $3,175.50
                                equipment appraisals from Rabo Agri Finance.

 11/10/2021   AJK     PD        Review waterfall analysis.                               0.30      1395.00          $418.50

 11/10/2021   RMP     PD        Review very preliminary analysis of Easterday            0.60      1595.00          $957.00
                                family real estate.

 11/10/2021   JWD     PD        Attend to issues re call with Easterday counsel          0.60      1025.00          $615.00

 11/10/2021   MBL     PD        Coordinate with team re DS revisions.                    0.10      1125.00          $112.50

 11/10/2021   JHR     PD        Call with FRI re: plan update                            0.30       845.00          $253.50

 11/10/2021   PJL     PD        Review Easterday disclosures on property held by         2.20      1095.00      $2,409.00
                                family or related entities.

 11/10/2021   PJL     PD        Correspondence to and from Rabo counsel regarding        1.40      1095.00      $1,533.00
                                appraisals including review of appraisals.

 11/11/2021   KBD     PD        Correspondence relating to preparation of disclosure     0.30      1195.00          $358.50
                                statement

 11/11/2021   AJK     PD        Review discovery request (informal).                     0.20      1395.00          $279.00

 11/11/2021   JWD     PD        Work on Easterday asset analysis and review              1.40      1025.00      $1,435.00
                                materials re same

 11/11/2021   JWD     PD        Call with P Labov re Easterday asset analysis            0.20      1025.00          $205.00

 11/11/2021   JWD     PD        Work on plan term sheet                                  0.70      1025.00          $717.50

 11/11/2021   MBL     PD        Emails with team re DS status.                           0.10      1125.00          $112.50

 11/12/2021   AJK     PD        Call re CHS re internal PSZJ team (strategy and          0.50      1395.00          $697.50
                                amendment issues).

 11/12/2021   RMP     PD        Review Amended Plan and various telephone                3.30      1595.00      $5,263.50
                                conferences and e-mails re same and review and
                                analyze revised waterfall.




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 11/12/2021   JWD     PD        Review materials from probate and emails with M          0.70      1025.00          $717.50
                                Widmeyer re same

 11/12/2021   MBL     PD        Draft amended plan.                                      6.20      1125.00      $6,975.00

 11/12/2021   MBL     PD        Call with P. Richter re plan issues.                     0.10      1125.00          $112.50

 11/14/2021   JHR     PD        Analyze revised plan                                     0.70       845.00          $591.50

 11/14/2021   KBD     PD        Review amended plan                                      0.30      1195.00          $358.50

 11/14/2021   KBD     PD        Revise disclosure statement per amended plan             2.70      1195.00      $3,226.50

 11/14/2021   MBL     PD        Review revised waterfall analysis from Paladin;          0.30      1125.00          $337.50
                                emails with team re same.

 11/14/2021   JHR     PD        Analyze revised plan waterfall                           0.30       845.00          $253.50

 11/15/2021   KBD     PD        Revisions to Disclosure Statement                        2.70      1195.00      $3,226.50

 11/15/2021   KBD     PD        Call w/PSZJ, Paladin, Easterday counsel and L.           0.70      1195.00          $836.50
                                Widner

 11/15/2021   KBD     PD        Call w/L. Miller regarding disclosure statement          0.60      1195.00          $717.00
                                matters

 11/15/2021   KBD     PD        Attend to correspondence among PSZJ and Paladin          0.10      1195.00          $119.50
                                regarding the Disclosure Statement

 11/15/2021   JWD     PD        Work on plan discovery issues                            0.80      1025.00          $820.00

 11/15/2021   RMP     PD        Prepare for and participate on meeting with              0.70      1595.00      $1,116.50
                                Easterday counsel.

 11/15/2021   RMP     PD        Review liquidation analysis issues.                      0.40      1595.00          $638.00

 11/15/2021   JWD     PD        Attend meeting with Easterday counsel                    0.70      1025.00          $717.50

 11/15/2021   JWD     PD        Work on Easterday family asset analysis issues           0.60      1025.00          $615.00

 11/15/2021   JWD     PD        Call with Ranches Committee re plan update               1.10      1025.00      $1,127.50

 11/15/2021   MBL     PD        Emails with team and client re revised waterfall;        0.20      1125.00          $225.00
                                review same.

 11/15/2021   MBL     PD        Revisions to plan with J. Rosell comments.               0.20      1125.00          $225.00

 11/15/2021   MBL     PD        Attend call with team and Easterday counsel re plan      0.70      1125.00          $787.50
                                issues.

 11/15/2021   MBL     PD        Call with Ranches committee professionals re plan        1.10      1125.00      $1,237.50
                                and waterfall issues.

 11/15/2021   MBL     PD        Calls with L. Miller and K. Dine re DS issues.           0.30      1125.00          $337.50




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 11/15/2021   JHR     PD        Conference call with Easterday Family re: plan term     0.70       845.00          $591.50
                                sheet

 11/15/2021   JHR     PD        Conference call with Ranches Committee re: plan         1.10       845.00          $929.50
                                issues

 11/15/2021   PJL     PD        Attend call with Easterday counsel regarding plan       0.40      1095.00          $438.00
                                and disclosure statement.

 11/16/2021   KBD     PD        Analyze documents and information relating to           3.20      1195.00      $3,824.00
                                properties and assets of Easterday family w/P.
                                Labov (for part)

 11/16/2021   JHR     PD        Call with P. Richter re: appraisal issues               0.20       845.00          $169.00

 11/16/2021   RMP     PD        Review Idaho property issues and telephone              1.10      1595.00      $1,754.50
                                conferences and e-mails re same.

 11/16/2021   RMP     PD        Review plan issues and options and Easterday            1.10      1595.00      $1,754.50
                                family issues.

 11/16/2021   MBL     PD        Review Idaho asset info.                                0.20      1125.00          $225.00

 11/16/2021   PJL     PD        Review documents relating to Easterday                  5.60      1095.00      $6,132.00
                                assets/value.

 11/17/2021   KBD     PD        Revisions to disclosure statement                       3.20      1195.00      $3,824.00

 11/17/2021   JWD     PD        Review further amended plan draft and emails re         0.70      1025.00          $717.50
                                same

 11/17/2021   PJL     PD        Review of additional information provided by            2.90      1095.00      $3,175.50
                                Easterday Family attorneys.

 11/18/2021   KBD     PD        Revisions to disclosure statement draft and related     3.30      1195.00      $3,943.50
                                correspondence

 11/18/2021   KBD     PD        Revisions to solicitation procedures order and          0.40      1195.00          $478.00
                                related exhibits

 11/18/2021   RMP     PD        Conference call re allocation complaint and             1.30      1595.00      $2,073.50
                                Easterday family assets and prepare for same.

 11/18/2021   JWD     PD        Review and revise disclosure statement                  0.80      1025.00          $820.00

 11/18/2021   JWD     PD        Call with J Rosell re plan mediator and meeting with    0.30      1025.00          $307.50
                                R Pachulski re same

 11/18/2021   JWD     PD        Emails with M Litvak re plan                            0.10      1025.00          $102.50

 11/18/2021   MBL     PD        Coordinate with opposing counsel re draft amended       0.20      1125.00          $225.00
                                plan.




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 11/18/2021   MBL     PD        Review and comment on amended DS; emails with            1.00      1125.00      $1,125.00
                                team re same.

 11/19/2021   KBD     PD        Review documents relating Easterday assets               1.30      1195.00      $1,553.50

 11/19/2021   KBD     PD        Revisions to disclosure statement and related            0.30      1195.00          $358.50
                                correspondence

 11/19/2021   RMP     PD        Review and comment on amended disclosure                 2.20      1595.00      $3,509.00
                                statement and various telephone conferences re
                                same.

 11/19/2021   JWD     PD        Review Easterday discovery request re plan and           0.90      1025.00          $922.50
                                emails re same (.3); work on same (.6)

 11/20/2021   KBD     PD        Revisions to disclosure statement                        0.80      1195.00          $956.00

 11/20/2021   JHR     PD        Revise draft disclosure statement                        0.60       845.00          $507.00

 11/22/2021   KBD     PD        Call w/PSZJ team regarding issues relating to plan       0.70      1195.00          $836.50

 11/22/2021   KBD     PD        Prepare chart of Easterday properties and assets w/P.    3.80      1195.00      $4,541.00
                                Labov (for part)

 11/22/2021   KBD     PD        Revisions to disclosure statement                        1.60      1195.00      $1,912.00

 11/22/2021   JHR     PD        Call with DWT re: Idaho property                         0.10       845.00           $84.50

 11/22/2021   RMP     PD        Review revised plan and waterfalls.                      0.70      1595.00      $1,116.50

 11/22/2021   JWD     PD        Review Tyson counsel emails re Easterday plan            0.20      1025.00          $205.00
                                discovery and emails with team re same

 11/22/2021   JWD     PD        Review waterfall (.2); Attend call with Paladin team     0.90      1025.00          $922.50
                                regarding plan and waterfall (.7)

 11/22/2021   JWD     PD        Review tax counsel update to plan                        0.50      1025.00          $512.50

 11/22/2021   MBL     PD        Call with team re plan and Easterday issues (0.6);       0.70      1125.00          $787.50
                                follow-up emails with creditor constituents re same
                                (0.1).

 11/22/2021   MBL     PD        Revise amended plan (0.8); coordinate with team          0.90      1125.00      $1,012.50
                                and client re same (0.1).

 11/22/2021   MBL     PD        Address inquiry from J. Indyke re plan.                  0.10      1125.00          $112.50

 11/22/2021   PJL     PD        Review Everlaw documents to determine Easterday          3.90      1095.00      $4,270.50
                                Family assets.

 11/23/2021   KBD     PD        Prepare chart of Easterday assets w/P. Labov (for        2.20      1195.00      $2,629.00
                                part) including review of documents relating to
                                same




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 11/23/2021   KBD     PD        Revisions to disclosure statement and related            0.50      1195.00          $597.50
                                correspondence

 11/23/2021   PJJ     PD        Telephone conference with Paul Labov regarding           0.50       460.00          $230.00
                                documents relating to Easterday property values (.2);
                                research and download same (.3).

 11/23/2021   JHR     PD        Correspondence with Easterday Family re: real            0.30       845.00          $253.50
                                estate issues

 11/23/2021   JWD     PD        Emails with J Indyke and PSZJ team re plan call          0.20      1025.00          $205.00

 11/23/2021   JWD     PD        Review and notes re new plan version                     0.60      1025.00          $615.00

 11/23/2021   MBL     PD        Review updated DS; emails with K. Dine re same.          0.40      1125.00          $450.00

 11/23/2021   MBL     PD        Revise plan with further comments and updates;           0.50      1125.00          $562.50
                                coordinate same with creditor counsel.

 11/23/2021   MBL     PD        Call with L. Miller re waterfalls exhibit.               0.20      1125.00          $225.00

 11/23/2021   MBL     PD        Further call with L. Miller re waterfall issues.         0.20      1125.00          $225.00

 11/23/2021   PJL     PD        Continued review of documents in relation to             3.20      1095.00      $3,504.00
                                Easterday family assets and internal discussion with
                                K. Dine regading spreadsheet.

 11/24/2021   KBD     PD        Correspondence relating to plan matters                  0.20      1195.00          $239.00

 11/24/2021   KBD     PD        Review waterfall and related correspondence              0.30      1195.00          $358.50

 11/24/2021   KBD     PD        Revisions to Disclosure Statement                        0.80      1195.00          $956.00

 11/24/2021   KBD     PD        Draft amended solicitation procedures order              3.70      1195.00      $4,421.50

 11/24/2021   RMP     PD        Review Waterfall and notes thereto and analyze           0.70      1595.00      $1,116.50
                                same.

 11/24/2021   RMP     PD        Review updated disclosure statement and conference       0.40      1595.00          $638.00
                                with J Dulberg re same.

 11/24/2021   JWD     PD        Review waterfall update                                  0.50      1025.00          $512.50

 11/24/2021   MBL     PD        Call with L. Miller re waterfalls.                       0.20      1125.00          $225.00

 11/24/2021   MBL     PD        Review and comment on waterfall notes and                1.00      1125.00      $1,125.00
                                assumptions; emails with client and team re same.

 11/24/2021   MBL     PD        Revise plan with latest updates; coordinate with         0.40      1125.00          $450.00
                                client and team re same.

 11/25/2021   RMP     PD        Review and analyze revised waterfall notes.              0.80      1595.00      $1,276.00

 11/26/2021   KBD     PD        Prepare amended solicitation procedures order            2.20      1195.00      $2,629.00




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 11/26/2021   KBD     PD        Revisions to disclosure statement                       0.60      1195.00          $717.00

 11/26/2021   RMP     PD        Review revised solicitation order and telephone         0.40      1595.00          $638.00
                                conference with K Dine re same.

 11/26/2021   JWD     PD        Review various emails and updates re plan and discl     0.80      1025.00          $820.00
                                stmt; work on issues for same

 11/26/2021   JWD     PD        Review Tyson corr re plan and emails re same            0.20      1025.00          $205.00

 11/26/2021   JWD     PD        Call with Tyson re plan                                 1.00      1025.00      $1,025.00

 11/26/2021   MBL     PD        Emails with team and client re plan issues.             0.20      1125.00          $225.00

 11/26/2021   MBL     PD        Call with Tyson counsel and team re plan issues.        1.00      1125.00      $1,125.00

 11/26/2021   MBL     PD        Review revised waterfall notes (0.2); call with L.      0.50      1125.00          $562.50
                                Miller re same (0.3).

 11/26/2021   MBL     PD        Revise plan with Tyson input; coordinate same with      0.70      1125.00          $787.50
                                team and client.

 11/26/2021   MBL     PD        Review and comment on solicitation procedures           0.50      1125.00          $562.50
                                order; emails with team re same.

 11/26/2021   MBL     PD        Revise and comment on updated waterfalls and            0.90      1125.00      $1,012.50
                                notes.

 11/26/2021   MBL     PD        Further call with L. Miller re plan comments;           0.40      1125.00          $450.00
                                incorporate same.

 11/27/2021   RMP     PD        Review Tyson waterfall issue and respond to e-mails     0.40      1595.00          $638.00
                                re same.

 11/27/2021   RMP     PD        Review revision to waterfall notes.                     0.40      1595.00          $638.00

 11/27/2021   JWD     PD        Emails re Tyson issues under plan                       0.20      1025.00          $205.00

 11/27/2021   MBL     PD        Review and revise waterfall exhibit to plan (0.5);      1.20      1125.00      $1,350.00
                                emails with client and creditor counsel re plan and
                                waterfall issues (0.7).

 11/27/2021   MBL     PD        Calls with L. Miller re waterfall issues.               0.30      1125.00          $337.50

 11/27/2021   MBL     PD        Further review and revisions to waterfalls; emails      1.70      1125.00      $1,912.50
                                and calls with L. Miller re same.

 11/27/2021   MBL     PD        Revise plan with latest updates; coordinate with K.     0.30      1125.00          $337.50
                                Dine re DS.

 11/28/2021   KBD     PD        Revisions to Disclosure Statement                       0.30      1195.00          $358.50

 11/28/2021   KBD     PD        Review correspondence regarding revisions to            0.20      1195.00          $239.00
                                waterfall




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 11/28/2021   MBL     PD        Follow-up with team re waterfall issues.                  0.10      1125.00          $112.50

 11/28/2021   JWD     PD        Calls with Richard Pachulski and Maxim Litvak             0.90      1025.00          $922.50
                                regarding Tyson issues (.3); and analyze same (.6)

 11/29/2021   JWD     PD        Call with Tyson counsel re plan                           0.50      1025.00          $512.50

 11/29/2021   KBD     PD        Review updated waterfall analysis                         0.30      1195.00          $358.50

 11/29/2021   KBD     PD        Correspondence among PSZJ and other parties               0.40      1195.00          $478.00
                                relating to plan and disclosure statement

 11/29/2021   KBD     PD        Review chart regarding asset ownership                    0.20      1195.00          $239.00

 11/29/2021   RMP     PD        Review revised plan and waterfalls and telephone          0.40      1595.00          $638.00
                                conference with M Litvak re same.

 11/29/2021   JWD     PD        Work on issues for calls with committees and review       0.90      1025.00          $922.50
                                plan and DS update

 11/29/2021   JWD     PD        Attend to issues re board meeting prep and plan           0.50      1025.00          $512.50

 11/29/2021   MBL     PD        Call with Tyson counsel and J. Dulberg re plan            0.70      1125.00          $787.50
                                waterfalls (0.5); prep for call (0.2).

 11/29/2021   MBL     PD        Revise plan and waterfalls; coordinate same with          1.00      1125.00      $1,125.00
                                creditor constituents.

 11/29/2021   MBL     PD        Review revised DS; emails with K. Dine re plan and        0.30      1125.00          $337.50
                                DS issues.

 11/29/2021   PJL     PD        Review Easterday Family documents.                        1.60      1095.00      $1,752.00

 11/30/2021   KHB     PD        Review Easterday documents and correspondence             0.40      1225.00          $490.00
                                relating to assets w/P. Labov (for part)

 11/30/2021   PJL     PD        Further review of documents and revisions to chart        4.80      1095.00      $5,256.00
                                of Easterday family.

 11/30/2021   KBD     PD        Review and prepare correspondence regarding plan,         0.30      1195.00          $358.50
                                disclosure statement and solicitation procedures

 11/30/2021   KBD     PD        Revise solicitation procedures order (.30)                0.30      1195.00          $358.50

 11/30/2021   MBL     PD        Coordinate with local counsel re plan and DS filings.     0.10      1125.00          $112.50

 11/30/2021   MBL     PD        Call with Farms committee counsel and team re plan        1.50      1125.00      $1,687.50
                                and allocation issues.

                                                                                        172.10                 $202,270.00




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                                                                                      Hours           Rate         Amount

  Retention of Prof. [B160]
 11/29/2021   RMP     RP        Review e-mail from Easterdays re conflict and           0.70      1595.00       $1,116.50
                                telephone conferences with J Dulberg and A
                                Kornfeld re same.

                                                                                        0.70                    $1,116.50

  Tax Issues [B240]
 11/02/2021   JWD     TI        Work on tax update for all parties                      1.30      1025.00       $1,332.50

 11/23/2021   JHR     TI        Call with P. Richter re: tax issues                     0.20       845.00          $169.00

                                                                                        1.50                    $1,501.50

  TOTAL SERVICES FOR THIS MATTER:                                                                            $340,251.00




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 Expenses
 11/02/2021   LN         20375.00001 Lexis Charges for 11-02-21                           43.20
 11/02/2021   LN         20375.00001 Lexis Charges for 11-02-21                           20.72
 11/03/2021   LN         20375.00001 Lexis Charges for 11-03-21                           41.43
 11/03/2021   RE2        SCAN/COPY ( 5 @0.10 PER PG)                                          0.50
 11/04/2021   CC         Conference Call [E105] AT&T Conference Call, MBL                     6.43
 11/04/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 11/04/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                          0.70
 11/04/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                          0.70
 11/04/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                          0.70
 11/04/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 11/08/2021   CC         Conference Call [E105] AT&T Conference Call, MBL                 11.73
 11/09/2021   CC         Conference Call [E105] AT&T Conference Call, MBL                     5.65
 11/10/2021   LN         20375.00001 Lexis Charges for 11-10-21                               7.19
 11/12/2021   CC         Conference Call [E105] AT&T Conference Call, AJK                     3.43
 11/12/2021   RE2        SCAN/COPY ( 10 @0.10 PER PG)                                         1.00
 11/12/2021   RE2        SCAN/COPY ( 37 @0.10 PER PG)                                         3.70
 11/12/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 11/12/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 11/12/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)                                          0.40
 11/15/2021   BM         Business Meal [E111] Seamless, No 1 Kitchen, Working             33.68
                         Meal, S. Winns
 11/15/2021   BM         Business Meal [E111] Seamless, No1 Kitchen, Working              33.68
                         Meal, S. Winns
 11/15/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                          0.60
 11/15/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                          0.60
 11/15/2021   RE2        SCAN/COPY ( 83 @0.10 PER PG)                                         8.30
 11/15/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 11/15/2021   RE2        SCAN/COPY ( 928 @0.10 PER PG)                                    92.80
 11/15/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 11/15/2021   RE2        SCAN/COPY ( 34 @0.10 PER PG)                                         3.40
 11/15/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 11/15/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                          0.60
 11/15/2021   RE2        SCAN/COPY ( 34 @0.10 PER PG)                                         3.40




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 11/15/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                        1.50
 11/15/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)                                         0.40
 11/15/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                         0.20
 11/16/2021   RE2        SCAN/COPY ( 37 @0.10 PER PG)                                        3.70
 11/17/2021   BM         Business Meal [E111]One Market, working meal, JHR               26.43
 11/17/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                         0.60
 11/18/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)                                        1.20
 11/18/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                         0.10
 11/18/2021   RE2        SCAN/COPY ( 11 @0.10 PER PG)                                        1.10
 11/18/2021   RE2        SCAN/COPY ( 11 @0.10 PER PG)                                        1.10
 11/18/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                         0.30
 11/18/2021   RE2        SCAN/COPY ( 10 @0.10 PER PG)                                        1.00
 11/18/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)                                        1.20
 11/18/2021   RE2        SCAN/COPY ( 13 @0.10 PER PG)                                        1.30
 11/18/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                         0.30
 11/18/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)                                         0.40
 11/18/2021   RE2        SCAN/COPY ( 18 @0.10 PER PG)                                        1.80
 11/18/2021   RE2        SCAN/COPY ( 9 @0.10 PER PG)                                         0.90
 11/18/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                         0.30
 11/18/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                         0.10
 11/18/2021   RE2        SCAN/COPY ( 10 @0.10 PER PG)                                        1.00
 11/18/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                         0.70
 11/18/2021   RE2        SCAN/COPY ( 34 @0.10 PER PG)                                        3.40
 11/18/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                         0.10
 11/18/2021   RE2        SCAN/COPY ( 46 @0.10 PER PG)                                        4.60
 11/18/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                         0.60
 11/18/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)                                         0.80
 11/18/2021   RE2        SCAN/COPY ( 25 @0.10 PER PG)                                        2.50
 11/18/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)                                         0.40
 11/18/2021   RE2        SCAN/COPY ( 9 @0.10 PER PG)                                         0.90
 11/18/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)                                         0.40
 11/18/2021   RE2        SCAN/COPY ( 4 @0.10 PER PG)                                         0.40
 11/18/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                         0.20
 11/18/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                        1.40




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 11/18/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                            0.20
 11/18/2021   RE2        SCAN/COPY ( 19 @0.10 PER PG)                                           1.90
 11/19/2021   LN         20375.00001 Lexis Charges for 11-19-21                              21.60
 11/29/2021   CC         Conference Call [E105] AT&T Conference Call, MBL                       3.88
 11/29/2021   LN         20375.00001 Lexis Charges for 11-29-21                              69.11
 11/30/2021   OS         Everlaw, Inv. 48685, Easterday database for the month of        76,978.00
                         November
 11/30/2021   PAC        Pacer - Court Research                                              17.70

   Total Expenses for this Matter                                                     $77,479.86




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                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        11/30/2021

Total Fees                                                                                            $340,251.00

Total Expenses                                                                                          77,479.86

Total Due on Current Invoice                                                                          $417,730.86

  Outstanding Balance from prior invoices as of        11/30/2021          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed         Expenses Billed             Balance Due
 128805                   09/30/2021               $572,033.50           $78,257.51                  $114,406.70

 129107                   10/31/2021               $360,215.50           $77,093.49                  $437,308.99

             Total Amount Due on Current and Prior Invoices:                                          $969,446.55




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                                    Pachulski Stang Ziehl & Jones LLP
                                            10100 Santa Monica Blvd.
                                                   13th Floor
                                             Los Angeles, CA 90067
                                                                         November 30, 2021
Peter Richter                                                            Invoice 129197
Paladin Management                                                       Client  20375
200 South Wacker Drive 31st floor                                        Matter  00002
Chicago, IL 60606
                                                                                 JWD

RE: Ranches Post-Petition

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 11/30/2021
                FEES                                                     $148,349.50
                EXPENSES                                                      $80.36
                TOTAL CURRENT CHARGES                                    $148,429.86

                BALANCE FORWARD                                          $239,534.00
                TOTAL BALANCE DUE                                        $387,963.86




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  Summary of Services by Professional
  ID        Name                                    Title                 Rate        Hours              Amount

 AJK        Kornfeld, Alan J.                       Partner             1395.00        6.10         $8,509.50

 BLW        Wallen , Ben L                          Associate            750.00       65.00        $48,750.00

 EAW        Wagner, Elissa A.                       Counsel              925.00        0.50          $462.50

 JHR        Rosell, Jason H.                        Partner              845.00        7.60         $6,422.00

 JWD        Dulberg, Jeffrey W.                     Partner             1025.00       12.00        $12,300.00

 KBD        Dine, Karen B.                          Counsel             1195.00       16.40        $19,598.00

 MBL        Litvak, Maxim B.                        Partner             1125.00        4.30         $4,837.50

 PJJ        Jeffries, Patricia J.                   Paralegal            460.00        0.40          $184.00

 PJL        Labov, Paul John                        Partner             1095.00       27.70        $30,331.50

 RMP        Pachulski, Richard M.                   Partner             1595.00        8.60        $13,717.00

 TCF        Flanagan, Tavi C.                       Counsel              875.00        3.70         $3,237.50

                                                                                    152.30         $148,349.50




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  Summary of Services by Task Code
  Task Code         Description                                                 Hours                       Amount

 AA                 Asset Analysis/Recovery[B120]                               11.70                  $14,241.50

 BL                 Bankruptcy Litigation [L430]                                 5.40                   $5,368.00

 CO                 Claims Admin/Objections[B310]                              105.00                  $96,986.50

 CP                 Compensation Prof. [B160]                                    0.60                       $615.00

 FF                 Financial Filings [B110]                                     0.10                        $84.50

 GC                 General Creditors Comm. [B150]                               0.70                       $717.50

 LN                 Litigation (Non-Bankruptcy)                                 16.90                  $14,805.00

 PD                 Plan & Disclosure Stmt. [B320]                              11.90                  $15,531.50

                                                                               152.30                 $148,349.50




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Easterday Ranches Inc.                                                            Invoice 129197
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  Summary of Expenses
  Description                                                      $80.36                      Amount
Federal Express [E108]                                                                         $66.45
Lexis/Nexis- Legal Research [E                                                                  $7.19
Pacer - Court Research                                                                          $4.60
Postage [E108]                                                                                  $2.12

                                                                                               $80.36




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                                                                                     Hours           Rate         Amount

  Asset Analysis/Recovery[B120]
 11/01/2021   AJK     AA        Attention to CHS equity litigation issues.             2.80      1395.00      $3,906.00

 11/01/2021   RMP     AA        Review CHS correspondence and conference with J        0.40      1595.00          $638.00
                                Dulberg re same.

 11/01/2021   TCF     AA        Attention to CHS issues and demand.                    0.40       875.00          $350.00

 11/01/2021   JHR     AA        Call with A. Kornfeld re: CHS issues                   0.20       845.00          $169.00

 11/03/2021   AJK     AA        Attention to CHS issues.                               0.20      1395.00          $279.00

 11/03/2021   AJK     AA        Attention to CHS letter.                               0.40      1395.00          $558.00

 11/03/2021   AJK     AA        Finalize letter to CHS.                                0.30      1395.00          $418.50

 11/03/2021   RMP     AA        Review revised CHS letter and telephone conference     0.40      1595.00          $638.00
                                re same.

 11/03/2021   JWD     AA        Review and comment to CHS redemption letter            0.20      1025.00          $205.00

 11/03/2021   TCF     AA        Review and analysis of CHS redemption issues.          0.20       875.00          $175.00

 11/03/2021   TCF     AA        Attend to CHS redemption and payment demand            0.60       875.00          $525.00
                                issues.

 11/04/2021   AJK     AA        Attention to issues re CHS equity.                     0.70      1395.00          $976.50

 11/04/2021   TCF     AA        Review and analysis of CHS redemption and              0.40       875.00          $350.00
                                payment demand matters.

 11/09/2021   JHR     AA        Correspondence with A. Kornfeld and T. Flanagan        0.20       845.00          $169.00
                                re: CHS issues

 11/09/2021   TCF     AA        Review and analysis of CHS issues.                     0.10       875.00           $87.50

 11/10/2021   TCF     AA        Review and analysis of CHS issues.                     0.20       875.00          $175.00

 11/12/2021   TCF     AA        Review and analysis of and work relating to CHS        0.30       875.00          $262.50
                                issues.

 11/15/2021   AJK     AA        Prepare for call with M Stewart (Faegre).              1.20      1395.00      $1,674.00

 11/15/2021   AJK     AA        Call with M Stewart re CHS issues.                     0.50      1395.00          $697.50

 11/15/2021   RMP     AA        Telephone conferences and e-mails re CHS issues.       0.30      1595.00          $478.50

 11/15/2021   JHR     AA        Conference call with CHS                               0.50       845.00          $422.50

 11/15/2021   JHR     AA        Follow-up call with A. Kornfeld re: CHS issues         0.10       845.00           $84.50

 11/15/2021   TCF     AA        Review and analysis of CHS patronage equity            0.20       875.00          $175.00
                                recovery issues.




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 11/15/2021   TCF     AA        Telephone conference PSZJ team and counsel for          0.50       875.00          $437.50
                                CHS regarding patronage equity issues.

 11/19/2021   JWD     AA        Work on CHS issue and emails re same                    0.20      1025.00          $205.00

 11/29/2021   EAW     AA        Review Tyson emails re: hedging and related email       0.20       925.00          $185.00
                                from J. Roselll.

                                                                                       11.70                  $14,241.50

  Bankruptcy Litigation [L430]
 11/01/2021   JHR     BL        Revise CHS demand letter                                0.70       845.00          $591.50

 11/01/2021   JHR     BL        Correspondence with client re: CHS demand letter        0.20       845.00          $169.00

 11/01/2021   JHR     BL        Review CHS draft document requests and related          0.50       845.00          $422.50
                                research

 11/01/2021   JHR     BL        Call with A. Kornfeld re: discovery issues              0.20       845.00          $169.00

 11/01/2021   JHR     BL        Call with T. Buford re: 2004 motion                     0.20       845.00          $169.00

 11/01/2021   JHR     BL        Prepare information for 2004 motion                     0.90       845.00          $760.50

 11/03/2021   JHR     BL        Call with P. Richter re: CHS issues                     0.10       845.00           $84.50

 11/03/2021   JHR     BL        Correspondence with P. Richter re: CHS                  0.10       845.00           $84.50

 11/03/2021   JHR     BL        Revise CHS demand letter                                0.20       845.00          $169.00

 11/18/2021   KBD     BL        Analysis of documents and information from              2.30      1195.00      $2,748.50
                                Easterday Family w/P. Labov (for part)

                                                                                        5.40                   $5,368.00

  Claims Admin/Objections[B310]
 11/01/2021   JWD     CO        Analyze issues re Segale claim                          0.40      1025.00          $410.00

 11/01/2021   PJL     CO        Segale follow up with various parties.                  1.10      1095.00      $1,204.50

 11/01/2021   KBD     CO        Telephone conference with P. Labov regarding            0.10      1195.00          $119.50
                                Segale status

 11/01/2021   KBD     CO        Correspondence relating to Segale matters               0.10      1195.00          $119.50

 11/02/2021   JWD     CO        Review notes and call with P Labov re Segale obj        0.20      1025.00          $205.00

 11/02/2021   PJL     CO        Follow up on open Segale issues .                       1.30      1095.00      $1,423.50

 11/02/2021   BLW     CO        Call with Ms. Dine and Mr. Labov re: Claim              0.40       750.00          $300.00
                                Objection.




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 11/02/2021   BLW     CO        Review Materials from Ms. Dine re: Claim                 4.10       750.00      $3,075.00
                                Objection and research re: same.

 11/02/2021   KBD     CO        Analyze Segale claims and objection w/P. Labov           1.10      1195.00      $1,314.50
                                and B. Wallen (for part)

 11/03/2021   RMP     CO        Review analysis of Tyson claim and telephone             1.30      1595.00      $2,073.50
                                conferences with A Kornfeld and J Dulberg re same.

 11/03/2021   MBL     CO        Review Ranches memo re Tyson claims.                     0.40      1125.00          $450.00

 11/03/2021   MBL     CO        Call with Ranches committee re Tyson claim issues.       1.00      1125.00      $1,125.00

 11/03/2021   JHR     CO        Analyze Ranches Committee memorandum re:                 0.50       845.00          $422.50
                                Tyson claim

 11/03/2021   PJL     CO        Conference with B. Wallen regarding Segale claim         0.40      1095.00          $438.00
                                objection.

 11/03/2021   PJL     CO        Review bankruptcy rules on claims objections.            1.30      1095.00      $1,423.50

 11/03/2021   BLW     CO        Research re: Claim Objection.                            6.80       750.00      $5,100.00

 11/03/2021   BLW     CO        Call with Mr. Labov re: Claim Objection.                 0.20       750.00          $150.00

 11/04/2021   EAW     CO        Review presentation re: Tyson claim.                     0.30       925.00          $277.50

 11/04/2021   PJL     CO        Further internal discussion and correspondence           2.90      1095.00      $3,175.50
                                reviewed and responded to regarding Segale
                                litigation, including with internal team, Segale
                                Counsel, and Ranches Counsel.

 11/04/2021   BLW     CO        Conduct supplemental research re: claim objection.       0.40       750.00          $300.00

 11/04/2021   BLW     CO        Correspond re: Claim Objection next steps.               0.50       750.00          $375.00

 11/04/2021   KBD     CO        Analysis of issues relating to Segale w/P. Labov (for    0.40      1195.00          $478.00
                                part)

 11/04/2021   KBD     CO        Correspondence relating to Segale claim matters          0.30      1195.00          $358.50

 11/05/2021   KBD     CO        Telephone conference with T. Burford and P. Labov        0.20      1195.00          $239.00
                                regarding Segale (.20).

 11/05/2021   PJL     CO        Prepare for and attend Segale Zoom call.                 0.80      1095.00          $876.00

 11/05/2021   BLW     CO        Draft Complaint re: asserted secured claim.              4.20       750.00      $3,150.00

 11/05/2021   KBD     CO        Telephone conference w/J. Indyke, C. Durbin and P.       0.50      1195.00          $597.50
                                Labov regarding Segale

 11/06/2021   BLW     CO        Draft Complaint re: asserted secured claim.              2.30       750.00      $1,725.00

 11/08/2021   BLW     CO        Draft complaint re: asserted secured claim.              2.40       750.00      $1,800.00




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                                                                                          Hours          Rate         Amount

 11/08/2021   PJL     CO        Review Segale correspondence and discuss same              1.20      1095.00      $1,314.00
                                internally.

 11/08/2021   KBD     CO        Review memo regarding Tyson claim                          0.30      1195.00          $358.50

 11/09/2021   PJJ     CO        Run Everlaw searches regarding Segale.                     0.40       460.00          $184.00

 11/09/2021   BLW     CO        Continue researching and rafting Complaint re:             7.90       750.00      $5,925.00
                                asserted secured claim.

 11/09/2021   KBD     CO        Correspondence regarding next steps with respect to        0.20      1195.00          $239.00
                                Segale

 11/09/2021   KBD     CO        Telephone conference with P. Labov regarding               0.10      1195.00          $119.50
                                Segale issues

 11/10/2021   PJL     CO        Review Segale Complaint and internal discussion on         0.90      1095.00          $985.50
                                same.

 11/10/2021   KBD     CO        Analyze information regarding Segale w/P. Labov            0.20      1195.00          $239.00

 11/10/2021   BLW     CO        Finalize initial draft of Asserted secured claim           6.60       750.00      $4,950.00
                                complaint.

 11/11/2021   PJL     CO        Finalize doc review in relation to complaint,              2.90      1095.00      $3,175.50
                                including discussion with Committee counsel
                                regarding Segale “ghost cattle.”

 11/11/2021   BLW     CO        Review documents re: complaint re: asserted                4.70       750.00      $3,525.00
                                secured claim.

 11/11/2021   KBD     CO        Review Segale documents and related                        2.00      1195.00      $2,390.00
                                correspondence

 11/11/2021   KBD     CO        Review and prepare comments to draft Segale                0.40      1195.00          $478.00
                                Complaint

 11/15/2021   PJL     CO        Internal discussion regarding Segale litigation status.    0.60      1095.00          $657.00

 11/15/2021   KBD     CO        Review draft complaint with respect to Segale              0.40      1195.00          $478.00

 11/16/2021   PJL     CO        Review Segale complaint and internal discussion            1.90      1095.00      $2,080.50
                                regarding same.

 11/16/2021   BLW     CO        Review and comment on redline to revise complaint          0.80       750.00          $600.00
                                re: purported secured claim.

 11/16/2021   BLW     CO        Call re: revisions to complaint re: purported secured      0.60       750.00          $450.00
                                claim.

 11/16/2021   KBD     CO        Review and prepare comments to draft complaint             0.80      1195.00          $956.00
                                with B. Wallen and P. Labov (for part)




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                                                                                      Hours           Rate         Amount

 11/18/2021   PJL     CO        Segale - Review complaint and discuss same              1.60      1095.00      $1,752.00
                                internally.

 11/18/2021   KBD     CO        Review documents and draft complaint relating to        0.60      1195.00          $717.00
                                Segale

 11/19/2021   PJL     CO        Review and revise Segale Complaint, including           1.90      1095.00      $2,080.50
                                internal discussion on timing and strategy.

 11/19/2021   BLW     CO        Revise Complaint re: secured claim.                     7.40       750.00      $5,550.00

 11/19/2021   KBD     CO        Review and prepare comments to draft Segale             0.80      1195.00          $956.00
                                complaint

 11/20/2021   KBD     CO        Review and prepare comments to Segale complaint         0.70      1195.00          $836.50

 11/22/2021   BLW     CO        Revise Complaint re: Secured Claim.                     3.40       750.00      $2,550.00

 11/22/2021   KBD     CO        Review and prepare comments to complaint against        1.20      1195.00      $1,434.00
                                Segale

 11/23/2021   TCF     CO        Telephone conference with B. Wallen regarding           0.20       875.00          $175.00
                                Segale complaint.

 11/23/2021   TCF     CO        Telephone conference with PSZJ team regarding           0.60       875.00          $525.00
                                Segale complaint.

 11/23/2021   PJL     CO        Review and revise Segale Complaint and internal         2.90      1095.00      $3,175.50
                                discussion regarding counts.

 11/23/2021   BLW     CO        Call with Ms. Flanagan re: Complaint re: secured        0.30       750.00          $225.00
                                claim.

 11/23/2021   BLW     CO        Team Call re: Complaint re: secured claim.              0.70       750.00          $525.00

 11/23/2021   BLW     CO        Revise complaint re: secured claim.                     1.50       750.00      $1,125.00

 11/23/2021   KBD     CO        Prepare comments to Segale complaint draft w/P.         0.80      1195.00          $956.00
                                Labov (for part)

 11/23/2021   KBD     CO        Call w/T. Flanagan, B. Wallen and P. Labov              0.70      1195.00          $836.50
                                regarding Segale complaint

 11/24/2021   PJL     CO        Review final documents in Everlaw and discuss           2.10      1095.00      $2,299.50
                                same with K. Dine.

 11/24/2021   PJL     CO        Review and discuss Segale Complaint internally and      2.10      1095.00      $2,299.50
                                review in light of Tyson discussions over email.

 11/24/2021   BLW     CO        Correspond re: Complaint re: secured claim.             0.20       750.00          $150.00

 11/26/2021   RMP     CO        Review Segale claim issues and conference call re       0.70      1595.00      $1,116.50
                                Ranches issues.




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 11/27/2021   JHR     CO        Analyze draft Segale complaint                         0.70       845.00          $591.50

 11/27/2021   BLW     CO        Correspond re: secured claim complaint.                0.10       750.00           $75.00

 11/28/2021   KBD     CO        Review correspondence regarding comments to            0.30      1195.00          $358.50
                                Segale complaint/claims

 11/29/2021   JWD     CO        Emails with P Labov re Segale                          0.20      1025.00          $205.00

 11/29/2021   JHR     CO        Call with P. Labov re: Segale complaint                0.20       845.00          $169.00

 11/29/2021   PJL     CO        Review Segale complaint and various discovery          1.80      1095.00      $1,971.00
                                regarding same.

 11/29/2021   BLW     CO        Call with Mr. Lang re: Segale claim complaint.         0.20       750.00          $150.00

 11/29/2021   BLW     CO        Review and revise Complaint re: Secured Claim.         0.80       750.00          $600.00

 11/29/2021   KBD     CO        Analyze issues relating to Segale claims and next      0.30      1195.00          $358.50
                                steps w/P. Labov (for part)

 11/29/2021   KBD     CO        Call w/B. Cosman and P. Labov regarding Segale         0.20      1195.00          $239.00
                                matter

 11/29/2021   KBD     CO        Review revised Segale complaint                        0.50      1195.00          $597.50

 11/30/2021   MBL     CO        Review draft Segale complaint.                         0.30      1125.00          $337.50

 11/30/2021   KBD     CO        Review and prepare correspondence regarding next       0.20      1195.00          $239.00
                                steps relating to Segale

                                                                                     105.00                  $96,986.50

  Compensation Prof. [B160]
 11/11/2021   JWD     CP        Review and respond to Ranches Committee inquiry        0.40      1025.00          $410.00
                                re fees

 11/29/2021   JWD     CP        Review three monthly fee apps                          0.20      1025.00          $205.00

                                                                                       0.60                       $615.00

  Financial Filings [B110]
 11/20/2021   JHR     FF        Analyze monthly operating report for professionals     0.10       845.00           $84.50

                                                                                       0.10                        $84.50

  General Creditors Comm. [B150]
 11/03/2021   JWD     GC        Review Committee memo re Tyson                         0.70      1025.00          $717.50




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                                                                                       0.70                       $717.50

  Litigation (Non-Bankruptcy)
 11/04/2021   JWD     LN        Review issues re CFTC settlement and emails re         0.60      1025.00          $615.00
                                same

 11/09/2021   JHR     LN        Analyze Tyson objection to CFTC 9019 motion            0.30       845.00          $253.50

 11/09/2021   BLW     LN        Review and consider Tyson objection to 9019 CFTC       0.40       750.00          $300.00
                                Motion.

 11/09/2021   BLW     LN        Correspond re: Tyson Objection to 9019 CFTC            0.40       750.00          $300.00
                                Motion.

 11/09/2021   JWD     LN        Review Tyson objection to CFTC settlement and          0.40      1025.00          $410.00
                                emails re same

 11/09/2021   JWD     LN        Call with J Rosell re CFTC                             0.10      1025.00          $102.50

 11/09/2021   JWD     LN        Research CFTC claim issue                              0.70      1025.00          $717.50

 11/09/2021   JWD     LN        Emails with T Buford and B Wallen re CFTC              0.20      1025.00          $205.00

 11/10/2021   BLW     LN        Call with Mr. Dulberg and co-counsel re: response      0.30       750.00          $225.00
                                to Tyson objection to CFTC 9019 motion.

 11/10/2021   JWD     LN        Call with team re CFTC reply                           0.40      1025.00          $410.00

 11/11/2021   BLW     LN        Draft response to Tyson objection to 9019 CFTC         1.20       750.00          $900.00
                                motion.

 11/12/2021   BLW     LN        Draft Reply in support of CFTC 9019 Motion.            3.60       750.00      $2,700.00

 11/14/2021   BLW     LN        Finalize initial draft of Reply in support of CFTC     2.40       750.00      $1,800.00
                                9019 Motion.

 11/14/2021   JWD     LN        Review and revise CFTC 9019 reply and emails re        1.20      1025.00      $1,230.00
                                same

 11/15/2021   BLW     LN        Review Ranches Committee Draft Reply in support        0.10       750.00           $75.00
                                of CFTC 9019 Motion.

 11/15/2021   BLW     LN        Call with Mr. Dulberg re: CFTC 9019 Motion             0.10       750.00           $75.00
                                Reply.

 11/15/2021   JWD     LN        Review draft reply from Committee re CFTC 9019         0.30      1025.00          $307.50
                                motion

 11/15/2021   JHR     LN        Revise reply in support of CFTC 9019 motion            0.50       845.00          $422.50

 11/15/2021   JHR     LN        Review Ranches Committee draft reply in support of     0.20       845.00          $169.00
                                CFTC 9019 motion

 11/15/2021   JWD     LN        Review final version of CFTC reply and attend to       0.30      1025.00          $307.50




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Easterday Ranches Inc.                                                                          Invoice 129197
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                                                                                       Hours           Rate         Amount
                                issues re filing
 11/15/2021   JWD     LN        Emails with Committee counsel re CFTC reply             0.10       1025.00          $102.50

 11/15/2021   JWD     LN        Call with B Wallen re CFTC reply (.1); review J         0.30       1025.00          $307.50
                                Rosell email re same and revise pleading (.2)

 11/16/2021   JWD     LN        Prep for CFTC 9019 hearing                              1.30       1025.00      $1,332.50

 11/17/2021   JWD     LN        Prep for CFTC hearing                                   0.80       1025.00          $820.00

 11/17/2021   JWD     LN        Review entered CFTC 9019 order and emails re            0.30       1025.00          $307.50
                                same to CFTC and client

 11/18/2021   JWD     LN        Review CFTC's motion for approval of consent            0.40       1025.00          $410.00
                                order and emails with team re same

                                                                                        16.90                  $14,805.00

  Plan & Disclosure Stmt. [B320]
 11/03/2021   JHR     PD        Conference call with Ranches Committee re: plan         1.00        845.00          $845.00
                                issues

 11/03/2021   RMP     PD        Prepare for and participate on Ranches                  1.30       1595.00      $2,073.50
                                professionals conference call re plan and related
                                issues and follow-up with J Dulberg.

 11/03/2021   JWD     PD        Call with Ranches counsel re plan and related issues    1.00       1025.00      $1,025.00

 11/04/2021   JWD     PD        Attend call with Ranches Com and Tyson re plan          1.10       1025.00      $1,127.50
                                and other issues

 11/04/2021   MBL     PD        Call with Tyson, Ranches, and team re plan and          1.10       1125.00      $1,237.50
                                Tyson claim issues.

 11/04/2021   RMP     PD        Prepare for and participate on conference call with     1.10       1595.00      $1,754.50
                                Ranches committee and Tyson re plan and other
                                issues and follow-up.

 11/09/2021   RMP     PD        Prepare for and participate on plan negotiations re     0.70       1595.00      $1,116.50
                                Ranches.

 11/15/2021   RMP     PD        Prepare for and participate on Ranches Committee        1.10       1595.00      $1,754.50
                                conference call re plan update.

 11/15/2021   KBD     PD        Analyze information relating to Easterday assets        0.30       1195.00          $358.50
                                w/P. Labov (for part)

 11/18/2021   RMP     PD        Telephone conference with Smith re Ranches issues       0.70       1595.00      $1,116.50
                                and follow-up with J Dulberg re same.

 11/24/2021   MBL     PD        Call with Ranches committee counsel re plan issues.     1.00       1125.00      $1,125.00




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 11/24/2021   MBL     PD        Emails with team re Ranches committee update on       0.50       1125.00          $562.50
                                plan issues; address committee inquiries.

 11/24/2021   RMP     PD        Review and respond to e-mails re Ranches plan         0.60       1595.00          $957.00
                                issues and telephone conferences with M Litvak and
                                J Dulberg re same.

 11/29/2021   KBD     PD        Revisions to disclosure statement                     0.40       1195.00          $478.00

                                                                                      11.90                   $15,531.50

  TOTAL SERVICES FOR THIS MATTER:                                                                           $148,349.50




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 Expenses
 11/03/2021   PO         Postage                                                              1.06
 11/04/2021   PO         Postage                                                              1.06
 11/14/2021   LN         20375.00002 Lexis Charges for 11-14-21                               7.19
 11/18/2021   FE         Federal Express [E108] FedEx                                     66.45
 11/30/2021   PAC        Pacer - Court Research                                               4.60

   Total Expenses for this Matter                                                      $80.36




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Easterday Ranches Inc.                                                                     Invoice 129197
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                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        11/30/2021

Total Fees                                                                                            $148,349.50

Total Expenses                                                                                                 80.36

Total Due on Current Invoice                                                                          $148,429.86

  Outstanding Balance from prior invoices as of        11/30/2021          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed         Expenses Billed             Balance Due
 128806                   09/30/2021               $502,134.00            $4,560.70                  $100,426.80

 129108                   10/31/2021               $138,739.00              $368.20                  $139,107.20

             Total Amount Due on Current and Prior Invoices:                                          $387,963.86




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                                    Pachulski Stang Ziehl & Jones LLP
                                            10100 Santa Monica Blvd.
                                                   13th Floor
                                             Los Angeles, CA 90067
                                                                         November 30, 2021
Peter Richter                                                            Invoice 129198
Paladin Management                                                       Client  20375
200 South Wacker Drive 31st floor                                        Matter  00003
Chicago, IL 60606
                                                                                 JWD

RE: Farms (Exclusive)

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 11/30/2021
                FEES                                                      $43,568.50
                TOTAL CURRENT CHARGES                                     $43,568.50

                BALANCE FORWARD                                           $54,103.41
                TOTAL BALANCE DUE                                         $97,671.91




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Easterday Ranches Inc.                                                             Invoice 129198
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  Summary of Services by Professional
  ID        Name                                  Title                 Rate        Hours              Amount

 BLW        Wallen , Ben L                        Associate            750.00       14.60        $10,950.00

 JHR        Rosell, Jason H.                      Partner              845.00        3.50         $2,957.50

 JWD        Dulberg, Jeffrey W.                   Partner             1025.00        4.50         $4,612.50

 MBL        Litvak, Maxim B.                      Partner             1125.00        0.20          $225.00

 PJL        Labov, Paul John                      Partner             1095.00       18.30        $20,038.50

 RMP        Pachulski, Richard M.                 Partner             1595.00        3.00         $4,785.00

                                                                                   44.10          $43,568.50




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Easterday Ranches Inc.                                                                  Invoice 129198
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  Summary of Services by Task Code
  Task Code         Description                                                 Hours                       Amount

 AA                 Asset Analysis/Recovery[B120]                                6.90                   $9,036.50

 AD                 Asset Disposition [B130]                                    32.80                  $30,310.00

 FF                 Financial Filings [B110]                                     0.10                        $84.50

 GC                 General Creditors Comm. [B150]                               0.60                       $615.00

 PD                 Plan & Disclosure Stmt. [B320]                               3.70                   $3,522.50

                                                                                44.10                  $43,568.50




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Easterday Ranches Inc.                                                          Invoice 129198
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  Summary of Expenses
                                                                  $0.00




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Easterday Ranches Inc.                                                                           Invoice 129198
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                                                                                        Hours           Rate         Amount

  Asset Analysis/Recovery[B120]
 11/02/2021   RMP     AA        Review Basin City issues and offer re same and           0.70       1595.00      $1,116.50
                                telephone conference with Paladin re same.

 11/05/2021   RMP     AA        Various telephone conferences and e-mails re Basin       0.80       1595.00      $1,276.00
                                City, involving Richter.

 11/05/2021   RMP     AA        Review information re Idaho property and telephone       0.90       1595.00      $1,435.50
                                conferences with Paladin and J Dulberg re same.

 11/08/2021   JHR     AA        Correspondence with Easterdays and Equitable re:         0.10        845.00           $84.50
                                Basin City loan balance

 11/09/2021   RMP     AA        Review e-mails and telephone conferences re Basin        0.60       1595.00          $957.00
                                City.

 11/18/2021   PJL     AA        Review Basin City material and other document            3.20       1095.00      $3,504.00
                                production from family.

 11/19/2021   MBL     AA        Call with J. Rosell re Basin City and litigation         0.20       1125.00          $225.00
                                issues; follow-up emails with team and client re
                                same.

 11/22/2021   PJL     AA        Prepare for and attend call on Basin City Properties.    0.40       1095.00          $438.00

                                                                                          6.90                   $9,036.50

  Asset Disposition [B130]
 11/02/2021   JWD     AD        Review LOI regarding Basin City                          0.30       1025.00          $307.50

 11/02/2021   JHR     AD        Call with Booker Auctions re: sale issues                0.20        845.00          $169.00

 11/02/2021   JHR     AD        Call with Blue Tag Farms re: sale issues                 0.10        845.00           $84.50

 11/02/2021   JHR     AD        Call with Peter Richter re: sale issues                  0.10        845.00           $84.50

 11/02/2021   JHR     AD        Call with potential bidder re: Basin City assets         0.30        845.00          $253.50

 11/02/2021   PJL     AD        Follow up on Hangar LLC sale.                            0.90       1095.00          $985.50

 11/03/2021   JWD     AD        Analyze issues regarding basin city offers               0.30       1025.00          $307.50

 11/04/2021   JHR     AD        Correspondence with potential bidder of Basin City       0.10        845.00           $84.50
                                properties

 11/04/2021   PJL     AD        Correspondence drafted regarding sale of LLC             0.10       1095.00          $109.50
                                interest.

 11/05/2021   PJL     AD        Further review of Hangar motion and legal research       3.60       1095.00      $3,942.00
                                on 365 and 363 for sale of LLC interests.




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Easterday Ranches Inc.                                                                        Invoice 129198
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 11/08/2021   BLW     AD        Prepare for call re: LLC Interest/hangar sale.         0.10       750.00           $75.00

 11/08/2021   BLW     AD        Call with Mr. Labov re: LLC Interest sale and          0.60       750.00          $450.00
                                Asserted secured claim complaint.

 11/10/2021   JHR     AD        Analyze APAs re: equipment sale issues                 0.30       845.00          $253.50

 11/11/2021   PJL     AD        Further discussion on ROFR and strategy with           1.10      1095.00      $1,204.50
                                respect to sale.

 11/11/2021   BLW     AD        Call with Co-CRO re: LLC Intererest/Hangar Sale.       0.30       750.00          $225.00

 11/11/2021   BLW     AD        Correspond re: LLC Interest/Hangar Sale.               0.20       750.00          $150.00

 11/15/2021   PJL     AD        Call with internal team regarding ROFR on LLC          0.20      1095.00          $219.00
                                interest.

 11/15/2021   BLW     AD        Revise Draft of LLC Interest/Hangar Sale Motion.       1.60       750.00      $1,200.00

 11/16/2021   JHR     AD        Call with potential purchaser                          0.20       845.00          $169.00

 11/16/2021   PJL     AD        Conference with P. Richter regarding sale of LLC       0.30      1095.00          $328.50
                                interest.

 11/17/2021   PJL     AD        Review correspondence regarding sale of LLC            0.70      1095.00          $766.50
                                interest and possible additional interest.

 11/17/2021   BLW     AD        Correspond with Co-CRO re: Hangar/LLC interest         0.10       750.00           $75.00
                                sale.

 11/18/2021   PJL     AD        Review issues with Hangar LLC sale.                    2.60      1095.00      $2,847.00

 11/18/2021   BLW     AD        Call with Mr. Labov and Co-CRO re: Hangar/LLC          0.40       750.00          $300.00
                                Interest Sale.

 11/18/2021   BLW     AD        Multiple calls with Co-CRO re: Hangar/LLC              0.20       750.00          $150.00
                                Interest Sale.

 11/18/2021   BLW     AD        Numerous correspondence re: Hangar/LLC Interest        0.20       750.00          $150.00
                                Sale.

 11/19/2021   JHR     AD        Call with P. Labov re: Basin City                      0.20       845.00          $169.00

 11/22/2021   PJL     AD        Review open issues with sale of LLC agreement and      2.60      1095.00      $2,847.00
                                competing offer.

 11/22/2021   BLW     AD        Revise membership interest purchase agreement;         4.90       750.00      $3,675.00
                                notice re: same; motion re: same.

 11/22/2021   BLW     AD        Numerous detailed correspondences re: Sale of          0.80       750.00          $600.00
                                Interest in Pasco Hangar LLC.

 11/23/2021   PJL     AD        Pasco Hangar review of various docs in support of      1.80      1095.00      $1,971.00
                                motion and sale agreement.




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Easterday Ranches Inc.                                                                        Invoice 129198
20375 - 00003                                                                                 November 30, 2021


                                                                                     Hours           Rate         Amount

 11/23/2021   BLW     AD        Revise Motion re: Hangar/LLC Interest Sale.            1.30       750.00          $975.00

 11/24/2021   JWD     AD        Review and revise hangar sale pleadings                0.90      1025.00          $922.50

 11/24/2021   BLW     AD        Call with Mr. Labov re: hangar/LLC interest sale.      0.20       750.00          $150.00

 11/24/2021   BLW     AD        Multiple Correspondence re: Hangar Sale.               0.30       750.00          $225.00

 11/24/2021   BLW     AD        Correspond with Committee re: Hangar/LLC               0.20       750.00          $150.00
                                Interest Sale.

 11/26/2021   BLW     AD        Revise hangar/LLC sale motion.                         0.40       750.00          $300.00

 11/27/2021   JHR     AD        Revise aircraft hangar sale motion                     0.30       845.00          $253.50

 11/29/2021   JWD     AD        Emails with P Labov re hangar sale                     0.20      1025.00          $205.00

 11/29/2021   PJL     AD        Review additional Hangar sale documents.               0.80      1095.00          $876.00

 11/29/2021   BLW     AD        Call with Mr. Labove re: Hangar Sale and status of     0.30       750.00          $225.00
                                other case matters.

 11/29/2021   BLW     AD        Revise Hangar Sale documents and motion and            1.60       750.00      $1,200.00
                                coordinate re: upcoming filing.

 11/29/2021   BLW     AD        Call with Farms' Committee re: Hangar/LLC Interest     0.40       750.00          $300.00
                                Sale.

 11/30/2021   BLW     AD        Revise Hangar sale documents and correspond re:        0.50       750.00          $375.00
                                same.

                                                                                      32.80                  $30,310.00

  Financial Filings [B110]
 11/20/2021   JHR     FF        Analyze monthly operating report for professionals     0.10       845.00           $84.50

                                                                                       0.10                        $84.50

  General Creditors Comm. [B150]
 11/09/2021   JWD     GC        Call with Farms committee re toggle plan               0.60      1025.00          $615.00

                                                                                       0.60                       $615.00

  Plan & Disclosure Stmt. [B320]
 11/09/2021   JWD     PD        Attend to issues re meetings with WT and Farms         0.40      1025.00          $410.00

 11/09/2021   JWD     PD        Prep for calls with WTB and Farms committee re         0.30      1025.00          $307.50
                                plan




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Easterday Ranches Inc.                                                                       Invoice 129198
20375 - 00003                                                                                November 30, 2021


                                                                                    Hours           Rate         Amount

 11/29/2021   JWD     PD        Review agenda for Farms plan meeting and emails       0.30      1025.00          $307.50
                                with team re same

 11/30/2021   JWD     PD        Attend Farms Committee call re plan (partial)         1.20      1025.00      $1,230.00

 11/30/2021   JHR     PD        Conference call with Farms Committee re: plan         1.50       845.00      $1,267.50
                                issues

                                                                                      3.70                   $3,522.50

  TOTAL SERVICES FOR THIS MATTER:                                                                          $43,568.50




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Easterday Ranches Inc.                                                                     Invoice 129198
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                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        11/30/2021

Total Fees                                                                                             $43,568.50

Total Due on Current Invoice                                                                           $43,568.50

  Outstanding Balance from prior invoices as of        11/30/2021          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed         Expenses Billed             Balance Due
 128807                   09/30/2021                $30,804.50              $108.72                     $6,160.89

 129109                   10/31/2021                $47,922.00               $20.52                    $47,942.52

             Total Amount Due on Current and Prior Invoices:                                           $97,671.91




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                                                                                EXHIBIT B
                                        CUSTOMARY AND COMPARABLE COMPENSATION DISCLOSURES WITH FEE APPLICATIONS

                                                  (See Guidelines C.3. for definitions of terms used in this Exhibit.)


                                                                                                                       BLENDED HOURLY RATE
                                    CATEGORY OF TIMEKEEPER

                      (using categories already maintained by the firm)                           BILLED OR COLLECTED                                BILLED

                                                                                           Firm or offices for preceding year,
                                                                                                                                            In this fee application
                                                                                                  excluding bankruptcy*

                           Sr./Equity Partner/Shareholder                                                 $1,050.00                                            $1,210.20

                           Of Counsel                                                                      $950.00                                               $964.48

                           Associates                                                                      $750.00                                               $750.00

                           Law Library Director                                                            $450.00                                               $475.00
                           Paralegal                                                                       $450.00                                               $460.00

                           Case Management Assistants/ Other                                               $300.00                                               $395.00

                           All timekeepers aggregated                                                      **$950.00                                           $1,060.72

* Represents approximate blended hourly rate. Non-estate work for PSZ&J represents a de minimis amount of the Firm’s revenues as the Firm’s engagements are primarily on
behalf of debtors, official committees, and other estate-billed constituencies. For the fiscal year ending 2019, non-estate work represented approximately 4-5% of the Firm’s
revenues. In 2020, non-estate work represented approximately 5-7% of the Firm’s revenues, and in 2021, it is expected that non-estate work will represent approximately 5-8% of
the Firm’s revenues.

**Represents an estimate for the aggregate blended hourly rate for all timekeepers on non-estate work.


    Case Name:                Easterday Ranches, Inc., et al.
    Case Number:              21-00141 (WLH)
    Applicant's Name:         Pachulski Stang Ziehl & Jones LLP
    Date of Application:      February 1, 2022
    Interim or Final:         Interim




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                                                                  EXHIBIT C
                                           SUMMARY OF TIMEKEEPERS INCLUDED IN THIS APPLICATION

                                                                                                           HOURLY RATE BILLED           NUMBER
                                                                          HOURS
                                       DEPARTMENT,        DATE OF                      FEES BILLED                                       OF RATE
                         TITLE OR                                        BILLED IN
        NAME                            GROUP OR       ADMISSION                         IN THIS                           IN FIRST    INCREASES
                         POSITION                                           THIS                       IN THIS
                                         SECTION      (if applicable)                 APPLICATION                          INTERIM     SINCE CASE
                                                                        APPLICATION                  APPLICATION         APPLICATION   INCEPTION
Alan J. Kornfeld       Partner         Bankruptcy          1987              178.10   $248,449.50         $1,395.00        $1,395.00          0
Ben L. Wallen          Associate       Bankruptcy          2020              140.00   $105,000.00          $750.00          $750.00           0
Ben L. Wallen          Associate       Bankruptcy          2020                1.80         $0.00          $750.00          $750.00           0
Cia H. Mackle          Counsel         Bankruptcy          2006                9.00     $6,750.00          $750.00          $750.00           0
David J. Barton        Partner         Bankruptcy          1981                0.60      $807.00          $1,345.00        $1,345.00          0
Denise L. Mendoza      Other           Bankruptcy           N/A                2.40      $948.00           $395.00             $0.00          0
Elissa A. Wagner       Counsel         Bankruptcy          2001              196.60   $181,670.00          $925.00          $925.00           0
Elissa A. Wagner       Counsel         Bankruptcy          2001                3.00         $0.00          $925.00          $925.00           0
Gabriel I. Glazer      Partner         Bankruptcy          2006                0.40      $420.00          $1,050.00            $0.00          0
Isaac M. Pachulski     Partner         Bankruptcy          1974                0.70     $1,186.50         $1,695.00        $1,695.00          0
Jeffrey H. Davidson    Partner         Bankruptcy          1977                0.50      $822.50          $1,645.00            $0.00          0
Jason H. Rosell        Partner         Bankruptcy          2010              199.00   $168,155.00          $845.00          $845.00           0
Jason H. Rosell        Partner         Bankruptcy          2010                3.40         $0.00          $845.00          $845.00           0
Jeffrey W. Dulberg     Partner         Bankruptcy          1995              215.30   $220,682.50         $1,025.00        $1,025.00          0
Jeffrey W. Dulberg     Partner         Bankruptcy          1995                3.60         $0.00          $512.00         $1,025.00          0
Karen B. Dine          Counsel         Bankruptcy          1994              130.80   $156,306.00         $1,195.00        $1,195.00          0
Kenneth H. Brown       Partner         Bankruptcy          1981                0.40      $490.00          $1,225.00            $0.00          0
Leslie A. Forrester    Law Lib. Dir.   Bankruptcy           N/A                5.40     $2,565.00          $475.00          $475.00           0
Linda F. Cantor        Partner         Bankruptcy          1988                1.00     $1,245.00         $1,245.00            $0.00          0
Maxim B. Litvak        Partner         Bankruptcy          1997              113.60   $127,800.00         $1,125.00        $1,125.00          0
Maxim B. Litvak        Partner         Bankruptcy          1997                2.00         $0.00         $1,125.00        $1,125.00          0
Patricia J. Jeffries   Paralegal       Bankruptcy           N/A              136.00    $62,238.00          $460.00          $460.00           0
Patricia J. Jeffries   Paralegal       Bankruptcy           N/A                5.20         $0.00          $460.00          $460.00           0
Paul J. Labov          Counsel         Bankruptcy          2002              213.80   $234,111.00         $1,095.00        $1,095.00          0
Paul J. Labov          Counsel         Bankruptcy          2002                1.30         $0.00         $1,095.00        $1,095.00          0
Richard M. Pachulski   Partner         Bankruptcy          1979              326.90   $521,405.50         $1,595.00        $1,595.00          0




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                                                                                                              HOURLY RATE BILLED          NUMBER
                                                                               HOURS
                                           DEPARTMENT,         DATE OF                      FEES BILLED                                    OF RATE
          NAME             TITLE OR         GROUP OR        ADMISSION         BILLED IN       IN THIS                                    INCREASES
                           POSITION                                              THIS                                        IN FIRST
                                             SECTION       (if applicable)                 APPLICATION       IN THIS                     SINCE CASE
                                                                             APPLICATION                                     INTERIM
                                                                                                           APPLICATION                   INCEPTION
                                                                                                                           APPLICATION
Tavi C. Flanagan         Counsel           Bankruptcy           1993             161.90    $141,662.50        $875.00         $875.00           0
Tavi C. Flanagan         Counsel           Bankruptcy           1993               3.00          $0.00        $875.00         $875.00           0
Virginia L. Downing      Other             Bankruptcy            N/A               3.30      $1,303.50        $395.00         $395.00           0
  TOTAL                                                                        2,059.00    $2,184,017.50




Case Name:             Easterday Ranches, Inc., et al.
Case Number:           21-00141 (WLH)
Applicant's Name:      Pachulski Stang Ziehl & Jones LLP
Date of Application:   February 1, 2022
Interim or Final:      Interim




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                                            EXHIBIT D-1

                       SUMMARY OF COMPENSATION REQUESTED BY CATEGORY

                         (SEE GUIDELINES ¶ C.8 FOR PROJECT CATEGORY INFORMATION)

                                                              HOURS BILLED               TOTAL
                       CATEGORY
                                                               THIS PERIOD          FOR APPLICATION
Asset Analysis/ Recovery                                         101.70              $106,531.50
Asset Disposition                                                183.80              $177,582.00
Bankruptcy Litigation                                            548.90              $582,380.00
Case Administration                                              111.00              $101,924.00
Corporate Governance                                              72.70                $79,819.00
Claims Administration/ Objection                                 325.60              $345,062.00
Compensation of Professionals                                    112.40                $81,079.00
Employee Benefits/ Pension                                         0.10                   $102.50
Executory Contracts                                                1.90                 $1,821.50
Financial Filings                                                  1.70                 $1,706.50
Financing                                                          3.40                 $4,265.00
General Creditors’ Committee                                      15.30                $17,562.00
Hearing                                                           78.90                $72,623.00
Litigation                                                        42.80                $39,985.00
Operations                                                         3.50                 $3,329.50
Plan and Disclosure Statement                                    426.30              $535,570.00
Retention of Professionals                                         0.70                 $1,116.50
Stay Litigation                                                    0.20                   $205.00
Tax Issues                                                        28.10                $31,353.50
Total                                                          2,059.00            $2,184,017.50




Case Name:                Easterday Ranches, Inc., et al.
Case Number:              21-00141 (WLH)
Applicant's Name:         Pachulski Stang Ziehl & Jones LLP
Date of Application:      February 1, 2022
Interim or Final:         Interim




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                                           EXHIBIT D-2

                SUMMARY OF EXPENSE REIMBURSEMENT REQUESTED BY CATEGORY

                        (SEE GUIDELINES ¶ C.8 FOR PROJECT CATEGORY INFORMATION)



                          Costs/Expense                                   Amount Billed
              Attorney Service                                                       $295.90
              Bloomberg Online Research                                                $80.20
              Working Meals                                                          $244.85
              Conference Call                                                        $221.19
              Federal Express                                                        $220.80
              Lexis/Nexis – Online Research                                         $1,606.15
              Outside Services / Research – eDiscovery Database                   $230,846.00
              Pacer – Online Court Research                                          $131.40
              Postage                                                                   $2.12
              Reproduction Expense                                                   $370.40
              Reproduction/ Scan Copy                                                $583.20
              Transcript                                                            $3,367.15
              Total                                                               $237,969.36




Case Name:               Easterday Ranches, Inc., et al.
Case Number:             21-00141 (WLH)
Applicant's Name:        Pachulski Stang Ziehl & Jones LLP
Date of Application:     February 1, 2022
Interim or Final:        Interim




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                                                EXHIBIT E
                              SUMMARY COVER SHEET OF FEE APPLICATION

   Name of Applicant:                                            Pachulski Stang Ziehl & Jones LLP
                                                                 Easterday Ranches, Inc. and
   Name of client:
                                                                 Easterday Farms
   Time period covered by this application:                      February 1, 2021 – May 31, 2021

   Total compensation sought this period:                        $2,184,017.50

   Total expenses sought this period:                            $237,969.36
                                                                 February 1, 2021 (Ranches)
   Petition dates:
                                                                 February 8, 2021 (Farms)
                                                                 February 1, 2021 for Ranches and
   Retention dates:
                                                                 February 8, 2021 for Farms
   Date of order approving employment:                           March 16, 2021 [Docket No. 386]

    Total fees approved by interim order to date:                $7,328,397,25

    Total expenses approved by interim order to date:            $325,630.55

    Total allowed fees paid to date:                             $7,328,397,25

    Total allowed expenses paid to date:                         $325,630.55

    Blended rate in this application for all attorneys:          $1,110.28

    Blended rate in this application for all timekeepers:        $1,060.72
    Fees sought in this application already paid
    pursuant to a monthly compensation order but not             $1,321,478.80
    yet allowed:
    Expenses sought in this application already paid
    pursuant to a monthly compensation order but not yet         $160,409.14
    allowed:
    Number of professionals included in this application:        18
    If applicable, number of professionals in this
    application not included in staffing plan approved by        N/A
    client:
    If applicable, difference between fees budgeted and
                                                                 N/A
    compensation sought for this period:
    Number of professionals billing fewer than 15 hours to
                                                                 7
    the case during this period




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    Name of Applicant:                                            Pachulski Stang Ziehl & Jones LLP
     Are any rates higher than those approved or disclosed at
     retention? If yes, calculate and disclose the total
                                                                  No.
     compensation sought in this application using the rates
     originally disclosed in the retention application




   Case Name:                Easterday Ranches, Inc., et al.
   Case Number:              21-00141 (WLH)
   Applicant's Name:         Pachulski Stang Ziehl & Jones LLP
   Date of Application:      February 1, 2022
   Interim or Final:         Interim
  DOCS_SF:106808.1




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